EXHIBIT A
[Redacted Version]
                 UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF CALIFORNIA
                   SAN FRANCISCO DIVISION


                              )   Case No. 3:20-cv-05949-VC
                              )
                              )
                              )   CLASS ACTION
In Re VAXART, INC.            )
SECURITIES LITIGATION         )
                              )
                              )
                              )
                              )
                              )
                              )
                              )
                              )
                              )




            EXPERT REPORT OF MATTHEW D. CAIN, PHD

                         July 30, 2024




                        CONFIDENTIAL
                                                         Table of Contents

I.      Introduction ............................................................................................................................ 1
II.     Qualifications ......................................................................................................................... 4
III.    Summary of Opinions ............................................................................................................ 6
IV. Relevant Background ........................................................................................................... 17
        A.      Overview of Vaxart and Armistice ............................................................................. 17
        B.      Summary of the Alleged False Statements and/or Omissions and Plaintiffs’ Related
                Claims ......................................................................................................................... 20
        C.      Summary of the Information Environment During the Class Period ......................... 27
V.      Market Efficiency and Damages on a Class-Wide Basis..................................................... 34
VI. Importance of the Alleged Misstatements and/or Omissions .............................................. 37
        A.      Publicly Available Information About Operation Warp Speed .................................. 39
        B.      Vaxart’s Reporting and Statements ............................................................................ 49
        C.      Media Attention .......................................................................................................... 57
        D.      Financial Analyst Commentary .................................................................................. 71
        E.      Principles of Finance, Economics, and Valuation Analysis ....................................... 74
        F.      Event Study ................................................................................................................. 77
VII. Measuring the Economic Link Between the Alleged Misstatements and/or Omissions and
     the Corrective Disclosure Events (Loss Causation)............................................................. 81
        A.      The Economic Link..................................................................................................... 81
        B.      Measuring Economic Losses ...................................................................................... 84
VIII. The Inflation Creating Events Introduced Artificial Inflation ............................................. 85
        A.      June 25, 2020: Attwill Press Release .......................................................................... 85
        B.      June 26, 2020: Selected-for-OWS Press Release ....................................................... 90
IX. The Corrective Disclosure Events Dissipated Artificial Inflation ..................................... 101
        A.      June 26, 2020: Armistice Sales ................................................................................. 105
        B.      June 29, 2020: Armistice Sales ................................................................................. 109
        C.      July 1-6, 2020: Form 4 Disclosing the Armistice Sales............................................ 111
        D.      July 27, 2020: HHS Tweet and New York Times Article .......................................... 114
X.      Artificial Inflation per Share for Vaxart Common Stock .................................................. 117
XI. Damages ............................................................................................................................. 121
        A.      Section 10(b) Damages for Common Stock ............................................................. 121
      B.    Section 20A Damages for Common Stock ............................................................... 125
      C.    Adaptation to Alternative Findings ........................................................................... 128
XII. Artificial Inflation/Deflation per Share and Damages for Vaxart Options ........................ 131
      A.    Artificial Inflation per Share ..................................................................................... 131
      B.    Damages .................................................................................................................... 137
      C.    Adaptation to Alternative Findings ........................................................................... 139
    I.   Introduction

         1.      I have previously filed two expert reports in this matter (collectively, my

“Prior Reports”). 1 In connection with Plaintiffs’ initial motion for class certification, 2 on

December 1, 2023, I submitted an expert report in this matter (my “Efficiency Report”) in

which I concluded that:

         (a)     Vaxart, Inc. (“Vaxart”) Common Stock traded in an open and efficient
                 market throughout the Class Period; 3

         (b)     Vaxart Options traded in an open and efficient market throughout the
                 Class Period;

         (c)     Damages in this matter for Vaxart Common Stock and Vaxart Options
                 (collectively, “Vaxart Securities”) can be calculated on a class-wide
                 basis subject to common methodologies for Plaintiffs’ pending
                 Section 10(b), 20(a), and 20(A) claims; and

         (d)     There are several common methodologies for determining damages
                 for the subset of Class members (“Subclass”) with insider trading
                 claims under Section 20A. 4

         2.      On March 7, 2024, I submitted another expert report in this matter (my

“Efficiency Rebuttal Report”) in response to the expert report of Dr. Jennifer Marietta-



1
 Unless otherwise noted, capitalized terms in this report have the same meaning as in my Prior
Reports, all emphasis in this report is added, and all times cited in this report are in Eastern Time.
2
  I understand Plaintiffs to comprise Wei Huang, Langdon Elliot, and Plaintiff Ani Hovhannisyan.
See, Corrected Second Amended Consolidated Class Action Complaint for Violations of the
Federal Securities Laws, In Re Vaxart Sec. Litig., No. 3:20-cv-05949-VC (Doc. 303)
(“Complaint”), Table of Defined Terms.
3
 I understand that in their renewed motion, Plaintiffs are seeking to certify a Class Period of June
25, 2020 through July 24, 2020, inclusive. This Class Period falls entirely within the time period
evaluated in my Efficiency Report (June 15, 2020 through August 19, 2020). Therefore, my
conclusion of market efficiency throughout that time period fully applies to the subset of June 25,
2020 through July 24, 2020.
4
    Efficiency Report ¶¶3, 152.

                                                  1
Westberg, dated January 26, 2024 (“Marietta-Westberg Report”) submitted by

Defendants. 5 In my Efficiency Rebuttal Report, I concluded that nothing in the Marietta-

Westberg Report disturbed the opinions expressed in my Efficiency Report. 6 Nothing I

have reviewed or analyzed in forming the opinions expressed in this Merits Report has

caused me to change any of the opinions expressed in my Prior Reports and I continue to

hold those opinions.

         3.      For the merits issues in this case, Plaintiffs, through their attorneys Hagens

Berman Sobol Shapiro LLP and Scott+Scott Attorneys at Law LLP (“Plaintiffs’ Counsel”),

have asked me to assess:

         (a)     whether the misstatements and/or omissions alleged in this matter—
                 specifically, misstatements and/or omissions in the June 25, 2020
                 Attwill Press Release and the June 26, 2020 Selected-for-OWS Press
                 Release—contained value-relevant information that investors would
                 consider economically material; 7

         (b)     whether there is an economic link, which can be reliably measured,
                 between the alleged misrepresentations, omissions, and/or schemes,
                 and the revelation of the relevant truth, which when realized
                 throughout the Class Period, allegedly caused losses to Class investors
                 (i.e., loss causation);




5
 I understand Defendants to include Armistice Capital, LLC and Armistice Capital Master Fund
Ltd. (collectively, “Armistice”), as well as Steven J. Boyd, and Keith Maher. See Complaint (Doc.
No. 303); May 25, 2023 Order re: Motion to Dismiss (Doc. No. 293) (“May 2023 MTD Order”).
6
    Efficiency Rebuttal Report ¶9.
7
  As discussed herein, the terms “materiality” or “importance,” as used in my testimony, refer to
the concepts of “economic materiality” and “economic importance” from the perspective of a
financial economist who has empirically examined movements in Vaxart’s stock price in response
to the disclosure of new information, along with an examination of analysts’ commentary, media
discussion, government reports, and academic research, and other factors.

                                                2
         (c)     whether corrective information or events revealing the truth concealed
                 by the alleged misrepresentations, omissions, and/or schemes caused
                 any artificial inflation in the price of Vaxart Securities to dissipate;

         (d)     what was the quantity of any artificial inflation for Vaxart Securities
                 on a per-share basis for each day of the Class Period caused by the
                 alleged misrepresentations, omissions, and/or schemes;

         (e)     what methods can appropriately quantify Section 10(b) and Section
                 20(A) class-wide damages for Vaxart Common Stock in this matter;
                 and

         (f)     what methods can appropriately quantify Section 10(b) class-wide
                 damages for Vaxart Options in this matter.

         4.      Additionally, I have reviewed the July 2024 Class Certification Order 8 in this

matter and I address guidance from the Court throughout this Merits Report. This Merits

Report contains my opinions on the matters listed in ¶3. This Report does not contain a

verbatim account of every detail of my expected testimony, and I may address additional

topics in response to arguments or assertions offered by Defendants and their experts

during this action. Additionally, the analysis and opinions contained in this Report are

based on information available as of the date of the report. I thus reserve the right to amend,

refine, or supplement this report in the event that I become aware of additional information,

evidence, arguments, or analyses which bear on my work on this matter.

         5.      The remainder of this report is organized as follows: Section II states my

qualifications as an expert. Section III summarizes my opinions in this Report. Section IV

provides an overview of the relevant background in this matter. Section V reiterates my

opinions in my Prior Reports related to market efficiency and how damages can be


8
    Order Denying Motion for Class Certification (Doc. 374), July 2, 2024.

                                                 3
calculated on a class-wide basis subject to a common methodology. Section VI

summarizes my approach to analyzing the value-relevance of the allegedly misrepresented

and omitted facts in this case. Section VII discusses loss causation principles. Section VIII

presents my analysis of the Inflation Creating Events. Section IX discusses my analysis of

the Corrective Disclosure Events. Section X presents the resulting artificial inflation per

share for Vaxart Common Stock. Section XI presents the damages methodologies for

Vaxart Common Stock. Finally, Section XII presents the resulting artificial inflation per

share and damages methodology for Vaxart Options.

II.    Qualifications

       6.     I hold a Ph.D. in Finance and I am a Senior Fellow at the New York

University School of Law. I teach courses, deliver guest lectures, participate in academic

seminars, and conduct research in various topic areas related to finance, economics,

accounting, law, and business. My research focuses on a variety of topics, including

empirical corporate finance, corporate governance, board independence, mergers and

acquisitions, hostile takeovers, shareholder lawsuits, negotiations, financial contracting,

disclosures of financial information, and shareholder activism. I have previously held

fellowships with the Berkeley Center for Law and Business at UC-Berkeley, Vanderbilt

School of Law, and the Harvard Law School Program on Corporate Governance, where I

participated in research seminars, guest lectures, and teaching activities.

       7.     I worked at the U.S. Securities and Exchange Commission (“SEC”) between

2014 and 2018 as a Financial Economist. During that time, I provided economic analysis

and expert witness testimony on behalf of the SEC in a wide variety of enforcement

                                              4
investigations, settlement negotiations and litigation, including cases alleging accounting

fraud, revenue recognition practices, and disclosure violations. I also served as an advisor

to SEC Commissioner Robert J. Jackson, Jr., during which time I assisted with enforcement

oversight and policymaking decisions, research, and speechwriting on a wide range of

topics, including securities violations, revenue recognition practices, and corporate

governance issues. Additionally, while employed at the SEC as a Financial Economist, I

continued to work on and publish academic research, for which I was awarded the

Chairman’s Award for Economic Research.

       8.     Prior to working at the SEC, I was an Assistant Professor of Finance at the

University of Notre Dame. I taught courses in Mergers and Acquisitions to both

undergraduate and graduate students, and I also conducted empirical research on various

finance, legal, accounting, and economic topics. I have been engaged in academic research

for over a decade and continue to publish in law reviews and peer-reviewed academic

journals across these disciplines.

       9.     Prior to working at Notre Dame, I received a Ph.D. in Finance from Purdue

University in 2007. Prior to those studies, I worked as an analyst in Debt Capital Markets

at National City Bank, where I assisted companies in raising syndicated loans and private

placements of debt and equity for use in funding mergers, acquisitions, and other general

corporate purposes. I received a B.S. in Finance from Grove City College in 2001.

       10.    In addition to teaching at UC Berkeley, Notre Dame, and Purdue, I have

delivered guest lectures to undergraduate and graduate students at Vanderbilt University,

Arizona State University, Cornell University, and UC Berkeley School of Law. I have also

                                             5
presented my academic research at numerous academic, governmental, and professional

institutions, as listed in my curriculum vitae, which is attached hereto as Appendix A.

       11.    I have published research in leading peer-reviewed finance, accounting, law,

and economics journals, including the Journal of Financial Economics, Journal of Law and

Economics, Journal of Accounting and Economics, Journal of Empirical Legal Studies,

and Journal of Financial and Quantitative Analysis. Appendix A further details my

publications and previous testimony.

       12.    In connection with my work, I have called upon the knowledge and

experience gained during my professional career. My opinions are based on my experience

and expertise in finance, economics, financial reporting, and my understanding of the

allegations and facts set forth in this lawsuit and are not intended to represent legal

conclusions or opinions.

       13.    My time is billed at an hourly rate of $950 per hour for my work on this

matter. I am being assisted in this matter by staff at Cleveland Analytics, LLC who have

worked under my direction and supervision. My compensation and that of the staff of

Cleveland Analytics, LLC is in no way contingent on the outcome of this case or upon any

opinions that I express. The materials I have considered in forming my opinions are

summarized in Appendix B, attached hereto.

III.   Summary of Opinions

       14.    As stated in my Prior Reports, it is my opinion that (a) the market for shares

of Vaxart Common Stock was efficient throughout the Class Period, meaning that widely

available public information was quickly incorporated into stock prices; (b) the market for

                                             6
Vaxart Options was also efficient throughout the Class Period; (c) damages in this matter

for Vaxart Securities can be calculated on a class-wide basis subject to common

methodologies; and (d) there are several common methodologies a factfinder could employ

for determining insider trading damages under Section 20A. 9 I continue to hold the

opinions expressed in my Prior Reports and reiterate them herein.

         15.     Based on my further analysis to date, I reach the following, additional

opinions:

         16.     Opinion 1: The alleged misstatements and/or omissions in this matter were

economically material, in that they conveyed information that altered the total mix of

information available to investors. I base my opinion on the importance of this information

on: (1) analyst commentary and media coverage regarding the details of Operation Warp

Speed (“OWS”) prior to the misstatements and/or omissions; (2) Defendants’ own public

statements and SEC filings; (3) analyst commentary and financial media coverage

analyzing the press release statements concerning Vaxart’s partnership with Attwill to

manufacture one billion or more COVID-19 vaccine doses and the Company being selected

for OWS; (4) the application of basic valuation principles to Vaxart’s business; and (5) my

event study analysis of Vaxart Common Stock prices, which establishes statistically

significant increases caused by the Inflation Creating Events and residual declines

following the Corrective Disclosure Events identified and defined below.




9
    Efficiency Report ¶¶3, 152.

                                              7
       17.    Opinion 2: There is an economic link, which can be reliably measured,

between the alleged misrepresentations and/or omissions in the Attwill and Selected-for-

OWS Press Releases (and the schemes allegedly connected thereto) and the revelation of

the relevant truth. I establish this link and measure damages based on the tools and

fundamental principles of finance, economics, valuation analysis, and my event study

which allows me to measure artificial inflation based on stock price movements in relation

to the alleged misrepresentations, omissions, and/or schemes, and subsequent revelation of

the truth.

       18.    Opinion 3: The alleged misrepresentations and/or omissions (and the

schemes allegedly connected thereto) introduced artificial inflation into the prices of

Vaxart Securities, causing investors to pay artificially inflated prices for Vaxart securities

until said inflation dissipated. To determine when during the Class Period artificial inflation

was introduced into the price of Vaxart Common Stock, I evaluated the alleged

misrepresentations and/or omissions in the allegedly false and misleading press releases. I

then relied upon an event study to determine if there was a statistically significant increase

in the market price of Vaxart Common Stock (after controlling for market and industry

movements) in the wake of the release of such information. The alleged misrepresentations

and/or omissions introduced artificial inflation during the Class Period into the market

price of Vaxart Common Stock on the following dates (the “Inflation Creating Events”):

       • June 25, 2020 (Attwill Press Release): Vaxart, Inc. announced that it
         had signed a Memorandum of Understanding (MOU) with Attwill that,
         due to Attwill’s “ability to manufacture a billion or more doses per year,”



                                               8
             enabled the production at least one billion doses of Vaxart’s COVID-19
             vaccine per year. 10

       • June 26, 2020 (Selected-for-OWS Press Release): Vaxart announced
         that its oral COVID-19 vaccine had been “selected the U.S.
         Government’s Operation Warp Speed,” and that it was “one of the few
         companies selected by Operation Warp Speed” at a time when the public
         was trying to discern the identity of OWS’s seven to eight finalists. 11

       19.      On the Inflation Creating Events, I reviewed relevant news, analyst reports,

press releases, and internal case documents, among other data and documents. Based on

this review, coupled with my event study analysis, I conclude that the alleged

misstatements and/or omissions caused the price of Vaxart Common Stock to increase on

the Inflation Creating Events. I also analyzed whether there was information released on

the Inflation Creating Events that was unrelated to the alleged fraud that could have

affected the price of Vaxart Securities (i.e., “confounding” information), 12 and found none.

       20.      Based on my analysis, I conclude that the total fraud-related stock price

increases associated with the Inflation Creating Events evolved over the Class Period,

reaching a peak of $11.05 per share at 9:40am ET on June 26, 2020, and decreasing




10
   “Vaxart, Inc. Signs Memorandum of Understanding with Attwill Medical Solutions Sterilflow,
LP,” Vaxart, Inc., Jun. 25, 2020. Available at: https://investors.vaxart.com/news-releases/news-
release-details/vaxart-inc-signs-memorandum-understanding-attwill-medical. (“Attwill Press
Release”) (Depo. Ex. 33).
11
  “Vaxart’s COVID-19 Vaccine Selected for the U.S. Government’s Operation Warp Speed,”
Vaxart, Inc., Jun. 26, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-
details/vaxarts-covid-19-vaccine-selected-us-governments-operation-warp. (“Selected-for-OWS
Press Release”) (Depo. Ex. 34).
12
  As discussed in more detail in Section VIII, I find no evidence that information disclosed on
the Inflation Creating Events was unrelated to the alleged fraud.

                                                9
thereafter during/after the Corrective Disclosure Events. 13 More specifically, following the

Selected-for-OWS Press Release and within 10 minutes of the start of regular trading hours

on this date, 14 Vaxart’s stock price reached a high of $14.30 per share. As explained in

Opinion 4 below, I find that at this peak, there was $11.05 of artificial inflation, over half

of which dissipated by the end of regular trading at 4:00pm ET on the same day (with

additional dissipation on subsequent dates). 15 The artificial inflation caused by the Inflation

Creating Events is summarized in Table A below: 16

                    Table A. Vaxart Common Stock Artificial Inflation per Share
                            Introduced on the Inflation Creating Events
                                                                Artificial Inflation
                            Date
                                                               Per Share Introduced

                        June 25, 2020                                  $2.89

                Cumulative total by 9:40am ET
                                                                       $11.05
                      on June 26, 2020



          21.      Opinion 4: The disclosure and diffusion/leakage of the relevant truth through

the Corrective Disclosure Events removed the artificial inflation caused by the alleged




13
     Artificial inflation and deflation for Vaxart Options is discussed in Section XII.
14
     Regular trading on the New York Stock Exchange and Nasdaq runs from 9:30am to 4 PM ET.
15
  As explained in Section IX.A, I calculate that by the close of trading on June 26, 2020, Vaxart’s
Common Stock reflected $4.79 of artificial inflation, and the closing price at 4pm ET was $8.04.
This implies a but-for stock price of $3.25 ($8.04 minus $4.79) on June 26, 2020. The stock price
reached an intraday high of $14.30 per share at 9:40am ET on this date. Therefore, the intraday
artificial inflation introduced by the two Inflation Creating Events as of 9:40am ET on June 26,
2020 equals $11.05 ($14.30 minus $3.25).
16
  As explained in Section VIII.A, I conservatively limit the artificial inflation introduced by the
Attwill Press Release so that the sum of inflation introduced by the Inflation Creating Events does
not exceed the sum of inflation dissipated by the Corrective Disclosure Events.

                                                   10
misstatements and/or omissions from the price of Vaxart Securities. 17 I identified an event

as a Corrective Disclosure Event, including the diffusion/leakage of the relevant truth into

Vaxart Common Stock prices, if it revealed relevant information about the alleged

misstatements, omissions, and/or schemes. The following events partially dissipated,

diffused, and/or leaked artificial inflation from the market prices of Vaxart Common Stock

on the associated dates (collectively, the “Corrective Disclosure Events”):

       • June 26, 2020: The substantial Armistice Sales and diffusion/leakage of
         the relevant truth, which caused Vaxart’s intraday trading price to decline
         after peaking at $14.30 per share at 9:40am ET.

       • June 29, 2020: The continued Armistice Sales and diffusion/leakage of
         the relevant truth, which caused a negative market impact on Vaxart’s
         Common Stock price.

       • July 1, 2020 (and continued reaction on July 2 and July 6; market
         closed July 3-5 for holiday weekend): After the market closed on June
         30, 2020, Vaxart filed with the SEC a Form 4, which publicly reported
         that Armistice sold virtually all of their Vaxart stockholdings on June 26
         and 29, 2020. 18 This represented further diffusion/leakage of the relevant
         truth.

       • July 27, 2020: On Saturday, July 25, the New York Times published an
         article reporting that Vaxart had not been selected for OWS: “Vaxart is
         not among the companies selected to receive significant financial support
         from Warp Speed to produce hundreds of millions of vaccine doses.” 19
         On that same date, the Department of Health and Human Services


17
   I use the terms leakage, diffusion, and dissipation interchangeably to refer to the removal of
artificial inflation from Vaxart’s Common Stock price, including via public corrective disclosures
as well as market price impacts of the Armistice Sales and subsequent disclosure of these sales.
18
  Vaxart, Inc., Armistice Capital, LLC, Armistice Capital Master Fund Ltd., Steven Boyd, SEC
Form 4, Jun. 30, 2020. Available at: https://www.sec.gov/Archives/edgar/data/72444/000091
957420004394/0000919574-20-004394-index.htm. (“Armistice Form 4”).
19
  “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York Times, July
25, 2020. Available at: https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-
profits-vaxart.html.

                                               11
             (“HHS”) posted via Twitter: “The US Department of Health and Human
             Services has entered into funding agreements with certain vaccine
             manufacturers and we are negotiating with others. Neither is the case with
             Vaxart.” 20

Additionally, following the June 26, 2020 Selected-for-OWS Press Release, there was

intense scrutiny from investors, analysts, and the media into Vaxart’s self-proclaimed

selection for OWS. Despite questions from market participants, neither Vaxart nor

Defendants provided any meaningful, reliable, or clear information to the public following

the false and misleading press releases. The lack of any confirmation from official

government source, Vaxart’s decision to ignore media inquiries in the days following the

allegedly false and misleading press releases, and subsequent reports about U.S.

Government support for other COVID-19 vaccines contributed to increased skepticism

about the allegedly false and misleading statements, and thus further partially dissipated,

diffused, and/or leaked artificial inflation from the market prices up until the market

learned the full truth.

       22.      On the Corrective Disclosure Events, I reviewed relevant news, analyst

reports, press releases, and internal case documents, among other data and documents.

Based on this review, coupled with my event study analysis, I conclude that the corrective

information and diffusion/leakage of the relevant truth caused the price of Vaxart Common

Stock to decline on the Corrective Disclosure Events. I also considered whether there was




20
   HHS Office of Public Affairs (@SpoxHHS), Twitter post, Jul. 25, 2020. Available at:
https://twitter.com/SpoxHHS/status/1286965074003976193 (“HHS Tweet”). Viewable at Depo.
Ex. 36.

                                               12
information released on the Corrective Disclosure Events that was unrelated to the alleged

fraud (i.e., “confounding” information).

          23.    Based on my loss causation analysis, I calculated the amount of artificial

inflation dissipated by the Corrective Disclosure Events. I conclude that the total fraud-

related price declines associated with the Corrective Disclosure Events is $11.05 per share

(over half of which dissipated on June 26, 2020). By the close of regular trading at 4:00pm

ET the same day, I conclude that $6.26 of artificial inflation was dissipated from Vaxart’s

Common Stock prices. 21 In other words, I calculate that of the $11.05 of artificial inflation

introduced by 9:40am ET on June 26, 2020 (when artificial inflation peaked), over half of

it was dissipated via leakage by 4:00pm ET on this date. Most of the remaining $4.79 of

artificial inflation was dissipated via leakage throughout the day on June 29 and on a daily

basis from July 1 through 6. I note that this leakage analysis is consistent with leakage

models in other cases. 22 The last portion of artificial inflation was dissipated, at the latest,

on the final Corrective Disclosure Event, with a market impact date of July 27, 2020. This

is summarized in Table B below: 23




21
  Calculated as the difference between the cumulative $11.05 of artificial inflation introduced by
9:40am ET on June 26, 2020 and the $4.79 of artificial inflation present in the stock price at 4:00pm
ET market close on this date.
22
   See, e.g., In re Tesla, Inc. Sec. Litig., 2022 WL 7374936, at *7-14 (N.D. Cal. Oct. 13, 2022);
Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d 408, 416 (7th Cir. 2015); Gruber v.
Gilbertson, 628 F. Supp. 3d 472, 484–87 (S.D.N.Y. 2022); Swack v. Credit Suisse First Bos., 383
F. Supp. 2d 223, 243 (D. Mass. Sept. 21, 2004); see also Matthew L. Mustokoff & Margaret E.
Mazzeo, Loss Causation on Trial in Rule 10b-5 Litigation a Decade After Dura, 70 Rutgers L.
Rev. 175, 207–17 (2017).
23
     Artificial inflation and deflation for Vaxart Options is discussed in Section XII.

                                                   13
      Table B. Vaxart Common Stock Artificial Inflation per Share Dissipated by the
                 End of Trading Day on the Corrective Disclosure Events

                                                        Artificial Inflation
                         Date                                                     % of Total
                                                       Per Share Dissipated
                     June 26, 2020
                                                              $6.26                  56.7%
                (9:40am to 4:00pm ET)
                     June 29, 2020                             $0.50                  4.5%
                      July 1, 2020                             $0.90                  8.1%
                      July 2, 2020                             $0.70                  6.3%
                      July 6, 2020                             $1.01                  9.1%
                     July 27, 2020                             $1.68                 15.2%
                         Total                                $11.05                100.0%

       24.     Opinion 5: Based on a common formula, which can accommodate any

modification deemed necessary by a factfinder, at any point in the Class Period, the level

of artificial inflation was equal to the actual stock price at the time an investor purchased

less the but-for stock price. I have calculated the artificial inflation in Vaxart Common

Stock each day during the Class Period, as presented in Table C, below. Table C also

reflects intraday artificial inflation in Vaxart Common Stock on June 26 and 29, 2020,

because the Armistice Sales occurred throughout the trading day on both dates, causing

leakage/dissipation of artificial inflation from prices throughout those days. This is

summarized in the table below: 24


24
  As explained in Section IX.A, I calculate that by the close of trading on June 26, 2020, Vaxart’s
Common Stock reflected $4.79 of artificial inflation, and the closing price at 4pm ET was $8.04.
This implies a but-for stock price of $3.25 ($8.04 minus $4.79) on June 26, 2020. The stock price
reached an intraday high of $14.30 per share on this date. Therefore, the intraday artificial inflation
on June 26, 2020 (between 8:00am and 4:00pm ET) is the difference between the trading price and
the but-for implied stock price of $3.25. Based on the daily high and low trading prices of $14.30
and $7.89, respectively, this equates to maximum and minimum intraday inflation of $11.05 and
$4.64, respectively. Similarly, I explain in Section IX.B that the intraday artificial inflation on



                                                  14
             Table C. Vaxart Common Stock Artificial Inflation per Share During
                                    the Class Period

                       Date Range                    Artificial Inflation Per Share

                      June 25, 2020                             $2.89
                                                      Purchase Price Minus $3.25
             June 26, 2020 (8:00am – 3:59pm)
                                                      (Max: $11.05, Min: $4.64)
             June 26 (4:00pm) - June 28, 2020                   $4.79
                                                      Purchase Price Minus $3.20
             June 29, 2020 (8:00am – 3:59pm)
                                                       (Max: $6.69, Min: $4.12)
             June 29 (4:00pm) – June 30, 2020                   $4.29
                        July 1, 2020                            $3.39
                      July 2 - 5, 2020                          $2.69
                     July 6 - 24, 2020                          $1.68
                  July 25, 2020 and after                       $0.00

       25.       Opinion 6: I calculate Section 10(b) Common Stock damages on a per share

basis for each Class member using the standard out-of-pocket methodology. This formula

measures damages as the artificial inflation per share at the time of purchases less the

artificial inflation per share at the time of sale (subject to additional limitations explained

in Section XI), as determined by the factfinder.

       Per-Share Damages Formula

                                Inflation per-share at time of purchase

                        —       Inflation per share remaining at time of sale

                                Per-Share Damages




June 29, 2020 equals the difference between the trading price and the but-for implied stock price
of $3.20. Based on the daily high and low trading prices of $9.89 and $7.32, respectively, this
equates to maximum and minimum intraday inflation of $6.69 and $4.12, respectively.

                                                15
For example, using the values in Table C, an investor who purchased Vaxart Common

Stock on June 26, 2020, at about 9:40am, for $14.30, and sold at 4:00pm that day would

have damages of $6.26 per share:

      Damages Formula Example 1

      Inflation per-share at time of purchase                               $11.05
                                                                  ($14.30 - $3.25)

 —    Inflation per share remaining at time of sale          —               $4.79

      Per-Share Damages                                                      $6.26


Alternatively, an investor who purchased shares three trading days later on July 1, 2020

and sold on July 7, 2020 would have damages of $1.71:

      Damages Formula Example 2

      Inflation per-share at time of purchase                                $3.39

 —    Inflation per share remaining at time of sale          —               $1.68

      Per-Share Damages                                                      $1.71


An investor’s total damages would equal the aggregate of their per-share damages.

      26.    I also provide calculations for Section 20A Common Stock aggregate

damages using the statutory formula.



                   I understand that only Class members who traded “contemporaneously”

with Defendants are eligible for recovery of damages under Section 20A.



                                            16
       27.    These Section 10(b) and 20A damages formulas are flexible and able to

incorporate alternative findings regarding the quantification and timing of artificial

inflation, including how it evolved over the Class Period.

       28.    Opinion 7: I also calculate Section 10(b) Options damages for each Class

member using the standard out-of-pocket methodology. These calculations incorporate the

Common Stock daily artificial inflation described above and the standard Black-Scholes

option pricing formula. The out-of-pocket formula for Options damages measures damages

as the artificial inflation at the time of purchases less the artificial inflation at the time of

sale (subject to additional limitations explained in Section XII). These damages

calculations are flexible and able to incorporate alternative findings regarding the

quantification, as well as the timing, of artificial inflation and how it evolves over the Class

Period.

IV.    Relevant Background

       A. Overview of Vaxart and Armistice

       29.    Vaxart, Inc. was founded in 2004 with the aim to develop oral vaccines

administered by tablet rather than injection. 25 The company’s business model and future

prospects are premised upon on the successful development of its tablet vaccine candidates




25
   Vaxart, Inc., SEC Form 10-K, Feb. 24, 2022, at p. 2. Available at: https://www.sec.gov/
Archives/edgar/data/72444/000143774922004354/ 0001437749-22-004354-index.htm (“Vaxart
2021 Annual Report”) (“Vaxart Biosciences, Inc. was originally incorporated in California under
the name West Coast Biologicals, Inc. in March 2004.”).

                                               17
and obtaining necessary regulatory approvals. 26 On February 13, 2018, Vaxart, Inc.

completed its merger with Aviragen Therapeutics, Inc. and began trading on the Nasdaq

Capital Market the next day under the symbol VXRT. 27 Over the fiscal years of 2018 and

2019, the company reported losses totaling nearly $37 million, with revenues of $9.9

million in 2019 and $4.2 million in 2018. 28

          30.    In August 2018, Armistice Capital, described as a “global long/short, value-

oriented and event-driven hedge fund focused primarily on the health care and consumer

sectors, 29 began acquiring Vaxart Common Stock through the open market and public

offerings. By September 2019, Armistice had gained a significant ownership stake in




26
   Vaxart 2021 Annual Report, at p. 50 (“Our ability to generate significant revenue and achieve
and maintain profitability will depend upon our ability to successfully complete the development
of our tablet vaccine…and to obtain the necessary regulatory approvals.”).
27
       Vaxart,   Inc.,   SEC     Form      8-K,   Feb.   20,   2018.    Available   at:
https://www.sec.gov/Archives/edgar/data/72444/000119312518049470/0001193125-18-049470-
index.htm.
28
     Vaxart, Inc., SEC Form 10-K, Feb. 25, 2021, at p. 86. Available at:
https://www.sec.gov/Archives/edgar/data/72444/000143774921004115/vxrt20201211_10k.htm.
(“Vaxart 2020 Annual Report”).
29
     See Armistice Capital, “Our Firm.” Available at: http://www.armisticecapital.com/about-draft.

                                                 18
Vaxart. 30 Armistice also installed at least two directors onto Vaxart’s board in October

2019. 31

       31.    As the coronavirus began spreading globally in early 2020, Vaxart evaluated

the potential for adapting its vaccine platform to combat COVID-19. On January 31, 2020,

Vaxart announced the initiation of a coronavirus vaccine program. 32 This press release

highlighted Vaxart’s proprietary oral vaccine platform to attempt development of a vaccine

candidate for COVID-19. In March 2020, as COVID-19 was declared a pandemic and the

U.S. Government announced a national emergency, Vaxart issued a press release detailing

a development and manufacturing agreement with Emergent BioSolutions. 33 Throughout




30
   Vaxart, Inc., SEC Form 10-K, Mar. 19, 2020, at p. 43 (“As of December 31, 2019, Armistice
Capital Master Fund, Ltd., or Armistice, a hedge fund, beneficially owned approximately 52% of
the voting power of our outstanding shares of common stock, having surpassed the 50% ownership
threshold on September 30. As of that date, we were a “controlled company” within the meaning
of the applicable Nasdaq listing rules. Due to the issuance of common stock to other investors in
the first quarter of 2020, Armistice no longer owns more than 50% of our stock but, as of March
17, 2020, still beneficially owned more than 35% of the voting power of our outstanding shares”).
Available         at:      https://www.sec.gov/Archives/edgar/data/72444/000143774920005683/
vxrt20191213_10k.htm. (“Vaxart 2019 Annual Report”).
31
   “Vaxart Announces Changes to its Board of Directors,” Vaxart, Inc., Oct. 28, 2019. Available
at:        https://investors.vaxart.com/news-releases/news-release-details/vaxart-inc-announces-
changes-its-board-directors.
32
   “Vaxart Announces Initiation of Coronavirus Vaccine Program,” Vaxart, Inc., Jan. 31, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-announces-
initiation-coronavirus-vaccine-program.
33
   “Vaxart Announces it Entered into an Agreement with Emergent BioSolutions for the
Development and Manufacturing of Oral Coronavirus (COVID-19) Vaccine Candidate,” Vaxart,
Inc., Mar. 18, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-
details/vaxart-announces-it-entered-agreement-emergent-biosolutions.

                                               19
Vaxart’s history up through the start of the Class Period, the Company had never

successfully developed a commercially viable vaccine. 34

      B. Summary of the Alleged False Statements and/or Omissions and Plaintiffs’
         Related Claims

           32.     Three of Plaintiffs’ claims against Defendants were sustained in the Court’s

May 25, 2023 motion-to-dismiss order. First, Plaintiffs contend Defendants engaged in an

insider trading scheme in violation of Sections 20A and Rule 10b-5(a)&(c). 35 Second, they

contend Defendants “participated in an intentional scheme to manipulate the price of

Vaxart shares for the purpose of selling them at an artificially inflated price.” 36 Third,

Plaintiffs contend that “Boyd and Maher were ‘control persons’ of Armistice Capital, and

Boyd, Maher, and Armistice Capital were ‘control persons’ of Armistice Master Fund.” 37

           33.     As part of the fraudulent schemes and acts underlying these claims, Plaintiffs

allege that Defendants conspired to appoint Andrei Floroiu as the CEO of Vaxart in June

2020 to carry out an aggressive press release campaign, which involved the dissemination

of the false and misleading Attwill and/or Selected-for-OWS Press Releases, prior to

Defendants’ liquidation of their Vaxart holdings. As part of their schemes, Defendants also

allegedly caused Vaxart to amend its then-recently updated insider trading policy, which,

without the amendments,



34
  Vaxart 2021 Annual Report, at p. 49 (“We have not yet produced a commercially viable vaccine
and we may be never able to.”).
35
     May 2023 MTD Order at 3-5.
36
     Id. at 5-6.
37
     Id. at 5.

                                                 20
         34.    Plaintiffs also allege that Defendants engineered or otherwise directed the

publication of two deceptive press releases prior to the sales of Vaxart Securities, which

when read individually and together, “created the materially misleading impression that

Vaxart stood at the precipice of pioneering a successful coronavirus vaccine.” 39 This

included a June 25, 2020 press release which exaggerated the then-present capabilities of

Attwill Medical Solutions Sterilflow, LP (“Attwill”), a critical partner of Vaxart in the

vaccine development process.

         35.    Among other things, the Attwill Press Release represented that:

         • “Vaxart, Inc. Signs Memorandum of Understanding with Attwill Medical
           Solutions Sterilflow, LP Enabling Production of A Billion or More
           COVID19 Vaccine Doses Per Year Through Large Scale Lyophilization,
           Tableting and Coating [“MOU”].”

         • “We believe AMS’ experience coupled with its ability to manufacture a
           billion or more doses per year would be a beneficial addition to our group
           of CDMO partners and enable the large scale manufacturing and




38
     Complaint ¶¶128-210; Depo. Exs. 213, 258.
39
     See Dec. 2021 MTD Order at 8 (Doc. No. 182).

                                                 21
                 ultimate supply of our COVID-19 vaccine for the US, Europe and other
                 countries in need,” said Andrei Floroiu, CEO of Vaxart Inc.” 40

           36.      As claimed by Plaintiffs: The announced MOU with Attwill suggested

Vaxart had in its manufacturing infrastructure a partner with the then-present existing

capacity to manufacture hundreds of millions of doses of vaccine as part of Operation Warp

Speed’s mission “to deliver 300 million doses of a safe, effective vaccine for COVID-19

by January 2021.” 41 Plaintiffs claim that, in reality, at the time of the Attwill Press Release,

minimal due diligence into Attwill had been conducted prior to the Attwill Press Release’s

issuance. 42 Moreover, Plaintiffs claim that Attwill lacked the regulatory capacity,

personnel, and wherewithal to produce even one dose, let alone one billion. 43

           37.      The Attwill Press Release was followed by a press release on June 26, 2020

touting that “Vaxart’s COVID-19 Vaccine [was] Select[ed] for the U.S. Government’s

Operation Warp Speed”. 44 As discussed below, it had been reported prior to the Selected-

for-OWS Press Release that OWS was a program aimed at accelerating the development

and mass production of a COVID-19 vaccine, which was narrowing down an initial list of




40
     Attwill Press Release (emphasis added).
41
     See Pls.’ Supp. Interrogatory Responses (draft); Depo Ex. 310.
42
     Id.
43
     Id.
44
     Selected-for-OWS Press Release.

                                                 22
100+ vaccines down to seven to eight finalists. 45 The Selected-for-OWS Press Release

claimed:

          • Vaxart’s Covid-19 Vaccine Selected for the U.S. Government’s
            Operation Warp Speed

          • OWS to Test First Oral COVID-19 Vaccine in Non-Human Primates

          • [the study was] … organized and funded by Operation Warp Speed …

          • “We are very pleased to be one of the few companies selected by
            Operation Warp Speed ….” 46

          38.    Plaintiffs claim the announcement that Vaxart had been “selected for” OWS,

and other representations and/or omissions made in the Selected-for-OWS Press Release,

exploited the gap in the public’s knowledge about OWS and Vaxart’s internal affairs by

exaggerating Vaxart’s role, if any, in Operation Warp Speed and the prospects for

government funding. 47




45
   See, e.g., HHS, “Fact Sheet: Explaining Operation Warp Speed,” Jun. 16, 2020 (“HHS Fact
Sheet”) (viewable at Depo. Ex. 349); “Trump Administration Selects Five Coronavirus Vaccine
Candidates as Finalists,” New York Times, Jun. 3, 2020. Available at:
https://www.nytimes.com/2020/06/03/us/politics/coronavirus-vaccine-trump-moderna.html.;
“Trump Administration Announces Framework and Leadership for ‘Operation Warp Speed,’”
U.S.       Department     of      Defense,     May      15,      2020.     Available     at:
https://www.defense.gov/News/Releases/Release/Article/2310750/trump-administration-
announces-framework-and-leadership-for-operation-warp-speed/.
46
     Selected-for-OWS Press Release (emphasis added).
47
     See Pls.’ Supp. Interrogatory Responses (draft).

                                                  23
           39.   As part of their claims, Plaintiffs detail how Defendants allegedly

manipulated the timing of these press releases and altered Vaxart’s insider trading policies.

These strategic alterations allowed Defendants to sell over 27 million Vaxart shares (the

“Armistice Sales”) advantageously before investors could fully understand the misleading

nature of the Attwill and Selected-for-OWS Press Releases. 51 In effect, Plaintiffs allege

that Defendants engaged in a pump-and-dump scheme by artificially inflating (or

maintaining inflation existing in) Vaxart’s securities prices and almost immediately selling

their shares into the market while the securities prices and trading volume had been

artificially increased. 52

           40.   However, Plaintiffs assert that as of the start of the Class Period, the above

misstatements and/or omissions were false and misleading. Defendants allegedly knew, or

should have known, in the course of due diligence, their inside knowledge of Vaxart and




48
     Id.
49
     See id.
50
     Id.
51
     Id.
52
     Id.

                                               24
the industry, and the boldness of their claims in the press release—that the Attwill Press

Release was deceptive and/or misleading. Attwill allegedly did not have the critically

necessary FDA certifications to manufacture any doses of Vaxart’s COVID-19 vaccine and

lacked the personnel and operational capabilities to manufacture the amount of doses

touted in the Attwill Press Release. 53

           41.   Additionally, Plaintiffs allege that, prior to the press releases’ issuances, and

Defendants’ trades thereafter, Defendants knew or recklessly disregarded that there was

effectively no chance Vaxart would be selected by the federal government as one of seven

to eight OWS finalists. 54 Plaintiffs claim that, as later reported by the U.S. Department of

Health and Human Services’ Office of Public Affairs’ Twitter Account, “Vaxart’s vaccine

candidate was selected to participate in preliminary US government studies to determine

potential areas for possible Operation Warp Speed partnership;” as of July, “those studies

[we]re ongoing and no determinations ha[d] been made.” 55 Indeed, Plaintiffs assert that,

prior to June 25, 2020, Vaxart had received no official reports or statements from the U.S.

Government explicitly stating it had been selected for Operation Warp Speed. 56 Plaintiffs

further contend that Defendants read or had access to the text of both false and misleading

press releases before liquidating their Vaxart holdings on June 26 and June 29, 2020. 57




53
     Id.
54
     Id.
55
     Id.
56
     See id.
57
     Id.

                                                 25
         42.      Plaintiffs allege that the artificial inflation in Vaxart’s securities prices was

dissipated as the market realized the truth through a series of Corrective Disclosure Events

that partially revealed relevant information about Defendants’ alleged schemes, including

the market impact of the Armistice Sales and news about Vaxart’s selection for OWS.

These events included the massive Armistice Sales on June 26, 2020, 58 further Armistice

Sales on June 29, 2020, 59 the disclosure of these sales via SEC Form 4 after market-hours

on June 30, 2020 and the subsequent market impact as investors digested this news on July

1, 2, and 6, 2020, 60 and the subsequent market impact on July 27, 2020 of the HHS Tweet61

and a New York Times article 62 on Saturday, July 25, 2020. 63 Additionally, Plaintiffs

contend that the artificial inflation was reduced on these dates (and possibly others 64) as a

result of questions publicly raised and divergent opinions published by financial analysts

and journalists about Vaxart’s manufacturing abilities, its purported selection for Operation




58
     Complaint ¶27.
59
     Complaint ¶28.
60
     Complaint ¶248.
61
     HHS Tweet.
62
  “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York Times, July
25, 2020. Available at: https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-
profits-vaxart.html.
63
     Complaint ¶¶30; 216.
64
  I note that my approach is conservative because I do not include artificial inflation that may have
leaked/diffused out of Vaxart’s Common Stock price after July 6, 2020; instead, I limit my estimate
of subsequent artificial inflation dissipation to the statistically significant stock price decline
following the July 25, 2020 HHS Tweet and New York Times article.

                                                  26
Warp Speed, and other OWS-related news published in the Attwill and Selected-for-OWS

Press Releases’ wake.

          43.    As a result of the alleged schemes, misstatements, and/or omissions,

investors allegedly purchased Vaxart Securities at artificially inflated prices during the

Class Period and suffered economic losses when the prices of Vaxart Securities declined

upon the revelations of the relevant truth. 65 Moreover, as a result of the schemes, certain

investors allegedly traded contemporaneously with Defendants while Defendants

possessed material, non-public information, and suffered economic losses therefrom. 66

      C. Summary of the Information Environment During the Class Period

          44.    Given the evolution of Vaxart’s information environment over the Class

Period, in this section I briefly summarize the information environment and daily stock

price movements for the Company, starting with the first Inflation Creating Event and

ending with the market impact date of the last Corrective Disclosure Event. I also refer to

Vaxart’s daily “residual” stock price movements after controlling for the market and

industry dynamics each day, as evaluated by my event study and reported in Exhibit 3.

          • June 25: Vaxart published the Attwill Press Release, 67 and Andrei
            Floroiu gave a virtual presentation at the H.C. Wainright conference. 68
            The Company’s Common Stock price increased by $3.06 after
            controlling for market and industry movements.




65
     Complaint ¶¶246-49.
66
     Complaint ¶¶340-58.
67
     Attwill Press Release.
68
     Final Transcript, H.C. Wainwright Virtual Fireside Chat Series, June 25, 2020.

                                                 27
         • June 26: Vaxart published the Selected-for-OWS Press Release. 69
           Armistice sold over 18 million shares. 70 The Company’s Common Stock
           price reached an intraday high of $14.30 before declining to close at
           $8.04, for a net increase of $1.90 relative to the prior day’s closing price,
           after controlling for market and industry movements.

         • June 29: Armistice sold over 9 million shares. 71 Vaxart residual stock
           price decline of -$0.50.

         • June 30: Business Insider 72 published an article discussing Vaxart’s
           selection to OWS, and Motley Fool 73 published an article discussing the
           Company’s upcoming oral COVID-19 vaccine clinical studies. The
           Business Insider article referenced COVID-19 manufacturer Inovio’s
           press release, issued that day, subtitled “Selected for the U.S.
           Government’s Operation Warp Speed,” which announced positive
           interim clinical data and repeated prior reports that it had been “selected
           to participate in a non-human primate study as part of the U.S.
           Government’s Operation Warp Speed.” 74 Vaxart had a residual stock
           price increase of $1.30.



69
     Selected-for-OWS Press Release
70
     Armistice Form 4.
71
     Armistice Form 4.
72
   “Inovio’s 860% Year-to-Date Rally Takes a Breather After the Release of Phase I Data for
Company’s COVID-19 Vaccine Candidate,” Business Insider, Jun. 30, 2020. Available at:
https://www.businessinsider.in/stock-market/news/inovios-860-year-to-date-rally-takes-a-
breather-after-the-release-of-phase-i-data-for-companys-covid-19-vaccine-
candidate/articleshow/76713773.cms.
73
     “Is It Too Late to Buy Vaxart Stock?,” Nasdaq, Jun 30, 2020. Available at:
https://www.nasdaq.com/articles/is-it-too-late-to-buy-vaxart-stock-2020-06-30: “The company
plans to begin a phase 1 study of its oral COVID-19 vaccine in the second half of the year. CEO
Wouter Latour has indicated this study could crank up as early as this summer. Despite its meteoric
rise, Vaxart’s market cap is still only around $620 million. You can count on that number rising
tremendously if the biotech’s COVID-19 vaccine proves to be successful in its phase 1 clinical
trial. If the vaccine candidate makes its way unscathed through three phases of clinical studies,
Vaxart stock will be worth a lot more than it is now.”
74
   “INOVIO Announces Positive Interim Phase 1 Data For INO-4800 Vaccine for COVID-19,”
Inovio Pharmaceuticals, Inc., Jun 30, 2020. Available at: https://ir.inovio.com/news-
releases/news-releases-details/2020/INOVIO-Announces-Positive-Interim-Phase-1-Data-For-
INO-4800-Vaccine-for-COVID-19/default.aspx.

                                                28
         • June 30 (after-hours): Form 4 filed with the SEC disclosing the
           Armistice Sales. 75 On July 1, Jim Cramer stated that he “wants to buy the
           best possible and that is not Vaxart.” 76 Vaxart had residual stock price
           declines of -$0.90 on July 1, -$0.70 on July 2, and -$1.01 on July 6.

         • July 7: BioInvest Medical Technology Stock Letter, an independent
           investment advisory firm, began coverage of Vaxart, issuing bullish
           commentary and a Buy rating, based in part on the Attwill and Selected-
           for-OWS Press Releases. 77 Media outlets also reported that Novavax, one
           of the OWS finalists, won $16 Billion in Warp Speed funding and
           planned to manufacture 100 million doses of its COVID-19 vaccine.78
           Vaxart’s residual stock price increased $2.40.

         • July 8: Vaxart filed an 8-K disclosing preliminary second quarter
           financial estimates. 79 The release included no new information about
           Vaxart’s manufacturing abilities or its purported selection for Operation
           Warp Speed. The Company’s residual stock price decreased -$0.80.

         • July 9-10: No significant news, and the Company’s stock price remained
           relatively unchanged, with a residual increase of $0.08 on July 9 and
           residual decrease of -$0.14 on July 10.




75
     Armistice Form 4.
76
  “Cramer Shares His Thoughts On Sirius XM, Nokia And More,” Benzinga, Jul. 1, 2020.
Available at: https://finance.yahoo.com/news/cramer-shares-thoughts-sirius-xm-183657121.html.
77
   “BIOINVEST BREAKING NEWS - Special Update -- NEW RECOMMENDATION: Vaxart
(VXRT} - VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human Testing,” BioInvest, Jul.
7, 2020. Available at: https://bioinvest.com/vaxart-vxrt-vxrts-oral-vaccine-for-covid-19-poised-
to-enter-human-testing/: “VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human Testing -
We are initiating coverage of Vaxart with a BUY rating (VXRT $7.88, Market Capitalization $743
million). With proprietary vaccine technology that has recently been validated by being selected
to participate in the government’s Operation Warp Speed (OWS) program. … Like several
vaccines selected for this program (e.g., AZN/Oxford, NVAX), we expect that VXRT will receive
substantial government funding in the near-term for this program.”
78
  See, e.g. “Novavax Wins $1.6B in Warp Speed Funding, Plans First 100M Doses of COVID-19
Vaccine,” Genetic Engineering and Biotechnology News, Jul. 7, 2020. Available at:
https://www.genengnews.com/news/novavax-wins-1-6b-in-warp-speed-funding-plans-first-
100m-doses-of-covid-19-vaccine/.
79
   Vaxart, Inc., SEC Form 8-K, Jul. 7, 2020. Available at: https://www.sec.gov/
Archives/edgar/data/72444/000143774920014818/0001437749-20-014818-index.htm.

                                              29
       • July 13: On Sunday, July 12, B. Riley initiated coverage of Vaxart with
         a Buy rating and a Price Target of $22 per share. 80 On July 13, Vaxart
         announced that it had raised $90 million (with B. Riley as co-lead sales
         agent), to “support the clinical and preclinical development of Vaxart’s
         product candidates, to conduct clinical trials, to manufacture its products,
         and for general corporate and working capital purposes.” 81 The release
         included no new information about Vaxart’s manufacturing abilities or
         its purported selection for Operation Warp Speed. The Company’s
         residual stock price increased $4.41. 82

       • July 14: The New York Times published an article about the benefits of
         mucosal vaccines, mentioning Vaxart’s oral formulation; 83 “COVID-19
         vaccine developers perk up on IMV rally.” 84 Vaxart’s residual stock price
         increased $4.68.




80
   “One-of-Its-Kind Oral Vaccine Maker Steadily Scaling Up to Meet Global Demand--Initiating
at Buy, $22 PT,” B. Riley, Jul. 12, 2020.
81
       Vaxart,    Inc.,  SEC       Form      8-K,   Jul.  13,     2020.    Available     at:
https://www.sec.gov/Archives/edgar/data/72444/000143774920015069/0001437749-20-015069-
index.htm. See also “Vaxart Raises Approximately $90M in Gross Proceeds Through its At-The-
Market-Facility,” Globe Newswire, Jul. 13, 2020.
82
   See also “Why Vaxart Stock Is Skyrocketing Today,” Motley Fool, July 13, 2020. Available at:
https://www.fool.com/investing/2020/07/13/why-vaxart-stock-is-skyrocketing-today.aspx: “The
huge jump came after investment bank B. Riley FBR initiated coverage on the stock with a buy
rating and a price target of $22. … In this case, B. Riley FBR appears to be very optimistic about
the prospects for Vaxart's oral COVID-19 vaccine candidate. This experimental vaccine was
recently selected by the U.S. government's Operation Warp Speed for funding and inclusion in a
preclinical study.”
83
  “You’d Rather Get a Coronavirus Vaccine Through Your Nose,” New York Times, Jul. 14,
2020.      Available  at:    https://www.nytimes.com/2020/07/14/health/coronavirus-nasal-
vaccines.html.
84
    “COVID-19 Vaccine Developers Perk Up on IMV Rally,” Seeking Alpha, Jul. 14, 2020.
Available at: https://seekingalpha.com/news/3590976-covid-minus-19-vaccine-developers-perk-
up-on-imv-rally: “Premarket buying is lifting many COVID-19 vaccine players after IMV
announced Health Canada sign-off on a Phase 1 study of its candidate DPX-COVID-19, expected
to launch this summer.”

                                               30
       • July 15: After the market closed on July 14, Moderna announced that its
         coronavirus vaccine trial produced a “robust” immune response. 85 On
         July 15, Vaxart’s residual stock price decreased -$2.79.

       • July 16: Vaxart issued a press release announcing the results of a new
         study published in the Journal of Infectious Diseases. 86 Vaxart’s residual
         stock price increased $1.41.

       • July 17: No significant news, and the Company’s stock price had a
         residual decrease of -$0.36.

       • July 20: Business Insider published an article, citing the head of
         healthcare banking at RBC Capital Markets, questioning the viability of
         biotech firm valuations and COVID vaccine viability, including Vaxart.87
         Vaxart’s residual stock price decreased -$0.75.




85
   See, e.g., “Moderna Shares Jump As Much As 16% After Company Says Its Coronavirus
Vaccine Trial Produced ‘Robust’ Immune Response,” CNBC, Jul. 14, 2020. Available at:
https://www.cnbc.com/2020/07/14/moderna-says-its-coronavirus-vaccine-trial-produced-robust-
immune-response-in-all-patients.html: “Moderna’s shares soared after the company said its
potential vaccine to prevent Covid-19 produced a ‘robust’ immune response in all 45 patients in
its early stage human trial, according to newly released data published Tuesday evening in the
peer-reviewed New England Journal of Medicine.”
86
   “Norovirus Gastroenteritis Costs an Estimated $10.6 Billion Each Year in the United States”,
Vaxart, Inc., Jul. 16, 2020. Available at: https://investors.vaxart.com/news-releases/news-release
-details/norovirus-gastroenteritis-costs-estimated-106-billion-each-year:        “Vaxart,      Inc.,
(NASDAQ: VXRT), a clinical-stage biotechnology company developing oral recombinant
vaccines that are administered by tablet rather than by injection, and has a Phase 2 ready norovirus
vaccine program, today announced that a new study was published in the Journal of Infectious
Diseases today, which concluded that norovirus gastroenteritis costs the United States an estimated
median of $10.6 billion each year. In particular, norovirus outbreaks that are widely publicized are
only the tip of the iceberg and constitute less than 10% of all the costs. The vast majority of the
costs come from sporadic cases in the community…Vaxart, Inc. supported the PHICOR’s research
team to model the course of a norovirus infection using empirical data. The results from this study
provide a vast array of analyzed and raw data to underpin the medical need and advance the
company’s development of its tableted norovirus vaccine.”
87
   “A top healthcare dealmaker offers a stern warning to investors drawn to sky-high stocks in
biotech fueled by coronavirus news,” Business Insider, Jul. 20, 2020. Available at:
https://www.businessinsider.com/rbcs-head-of-healthcare-on-biotech-coronavirus-valuations-
2020-7.

                                                31
         • July 21-23: No significant news, 88 and the Company’s stock had residual
           changes of $0.58 on July 21, -$0.48 on July 22, and -$0.33 on July 23.

         • July 24: The Motley Fool published an article describing pressure from
           Congress on developers’ COVID-19 vaccine prices. 89 Vaxart’s residual
           stock price decreased -$1.06.

         • July 27, 2020: On Saturday, July 25, the New York Times published an
           article reporting that Vaxart had not been selected for OWS: “Vaxart is
           not among the companies selected to receive significant financial support
           from Warp Speed to produce hundreds of millions of vaccine doses.” 90
           On that same date, the Department of Health and Human Services
           (“HHS”) posted via Twitter: “The US Department of Health and Human
           Services has entered into funding agreements with certain vaccine
           manufacturers and we are negotiating with others. Neither is the case with
           Vaxart.” 91 Vaxart’s residual stock price decreased -$1.68.

         45.    While the above timeline summarizes relevant information that was

disclosed during the Class Period, it does not fully reflect information that remained

undisclosed during the same period. Also relevant for Vaxart’s information environment is



88
   I note that on July 22, 2020, Pfizer issued a press release announcing the U.S. government had
placed an initial order of 100 million doses for $1.95 billion and could acquire up to 500 million
additional doses “to meet the U.S. government’s Operation Warp Speed program goal to begin
delivering 300 million doses of a vaccine for COVID-19 in 2021.” See Pfizer, “Pfizer and
BioNTech Announce an Agreement with U.S. Government for up to 600 Million Doses of mRNA-
based Vaccine Candidate Against SARS-CoV-2,” July 22, 2020. Available at:
https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-biontech-announce-
agreement-us-government-600.
89
  “Why Moderna, Vaxart, Inovio, and BioNTech Stocks Dropped Today,” The Motley Fool, Jul.
24, 2020. Available at: https://www.fool.com/investing/2020/07/24/why-moderna-vaxart-inovio-
and-biontech-stocks-drop.aspx: “In hearings that took place this week, lawmakers grilled drug
companies on their pricing plans for their potential vaccines, with some going so far as to ask
executives at companies including Moderna, Johnson & Johnson, and AstraZeneca if they would
supply their vaccines at cost.”
90
  “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York Times, July
25, 2020. Available at: https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-
profits-vaxart.html.
91
     HHS Tweet. Viewable at Depo. Ex. 36.

                                               32
the lack of information and transparency regarding the nature of Vaxart’s self-reported

selection to Operation Warp Speed, the structure and funding of the purported OWS

selection, and the behind-the-scenes conduct by Defendants and Vaxart. Plaintiffs contend

that, in June and July 2020, secrecy surrounded the identity of the remaining OWS finalists

that had not been identified by the June 3, 2020 New York Times report, creating uncertainty

as to other vaccine manufacturers’ possible roles in Operation Warp Speed. 92 Despite

several inquiries from media outlets and pleas from Vaxart’s IR/PR firm LifeSci advisors

to provide an “informed answer,” 93 neither Defendants nor Vaxart provided any

meaningful, reliable, or clear information about Attwill’s existing manufacturing

capabilities or Vaxart’s relation with OWS after the allegedly false and misleading press

releases issued.

          46.    As noted above, after June 26, 2020, Vaxart made limited public statements,

which were confined to its raising of funds and its second quarter financial results.

Plaintiffs contend that, in addition and in combination with the Corrective Disclosure

Events, the failure by Vaxart and/or Defendants to offer meaningful, reliable and clear

information steadily contributed to and increased skepticism about the true (and concealed)

status of Vaxart’s then-existing manufacturing capabilities and that it had merely been



92
  Complaint ¶¶11, 128-29; Pls.’ Supp. Interrogatory Responses (draft); see also, e.g., Jon Cohen,
“Operation Warp Speed selects billionaire scientist’s COVID-19 vaccine for monkey tests,”
Science, June 1, 2020: “We’re not confirming anyone’s involvement in the initial group [of
vaccines] unless a company is bound by fiduciary requirements to report contractual agreements.”
Available at https://www.science.org/ content/article/operation-warp-speed-selects-billionaire-
scientist-s-covid-19-vaccine-monkey-tests.
93
     See Complaint ¶¶ 25, 196-199; see, e.g., Depo. Ex. 182.

                                                 33
invited to an NHP study rather than having a broader role amongst the finalist

manufacturers focused on by OWS. The absence of information from Defendants and/or

Vaxart thus contributed to investors’ uncertainty about Vaxart. This uncertainty affected

analyst and media commentary, as well as the market pricing of Vaxart Securities (as

explained in subsequent sections). Because investors traded in Vaxart Securities at

prevailing market prices, the uncertainty impacted investors’ trading decisions and prices

during the Class Period as the relevant truth leaked/diffused into prices and was disclosed.

 V.       Market Efficiency and Damages on a Class-Wide Basis

          47.    In my Efficiency Report, I empirically analyzed Vaxart and its Securities

using the Cammer and Krogman factors that are regularly used by courts to gauge market

efficiency. Taken together, these metrics provide strong economic evidence that support

my opinion that Vaxart Common Stock traded in an efficient market throughout the then-

proposed Class Period analyzed in my Efficiency Report (the period from June 15, 2020

through August 19, 2020). 94 Importantly, because I concluded that the market was efficient

throughout the proposed Class Period, this conclusion applies to any subset of the

proposed Class Period as well, including the current Class Period from June 25, 2020

through July 24, 2020.

          48.    Moreover, I have confirmed that each of the Cammer and Krogman factors

continue to support the conclusion that Vaxart Common Stock traded in an efficient market

during the current Class Period of June 25, 2020 through July 24, 2020:


94
     Efficiency Report ¶3.

                                             34
            • Cammer Factor 1: Vaxart’s weekly trading volume averaged 252.7% of
              shares outstanding. 95

            • Cammer Factor 2: Vaxart was covered by at least 4 separate research
              analysts. 96

            • Cammer Factor 3: Vaxart had at least 55 market makers and brokers
              providing similar activity. 97

            • Cammer Factor 4: Vaxart was eligible to file SEC Form S-3. 98

            • Cammer Factor 5: 100% of News Days were associated with statistically
              significant Common Stock abnormal returns, versus 0% of No News
              Days, with this difference statistically significant at better than the 95%
              level.

            • Additional Factor 1: Vaxart’s market capitalization averaged $979
              million. 99

            • Additional Factor 2: Vaxart’s bid-ask spread averaged 0.15%. 100

            • Additional Factor 3: Vaxart’s quarterly public float statistics remain the
              same as those reported in my Efficiency Report.

            • Additional Factor 4: Vaxart’s quarterly institutional ownership statistics
              remain the same as those reported in my Efficiency Report.




95
   Regarding the question of investor numerosity: From June 25 through July 24, 2020 (inclusive),
Vaxart was traded on the NASDAQ with average weekly trading volume of 260.1 million shares,
an average weekly turnover of 252.7%, and Vaxart options similarly experienced substantial
trading. The total number of shares outstanding ranged between 74.2 million and 109.2 million,
and at least 170 institutions owned Vaxart securities.
96
     See reports discussed herein.
97
     Source: Bloomberg.
98
   See SEC EDGAR, Vaxart, Inc., available at https://www.sec.gov/edgar/browse/?
CIK=72444&owner=exclude
99
     Source: Bloomberg.
100
      Id.

                                                 35
          • Additional Factor 5: Vaxart’s autocorrelation of abnormal returns was not
            statistically significant. 101

          • Additional Factor 6: Vaxart Common Stock had 215,928 call options and
            56,815 put options traded. I thus conclude that Vaxart Common Stock
            traded efficiently during the current Class Period.

          49.    I also described in my Efficiency Report how options are derivative

securities, a type of security whose value is presumptively dependent on the market price

of an underlying security or asset. I further noted how judicial precedent, academic

literature, and empirical testing supported this presumption. As a result, I concluded in my

Efficiency Report that Vaxart’s Options traded efficiently throughout the proposed Class

Period because their pricing is derivative of and dependent upon Vaxart’s Common Stock

prices. 102 And in my Reply Report, because Defendants’ expert failed to adduce any

evidence specific to Vaxart showing that Vaxart Option prices were not dependent on the

prices of Vaxart Securities, I reaffirmed my opinion that Vaxart Options traded efficiently

throughout the proposed Class Period. Just like with Vaxart Common Stock, because I

concluded that the market for Options was efficient throughout the proposed Class Period,

this conclusion applies to any subset. I thus conclude that Vaxart Options traded efficiently

during the current Class Period.

          50.    Finally, I described in my Efficiency Report how the “out-of-pocket” method

of calculating damages represents a standard and well-accepted methodology under




101
      Sources: Factiva News; Bloomberg Pricing Data.
102
      Efficiency Report ¶¶3, 109-122.

                                               36
Section 10(b) of the Exchange Act. 103 I also described the common methodologies for

determining damages for the subset of Class members with insider trading claims under

Section 20A. 104 I concluded that Vaxart Common Stock and Vaxart Options damages in

this matter can be calculated on a class-wide basis utilizing a common methodology. 105

          51.    In my Efficiency Rebuttal Report, I concluded that nothing in the Marietta-

Westberg Report meaningfully disturbed the opinions expressed in my Efficiency

Report. 106 I continue to hold the opinions expressed in my Prior Reports, including that:

          (a)    Vaxart Common Stock traded in an open and efficient market during
                 the Class Period;

          (b)    Vaxart Options traded in an open and efficient market throughout the
                 Class Period;

          (c)    Damages in this matter for Vaxart Common Stock and Vaxart Options
                 can be calculated on a class-wide basis subject to common
                 methodologies for Plaintiffs’ pending Section 10(b), 20(a), and 20(A)
                 claims; and

          (d)    The Court has a choice among common methodologies for
                 determining damages for the subset of Class members with insider
                 trading claims under Section 20A of the Exchange Act. 107

VI.       Importance of the Alleged Misstatements and/or Omissions

          52.    As a financial economist, I consider economic materiality to relate to

information, news, announcements, or other events that would impact the valuation of a




103
      Efficiency Report ¶¶123-136.
104
      Efficiency Report ¶¶137-145.
105
      Efficiency Report ¶¶146-151.
106
      Efficiency Rebuttal Report ¶¶8-9.
107
      Efficiency Report ¶¶3, 152.

                                               37
company and its securities, and thus, investors’ demand for those securities. As such, my

opinions in this report regarding economic materiality are based upon my analysis of such

information as it pertains to finance, economics, and valuation, and are not intended to

represent legal analyses or conclusions. An element of the loss causation analysis involves

an examination of fundamental valuation principles, public statements, and analyst

commentary to assess whether the subject matter of the alleged misrepresentations and/or

omissions is economically material, and thus, value-relevant to investors. While I

understand that materiality has a legal definition in matters such as this one, for the

purposes of my report, the term “economic materiality” means the importance of

information to the market (and thus, investors), such that it would affect the valuation of a

security and investors’ decisions to buy or sell the security. Therefore, the relevant question

is whether the alleged schemes and allegedly misrepresented and omitted information

contained in the Attwill Press Release and Selected-for-OWS Press Release, as

summarized in Section IV.B, would have been important to investors.

       53.    For the purposes of my report, I assume that the schemes, misrepresentations,

and/or omissions Plaintiffs allege in this matter misinformed investors relating to the

Attwill Press Release and Selected-for-OWS Press Release. I conclude that the schemes,

misrepresentations, and/or omissions alleged in this matter were economically material to

investors in Vaxart Securities. I base my opinion of the importance of this information on:

(A) publicly available information about Operation Warp Speed prior to and during the

Class Period; (B) Company reporting and Defendants’ own statements related to the

development, manufacturing, and funding of Vaxart’s vaccines; (C) media attention and

                                              38
nonpublic inquiries demonstrating that the market relied upon the alleged false statements;

(D) financial analyst commentary, (E) the application of basic finance, economics, and

valuation principles to Vaxart’s business; and (F) my event study analysis, which

establishes statistically significant increases in the prices of Vaxart Common Stock on the

Inflation Creating Events as well as residual declines following the Corrective Disclosure

Events.

      A. Publicly Available Information About Operation Warp Speed

      54.    To assess whether the alleged false and misleading statements were

economically important, one must also assess the totality of the statements and unique

context in which they were made—specifically, with respect to the limited information

about COVID-19 and Operation Warp Speed that was publicly available at the time—

which would have informed investors’ expectations.

      55.     On March 13, 2020, the U.S. Government declared a national emergency in

connection with the rapid, global outbreak of COVID-19. 108 Within days, several states

and cities began implementing shutdowns to mitigate contagion. 109 On March 18, 2020,

Pew Research found that 89% of Americans were following COVID-19 news fairly or very




108
    See “Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
Disease (COVID-19) Outbreak”, White House, Mar. 13, 2020. Available at:
https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
109
   See, e.g., “Center for Disease Control Museum COVID-19 Timeline,” Center for Disease
Control. Available at: https://www.cdc.gov/museum/timeline/covid19.html#:~:text=March%
2015%2C%202020,the%20spread%20of%20COVID%2D19.

                                            39
closely. 110 Media attention toward COVID-19 increased on a weekly basis between March

and May 2020, as did the volume of online pandemic news. 111

       56.       By April 13, 2020, most states in the U.S. were reporting widespread cases

of COVID-19. People primarily stayed inside the safety of their homes. Around that same

time, Dr. Anthony Fauci announced the expectation that between 60,000 and 200,000

people in the U.S. would die—even if social distancing and public health measures were

perfectly enacted. 112

       57.       On or about April 29, 2020, news began to leak of a U.S. government-wide

initiative that would provide substantial government support for the production of one or

more vaccines against COVID-19 as quickly as possible. That initiative was titled

Operation Warp Speed. 113

       58.       Nearly two weeks later, on May 12, 2020, an article by Science Magazine

reported that:



110
    “Americans Immersed in COVID-19 News; Most Think Media Are Doing Fairly Well
Covering    It,”   Pew      Research     Center,     Mar.  18,   2020.     Available   at:
https://www.pewresearch.org/journalism/2020/03/18/americans-immersed-in-covid-19-news-
most-think-media-are-doing-fairly-well-covering-it/.
111
   See Ng Reuben, and Yi Wen Tan, 2022, “Media attention toward COVID-19 across 18
countries: The influence of cultural values and pandemic severity,” PLoS One 17.
112
   See “Fauci Says U.S. Coronavirus Deaths May Be ‘More Like 60,000’; Antibody Tests On
Way,” NPR, Apr. 9, 2020. Available at: https://www.npr.org/2020/04/09/830664814/fauci-says-
u-s-coronavirus-deaths-may-be-more-like-60-000-antibody-tests-on-way.
113
   “Trump’s ‘Operation Warp Speed’ Aims to Rush Coronavirus Vaccine,” Bloomberg, April 29,
2020. Available at: https://www.bloomberg.com/news/articles/2020-04-29/trump-s-operation-
warp-speed-aims-to-rush-coronavirus-vaccine?embedded-checkout=true; “Trump Seeks Push to
Speed Vaccine, Despite Safety Concerns,” New York Times, Apr. 29, 2020. Available at:
https://www.nytimes.com/2020/04/29/us/politics/trump-coronavirus-vaccine-operation-warp-
speed.html.

                                              40
             [Operation Warp Speed], vaguely described to date but likely to be
             formally announced by the White House in the coming days, will pick a
             diverse set of vaccine candidates and pour essentially limitless resources
             into unprecedented comparative studies in animals, fast-tracked human
             trials, and manufacturing.

             Warp Speed has already narrowed its list of vaccine candidates to 14 and
             plans to push ahead with eight, the official says. “The idea for us is to
             pick a diversified portfolio” of vaccines made with different technologies,
             or platforms.

             The official declined to identify Warp Speed’s vaccine candidates, but he
             stressed two key criteria: safety and the potential to make hundreds of
             millions of doses quickly. “We don’t have time to debug manufacturing
             issues here,” he says. By July, Warp Speed hopes to have its eight lead
             candidates in human trials. At the same time, it will fund a large-scale
             comparison of their safety and efficacy in hamsters and monkeys to help
             winnow down that group. “If something’s really bad, we’ll get rid of it,”
             he says. 114

       59.      Days later, on May 15, 2020, the White House formally confirmed OWS’

existence. In the President’s remarks, he stated:

             Today I want to update you on the next stage of this momentous medical
             initiative. It’s called Operation Warp Speed. ...

             Its objective is to finish developing and then to manufacture and distribute
             a proven coronavirus vaccine as fast as possible. ...

             The great national project will bring together the best of American
             industry and innovation, the full resources of the United States
             government, and the excellence and precision of the United States
             military. ...

             In preparation for this initiative, experts throughout the government have
             been collaborating to evaluate roughly 100 vaccine candidates from all
             over the world. They have identified 14 that they believe are the most
             promising, and they’re working to narrow that list still further. So we


114
   “Unveiling ‘Warp Speed,’ the White House’s America-First Push for a Coronavirus Vaccine,”
Science, May 12, 2020. Available at: https://w ww.science.org/content/article/unveiling-warp-
speed-white-house-s-america-first-push-coronavirus-vaccine (emphasis added).

                                                41
               started off with over 100, we’re down to 14, and we have some really
               interesting choices to be made. ...

               Through Operation Warp Speed, the federal government is providing
               unprecedented support and resources to safely expedite the trials, moving
               on at record, record, record speed. ...

               Typically, pharmaceutical companies wait to manufacture a vaccine—a
               vaccine until it has received all of the regulatory approvals necessary, and
               this can delay vaccines’ availability to the public as much as a year and
               even more than that. However, our task is so urgent that, under Operation
               Warp Speed, the federal government will invest in manufacturing all of
               the top vaccine candidates before they’re approved. So we’re knowing
               exactly what we’re doing before they’re approved. That means they better
               come up with a good vaccine because we’re ready to deliver it. 115

         60.      That same day, the U.S. Department of Defense also issued a press release

entitled, “Trump Administration Announces Framework and Leadership for ‘Operation

Warp Speed,’” which reaffirmed that OWS had narrowed the candidates it would support

down to 14 and planned to narrow it down further to 8. The press release stated, in relevant

parts:

               Among its other objectives, Operation Warp Speed aims to have
               substantial quantities of a safe and effective vaccine available for
               Americans by January 2021. ...

               Elements of Operation Warp Speed

               Operation Warp Speed is a public-private partnership to facilitate, at an
               unprecedented pace, the development, manufacturing, and distribution of
               COVID-19 countermeasures, between components of HHS, including
               CDC, FDA, NIH, and. ...

               Development



115
    Remarks by President Trump on Vaccine Development, May 15, 2020. Available at
https://trumpwhitehouse.archives.gov/briefings-statements/remarks-president-trump-vaccine-
development/ (emphasis added).

                                                  42
            Operation Warp Speed will select the most promising countermeasure
            candidates and provide coordinated government support to support their
            development.

            Protocols for the demonstration of safety and efficacy will be aligned,
            which will allow the trials to proceed more quickly.

            The protocols for the trials will be overseen and set by the federal
            government, as opposed to traditional public-private partnerships, in
            which pharmaceutical companies decide on their own protocols.

            For example, this process has proceeded for vaccines in the following
            manner:

            Fourteen promising candidates have been chosen from the 100+ vaccine
            candidates currently in development—some of them already in clinical
            trials with U.S. government support.

            The 14 vaccine candidates are being winnowed down to about eight
            candidates, which will go through further testing in early-stage small
            clinical trials.

            Large-scale randomized trials for the demonstration of safety and efficacy
            will proceed for three to five of the candidates.

            Additional non-clinical testing will be done in parallel to the extent
            possible. For instance, multiple animal models may be used to assess
            vaccine safety and efficacy in order to support the clinical development
            program. 116

      61.      The news that OWS would narrow down vaccine candidates to the about

eight most promising vaccines and would provide coordinated government support for

those vaccines’ development and testing, was widely reported in the financial and regular




116
   “Trump Administration Announces Framework and Leadership for ‘Operation Warp Speed,’”
U.S.      Department     of    Defense,       May       15,     2020.     Available  at:
https://www.defense.gov/News/Releases/Release/Article/2310750/trump-administration-
announces-framework-and-leadership-for-operation-warp-speed/ (emphasis added).

                                              43
press. 117 These reports did not identify any of the about eight OWS finalists. Additionally,

these reports suggested (or at the very least, did not definitively state otherwise) that non-

clinical testing would proceed in parallel with clinical testing for any number of the about

eight OWS finalists to help winnow down that group further.

       62.    Less than a week later, on May 21, 2020, AstraZeneca announced it had

“received support of more than $1bn from the U.S. Biomedical Advanced Research and

Development Authority (BARDA) for the development, production and delivery of the

vaccine, starting in the fall.” 118 That same day, the Wall Street Journal and other media

outlets reported that the U.S. Government had agreed to fund AstraZeneca’s vaccine as

part of OWS. 119

       63.    It had also been reported on or about April 16, 2020, that the U.S.

Government had given Moderna nearly $483 million to develop and test its COVID-19



117
   See, e.g., “In the race for a coronavirus vaccine, can Operation Warp Speed avoid politics?,”
USA Today, May 24, 2020. Available at: https://www.usatoday.com/story/news/2020/05/24/
coronavirus-vaccine-covid-19-operation-warp-speed-moncef-slaoui/5242123002/; “Exclusive:
US Plans Massive Covid-19 Vaccine Testing Effort to Meet Year-end Deadline,” Reuters, May
23, 2020. Available at: https://www.reuters.com/article/us-health-coronavirus-usa-vaccine-
exclus/exclusiveu-s-plans-massive-coronavirus-vaccine-testing-effort-to-meet-year-end-
deadline-idUSKBN22Y2L3 (Director of NIH identifying some candidates already getting support
but refusing to name other candidates on the shortlist of 14).
118
    “AstraZeneca advances response to global COVID-19 challenge as it receives first
commitments for Oxford’s potential new vaccine,” AstraZeneca, May 21, 2020. Available at:
https://www.astrazeneca.com/media-centre/press-releases/2020/astrazeneca-advances-response-
to-global-covid-19-challenge-as-it-receives-first-commitments-for-oxfords-potential-new-
vaccine.html.
119
    “U.S. to Invest $1.2 Billion to Secure Potential Coronavirus Vaccine From AstraZeneca,
Oxford     University,”   Wall     Street    Journal,    May     21,    2020.    Available at:
https://www.wsj.com/articles/u-s-to-invest-1-2-billion-to-secure-potential-coronavirus-vaccine-
from-astrazeneca-oxford-university-11590063053.

                                              44
vaccine, then in initial clinical trials, 120 and on March 30, 2020, that the U.S. Government

and Janssen (i.e., Johnson & Johnson) had committed more than $1 billion to co-fund

vaccine research, development, and clinical testing. 121

       64.      On June 3, 2020, Bloomberg and the New York Times identified the names

of five of the seven to eight companies selected as finalists for Operation Warp Speed. As

reported by the New York Times:

             The Trump administration has selected five companies as the most likely
             candidates to produce a vaccine for the coronavirus, senior officials said,
             a critical step in the White House’s effort to deliver on its promise of
             being able to start widespread inoculation of Americans by the end of the
             year.

             By winnowing the field in a matter of weeks from a pool of around a
             dozen companies, the federal government is betting that it can identify
             the most promising vaccine projects at an early stage, speed along the
             process of determining which will work and ensure that the winner or
             winners can be quickly manufactured in huge quantities and distributed
             across the country. The announcement of the decision will be made at the
             White House in the next few weeks, government officials said. . . .

             The five companies are Moderna, a Massachusetts-based biotechnology
             firm, which Dr. Fauci said he expected would enter into the final phase
             of clinical trials next month; the combination of Oxford University and
             AstraZeneca, on a similar schedule; and three large pharmaceutical




120
   E.g., “Moderna Soars After $483 Million Covid-19 Agreement With U.S.,” Bloomberg, Apr.
16, 2020. Available at: https://www.bloomberg.com/news/articles/2020-04-16/moderna-snares-
483-million-u-s-funding-for-covid-vaccine-tests?embedded-checkout=true.
121
   “Johnson & Johnson Announces a Lead Vaccine Candidate for COVID-19; Landmark New
Partnership with U.S. Department of Health & Human Services; and Commitment to Supply One
Billion Vaccines Worldwide for Emergency Pandemic Use,” Johnson & Johnson, Mar. 30, 2020.
Available at: https://www.jnj.com/media-center/press-releases/johnson-johnson-announces-a-
lead-vaccine-candidate-for-covid-19-landmark-new-partnership-with-u-s-department-of-health-
human-services-and-commitment-to-supply-one-billion-vaccines-worldwide-for-emergency-
pandemic-use.

                                               45
             companies: Johnson & Johnson, Merck and Pfizer. Each is taking a
             somewhat different approach. 122

       65.      Text messages, emails, and Bloomberg chats produced by Defendants in this

case show that they reviewed and/or circulated the information reported in these articles,

including the identities of five of the OWS finalists, on or about June 3, 2020. 123 In response

to this news, Andrei Floroiu sent a link to the New York Times article to Defendants Boyd

and Maher, stating: “I think this means no BARDA money, right?” 124




122
   “Trump Administration Selects Five Coronavirus Vaccine Candidates as Finalists,” New York
Times, Jun. 3, 2020. Available at: https://www.nytimes.com/2020/06/03/us/politics/coronavirus-
vaccine-trump-moderna.html.




                                              46
         66.    Other news outlets repeated the report and noted that the “selection as

finalists will give all five companies access to additional government funding to help

accelerate the development of their vaccines.” 126

         67.    Two weeks later, on June 16, HHS published a document titled “Fact Sheet:

Explaining Operation Warp Speed.” 127 The HHS Fact Sheet officially confirmed that OWS

was “narrow[ing] down” a list of 14 candidates to “about seven candidates, representing

the most promising candidates from a range of technology options, which would go

through further testing in early-stage clinical trials.” The HHS Fact Sheet also reiterated

that HHS, as part of OWS, had entered into massive funding agreements with Johnson &

Johnson, Moderna, and AstraZeneca, which included investments in manufacturing

capabilities.

         68.    Two days later, the San Francisco Business Times reported: “Small vaccine

developers were left in the dust by the Trump Administration’s initial flurry of “Operation

Warp Speed” deals that focused on fast-moving Covid vaccine programs at AstraZeneca

plc., Pfizer Inc., Merck & Co. Inc., Johnson & Johnson and Moderna Inc.” 128 The article

then went on to say of Vaxart: “Vaxart (NASDAQ: VXRT), by contrast, has never


126
     “White House picks five coronavirus vaccine candidates for ‘Operation Warp Speed’
initiative,”     Fox        Business,     Jun.       3,       2020.       Available        at:
https://www.foxbusiness.com/healthcare/whitehouse-picks-five-covid-vaccine-candidates-for-
operation-warp-speed-initiative.
127
      HHS Fact Sheet.
128
    “‘Fresh look’: New CEO targets speed, savvy, stock in Peninsula biotech’s race for Covid
vaccine,” San Francisco Business Times, June 18, 2020. Available at:
https://www.bizjournals.com/sanfrancisco/news/2020/06/18/coronavirus-covid-19-vaccine-
vaxart-new-ceo.html.

                                             47
produced a commercial vaccine, and the 14-employee company’s potential Covid-19

vaccine is perhaps two or three months away from an initial clinical trial in humans…. By

being in a massive second wave of wannabe Covid vaccine developers, Floroiu figures,

Vaxart has more time to benefit from those in the White House program as other

researchers learn about the virus that causes Covid and ways it can be blocked long

term.” 129

            69.   These press releases and articles, when read collectively, confirmed that in

June 2020, the U.S. Government was focusing its vaccine development efforts on up to

seven to eight candidates selected by OWS. However, by publicly reporting only five of

the OWS finalists’ identities, the unofficial reports by the New York Times and other media

outlets left open speculation as to the identity of the remaining two to three OWS finalists.

            70.   On July 22, 2020, Pfizer issued a press release announcing the U.S.

government had placed an initial order of 100 million doses for $1.95 billion and could

acquire up to 500 million additional doses “to meet the U.S. government’s Operation Warp

Speed program goal to begin delivering 300 million doses of a vaccine for COVID-19 in

2021.” 130 The release featured a quote from HHS Secretary Alex Azar, stating “Expanding

Operation Warp Speed’s diverse portfolio by adding a vaccine from Pfizer and BioNTech

increases the odds that we will have a safe, effective vaccine as soon as the end of this year



129
      Id.
130
   “Pfizer and BioNTech Announce an Agreement with U.S. Government for up to 600 Million
Doses of mRNA-based Vaccine Candidate Against SARS-CoV-2,” Pfizer, July 22, 2020.
Available     at:   https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-
biontech-announce-agreement-us-government-600.

                                                48
. . . Depending on success in clinical trials, today’s agreement will enable the delivery of

approximately 100 million doses of this vaccine to the American people.”

       71.     On July, 31, 2020, Sanofi and GSK announced that they were selected for

OWS to supply the U.S. Government with 100 million doses, and that the U.S. government

would be paying up to $2.1 billion to speed up clinical development and manufacturing of

the pair’s vaccine. 131

       72.     In February 2021, the U.S. Government Accountability Office issued a report

on OWS’s vaccine development efforts (“GAO”). 132 Therein, the GAO reported that, as of

January 30, 2021, OWS ultimately selected six vaccine candidates: Pfizer/BioNTech,

Moderna, AstraZeneca, Janssen, Sanofi/GSK, and Novavax. 133

       B. Vaxart’s Reporting and Statements

       73.     The success of Vaxart’s COVID-19 vaccine development was important for

the Company’s future trajectory, 134 as was Vaxart’s ability to attract external sources of

funding. In response to the global pandemic, Vaxart redirected its resources toward



131
   “Sanofi and GSK selected for Operation Warp Speed to supply United States government with
100 million doses of COVID-19 vaccine,” Sanofi/GSK, July 31, 2020. Available at:
https://www.sanofi.com/en/media-room/press-releases/2020/2020-07-31-11-00-XX-XXXXXXX.
132
   “Operation Warp Speed: Accelerated COVID-19 Vaccine Development Status and Efforts to
Address Manufacturing Challenges,” Feb. 5, 2021. Available at: https://www.gao.gov/assets/gao-
21-319.pdf.
133
   Id. at 5; see also Congressional Research Service, “Operation Warp Speed Contracts for
COVID-19 Vaccines and Ancillary Vaccination Materials,” March 1, 2021. (noting a seventh
candidate, Merck/IAVI, had been supported by BARDA but was discontinued due to lack of
demonstrated efficacy).
134
   Vaxart 2019 Annual Report, at p 40: “We are largely dependent on the success of our tablet
vaccines for the prevention of coronavirus infection….”

                                             49
creating an oral COVID-19 vaccine, pausing other vaccine projects. 135 This strategic pivot

included a public press release on January 31, 2020, announcing Vaxart’s coronavirus

vaccine program and emphasizing the logistical advantages of an oral tablet vaccine. 136

Subsequent announcements throughout early 2020 highlighted partnerships for vaccine

development and manufacturing, earnings announcement highlighting its pivot, and the

progression of vaccine candidates through preclinical trials. 137 These updates, from the

collaboration with Emergent Biosolutions to positive preclinical data, underscored

Vaxart’s concentrated efforts on this front, shaping the Company’s operational and

strategic focus during a critical period.

          74.      On January 31, 2020, the Company issued a press release announcing the

initiation of a coronavirus vaccine program. The press release included the following

excerpt:

                “We believe our oral tablet vaccines provide substantial potential
                advantages, especially when targeting mucosal pathogens such as flu,
                norovirus, RSV and the recently emerged coronavirus,” said Wouter
                Latour, MBA, M.D. “In addition, the logistical advantages of an oral
                vaccine that is administered using a convenient room temperature-stable



135
      Vaxart 2019 Annual Report, at p. 3: “Item 1. Business – Our Product Line”.
136
    Vaxart, Inc., “Vaxart Announces Initiation of Coronavirus Vaccine Program,” Jan. 31, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-announces-
initiation-coronavirus-vaccine-program.
137
   Vaxart, Inc., “Vaxart Announces it Entered into an Agreement with Emergent BioSolutions for
the Development and Manufacturing of Oral Coronavirus (COVID-19) Vaccine Candidate,” Mar.
18, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-
announces-it-entered-agreement-emergent-biosolutions; Vaxart, Inc., “Vaxart Announces Fourth
Quarter and Full Year 2019 Financial Results and Provides Corporate Update,” Mar. 19, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-announces-
fourth-quarter-and-full-year-2019-financial., Vaxart 2019 Annual Report, at p 40.

                                                 50
             tablet could be of critical benefit when rolling out a major public health
             vaccination campaign.” 138

       75.      On March 18, 2020, the Company issued a press announcing its agreement

with Emergent Biosolutions for the development and manufacturing of its oral COVID-19

vaccine candidate. The press release included the following excerpt:

             “I’m pleased that we are joining forces with an experienced manufacturer
             such as Emergent to help advance our oral COVID-19 vaccine to the
             clinic,” said Wouter Latour, M.D, chief executive officer of Vaxart.

             Under the terms of the agreement, development services will begin
             immediately, and upon Vaxart’s election, Emergent is expected to
             produce bulk cGMP vaccine allowing Vaxart to initiate a Phase 1 clinical
             study early in the second half of 2020.

             “Emergent is pleased to deploy our nimble CDMO expertise to support
             fellow innovators, like Vaxart, and advance an experimental COVID-19
             vaccine candidate,” said Syed T. Husain, senior vice president and
             CDMO business unit head at Emergent BioSolutions. 139

       76.      The next day, on March 19, 2020, Vaxart announced its earnings for the year

2019, highlighting its pivot to concentrate on the development of its COVID-19 vaccine

and the temporary suspension of its other vaccine programs. The press release included the

following excerpt:

             “This outbreak is a call to duty for all of us here at Vaxart and we are
             highly focused on the development of the COVID-19 vaccine,” Dr.
             Latour continued. “Accordingly, we have put several vaccine programs
             on hold, including the norovirus vaccine program for which we recently

138
    Vaxart, Inc., “Vaxart Announces Initiation of Coronavirus Vaccine Program,” Jan. 31, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-announces-
initiation-coronavirus-vaccine-program.
139
   Vaxart, Inc., “Vaxart Announces it Entered into an Agreement with Emergent BioSolutions for
the Development and Manufacturing of Oral Coronavirus (COVID-19) Vaccine Candidate,” Mar.
18, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-
announces-it-entered-agreement-emergent-biosolutions.

                                               51
                  successfully completed a Phase 1 study and for which we are actively
                  seeking a development partner, as well as our therapeutic HPV vaccine
                  program. The Janssen-partnered Universal Flu program is fully active and
                  on track to be completed in the coming weeks.” 140

            77.      Also, on March 19, 2020, the Company filed its annual 10-K financial report

with the SEC for fiscal year 2019. The Company highlighted the risks associated with the

development of its vaccines and challenges such as development difficulties, funding

constraints, and manufacturing complexities:

                  “We are largely dependent on the success of our tablet vaccines for the
                  prevention of coronavirus infection, which is in early-stage preclinical
                  development, and norovirus infection, which is still in early-stage clinical
                  development, and if these tablet vaccines do not receive regulatory
                  approval or are not successfully commercialized, our business may be
                  harmed.” 141

                  “Our ability to generate significant revenue depends on a number of
                  factors, including our ability to: develop, in collaboration with others,
                  manufacturing capabilities for bulk materials and manufacture
                  commercial quantities of our product candidates at acceptable cost
                  levels;” 142

                  “We will require additional capital to fund our operations, and if we fail
                  to obtain necessary financing, we may not be able to complete the
                  development and commercialization of our tablet vaccine candidates.”143

                  “We expect to spend substantial amounts to complete the development
                  of, seek regulatory approvals for and commercialize our tablet vaccine
                  candidates. We will require substantial additional capital to complete the
                  development and potential commercialization of our tablet vaccine
                  candidates for coronavirus, norovirus, seasonal influenza, RSV and


140
    Vaxart, Inc., “Vaxart Announces Fourth Quarter and Full Year 2019 Financial Results and
Provides Corporate Update,” Mar. 19, 2020. Available at: https://investors.vaxart.com/news-
releases/news-release-details/vaxart-announces-fourth-quarter-and-full-year-2019-financial.
141
      Vaxart 2019 Annual Report, at p 40.
142
      Id.
143
      Id., at p. 41.

                                                     52
                 HPV and the development of other product candidates. If we are unable
                 to raise capital or find appropriate partnering or licensing collaborations,
                 when needed or on acceptable terms, we could be forced to delay, reduce
                 or eliminate one or more of our development programs or any future
                 commercialization efforts.” 144

                 “We may not be able to manufacture our product candidates in sufficient
                 quantities to commercialize them.” 145

                 “The manufacture of pharmaceutical products in compliance with cGMP
                 regulations requires significant expertise and capital investment,
                 including the development of advanced manufacturing techniques and
                 process controls.” 146

           78.      The Company also stated that all its non-COVID 19 vaccine development

programs, including its norovirus, seasonal influenza, RSV, and HPV therapeutic vaccines,

had been put on hold, thus placing further importance on Vaxart’s COVID-19 vaccine. On

March 31, 2020, the Company issued an update via press release on its oral Covid-19

vaccine program being tested in preclinical (i.e., animal) models. Below is an excerpt from

the press release:

                 Vaxart…today announced it had produced five COVID-19 vaccine
                 candidates for testing in its preclinical models. Each of the COVID-19
                 vaccine constructs is based on a different coronavirus antigen
                 combination, and Vaxart expects to advance the best performing vaccine
                 to manufacturing for clinical trials. 147




144
      Id., at p. 41.
145
      Id., at p. 67.
146
      Id., at p. 67.
147
  Vaxart, Inc., “Vaxart Provides Update on its Oral COVID-19 Vaccine Program,” Mar. 31, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-provides-
update-its-oral-covid-19-vaccine-program.

                                                    53
Following this release about future preclinical testing, the closing price for Vaxart’s stock

remained at essentially the same level, as displayed below. In the absence of confounding

information, this neutral price reaction to news about a future preclinical study, before that

study had begun or produced results, suggests that such news was not important or value-

relevant to potential or actual Vaxart investors.

                     Mar. 30      Mar. 31      Apr. 1      Apr. 2       Apr. 3       Apr. 6
 Closing
                      $1.70        $1.77       $1.73        $1.68       $1.70        $1.72
 Price 148
 Cumulative
 Change v.              -          $0.07       $0.03       ($0.02)      $0.00        $0.02
 Mar. 30

         79.      On April 21, 2020, the Company issued a press release announcing positive

pre-clinical data for its oral COVID-19 vaccine program. Below is an excerpt from the

press release:

               Vaxart . . . today announced that it has obtained positive pre-clinical
               results for its COVID-19 vaccine candidates, with several of the vaccine
               candidates generating immune responses in all tested animals after a
               single dose.

               “These results are extremely encouraging, and we should be in a position
               to select a lead development candidate for cGMP manufacturing and
               clinical testing in the coming weeks,” said Wouter Latour, M.D, chief
               executive officer of Vaxart Inc.” 149

Following this release about preclinical study results, the closing price for Vaxart’s stock

significantly increased, as displayed below. This positive price reaction to news about



148
      Source: Bloomberg.
149
   Vaxart, Inc., “Vaxart Announces Positive Pre-Clinical Data for its Oral COVID-19 Vaccine
Program,” Apr. 21, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-
details/vaxart-announces-positive-pre-clinical-data-its-oral-covid-19.

                                                54
positive preclinical results, supports the conclusion that news about preclinical study

results could be important or value-relevant to potential or actual Vaxart investors.

                     Apr. 20      Apr. 21     Apr. 22      Apr. 23     Apr. 24      Apr. 27
 Closing
                      $2.37        $3.16       $2.95        $2.68       $3.02        $3.66
 Price 150
 Cumulative
 Change v.               -         $0.79       $0.58        $0.31       $0.65        $1.29
 Mar. 30

         80.      On April 28, 2020, the Company issued a press release providing a corporate

update for the first quarter of 2020. The update highlighted the Company’s concentrated

efforts on developing an oral tablet vaccine candidate for COVID-19. Below is an excerpt

from the press release:

               “This has been a busy quarter at Vaxart, as we have focused on
               developing a vaccine candidate for COVID-19,” said Wouter Latour,
               M.D, chief executive officer of Vaxart Inc. “We believe our oral tablet
               vaccine could be an important tool to help protect the global population
               from COVID-19.” 151

         81.      On April 30, 2020 (at 8:00am ET), the Company issued a press release

announcing further positive pre-clinical data for its oral COVID-19 vaccine program.

Below is an excerpt from the press release:

               Vaxart . . . today announced that it has obtained positive pre-clinical
               results for its COVID-19 vaccine candidates, with several of the vaccine
               candidates generating immune responses in all tested animals after a
               single dose.




150
      Source: Bloomberg.
151
   Vaxart, Inc., “Vaxart Announces Corporate Update for First Quarter 2020,” Apr. 28, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-announces-
corporate-update-first-quarter-2020.

                                                55
             “These pre-clinical results confirm that all constructs are immunogenic
             as measured by IgG antibodies in serum, and we observed a robust
             boosting effect after the second dose.” said Sean Tucker, Ph.D., chief
             scientific officer of Vaxart. “This latest data set will help to select the lead
             candidate for manufacturing, and we remain on track to start a first phase
             1 study in the second half of this year.” 152

       82.      Notably, the contents of the April 30, 2020 press release repeated or

reaffirmed prior information, including information from Vaxart’s April 21, 2020 press

release. For example, the first paragraph of the April 30 press release announcing “further”

positive pre-clinical results copied nearly verbatim the first paragraph of Vaxart’s April 21

press release announcing positive pre-clinical results. The April 30 release also stated that

Vaxart “remain[ed] on track” as to future testing, in contrast to changes to Vaxart’s

development schedule. Following the April 30 press release, the closing price for Vaxart’s

stock did not increase, 153 which is consistent with a finding that the April 30 press release

did not present any information that was new or important.

       83.      On May 12, 2020, the Company filed its quarterly 10-Q financial report with

the SEC for the quarter ending on March 31, 2020. Therein, the Company reported $1.3

million in net losses and a $2.5 million decrease in revenue compared to the first quarter

of 2019, “principally due to the loss of royalty revenues.” The Company also highlighted

the importance of funding and partnerships for its vaccine candidates:




152
    Vaxart, Inc., “Vaxart Announces Additional Positive Pre-Clinical Data for its Oral COVID-19
Vaccine Program,” Apr. 30, 2020. Available at: https://investors.vaxart.com/news-releases/news-
release-details/vaxart-announces-additional-positive-pre-clinical-data-its-oral.
153
  Source: Bloomberg (closing price of $3.00 on April 29, 2020 versus closing price of $2.70 on
April 30, 2020).

                                                  56
             “We plan to fund a significant portion of our ongoing operations through
             partnering and collaboration agreements which, while reducing our risks
             and extending our cash runway, will also reduce our share of eventual
             revenues, if any, from our vaccine product candidates. We may be able
             to fund certain activities with assistance from government
             programs including HHS BARDA.” 154

       C. Media Attention

       84.      In the months leading up to June 25, 2020, and through the Class Period,

numerous financial media outlets covered and reported on information about Vaxart’s oral

vaccine candidate, emphasizing the importance of its vaccine for the company’s overall

success. For example, several news outlets covered Vaxart’s January 31, 2020 press release

announcing the initiation of its coronavirus vaccine program:

       • MarketWatch: Shares of Vaxart Inc. rocketed 54% on heavy volume in
         afternoon trading, putting them on track for the first close above the $1
         mark in nearly 10 months, after the biotechnology company said it
         “initiated” a program to develop a coronavirus vaccine. 155

       • Seeking Alpha: Nano cap Vaxart (NASDAQ:VXRT) is the latest would-
         be player in the coronavirus-stoked rally with its announcement that it has
         initiated a vaccine development program. Shares up 42% premarket on
         robust volume. 156

       • Yahoo! finance: Shares of Vaxart, Inc. VXRT soared 72.1% after the
         company announced that it has initiated a program to develop vaccine


154
      Vaxart, Inc., SEC Form 10-Q, May 12, 2020, at p. 26. Available at:
https://www.sec.gov/Archives/edgar/data/72444/000143774920010425/0001437749-20-010425-
index.htm.
155
   “Vaxart’s Stock Rockets on Heavy Volume After Initiating Coronavirus Vaccine Development
Program,”        MarketWatch,        Jan.        31,         2020.       Available        at:
https://www.marketwatch.com/story/vaxarts-stock-rockets-on-heavy-volume-after-initiating-
coronavirus-vaccine-development-program-2020-01-31.
156
   “Vaxart joins coronavirus bandwagon with vaccine plan; shares up 42% premarket,” Seeking
Alpha, Jan. 31, 2020. Available at: https://seekingalpha.com/news/3536887-vaxart-joins-
coronavirus-bandwagon-vaccine-plan-shares-up-42-percent-premarket.

                                              57
             candidates for fighting the new coronavirus infection. The new vaccine
             candidate will be based on the company’s proprietary oral vaccine
             platform, VAAST. 157

       85.      On March 18, 2020, the Company issued a press release announcing its

agreement with Emergent Biosolutions for the development and manufacturing of its oral

COVID-19 vaccine candidate. 158 Several news outlets covered this news and the resulting

valuation impact on Vaxart’s Common Stock. For example:

       • Seeking Alpha: Vaxart (NASDAQ) jumps 64% premarket on robust
         volume following its agreement with Emergent BioSolutions (NYSE).
         Under this agreement, Emergent will provide its molecule-to-market
         contract development and manufacturing services for Vaxart’s oral
         COVID-19 vaccine candidate. Development services will commence
         immediately. Emergent anticipates producing sufficient cGMP vaccine to
         enable Vaxart to initiate a Phase 1 study early in the second half of the
         year. 159

       • MarketWatch: Shares of Vaxart Inc. jumped 48% in premarket trading
         on Wednesday after the company said it had signed a deal with Emergent
         BioSolutions Inc. to help develop and manufacture Vaxart’s COVID-19
         oral vaccine candidate. 160

       • Pharmaceutical Technology: Emergent BioSolutions has agreed to
         provide molecule-to-market contract development and manufacturing


157
   “Vaxart (VXRT) to Make Vaccines to Check Coronavirus, Stock Up,” Yahoo! finance, Feb. 3,
2020. Available at: https://finance.yahoo.com/news/vaxart-vxrt-vaccines-check-coronavirus-
161604338.html?guccounter=1.
158
   Vaxart, Inc., “Vaxart Announces it Entered into an Agreement with Emergent BioSolutions for
the Development and Manufacturing of Oral Coronavirus (COVID-19) Vaccine Candidate,” Mar.
18, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-
announces-it-entered-agreement-emergent-biosolutions.
159
   “Vaxart up 64% premarket on coronavirus vaccine deal,” Seeking Alpha, Mar. 18, 2020.
Available    at:   https://seekingalpha.com/news/3552824-vaxart-up-64-percent-premarket-on-
coronavirus-vaccine-deal.
160
  “Vaxart: Emergent to manufacture Vaxart’s experimental COVID-19 vaccine,” MarketWatch,
Mar. 18, 2020. Available at: https://www.marketwatch.com/story/vaxart-emergent-to-
manufacture-vaxarts-experimental-covid-19-vaccine-2020-03-18.

                                              58
             (CDMO) services for Vaxart’s oral vaccine candidate against Covid-19
             coronavirus infection. Emergent will immediately begin development
             services for the investigational recombinant vaccine, based on Vaxart’s
             VAAST platform. After Vaxart’s election, Emergent will generate
             clinical material for a Phase I clinical trial to conducted in the second half
             of this year. 161

       86.      On April 21, 2020, the Company issued a press release announcing positive

pre-clinical data for its oral COVID-19 vaccine program. 162 Several news outlets covered

this news and the resulting valuation impact on Vaxart’s Common Stock. For example:

       • Theflyonthewall.com: Vaxart announced that it has obtained positive
         pre-clinical results for its COVID-19 vaccine candidates, with several of
         the vaccine candidates generating immune responses in all tested animals
         after a single dose. 163

       • Yahoo! Finance / Zacks Equity Research: Shares of Vaxart,
         Inc. VXRT rallied 33.3% on Tuesday after the company announced
         positive data from pre-clinical studies on its oral vaccine candidates
         against SARS CoV-2, the virus that causes COVID-19. 164

       • Seeking Alpha: Vaxart is making progress on its work to develop an oral
         vaccine to treat COVID-19…If that’s how it plays out, it would be a huge
         differentiator for Vaxart, and an enormous revenue stream... If it is able
         to successfully develop an oral vaccine with its expected treatment
         results, it would be a powerful entry into the market, and will sustainably
         change the long-term growth trajectory of the company.



161
    “Emergent BioSolutions and Vaxart partner on oral coronavirus vaccine,” Pharmaceutical
Technology,     Mar.     19,    2020.     Available     at:     https://www.pharmaceutical-
technology.com/news/emergent-biosolutions-vaxart-coronavirus-vaccine/?cf-view.
162
   Vaxart, Inc., “Vaxart Announces Positive Pre-Clinical Data for its Oral COVID-19 Vaccine
Program,” Apr. 21, 2020. Available at: https://investors.vaxart.com/news-releases/news-release-
details/vaxart-announces-positive-pre-clinical-data-its-oral-covid-19.
163
   “Vaxart announces pre-clinical data for oral COVID-19 vaccine,” Theflyonthewall.com, Apr.
21, 2020.
164
   “Vaxart Up on Pre-Clinical Data on Coronavirus Vaccine Candidates,” Yahoo! Finance / Zacks
Equity Research, Apr. 22, 2020. Available at: https://finance.yahoo.com/news/vaxart-pre-clinical-
data-coronavirus-151903016.html.

                                                 59
             HC Wainwright analyst Vernon Bernardino believes the delivery of an
             oral vaccine could be advantageous against other vaccines that are
             delivered via injection.
             “We believe an oral delivery vaccine to meet this public health threat
             could provide distinct advantages versus candidates under evaluation by
             ongoing competitor CoV vaccine programs, and if commercialized, could
             be very differentiated due to its route of administration and mode of
             stimulating an immunogenic response.” 165

       87.      On April 30, 2020, the Company issued a press release announcing additional

positive pre-clinical data for its oral COVID-19 vaccine program. 166 Seeking Alpha

covered this news and the resulting valuation impact on Vaxart’s Common Stock:

       • Seeking Alpha: Vaxart (NASDAQ) is up 15% premarket on robust
         volume in response to its announcement of positive preclinical data on its
         oral COVID-19 vaccine candidates. Several of these candidates generated
         immune responses in all tested animals after a single dose. 167

       88.      On June 25, 2020, the Company issued the Attwill Press Release. Several

news outlets covered this news and the resulting valuation impact on Vaxart’s Common

Stock. For example:

       • Dow Jones: Vaxart Inc. shares were up 25% to $3.97 in early trade after
         the company said it signed a memorandum of understanding with Attwill
         Medical Solutions Sterilflow LP affirming the parties’ intent to establish
         Attwill Medical as a resource for lyophilization development and large


165
   “What to Expect from Vaxart and Its Quest to Develop COVID-19 Candidate,” Seeking Alpha,
Apr. 23, 2020. Available at: https://seekingalpha.com/article/4339456-what-to-expect-from-
vaxart-and-quest-to-develop-covidminus-19-candidate.
166
   Vaxart, Inc., “Vaxart Announces Additional Positive Pre-Clinical Data for its Oral COVID-19
Vaccine Program,” Apr. 30, 2020. Available at: https://investors.vaxart.com/news-releases/news-
release-details/vaxart-announces-additional-positive-pre-clinical-data-its-oral.
167
   “Vaxart up 15% premarket on encouraging data on oral COVID-19 vaccine candidates,”
Seeking Alpha, Apr. 30, 2020. Available at: https://seekingalpha.com/news/3566947-vaxart-up-
15-percent-premarket-on-encouraging-data-on-oral-covidminus-19-vaccine-candidates.

                                              60
             scale manufacturing including tableting and enteric coating for Vaxart’s
             oral Covid-19 vaccine. 168

          • Benzinga: Vaxart, Inc. (NASDAQ: VXRT) shares climbed 40.5% to
            $4.4802 after the company signed a Memorandum of Understand with
            Attwill Medical Solutions Sterilflow, LP. 169

          • RTT News: Shares of Vaxart, Inc. (VXRT) are climbing more than 50%
            Thursday morning and touched a new high of $4.83. Vaxart, a clinical-
            stage biotechnology company, develops oral recombinant vaccines that
            are administered by tablet rather than by injection. Today the company
            said it signed a Memorandum of Understanding with Attwill Medical
            Solutions Sterilflow, LP (AMS) to use AMS' resources for lyophilization
            development and large scale manufacturing including tableting and
            enteric coating for Vaxart’s oral COVID-19 vaccine. 170

          • Business Insider: On Thursday, Vaxart surged 96% after it said it signed
            a memorandum of understanding with Attwill Medical Solutions
            Sterilflow to “enable the large scale manufacturing and ultimate supply”
            of Vaxart’s COVID-19 vaccine candidate. The two firms said they hoped
            to be able to produce “a billion or more COVID-19 vaccine doses per
            year.” 171

          • TipRanks: Shares in Vaxart (VXRT) exploded by 96% in Thursday’s
            trading, and continued to rally a further 27% after-hours, after the biotech
            announced a deal for its oral Covid-19 vaccine. The company revealed
            that it has now signed a Memorandum of Understanding with Attwill
            Medical Solutions Sterilflow, affirming the parties’ intent to establish
            AMS as a resource for lyophilization development and large-scale




168
  “Vaxart Shares Jump 25% After Partnership with Attwill Medical,” Dow Jones Institutional
News, Jun. 25, 2020.
169
      “46 Stocks Moving in Thursday’s Mid-Day Session,” Benzinga.com, Jun. 25, 2020.
170
     “Stock Alert: Vaxart Gains 50%,” RTT News, Jun. 25, 2020. Available at:
https://www.rttnews.com/3106414/stock-alert-vaxart-gains-50.aspx.
171
   “A little-known biotech working on a COVID-19 vaccine has surged 304% in 2 days — and it
just said it was picked for the US government’s Operation Warp Speed program,” Business Insider,
Jun. 26, 2020. Available at: https://markets.businessinsider.com/news/stocks/vaxart-stock-price-
covid-vaccine-government-warp-speed-program-coronavirus-2020-6-1029346082.

                                               61
             manufacturing including tableting and enteric coating for Vaxart’s oral
             COVID-19 vaccine. 172

       • Motley Fool: Vaxart’s shares almost doubled after the biotech company
         announced a “memorandum of understanding” with Attwill Medical
         Solutions (AMS) for the potential production of its experimental oral
         COVID-19 vaccine for the SARS-CoV-2 virus. “We believe AMS’
         experience coupled with its ability to manufacture a billion or more doses
         per year would be a beneficial addition to our group of [contract
         development and manufacturing organization] partners, and enable the
         large scale manufacturing and ultimate supply of our COVID-19 vaccine
         for the U.S., Europe, and other countries in need,” Vaxart CEO Andrei
         Floroiu said in a press release. 173

       89.      On June 26, 2020, the Company published the Selected-for-OWS Press

Release. Vaxart’s Common Stock trading experienced multiple trading halts throughout

the day due to the sharp stock price reaction to this news. 174 Numerous financial news

outlets reported on the Selected-for-OWS Press Release. For example:

       • Seeking Alpha: Vaxart (NASDAQ:VXRT) is surging for the second day
         in a row, up 70% pre-market, after the U.S. Government selected their
         oral vaccine as eligible to participate in a non-human study organized and
         funded as part of Operation “Warp Speed”. The stock surge is coming off
         a day in which the stock nearly doubled when signing a deal to enable
         large scale manufacturing of its COVID-19 vaccine. 175




172
   “Vaxart Explodes 96%- And Rallies After-Hours- On Covid-19 Deal,” TipRanks, Jun. 25,
2020. Available at: https://www.tipranks.com/news/corona/vaxart-explodes-96-and-rallies-after-
hours-on-covid-19-oral-vaccine-deal#google_vignette.
173
   “Why Vaxart, Inovio, and Sorrento Therapeutics Stocks Soared Thursday,” Motley Fool, Jun.
26, 2020. Available at: https://www.fool.com/investing/2020/06/25/why-vaxart-inovio-and-
sorrento-therapeutics-stocks.aspx.
174
   See., e.g., “*Vaxart Inc. (VXRT) Paused due to volatility,” Dow Jones Newswires, June 26,
2020, at 9:34am ET and 10:11am ET.
175
   “Vaxart +70% after Covid-19 'Warp Speed' designation for its vaccine,” Seeking Alpha, Jun
26, 2020. Available at: https://seekingalpha.com/news/3586465-vaxart-plus-70-percent-after-
covidminus-19-warp-speed-designation-for-vaccine.

                                             62
       • MarketWatch: Vaxart Inc. VXRT, +5.12% said Friday its oral COVID-
         19 vaccine has been selected to take part in a non-human primate
         challenge study funded by the U.S. government’s ‘Operation Warp
         Speed’ program, that aims to accelerate development of a vaccine. The
         study is designed to evaluate the efficacy of the candidate. Chief
         Executive Andrei Floroiu said it’s the only oral candidate in the program.
         “SARS-CoV-2, the coronavirus that causes COVID-19, is primarily
         transmitted by viral particles that enter through the mucosa - nose, mouth
         or eyes - strongly suggesting that mucosal immunity could serve as the
         first line of defense,” he said in a statement. “In addition, our vaccine is
         a room temperature-stable tablet, an enormous logistical advantage in
         large vaccination campaigns.” Vaxart shares soared 75% premarket on
         the news. The stock has skyrocketed since the start of the year and is up
         more than 1,600%. 176

       • Reuters: Vaxart Inc said on Friday it would test its experimental oral
         COVID-19 vaccine on monkeys infected with the new coronavirus in a
         study funded by the Trump administration’s vaccine-acceleration
         program called “Operation Warp Speed”. Shares of the U.S. vaccine
         developer surged 66% to $10.38 in noon trading, extending a dizzying
         run in its stock price this year as investors bet on drug developers pushing
         ahead with vaccines or treatments to stop the COVID-19 pandemic. 177

       • Zacks Equity Research / Yahoo! finance: Vaxart, Inc. VXRT
         announced that its oral COVID-19 vaccine candidate has been selected
         for investigation in a non-human primate (NHP) challenge study. The
         new study will be organized and funded by Operation Warp Speed
         (OWS), which is a new national program, to provide substantial
         quantities of safe, effective vaccine for Americans by January 2021. . .
         Shares of Vaxart were up 28.4% following the above announcement on
         Friday. 178



176
    “Vaxart shares skyrocket on news its COVID-19 vaccine candidate to be part of Operation
Warp        Speed,”       MarketWatch,       Jun.     26,     2020.       Available      at:
https://www.marketwatch.com/story/vaxart-shares-skyrocket-on-news-its-covid-19-vaccine-
candidate-to-be-part-of-operation-warp-speed-2020-06-26.
177
   “Vaxart says potential COVID-19 vaccine picked for ‘Operation Warp Speed,’” Reuters, Jun.
26, 2020. Available at: https://www.reuters.com/article/idUSKBN23X1VC/.
178
   “Vaxart’s Oral Coronavirus Vaccine Candidate Gets Chosen by OWS,” Yahoo! Finance / Zacks
Equity Research, Jun. 26, 2020. Available at: https://finance.yahoo.com/news/vaxarts-oral-
coronavirus-vaccine-candidate-164204498.html.

                                            63
       • RTT News: Shares of Vaxart Inc. (VXRT) are surging more 90 percent
         or $5.65 in Friday's morning trade at $11.91 after touching a new 52-
         week high of $14.30 earlier. The clinical-stage biotechnology company's
         COVID-19 vaccine candidate has been selected for the U.S.
         Government's Operation Warp Speed or OWS. 179

       • Business Insider: The news sent Vaxart’s stock as much as 106% higher
         on Friday morning. The firm said that its oral COVID-19 vaccine
         candidate would be involved in a nonhuman primate challenge study and
         that it was “the only oral vaccine being evaluated” in the program…On
         Thursday, Vaxart surged 96% after it said it signed a memorandum of
         understanding with Attwill Medical Solutions Sterilflow to “enable the
         large scale manufacturing and ultimate supply” of Vaxart’s COVID-19
         vaccine candidate. The two firms said they hoped to be able to produce
         “a billion or more COVID-19 vaccine doses per year.” 180




179
   “Stock Alert: Vaxart Hits New 52-week High As COVID-19 Vaccine Selected For OWS,” RTT
News, Jun. 26, 2020. Available at: https://markets.businessinsider.com/news/stocks/stock-alert-
vaxart-hits-new-52-week-high-as-covid-19-vaccine-selected-for-ows-1029346080.
180
   “A little-known biotech working on a COVID-19 vaccine has surged 304% in 2 days — and it
just said it was picked for the US government’s Operation Warp Speed program,” Business Insider,
Jun. 26, 2020.



                                              64
65
66
      92.      In the following weeks, several media and financial news outlets continued

to report on Vaxart’s purported manufacturing abilities through Attwill and Vaxart’s

purported selection for Operation Warp Speed. For example:

      • Genetic Engineering and Biotechnology News (June 29, 2020):
        Vaxart’s oral COVID-19 vaccine candidate has joined the handful of
        experimental vaccines being studied as part of President Donald Trump’s
        commitment to delivering 300 million vaccine doses protecting against
        SARS-CoV-2 by January 2021—while the company gears up to
        manufacture as many as one billion doses a year.

            The South San Francisco, CA, vaccine developer said Friday that its room
            temperature stable tablet vaccine had been selected for a nonhuman
            primate (NHP) challenge study organized and funded by Operation Warp
            Speed.

            ***

            “We are very pleased to be one of the few companies selected by
            Operation Warp Speed, and that ours is the only oral vaccine being
            evaluated,” Vaxart CEO Andrei Floroiu said in a statement.

            ***

            Vaxart announced its inclusion in Operation Warp speed a day after
            disclosing plans to ramp up manufacturing of its COVID-19 vaccine to
            one billion or more doses a year, through a Memorandum of
            Understanding the company signed with Attwill Medical Solutions
            Sterilflow (AMS). 191

      • Motley Fool (June 30, 2020): “On Jan. 31, Vaxart announced that it
        planned to develop an oral vaccine for the novel coronavirus. Its share
        price had already more than doubled before the news, but skyrocketed
        even more, as investors were eager to jump aboard any company with a
        promising COVID-19 program. . . . Vaxart joined the Russell 3000 index
        on June 24, providing another big catalyst. But the biggest news of all for


191
    “Vaxart Oral COVID-19 Vaccine Joins Trump’s “Warp Speed,” Ramps Up Manufacturing
Capacity,” Genetic Engineering and Biotechnology News, June 29, 2020. Available at:
https://www.genengnews.com/news/vaxart-oral-covid-19-vaccine-joins-trumps-warp-speed-
ramps-up-manufacturing-capacity/.

                                             67
         Vaxart was only a couple of days away. On June 26, the biotech
         announced that its oral COVID-19 vaccine had been selected for funding
         by the U.S. government's Operation Warp Speed.” 192

      • Seeking Alpha (July 6, 2020): “Vaxart has also reached an agreement
        with Attwill Medical Solutions Sterilflow to mass-produce tablets. The
        agreement includes ‘lyophilization development and large scale
        manufacturing including tableting and enteric coating for Vaxart’s oral
        COVID-19 vaccine’ and an aim “to manufacture a billion or more doses
        per year.” Should this be feasible, the mass production would “enabl[e]
        a greater portion of the population to be protected” bringing us closer to
        the herd immunity that we need.

         Vaxart is now among the highly-selective Warp Speed crowd, alongside
         major drug makers AstraZeneca (AZN), Merck (MRK), Pfizer (PFE),
         Johnson & Johnson (JNJ) as well as other speculative play Moderna
         (MRNA). The operation is offering billions of dollars of support in its
         quest to provide 300 million or more doses of a vaccine by January 2021.
         By choosing the “most promising countermeasure candidates and
         providing coordinated government support”, the operation is streamlining
         funding and trial times to search for a safe, effective vaccine with the
         ability to produce hundreds of millions of doses in a quick turnaround
         time.

         Unlike some of the names mentioned above, which are already moving
         through clinical trials and showing positive data (Pfizer/BioNTech
         (PFE/BNTX); Moderna; Inovio), Vaxart is still in its preclinical, IND
         filing phase, leaving it behind the pack. Yet Vaxart now has the support
         of Warp Speed and multiple government agencies, which is very
         necessary, given Vaxart's minuscule $30 million cash balance as of its
         last quarterly report. Warp Speed designation could provide the very
         funding that Vaxart needs, without having to turn towards dilution or debt
         yet; but should Vaxart fail to convince the government of the safety and
         efficacy of its tablets, it could spell disaster.

         ***

         To conclude ... Operation Warp Speed is now backing Vaxart’s tablet
         technologies, which provide funding and streamlined development times,
         as well as the trust and faith in the company from the government.


192
     “Is It Too Late to Buy Vaxart Stock?,” Nasdaq, Jun 30, 2020. Available at:
https://www.nasdaq.com/articles/is-it-too-late-to-buy-vaxart-stock-2020-06-30.

                                           68
          Vaxart’s tablet technologies could be the game changer in the COVID19
          vaccination race, as it provides a unique immune response compared to
          the other vaccine candidates in Warp Speed. 193

       • Pharmaceutical Technology (July 10, 2020): “In early June, five
         finalists for funding were chosen: AstraZeneca, Johnson & Johnson,
         Merck, Moderna, and Pfizer. Other recent announcements from vaccine
         developers, such as Vaxart and Inovio, have been made by the companies
         rather by than the HHS itself.” 194

       • Investors Alley (July 15, 2020): Vaxart, Inc. (VXRT) has moved
         substantially higher recently based on high hopes for the company’s
         COVID-19                                                    vaccine.

          VXRT was chosen by the U.S. government for inclusion in Operation
          Warp Speed (OWS), the government’s national program with a goal of
          providing safe and effective vaccine doses by January of 2021. VXRT is
          one of a number of companies participating in OWS.

          When announcing VXRT’s participation in the program, CEO Andrei
          Floroiu said, ‘We are very pleased to be one of the few companies
          selected by Operation Warp Speed, and that ours is the only oral vaccine
          being evaluated.’

          ***

          While news of the company’s inclusion in the program has been out for
          several weeks, VXRT leaped higher this week when a B. Riley FBR
          analysis of the vaccine, led the company to place a buy recommendation
          on the stock and give it a price target of $22. The stock closed last Friday
          at $7.98.

          ***

          It should be noted that just before the B. Riley FBR buy recommendation,
          Vaxart raised over $90 million in an at-the-market stock offering, at a


193
   “Vaxart’s Technology Could be a COVID-19 Game Changer,” SeekingAlpha, July 6, 2020.
Available at: https://seekingalpha.com/article/4357206-vaxarts-technology-be-covidminus-19-
game-changer (emphasis added).
194
    “Novavax to receive $1.6B from Operation Warp Speed for the development of Covid-19
vaccine,” Pharmaceutical Technology, July 10, 2020. Available at: https://www.pharmaceutical-
technology.com/analyst-comment/novavax-operation-warp-speed-covid-19/.

                                             69
          price of $7.98. That offering was led by SVB Leerink, with B. Riley FBR
          acting as co-lead sales agent.

          Vaxart said, ‘The additional funds raised through the ATM facility will
          support the clinical and preclinical development of Vaxart’s product
          candidates, to conduct clinical trials, to manufacture its products, and for
          general corporate and working capital purposes.’

          After the selling stock at $7.98, and following the B. Riley FBR buy
          recommendation, the stock has recently traded as high as $16.40.” 195

       • Pharmaceutical Technology (July 15, 2020): “. . . Vaxart’s oral
         approach is one of the projects chosen to be part of the US Government’s
         Operation Warp Speed. Following on from positive pre-clinical results in
         April, Vaxart’s candidate is on track to move into clinical studies this
         summer.

          Talking about this announcement, Vaxart CEO Andrei Floroiu said: “We
          are very pleased to be one of the few companies selected by Operation
          Warp Speed, and that ours is the only oral vaccine being evaluated.” 196

       • Motley Fool (July 22, 2020): “So far, it’s thought that OWS has funded
         at least nine independent coronavirus vaccine efforts and a smattering of
         related projects, with awards split almost evenly between large pharmas
         and clinical-stage biotech companies. Most investors know big pharma
         participants like Pfizer (NYSE: PFE), AstraZeneca (NYSE: AZN), and
         Johnson & Johnson (NYSE: JNJ), whereas biotechs like Moderna
         (NASDAQ: MRNA), Novavax (NASDAQ: NVAX), and Vaxart
         (NASDAQ: VXRT) are newcomers to the limelight created by the
         program.

          Most of the biotech companies funded by OWS have no products with
          regulatory approval for sale, but that hasn't stopped them from getting
          large infusions of cash. Moderna received $500 million from the
          program, and Novavax accepted a stunning $1.6 billion award. These



195
   “VXRT Stock Price Jumps on COVID-19 Operation Warp Speed Announcement,” Investors
Alley Corp, July 15, 2020. Available at: https://www.investorsalley.com/vxrt-stock-price-jumps-
on-covid-19-operation-warp-speed-announcement-article-adams/ (emphasis added).
196
   “Covid-19 pandemic: the need for second-generation vaccines,” Pharmaceutical Technology,”
July 15, 2020. Available at: https://www.pharmaceutical-technology.com/features/covid19-
second-generation-vaccines/ (emphasis added).

                                              70
             OWS grants have been favorable for investors, with stocks skyrocketing
             on news of each company's selection for the program.

             However, it’s impossible to confirm exactly which projects are receiving
             funding, or how much funding is being disbursed in total, thanks to
             ongoing and opaque negotiations about commercialization between
             authorities and participants in the operation. Similarly, it’s unclear which
             criteria OWS uses to pick vaccine candidates to accelerate, but positive
             preliminary results are likely a decisive factor. One thing is certain: The
             accelerator is only intended to aid American companies in producing
             vaccine doses for domestic use, and competitors from China are explicitly
             excluded.” 197

       93.      The public media attention and the financial media’s direct outreach to

Vaxart, the Company’s investor relations contact, and HHS demonstrate the importance of

the relevant information environment to investors, particularly questions about whether

Vaxart’s purported selection to OWS was to the short list of seven to eight OWS finalists,

in which case Vaxart would be likely to receive significant government funding or support.

       D. Financial Analyst Commentary

       94.      As further evidence of the importance of information about Vaxart’s

vaccines, production abilities, and potential OWS funding, multiple securities analysts

provided commentary and analysis based on this information. For example, prior to the

start of the Class Period:

       • Zacks Equity Research / Yahoo! finance (April 29, 2020): “We expect
         investors to focus on Vaxart, Inc.’s VXRT development plans for its oral
         coronavirus vaccine candidates when it reports first-quarter 2020
         earnings results. Shares of Vaxart have skyrocketed 850.1% so far this
         year against the industry’s decline of 9.4%. The stock price has been


197
   “Everything You Need to Know About Operation Warp Speed's Coronavirus Vaccine
Accelerator,” Motley Fool, July 22, 2020. Available at: https://www.fool.com/investing/
2020/07/22/everything-you-need-to-know-about-operation-warp-s.aspx (emphasis added).

                                                71
                appreciating of late owing to the company’s recent progress in making
                efforts to fight the COVID–19 pandemic and develop a vaccine for the
                same.” 198

          • Evercore ISI (May 4, 2020): “We hosted a webinar with VXRT
            management to discuss the company’s oral Ad5 vector vaccine platform.
            VXRT has a differentiated approach that drives high levels of mucosal
            immunity and is easily scaled- both of which are important, especially for
            COVID19” 199

          • Evercore ISI (May 21, 2020): “Don’t forget mucosal immunity. Few
            companies focusing on this – VXRT and ALT stand out -- and we’ll learn
            more in the coming weeks. Extremely important and VERY
            underappreciated. 200

          95.      Moreover, following the Attwill and Selected-for-OWS Press Releases,

Morgan Stanley issued a report on July 1, 2020, highlighting Vaxart as the sixth OWS

company selection:

          On June 3, The New York Times reported that the US Government has
          selected five companies, Pfizer/BioNTech, Moderna, AstraZeneca, JNJ, and
          Merck as part of OWS to accelerate the development, manufacturing, and
          distribution of COVID-19 vaccines, therapeutics, and diagnostics. A sixth
          company, Vaxart, announced on June 26 that its vaccine candidate was
          selected to participate in OWS. OWS has a budget of nearly $10 billion and
          the program aims to deliver 300 million doses of safe, effective vaccine by
          January 2021. 201




198
  “Vaxart (VXRT) to Report Q1 Earnings: What’s in the Cards?,” Yahoo! Finance / Zacks Equity
Research , Apr. 29, 2020. Available at: https://nz.news.yahoo.com/vaxart-vxrt-report-q1-earnings-
164704031.html.
199
    “COVID Watch: Importance of Mucosal Immunity - VXRT Webinar Highlights,” Evercore
ISI, May 4, 2020.
200
  “COVID watch: 8 Important Takeaways From Vaccine Company Meetings,” Evercore ISI,
May 21, 2020.
201
      “COVID vaccine candidate delivers booster,” Morgan Stanley, Jul. 1, 2020 (emphasis added).

                                                72
       96.    Following the Attwill and Selected-for-OWS Press Releases, additional

analysts reported on Vaxart, “the capacity to manufacture more than 1 billion doses per

year,” and their expectation that Vaxart “will receive substantial government funding in

the near-term” due to the OWS selection:

       • BioInvest (July 7, 2020): In May, VXRT's oral COVID-19 vaccine,
         rAd5, was selected to participate in a non-human primate (NHP)
         challenge study, organized and funded by Operation Warp Speed, the
         new national program aiming to provide substantial quantities of safe,
         effective vaccine for Americans by January 2021. As an upstart to the
         COVID landscape, OWS has provided significant scientific validation for
         VXRT's cutting edge oral vaccine technology. Earlier this year, the
         Company presented impressive preclinical data for rAd5 generating
         impressive immune responses that helped formed the basis for the
         vaccine’s acceptance into Operation Warp Speed…Like several
         vaccines selected for this program (e.g., AZN/Oxford, NVAX), we
         expect that VXRT will receive substantial government funding in the
         near-term for this program. 202

       • B. Riley (July 12, 2020): VXRT’s vaccine candidate was recently
         selected as the only oral product to participate in a non-human primate
         (NHP) challenge study, organized and funded by Operation Warp Speed
         (OWS), designed to demonstrate the efficacy of Vaxart’s COVID-19
         vaccine candidate. In parallel, VXRT has entered a separate partnership
         with Attwill Medical Solutions Sterilflow (AMS) for lyophilization
         development and tableting and enteric coating of the vaccine, with the
         capacity to manufacture more than 1 billion doses per year, as
         preparations for a Phase I open-label, dose-ranging human study are
         ongoing. 203




202
   “BIOINVEST BREAKING NEWS - Special Update -- NEW RECOMMENDATION: Vaxart
(VXRT} - VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human Testing,” BioInvest, Jul.
7, 2020. Available at: https://bioinvest.com/vaxart-vxrt-vxrts-oral-vaccine-for-covid-19-poised-
to-enter-human-testing/ (emphasis added).
203
   “One-of-Its-Kind Oral Vaccine Maker Steadily Scaling Up to Meet Global Demand--Initiating
at Buy, $22 PT,” B. Riley, Jul. 12, 2020 (emphasis added).

                                              73
          97.         As documented above, analysts relied upon Defendants’ statements

concerning the partnership with Attwill to manufacture a billion or more COVID-19

vaccine doses, Vaxart’s selection for OWS, and the potential for significant government

funding when providing investment advice. This evidence strongly suggests that the

alleged misstatements and/or omissions regarding Vaxart’s agreement with Attwill and its

purported selection for OWS were important, value-relevant, and economically material to

investors in Vaxart Securities. Therefore, it stands to reason that the Company’s alleged

misrepresentations and/or omissions about Attwill having the necessary FDA certifications

to manufacture a billion or more doses of Vaxart’s COVID-19 vaccine, along with Vaxart's

status as one of the seven to eight OWS finalists, would be considered economically

material to investors.

      E. Principles of Finance, Economics, and Valuation Analysis

          98.         A fundamental principle of financial economics holds that the value of a

security is equal to the present value of the expected future cash flows to holders of that

security. 204 In other words, a security’s value is the sum of the estimated future cash flows

discounted at a rate that reflects their riskiness. 205 All else equal, a decrease in a company’s

future revenue or future earnings reflects a decrease in the cash flows to the common

stockholders, and thus, causes a decrease in the value of the security.




204
   Koller, T., Goedhart, S., & D. Wessels. “Measuring and Managing the Value of Companies,”
John Wiley & Sons, Sixth Edition, 2015, p. 17.
205
      Id. at p. 42.

                                                  74
       99.    Given that Vaxart was a small, clinical-stage biotechnology company

primarily focused on the development of oral, tablet-based vaccines, and had not yet

successfully developed a commercial vaccine despite its 16 years in business, this

fundamental valuation principle helps to further explain why Vaxart’s claimed selection

by the federal government as one of the seven to eight OWS finalists (suggesting potential

receipt of massive government funding and/or support), and its new agreement with Attwill

to produce a billion or more vaccine doses would impact future Company revenues and

earnings. Consequently, such developments would be deemed value-relevant and

economically material to investors.

       100.   Basic finance theory demonstrates that all else equal, a reduction in a firm’s

revenues, profit margins, and earnings will correspondingly reduce the cash flows available

to common stockholders. And a reduction in cash flows directly translates into a reduction

in firm value based on basic financial valuation principles. Because the alleged schemes,

misrepresentations, and/or omissions directly impacted the timing, level, and risk of

expected future cash flows (and thus, the value investors put on the stock), it is foreseeable

that they would affect the price of Vaxart’s Securities. Moreover, it is naturally foreseeable

that Plaintiffs and other investors would suffer losses when it was revealed that the

misrepresentations and/or omissions were misleading or that Defendants or Vaxart

otherwise engaged in fraudulent conduct. If Plaintiffs ultimately prove their allegations that

the alleged misstatements and/or omissions were false and misleading, then based on

fundamental valuation principles, investors would have viewed the alleged misstatements,

concealed omissions, and/or undisclosed schemes to manipulate the price of Vaxart shares

                                             75
and/or trade on material, non-public information to be value-relevant and thus, material,

from an economic perspective.

       101.   Moreover, I also note that the alleged misrepresentations and subsequent

diffusion/leakage of the relevant truth (including the Corrective Disclosure Events) had an

impact on the buying/selling decisions of investors. As shown in the table below, Vaxart’s

daily trading volume averaged 4.4 million shares per day in the month prior to June 25,

2020. It then spiked significantly following the Attwill and Selected-for-OWS Press

Releases, and remained elevated up through the final Corrective Disclosure Event—the

HHS Tweet and New York Times article at the end of July 2020, averaging over 57 million

shares traded daily from June 25 through July 27, 2020:




                                            76
                Table E. Vaxart Common Stock Daily Trading Volume
                Date           Volume                  Date         Volume
              5/26/2020       4,921,814             6/25/2020     141,914,903
              5/27/2020       4,520,007             6/26/2020     230,619,019
              5/28/2020       2,538,521             6/29/2020     75,421,894
              5/29/2020       2,746,648             6/30/2020     94,251,594
              6/1/2020        2,672,838              7/1/2020     29,311,515
              6/2/2020        5,224,006              7/2/2020     17,873,785
              6/3/2020        5,289,335              7/6/2020     23,134,666
              6/4/2020        4,052,142              7/7/2020     62,500,095
              6/5/2020        6,098,427              7/8/2020     31,387,625
              6/8/2020        3,317,955              7/9/2020     12,825,465
              6/9/2020        3,841,108             7/10/2020     10,347,165
              6/10/2020       2,600,280             7/13/2020     134,329,009
              6/11/2020       3,678,276             7/14/2020     127,590,377
              6/12/2020       2,219,959             7/15/2020     55,411,700
              6/15/2020       2,853,413             7/16/2020     56,495,978
              6/16/2020       1,513,904             7/17/2020     27,924,966
              6/17/2020       1,770,597             7/20/2020     31,418,083
              6/18/2020       7,353,201             7/21/2020     21,539,964
              6/19/2020       4,622,573             7/22/2020      9,481,795
              6/22/2020       2,617,968             7/23/2020     14,769,630
              6/23/2020       2,418,252             7/24/2020     14,633,899
              6/24/2020      19,402,200             7/27/2020     42,445,298
              Average         4,376,065              Average      57,528,565


   F. Event Study

       102.   To study and opine on the stock price movements for Vaxart over the Class

Period and on relevant days, I performed an event study.

       103.   As discussed in my Prior Reports, the event study methodology examines the

security price reaction to an “event” such as the information released in a press release or

a corrective event. Event studies employ statistical analysis and other scientific approaches

to examine price movements following certain events to determine within a specified

degree of certainty whether they are caused by the event being studied.


                                             77
          104.   Event studies are widely used by economists to measure the reaction of a

security to the disclosure of new, issuer-specific information, including in connection with

assessments of market efficiency, loss causation, and damages in securities litigation. 206

As Professor Fama has explained:

             There is a large event-study literature on issues in corporate finance. The
             results indicate that on average stock prices adjust quickly to information
             about investment decisions, dividend changes, changes in capital
             structure, and corporate-control transactions. This evidence tilts me
             toward the conclusion that prices adjust efficiently to firm-specific
             information. More important, the research uncovers empirical
             regularities, many surprising, that enrich our understanding of
             investment, financing, and corporate-control events, and give rise to
             interesting theoretical work. 207

          105.   To determine whether Vaxart’s Common Stock price movements on any

given date are statistically significant, I performed an event study using generally accepted

economic methods, specifying a regression model over a selected time period to observe

the typical relationship between the price of the relevant security and market and industry

indices.

          106.   Through this regression model, an economist can model the predicted daily

return of the relevant security, based on market and industry returns. By subtracting the

predicted return from the actual return, an economist can calculate the “abnormal” return

in the company’s daily stock price movement, which represents the component of the daily

stock price return that is not attributable to market-wide or industry-wide movements, but



206
   A. Craig MacKinlay, 1997, “Event Studies in Economics and Finance,” Journal of Economic
Literature 13.
207
      Eugene F. Fama, 1991, “Efficient Capital Markets: II,” Journal of Finance 46, at 1607.

                                                 78
rather, is attributable to company-specific news. Finally, as part of an event study analysis,

an economist tests whether the deviation from expected price movements (the “abnormal

return”) is “statistically significant,” i.e., sufficiently large compared to the typical

volatility such that simple random movement can be rejected as the cause.

        107.   I applied these widely used and generally accepted econometric

methodologies to perform my event study here. Specifically, to isolate the impact of

company-specific news on Vaxart’s Common Stock price during the Class Period, I

performed regression analyses to measure the relationship between Vaxart’s Common

Stock price returns and: (1) changes in market-wide factors that would be expected to

impact all stocks; and (2) changes in industry-wide factors that would be expected to

impact stocks in Vaxart’s industry. By modeling how Vaxart’s Common Stock price

returns moved relative to an overall market index and an industry index, I was also able to

measure the response of Vaxart’s Common Stock to announcements of company-specific

news.

        108.   I previously performed an event study in my Efficiency Report to evaluate

whether Vaxart Common Stock responded to relevant information and together with other

supporting factors as listed in my Efficiency Report, I reached the conclusion that Vaxart

Common Stock traded in an efficient market. 208 I subsequently performed an event study

in my Efficiency Rebuttal Report to evaluate the potential price impact of the alleged




208
   Efficiency Report ¶3. The event study I employ in this report remains unchanged from my
Efficiency Report.

                                              79
misrepresentations in this matter, and I reached the conclusion that the alleged

misrepresentations impacted the price of Vaxart’s Securities. 209

          109.   After carefully reviewing and considering the relevant information

environment for purposes of assessing loss causation and damages in this report, I have

utilized the same event study methodology as that performed in my prior Efficiency

Rebuttal Report. For brevity, I repeat the key parameters of this event study below, but

refer to my prior reports for a more lengthy discussion of my event study process. 210

          110.   My event study incorporates a rolling two-month (40 trading day) estimation

window, the NASDAQ Composite Total Return Index (the “Market Index”), 211 and the

NASDAQ Biotechnology Industry Total Return Index (the “Industry Index”).212

Exhibit 1, attached hereto, graphs the coefficients on these controls for Vaxart Common



209
      Efficiency Rebuttal Report ¶8.
210
      See Efficiency Report Section V.E; Efficiency Rebuttal Report Section VII.
211
    As noted in my Efficiency Rebuttal Report ¶¶58-59, “it is imperative that an expert understand
the information environment when assessing any company, which is a standard expert approach.”
Here, “the abrupt onset of the COVID-19 pandemic in early 2020 caused unprecedented volatility
and shifts in individual company return patterns. My selection of a relatively short 40-day
estimation window allows the regression models to rapidly adapt to the abrupt shifts in volatility
and return patterns that occurred in the months following the onset of the COVID pandemic – a
unique time period that include the Class Period at issue in this matter. Moreover, my use of a 40-
day estimation window also excludes the unique period of extreme market volatility around March
2020. By all measures, this time period around March 2020 represented an ‘outlier’ period of
volatility that was not representative of the typical day-to-day fluctuations in market prices for
Vaxart (and many other firms).” As previously explained, “my use of a 40-day estimation window
in this case is consistent with prior academic research, I have relied on the same or shorter
estimation windows and smaller sample sizes for estimation in my other work, and a 40-day
estimation window was particularly reasonable in light of the extraordinary volatility caused by
the COVID pandemic in 2020.” Id. ¶60.
212
   Vaxart itself benchmarked its Common Stock performance against the NASDAQ Composite
and NASDAQ Biotechnology indices. See Vaxart 2020 Annual Report, at p. 85.

                                                 80
Stock. Exhibit 2, attached hereto, plots the standard deviation of the regression errors, also

known as Root Mean Squared Error, for Vaxart Common Stock.

         111.   Exhibit 3, attached hereto, reports the event study results for each day

between June 25, 2020 and July 27, 2020 (the market impact dates corresponding with the

first Inflation Creating Event and the last Corrective Disclosure Event). In the following

sections, I discuss the information environment throughout the Class Period as well as the

associated Company stock price movements. But here I note that the Inflation Creating

Events resulted in statistically significant increases in Vaxart’s Common Stock prices

following both the Attwill Press Release on June 25, 2020 and the Selected-for-OWS Press

Release on June 26, 2020. For the reasons discussed above, a reasonable investor would

have viewed the alleged schemes, misrepresentations, and/or omissions as having

significantly altered the total mix of information available. Thus, I conclude that the alleged

schemes, misstatements, and/or omissions in this case were important, value-relevant, and

economically material to investors.

VII.     Measuring the Economic Link Between the Alleged Misstatements and/or
         Omissions and the Corrective Disclosure Events (Loss Causation)

       A. The Economic Link

         112.   To establish loss causation, I assess the economic impact of the allegations

and determine whether there is economic evidence to link any stock price increases to the

alleged schemes, misrepresentations, and/or omissions, as well as any stock price declines

to the revelation or diffusion/leakage of the relevant truth about the alleged schemes,




                                              81
misrepresentations, and/or omissions such that they were a substantial factor in the stock

price increases and subsequent declines.

       113.    As explained in Section IV.B, Plaintiffs allege that the Attwill and Selected-

for-OWS Press Releases, individually and collectively, gave investors the misleading

impression that Vaxart stood at the precipice of pioneering a successful coronavirus

vaccine which (i) could quickly have a “billion or more doses” manufactured and (ii) which

had been “selected” as one of a handful of vaccine finalists the U.S. Government was

focusing on as part of OWS’s goal to have substantial quantities of a safe and effective

vaccine available for Americans by January 2021.

       114.    A generally accepted economic principle is that the value of a security is

directly related to expectations about the future cash flows to holders of that security.213

As discussed above in Section VI, there is an economic, financial, and valuation link

between Vaxart’s partnership agreement with Attwill to produce at least one billion vaccine

doses and the Company’s future earnings and anticipated future cash flows. This link is

especially important given that Vaxart, a small clinical-stage biotechnology company

primarily focused on the development of oral, tablet-based vaccines, had not yet

successfully launched a commercial vaccine in its 16 years of operation. Attwill’s



213
    See, e.g., David I. Tabak & Frederick C. Dunbar, “Materiality and Magnitude: Event Studies
in the Courtroom,” In Litigation Services Handbook, The Role of the Financial Expert, John Wiley
& Sons, Third Edition, 2001 (“the price of an efficiently traded stock is equal to the present value
of the discounted future stream of free cash flow”); see also Aswath Damodaran, “Investment
Valuation: Tools and Techniques for Determining the Value of Any Asset,” John Wiley & Sons,
1996, at pp. 9-10 (“This [DCF] approach has its foundation in the ‘present value’ rule, where the
value of any asset is the present value of expected future cashflows on it.”).

                                                82
purported ability to “enable the large scale manufacturing and ultimate supply of [Vaxart’s]

COVID-19 vaccine,” 214 in volumes necessary to garner substantial outside funding (100

million+) and to quickly distribute a vaccine treatment if FDA-approved, would thus

directly translate into potential future revenues and cash flows to be generated from

Vaxart’s production and sale of a vaccine. Because of the link between anticipated future

cash flows and the market value of Vaxart Securities, there is thus a clear economic link

between the Attwill agreement to produce at least one billion doses of Vaxart’s vaccine,

and the market value of Vaxart Securities.

          115.   As separately discussed in Section VI, there is an economic, financial, and

valuation link between the Company’s purported selection as an OWS finalist, and the

Company’s future earnings and anticipated future cash flows. Given the significant funding

and technical requirements required to successfully bring a new vaccine to market, as well

as Vaxart’s known funding constraints, the potential for selection as an OWS finalist to

provide significant U.S. government funding, support, and/or purchasing demand would

directly impact the anticipated success and sales, profits, and cash flows to be generated

from Vaxart’s vaccine. Because of the link between anticipated future cash flows and the

market value of Vaxart Securities, there is thus a clear economic link between Vaxart’s

selection for the U.S. Government’s OWS, and the market value of Vaxart Securities.

          116.   If, as the Complaint alleges, the Attwill Press Release and/or the Selected-

for-OWS Press Release published false and misleading information and/or omissions, then



214
      Attwill Press Release.

                                               83
it was foreseeable at the time of the misstatements and/or omissions (and the underlying

alleged schemes) that as investors learned the relevant truth, the market value of Vaxart

Common Stock would fall. As such, investors who traded Vaxart Common Stock and

Options while Defendants concealed this information suffered losses as the relevant truth

was revealed. Therefore, these misrepresentations and/or omissions represent the cause of

the economic losses suffered by the Plaintiffs and other Class members.

       117.   Accordingly, it is my opinion that there is a direct economic link between the

alleged schemes, material misrepresentations, and/or omissions and the subsequent

economic losses that occurred following the Inflation Creating Events and the Corrective

Disclosure Events. As discussed further below, my event study further demonstrates a link

between the Inflation Creating Events, the Corrective Disclosure Events, and the

subsequent declines in Vaxart’s Common Stock prices.

   B. Measuring Economic Losses

       118.   Economists assessing loss causation commonly employ event studies to

evaluate whether there is economic evidence linking alleged misrepresentations to price

increases in the subject security, and whether there is corrective information regarding prior

misstatements and/or omissions to price declines in the subject security. I describe the

event study used to assess loss causation in this case in Section VI.F above. Exhibit 3,

attached hereto, reports the event study results for each day between June 25, 2020 and

July 27, 2020 (the market impact dates corresponding with the first Inflation Creating

Event the last Corrective Disclosure Event). In Section VIII below, I evaluate whether

there is economic evidence linking alleged misrepresentations to price increases in the

                                              84
 Vaxart’s Common Stock. In Section IX below, I evaluate whether there is corrective

 information regarding prior misstatements and/or omissions, and I measure the price

 declines in Vaxart’s Common Stock resulting from these Corrective Disclosure Events.

VIII.      The Inflation Creating Events Introduced Artificial Inflation

           119.   Based on my review of the relevant information environment, I conclude that

 the Inflation Creating Events introduced artificial inflation into the market prices of Vaxart

 Common Stock (and/or artificially maintained, in part, the market prices of Vaxart

 Common Stock) on the following dates (collectively, the “Inflation Creating Events”):

           • June 25, 2020 (Attwill Press Release): Vaxart, Inc. announced that it
             had signed a Memorandum of Understanding (MOU) with Attwill that,
             due to Attwill’s “ability to manufacture a billion or more doses per year,”
             enabled the production at least one billion doses of Vaxart’s COVID-19
             vaccine per year. 215

           • June 26, 2020 (Selected-for-OWS Press Release): Vaxart announced
             that its oral COVID-19 vaccine had been “selected the U.S.
             Government’s Operation Warp Speed,” and that it was “one of the few
             companies selected by Operation Warp Speed” at a time when the public
             was trying to discern the identity of OWS’s seven to eight finalists. 216

           120.   I discuss each of these dates further in the following subsections.

        A. June 25, 2020: Attwill Press Release

           121.   At 8:00am ET on June 25, 2020, Vaxart issued the Attwill Press Release

 titled “Vaxart, Inc. Signs Memorandum of Understanding with Attwill Medical Solutions




 215
       Attwill Press Release.
 216
       Selected-for-OWS Press Release.

                                                 85
Sterilflow, LP.” 217 Vaxart subsequently filed the Attwill Press Release as an attachment to

an SEC Form 8-K. 218 The Attwill Press Release read as follows:

              Vaxart, Inc. Signs Memorandum of Understanding with Attwill Medical
              Solutions Sterilflow, LP
              Enabling Production of A Billion or More COVID-19 Vaccine Doses Per
              Year
              Through Large Scale Lyophilization, Tableting and Coating

              SOUTH SAN FRANCISCO, Calif., June 25, 2020 (GLOBE
              NEWSWIRE) -- Vaxart, Inc . (“Vaxart” or the “Company”), a clinical-
              stage biotechnology company developing oral vaccines that are
              administered by tablet rather than by injection, announced today that it
              signed a Memorandum of Understanding with Attwill Medical Solutions
              Sterilflow, LP (AMS) affirming the parties’ intent to establish AMS as a
              resource for lyophilization development and large scale manufacturing
              including tableting and enteric coating for Vaxart’s oral COVID-19
              vaccine. AMS will be assigning dedicated resources and equipment for
              the scale up and commercial production of the vaccine upon entering a
              formal agreement.

              “We believe AMS’ experience coupled with its ability to manufacture a
              billion or more doses per year would be a beneficial addition to our group
              of CDMO partners and enable the large scale manufacturing and ultimate
              supply of our COVID-19 vaccine for the US, Europe and other countries
              in need,” said Andrei Floroiu, CEO of Vaxart Inc. “We believe our oral
              vaccines, generated on our proven platform, have the potential to offer
              superior protection against airborne viruses such as SARS-CoV-2 by
              triggering both mucosal and systemic immunity while being administered
              by a room temperature-stable tablet, an enormous logistical advantage in
              large vaccination campaigns.” 219




217
      Attwill Press Release.
218
   Vaxart, Inc., SEC Form 8-K, Jun. 30, 2020. Available at: https://www.sec.gov/Archives/
edgar/data/72444/000143774920014248/0001437749-20-014248-index.htm.
219
      Attwill Press Release.

                                                86
          122.   The Attwill Press Release was immediately picked up and reported on by

other media outlets. For example, at 8:09am ET on June 25, Theflyonthewall.com repeated

the news. 220 Reuters noted the news at 8:37am ET. 221 At 9:53am ET, Dow Jones noted that

“Vaxart Inc. shares were up 25% to $3.97 in early trade” due to the Attwill Press Release. 222

By 12:20pm, ET Benzinga.com noted that the Company’s “shares climbed 40.5% to

$4.4802” following the Attwill Press Release. 223 RTT News noted that the Company’s

shares “are climbing more than 50% Thursday morning and touched a new high of $4.83”

on the Attwill Press Release. 224 TipRanks noted a 96% explosion in Vaxart’s stock price

by the close of trading due to the Attwill Press Release. 225

          123.   Analysts also relied on the Attwill Press Release in providing commentary

about Vaxart. For example, B. Riley noted “VXRT has entered a separate partnership with

Attwill Medical Solutions Sterilflow (AMS) for lyophilization development and tableting




220
   “Vaxart signs MOU with Attwill Medical Solutions Steriflow,” Theflyonthewall.com, Jun. 25,
2020.
221
    “BRIEF-Vaxart Signs Memorandum of Understanding with Attwill Medical Solutions
Steriflow,” Reuters News, Jun. 25, 2020.
222
  “Vaxart Shares Jump 25% After Partnership with Attwill Medical,” Dow Jones Institutional
News, Jun. 25, 2020.
223
      “46 Stocks Moving in Thursday’s Mid-Day Session,” Benzinga.com, Jun. 25, 2020.
224
     “Stock Alert: Vaxart Gains 50%,” RTT News, Jun 25, 2020. Available at:
https://www.rttnews.com/3106414/stock-alert-vaxart-gains-50.aspx.
225
   “Vaxart Explodes 96%- And Rallies After-Hours- On Covid-19 Deal,” TipRanks, Jun. 25,
2020. Available at: https://www.tipranks.com/news/corona/vaxart-explodes-96-and-rallies-after-
hours-on-covid-19-oral-vaccine-deal#google_vignette.

                                               87
and enteric coating of the vaccine, with the capacity to manufacture more than 1 billion

doses per year... 226

       124.    Similarly, BioInvest noted “. . .last month, VXRT signed a partnership with

Attwill Medical Solutions Sterilflow, LP (AMS) as a major resource for lyophilization

development and large scale manufacturing including tableting and enteric coating for

Vaxart’s oral COVID-19 vaccine. The partnership will enable the production of a billion

or more COVID-19 vaccine doses per year. AMS will be assigning dedicated resources

and equipment for the scale up and commercial production of the vaccine upon entering a

formal agreement.” 227

       125.    Also, on the morning of June 25, 2020, H.C. Wainwright hosted a Virtual

Fireside Chat with Vaxart’s CEO Andrei Floroiu and Chief Scientific Officer Sean Tucker.

Towards the end of the panel discussion, in response to a question about what to look for

regarding Vaxart’s coronavirus vaccine program, Andrei Floroiu stated: “The upcoming

milestones will be filing our IND, which should happen pretty soon and then following the

start of human clinical trials which as Sean noticed should happen this summer. Besides

that, there may be some other news on other fronts, partnering and so on that will release




226
   “One-of-Its-Kind Oral Vaccine Maker Steadily Scaling Up to Meet Global Demand--Initiating
at Buy, $22 PT,” B. Riley, Jul. 12, 2020.
227
   “BIOINVEST BREAKING NEWS - Special Update -- NEW RECOMMENDATION: Vaxart
(VXRT} - VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human Testing,” BioInvest, Jul.
7, 2020. Available at: https://bioinvest.com/vaxart-vxrt-vxrts-oral-vaccine-for-covid-19-poised-
to-enter-human-testing/.

                                              88
whenever they happen.” 228 Plaintiffs allege this statement served as a preview to building

excitement for the Selected-for-OWS Press Release on the following morning. 229 I thus

consider this statement to have potentially leaked a portion of the June 26 Selected-for-

OWS Press Release into Vaxart’s Common Stock on June 25, 2020.

          126.   Based on my event study, after controlling for market and industry effects,

Vaxart’s Common Stock price increased on June 25, 2020 by 95.8%, or $3.06 per share

(see Exhibit 3). This price increase is statistically significant at the 99% confidence level,

meaning it was in the top 1% of price changes during the analyzed period. Additionally,

there was very high trading volume of Vaxart Common Stock on this date of 141.9 million

shares traded, which is over 30 times greater than the average daily trading volume during

the month prior to this date. 230 The significant price movement and trading volume in

Vaxart Common Stock demonstrates that the market reacted quickly and significantly on

June 25, 2020 to the Attwill Press Release.

          127.   As discussed above, if the Attwill Press Release gave investors the

misleading impression that Vaxart stood at the precipice of pioneering a successful

coronavirus vaccine which could quickly have a “billion or more doses” manufactured

(and, with the Selected-for-OWS Press Release, bolstered the misimpression that Vaxart




228
   Final Transcript, H.C. Wainwright Virtual Fireside Chat Series, June 25, 2020 (emphasis
added).
229
      Complaint ¶¶21, 182.
230
      Source: Bloomberg (141.9 million / 4.376 million = 32.4x).

                                                 89
had been “selected” as one of a handful of finalists for OWS), then the Attwill Press

Release introduced artificial inflation into Vaxart’s Common Stock.

       128.   I carefully evaluated whether there was any other news outside of this

Inflation Creating Event that could explain the observed Vaxart Common Stock price

increase on June 25, 2020. I found no such confounding information. As a result of the

foregoing, and assuming Plaintiffs prove the false or misleading nature of the Attwill Press

Release, I find no economic evidence of information unrelated to the Complaint’s claims

that needs to be disaggregated from the price increase on this date.

       129.   However, as described in the following sections, I conservatively limit the

amount of artificial inflation introduced by the Inflation Creating Events so that this sum

does not exceed the sum of artificial inflation dissipated by the Corrective Disclosure

Events. I thus exclude $0.17 per share of the abnormal dollar increase on June 25, 2020, so

that the cumulative sum of inflation introduced by 4:00pm ET on June 26, 2020 does not

exceed $4.79 per share.

       130.   As a result, I attribute $2.89 per share of the abnormal dollar increase to the

alleged fraud-related information published on June 25, 2020. Assuming Plaintiffs prove

the false or misleading nature of the Attwill Press Release, I thus estimate that $2.89 of

artificial inflation per share was introduced into Vaxart Common Stock on June 25, 2020.

   B. June 26, 2020: Selected-for-OWS Press Release

       131.   At 8:00am ET on June 26, 2020, Vaxart issued the Selected-for-OWS Press

Release titled “Vaxart’s COVID-19 Vaccine Selected for the U.S. Government’s Operation



                                             90
Warp Speed.” 231 Vaxart subsequently filed the Selected-for-OWS Press Release as an

attachment to an SEC Form 8-K. 232 The Selected-for-OWS Press Release read as follows:

             Vaxart’s COVID-19 Vaccine Selected for the U.S. Government’s
             Operation Warp Speed
             OWS to Test First Oral COVID-19 Vaccine in Non-Human Primates

             SOUTH SAN FRANCISCO, Calif., June 26, 2020 (GLOBE
             NEWSWIRE) -- Vaxart, Inc., a clinical-stage biotechnology company
             developing oral vaccines that are administered by tablet rather than by
             injection, today announced that its oral COVID-19 vaccine has been
             selected to participate in a non-human primate (NHP) challenge study,
             organized and funded by Operation Warp Speed, a new national program
             aiming to provide substantial quantities of safe, effective vaccine for
             Americans by January 2021.

             The study is designed to demonstrate the efficacy of Vaxart’s oral
             COVID-19 vaccine candidate.

             “We are very pleased to be one of the few companies selected by
             Operation Warp Speed, and that ours is the only oral vaccine being
             evaluated. SARS-CoV-2, the coronavirus that causes COVID-19, is
             primarily transmitted by viral particles that enter through the mucosa -
             nose, mouth or eyes - strongly suggesting that mucosal immunity could
             serve as the first line of defense,” said Andrei Floroiu, Chief Executive
             Officer of Vaxart Inc. “In addition, our vaccine is a room temperature-
             stable tablet, an enormous logistical advantage in large vaccination
             campaigns.” 233

          132.   The Selected-for-OWS Press Release was immediately picked up and

reported on by media outlets. For example, at 8:01am ET on June 26, Theflyonthewall.com




231
      Selected-for-OWS Press Release.
232
   Vaxart, Inc., SEC Form 8-K, Jun. 30, 2020. Available at: https://www.sec.gov/Archives/
edgar/data/72444/000143774920014248/0001437749-20-014248-index.htm.
233
      Selected-for-OWS Press Release.

                                              91
repeated the news. 234 The Associated Press noted that Vaxart shares were up $1.78 to $8.04

as “The biotechnology company’s potential COVID-19 vaccine was selected for a study

aimed at producing a vaccine by January.” 235 BioSpace mentioned Vaxart’s selection by

Operation Warp Speed in its daily biopharma update. 236 Other media stories connected the

Selected-for-OWS Press Release with the sharp increase in Vaxart’s price both prior to and

immediately following the open of regular market trading hours at 9:30am ET:

       • Seeking Alpha: “Vaxart…is surging for the second day in a row, up 70%
         pre-market…” 237

       • MarketWatch: “Vaxart shares soared 75% premarket on the news.” 238

       • Business Insider: The news sent Vaxart’s stock as much as 106% higher
         on Friday morning. 239




234
   “Vaxart’s COVID-19 vaccine selected for U.S. Government’s Operation Warp Speed,”
Theflyonthewall.com, Jun. 26, 2020.
235
    “Nike, JPMorgan fall; Gap, CoreLogic rise,” The Associated Press, Jun. 26, 2020. Available
at: https://apnews.com/9462373b254a3835d810f5ef422de523.
236
    “Biopharma update on the novel coronavirus: 26 Jun 2020,” BioSpace, Jun. 26, 2020. Available
at: https://www.biospace.com/biopharma-update-on-the-novel-coronavirus-june-26
237
   “Vaxart +70% after Covid-19 'Warp Speed' designation for its vaccine,” Seeking Alpha, Jun.
26, 2020. Available at: https://seekingalpha.com/news/3586465-vaxart-plus-70-percent-after-
covidminus-19-warp-speed-designation-for-vaccine.
238
   “Vaxart shares skyrocket on news its COVID-19 vaccine candidate to be part of Operation
Warp Speed,” MarketWatch, Jun. 26, 2020. Available at: https://www.marketwatch.com/story/
vaxart-shares-skyrocket-on-news-its-covid-19-vaccine-candidate-to-be-part-of-operation-warp-
speed-2020-06-26.
239
   “A little-known biotech working on a COVID-19 vaccine has surged 304% in 2 days — and it
just said it was picked for the US government’s Operation Warp Speed program,” Business Insider,
Jun. 26, 2020. Available at: https://africa.businessinsider.com/finance/a-little-known-biotech-
working-on-a-covid-19-vaccine-has-surged-304-in-just-2-days/3frv5g5.

                                              92
       • Reuters: “Shares of the U.S. vaccine developer surged 66% to $10.38 in
         noon trading…” 240




240
   “Vaxart says potential COVID-19 vaccine picked for ‘Operation Warp Speed,’” Reuters, Jun.
26, 2020. Available at: https://www.reuters.com/article/idUSKBN23X1VC/.




                                            93
      134.   Analysts also relied on the Selected-for-OWS Press Release in providing

commentary about Vaxart. For example, Morgan Stanley stated: “On June 3, The New York

Times reported that the US Government has selected five companies, Pfizer/BioNTech,




                                         94
Moderna, AstraZeneca, JNJ, and Merck as part of OWS to accelerate the development,

manufacturing, and distribution of COVID-19 vaccines, therapeutics, and diagnostics. A

sixth company, Vaxart, announced on June 26 that its vaccine candidate was selected to

participate in OWS. OWS has a budget of nearly $10 billion and the program aims to

deliver 300 million doses of safe, effective vaccine by January 2021.” 251 BioInvest stated

that “the Company presented impressive preclinical data for rAd5 generating impressive

immune responses that helped formed the basis for the vaccine’s acceptance into Operation

Warp Speed…Like several vaccines selected for this program (e.g., AZN/Oxford,

NVAX), we expect that VXRT will receive substantial government funding in the near-

term for this program.” 252

          135.   Based on my event study, after controlling for market and industry effects,

Vaxart’s Common Stock price increased from the close of trading on June 25 to the close

of trading on June 26, 2020 by 30.4%, or $1.90 per share (see Exhibit 3). This price

increase is statistically significant at the 99% confidence level, meaning it was in the top

1% of price changes during the analyzed period. Additionally, there was very high trading

volume of Vaxart Common Stock on this date, with 230.6 million shares traded, which, as

illustrated in Table E above, is over 50 times greater than the average daily trading volume




251
      “COVID vaccine candidate delivers booster,” Morgan Stanley, Jul. 1, 2020 (emphasis added).
252
   “BIOINVEST BREAKING NEWS - Special Update -- NEW RECOMMENDATION: Vaxart
(VXRT} - VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human Testing,” BioInvest, Jul.
7, 2020. Available at: https://bioinvest.com/vaxart-vxrt-vxrts-oral-vaccine-for-covid-19-poised-
to-enter-human-testing/ (emphasis added).

                                                95
during the month prior to June 25, 2020. 253 The significant price movements and trading

volume in Vaxart Common Stock demonstrate that the market reacted quickly and

significantly on June 26, 2020 to the Selected-for-OWS Press Release.

            136.   I also considered the fact that academic research establishes that higher

salience (or emphasis of important information) of press release headlines is associated

with stronger immediate stock price reactions. 254 This research also demonstrates that

managers are more likely to craft positive press release headlines with higher salience

before selling shares. 255 The academic research is thus consistent with investors’ focus on

the salience of the headline in the Selected-for-OWS Press Release—“Vaxart’s COVID-

19 Vaccine Selected for the U.S. Government’s Operation Warp Speed.”

            137.   As discussed above, if the Selected-for-OWS Press Releases, individually

and/or collectively with the Attwill Press Release, gave investors the misleading

impression that Vaxart stood at the precipice of pioneering a successful coronavirus

vaccine which had been “selected” as one of a handful of vaccine finalists the U.S.

Government was focusing on as part of OWS’s goal to have substantial quantities of a safe

and effective vaccine available for Americans by January 2021, then the Selected-for-OWS

Press Release introduced artificial inflation into Vaxart’s Common Stock (in addition to



253
      Source: Bloomberg (230.6 million / 4.376 million = 52.7x).
254
    See, e.g. Huang, X., Nekrasov, A., & Teoh, S. H. (2018). Headline salience, managerial
opportunism, and over-and underreactions to earnings. The Accounting Review, 93(6), 231-255;
Guillamon-Saorin, E., Osma, B. G., & Jones, M. J. (2012). Opportunistic disclosure in press
release headlines. Accounting and Business Research, 42(2), 143-168.
255
      Id.

                                                 96
potentially artificially maintaining the price of Vaxart Common Stock prior to the Press

Release’s publication).

       138.    I carefully evaluated whether there was any other news outside of this

Inflation Creating Event that could explain the observed Vaxart Common Stock price

increase on June 26, 2020 and found no such confounding information. 256 For example, I

evaluated whether an invitation to a non-human primate (“NHP”) study (as opposed to

reports on a study’s outcome results) would typically merit a press release announcement,

and if so, whether this would be expected to result in a significant increase in stock price.

I reviewed all companies listed on the NIH website as having completed a coronavirus-

related NHP study and identified 28 with a U.S. public stock listing. 257 I then searched the

SEC EDGAR website for the term “NHP” for each of these 28 companies in 2020 and

2021 (in their SEC Forms 8-k, 6-k, 10-k, 10-q, and/or 20-F) and identified nine companies

(including Vaxart) that discussed NHP studies in their SEC filings. I then reviewed the

company press releases in 2020 and 2021 and, other than Vaxart’s Attwill Press Release,

only identified two press releases issued by one company announcing the initiation of an




256
   I noted that on June 24, 2020, the Company announced it would join the Russell 3000 Index on
June 29, 2020, and that Vaxart’s stock price increased in response to this announcement on June
24, 2020. See “Vaxart, Inc. Set to Join Russell 30000® Index,” Vaxart, Inc., June 24, 2020.
Available at: https://investors.vaxart.com/news-releases/news-release-details/vaxart-inc-set-join-
russell-3000r-index#; “Vaxart to join Russell 3000, shares trading higher,” Dow Jones, June 24,
2020.
257
   National Institutes of Health, Coronavirus Studies in Nonhuman Primate Models. Available at:
https://orip.nih.gov/division-comparative-medicine/animal-models-and-resources-coronavirus-
research/nonhuman-primate-models?field_coronavirus_investigated__target_id=All&field_
study_type_target_id%5B0%5D=192&search=&page=9 (last visited July 11, 2024).

                                               97
NHP study. This company, Inovio Pharmaceuticals, issued two press releases on June 30,

2020 announcing both the initiation of an NHP study as well the results of an ongoing

study. 258 This press release did not result in an increase in Inovio’s stock price. 259




       139.   As a result of the foregoing, and assuming Plaintiffs prove their allegations,

I find no economic evidence of information unrelated to the Complaint’s claims that needs




258
    “INOVIO Announces Positive Interim Phase 1 Data for INO-4800 Vaccine for COVID-19,”
Inovio Pharmaceuticals, Inc., Jun. 30, 2020. Available at: https://ir.inovio.com/news-
releases/news-releases-details/2020/INOVIO-Announces-Positive-Interim-Phase-1-Data-For-
INO-4800-Vaccine-for-COVID-19/default.aspx; “INOVIO’s COVID-19 DNA Vaccine INO-
4800 Provides Protection with Memory Immune Responses In Non-Human Primates Challenged
with SARS-CoV-2 Virus,” Inovio Pharmaceuticals, Inc., Jun. 30, 2020. Available at:
https://ir.inovio.com/news-releases/news-releases-details/2020/INOVIOs-COVID-19-DNA-
Vaccine-INO-4800-Provides-Protection-with-Memory-Immune-Responses-In-Non-Human-
Primates-Challenged-with-SARS-CoV-2-Virus/default.aspx.
259
    Source: Bloomberg ($31.69 price on June 29, 2020 versus $26.95 price on June 30, 2020,
historical raw unadjusted closing stock prices).




                                              98
to be disaggregated from the price increase on this date. I also considered the significant

intraday volatility in Vaxart’s Common Stock price on this date. As shown in Figure 1

below, 262 Vaxart’s stock price quickly increased on the open of regular trading hours at

9:30am ET, reaching an intraday high of $14.30 per share by 9:40am ET. The Armistice

Sales also began on this date, and according to Armistice’s Form 4 filing                                           ,

these sales occurred at a maximum price of $12.89 per share. 263 By 9:45am ET (i.e., 15

minutes after market open), Vaxart’s stock price had already fallen below this level and

continued to decline throughout the trading day.

                                                     Figure 1
                                  VXRT Intraday Trading: June 26, 2020
                   $14                                                                        30,000,000

                                                 $12.89 - Max of
                   $13                         Armistice Sales Prices
                                                                                              25,000,000

                   $12
                                  $11.49: Opening Price on June 26, 2020
                                                                                              20,000,000
                   $11
                                                                    $8.04: Closing Price on




                                                                                                           Volume
                                                                        June 26, 2020
           Price




                   $10                                                                        15,000,000


                   $9      $6.26: Closing Price on
                               June 25, 2020                                                  10,000,000

                   $8

                                                                                              5,000,000
                   $7


                   $6                                                                         -




                                                     Volume      Price




262
      Source: Exhibit 5.
263
      Armistice Form 4;

                                                         99
          140.   Academic research establishes that significant stock sales—including those

by insiders and blockholders – exert downward pressure on stock prices. 264 As discussed

further in Section IX below, I conclude that the Armistice Sales represented partially

corrective information and the diffusion/leakage of the relevant truth, and that Defendants’

selling activity exerted downward pressure on Vaxart’s stock price within 10 to 15 minutes

of market open on June 26, 2020.

          141.   As a result of these intraday stock price movements, I conclude that Vaxart’s

stock price was inflated by a greater amount during the intraday trading on June 26, 2020.

I calculate this intraday inflation as the difference between the contemporaneous executed

trading prices and the but-for implied stock price based on $4.79 of artificial inflation in

the Common Stock at the 4:00pm ET close of regular trading hours on this date (see

Section IX below). Because on June 26, 2020 Vaxart’s closing stock price was $8.04 and

the amount of artificial inflation at this time was $4.79, I calculate the but-for price as $3.25

($8.04 minus $4.79). Thus, when Vaxart’s stock price reached $14.30 at 9:40am ET (10

minutes after market open), the cumulative total of $11.05 of artificial inflation was present

in the Common Stock price ($14.30 minus the but-for price of $3.25 per share).

          142.   The following section presents my analysis of how the artificial inflation

introduced into Vaxart’s Common Stock on June 25 and 26 was dissipated, diffused, and/or

leaked via several partial Corrective Disclosure Events.




264
      See discussion in Section IX.A.

                                               100
IX.       The Corrective Disclosure Events Dissipated Artificial Inflation

          143.   In evaluating Vaxart’s information environment throughout the Class Period,

I identified Corrective Disclosure Events as those that corrected and/or diffused the

relevant truth into Vaxart Common Stock prices by revealing relevant information about

Defendants’ alleged schemes, including any market impact of the Armistice Sales and

Vaxart’s selection for OWS. I also considered the allegations contained within the

Complaint, as well as the relevant information environment throughout the Class Period—

including the news and resulting residual movements in Vaxart’s Common Stock prices as

summarized in Section VII above. The Corrective Disclosure Events partially dissipated

artificial inflation from the market prices of Vaxart Common Stock on the following dates

(collectively, the “Corrective Disclosure Events”):

          • June 26, 2020: The substantial Armistice Sales and diffusion/leakage of
            the relevant truth, which caused Vaxart’s intraday trading price to decline
            after peaking at $14.30 per share at 9:40am ET.

          • June 29, 2020: The continued Armistice Sales and diffusion/leakage of
            the relevant truth, which caused a negative market impact on Vaxart’s
            Common Stock price.

          • July 1, 2020 (and continued reaction on July 2 and July 6; market
            closed July 3-5 for holiday weekend): After the market closed on June
            30, 2020, Vaxart filed with the SEC a Form 4, which publicly reported
            that Armistice sold virtually all of their Vaxart stockholdings on June 26
            and 29, 2020. 265 This represented further diffusion/leakage of the relevant
            truth.

         • July 27, 2020: On Saturday, July 25, the New York Times published an
           article reporting that Vaxart had not been selected for OWS: “Vaxart is
           not among the companies selected to receive significant financial support


265
      Armistice Form 4.

                                               101
            from Warp Speed to produce hundreds of millions of vaccine doses.” 266
            On that same date, the Department of Health and Human Services
            (“HHS”) posted via Twitter: “The US Department of Health and Human
            Services has entered into funding agreements with certain vaccine
            manufacturers and we are negotiating with others. Neither is the case with
            Vaxart.” 267

       144.    These dates are also summarized in Exhibit 4. As discussed further below

and reflected in Exhibit 4, I conclude that the relevant truth was impounded into Vaxart’s

Common Stock prices via leakage/diffusion starting at 9:40am ET on June 26, 2020 and

continuing on each day with a negative residual stock price decline through July 6, 2020.

The only date during this seven-trading day time window without any leakage was June

30, during which Vaxart’s Common Stock price increased in conjunction with positive

media coverage of the Company. I note that this leakage analysis is consistent with leakage

models in other cases. 268 After this leakage/diffusion over seven trading days, the final

dissipation of artificial inflation occurred on the statistically significant stock price decline

on July 27, 2020 following the HHS Tweet and New York Times article on Saturday, July

25, 2020.



266
   “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York Times,
July 25, 2020. Available at: https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-
profits-vaxart.html.
267
    HHS Office of Public Affairs (@SpoxHHS), Twitter post, Jul. 25, 2020. Available at:
https://twitter.com/SpoxHHS/status/1286965074003976193 (“HHS Tweet”). Viewable at Depo.
Ex. 36.
268
   See, e.g., In re Tesla, Inc. Sec. Litig., 2022 WL 7374936, at *7-14 (N.D. Cal. Oct. 13, 2022);
Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d 408, 416 (7th Cir. 2015); Gruber v.
Gilbertson, 628 F. Supp. 3d 472, 484–87 (S.D.N.Y. 2022); Swack v. Credit Suisse First Bos., 383
F. Supp. 2d 223, 243 (D. Mass. Sept. 21, 2004); see also Matthew L. Mustokoff & Margaret E.
Mazzeo, Loss Causation on Trial in Rule 10b-5 Litigation a Decade After Dura, 70 Rutgers L.
Rev. 175, 207–17 (2017).

                                              102
       145.   Importantly, in evaluating Vaxart’s information environment throughout the

Class Period, I did not require that all analysts and investors expressed the same consensus

view about the relevant truth in assessing artificial inflation on each day. Academic

research demonstrates that a divergence of opinions among analysts and investors is

commonplace in the stock market. 269 Ultimately, a stock price reflects an aggregation of

the views of numerous different investors, each of whom may hold differing views about

a company and its expected value. When an investor purchases a stock, that purchase is

executed at the current prevailing market price, which may reflect a valuation that differs

from the investor’s own internal valuation of the company. For example, one finance

textbook describes the price-setting process as follows:

           “The interaction among traders in the market is what actually sets prices
           on a day-to-day basis. The trader that values the security the most, either
           because of less uncertainty about the cash flows or because of greater
           estimated cash flows, will be willing to pay the most. As new information
           is released, investors will revise their estimates of the true value of the
           security and will either buy or sell it depending upon how the market price
           compares to their estimated valuation. Because small changes in
           estimated growth rates or required return result in large changes in price,
           it is not surprising that the markets are often volatile.” 270




269
   Barry, C. B., & Jennings, R. H. (1992). Information and diversity of analyst opinion. Journal
of Financial and Quantitative Analysis, 27(2), 169-183; Doukas, J. A., Kim, C., & Pantzalis, C.
(2004). Divergent opinions and the performance of value stocks. Financial Analysts
Journal, 60(6), 55-64.
270
   Mishkin, F. S., and S. G. Eakins, 2012, Financial Markets and Institutions, Seventh Edition,
Pearson Education, at p. 320.

                                              103
          146.    In addition to the economic literature, I understand that the Supreme Court

recognized this economic phenomenon in its opinion upholding the “fraud on the market

theory”:

          The idea of a free and open public market is built upon the theory that
          competing judgments of buyers and sellers as to the fair price of a security
          brings about a situation where the market price reflects as nearly as possible
          a just price. Just as artificial manipulation tends to upset the true function of
          an open market, so the hiding and secreting of important information
          obstructs the operation of the markets as indices of real value. 271

          147.    I note a divergence of opinions about Vaxart during the Class Period. 272 This

is unsurprising given the numerous media inquiries, questions, and requests for

clarification following the Selected-for-OWS Press Release (noted in Section VI.B above),

which were met with silence by the Company and Defendants. Thus, investors purchasing

Vaxart’s Common Stock at different points in time during the Class Period would be

impacted by the fraud differently (irrespective of their individual beliefs and/or whether

they had personally evaluated the alleged misrepresentations), based on the amount of

artificial inflation reflected in the prevailing market price at the time of purchase—which

would vary throughout the Class Period. As such, my focus is on identifying dates when




271
      See Basic v. Levinson, 485 U.S. at 246 (internal citations omitted).
272
    See, e.g., “ABBV-US, ACPH-BE, AMRN-US, BIO-US, BSTC-US... StreetAccount Sector
Summary - Healthcare Post-Market,” StreetAccount, Jun. 30, 2020; “Inovio Pharmaceuticals
(INO): Neutral,” Piper Sandler, Jun. 30, 2020; “BIOINVEST BREAKING NEWS - Special
Update -- NEW RECOMMENDATION: Vaxart (VXRT} - VXRT’s Oral Vaccine for COVID-19
Poised to Enter Human Testing,” BioInvest, Jul. 7, 2020. Available at:
https://bioinvest.com/vaxart-vxrt-vxrts-oral-vaccine-for-covid-19-poised-to-enter-human-
testing/; “One-of-Its-Kind Oral Vaccine Maker Steadily Scaling Up to Meet Global Demand--
Initiating at Buy, $22 PT,” B. Riley, Jul. 12, 2020.

                                                   104
corrective information was partially revealed and/or diffused/leaked into Vaxart’s

Common Stock Prices following the Inflation Creating Events. In the following

subsections, I further discuss the dissipation of artificial inflation over the course of these

Corrective Disclosure Events.

      A. June 26, 2020: Armistice Sales

         148.   As noted above, following the Selected-for-OWS Press Release on June 26,

2020, Vaxart’s stock price quickly increased by the open of regular trading hours at 9:30am

ET, to an intraday high of $14.30 per share shortly after market open (see also Exhibit 5).

The Armistice Sales also began on this date, and according to Armistice’s Form 4 filing

                    , these sales occurred at a maximum price of $12.89 per share. 273 By

9:45am ET (i.e., 15 minutes after market open), Vaxart’s stock price had already fallen

below this level and continued to decline throughout the trading day.

         149.   Academic research establishes that significant stock sales – including those

by informed insiders and blockholders—exert downward pressure on stock prices. For

example, Kaniel and Liu state: “Informed trading significantly affects market price and

transaction dynamics and has thus become one of the most important issues considered in

the microstructure literature.” 274 Brogaard, et al. demonstrate that aggressive trading




273
      Armistice Form 4;



274
   Kaniel, R., & Liu, H. (2006). So what orders do informed traders use?. The Journal of
Business, 79(4), 1867-1913, at p. 1867 (emphasis added).

                                             105
impacts stock prices before traders’ orders are even executed, and they conclude: “Our

results show that more aggressive orders have a higher price impact.” 275 Market makers

and trading counterparties attempt to infer the nature or identities of large traders in the

marketplace, and react accordingly—for example, by lowering their bids to purchase stock

when they believe an informed trader may be selling based on information unavailable

to other investors. 276 As one study explained:

           We have demonstrated that investors demand a higher return to hold
           stocks with greater private information. This higher return reflects the fact
           that private information increases the risk to uninformed investors of
           holding the stock, because informed investors are better able to shift their
           portfolio weights to incorporate new information. Private information
           thus induces a form of systematic risk, and in equilibrium investors
           require compensation for bearing this risk. 277

       150.    The potential for significant impact of large stock sales on Vaxart’s stock

price was also substantiated by




275
   Brogaard, J., Hendershott, T., & Riordan, R. (2019). Price discovery without trading: Evidence
from limit orders. The Journal of Finance, 74(4), 1621-1658, at p. 1622.
276
   See, e.g., Easley, D., Hvidkjaer, S., & O'hara, M. (2002). Is information risk a determinant of
asset returns?. The journal of finance, 57(5), 2185-2221 (emphasis added).
277
    Easley, D., & O'hara, M. (2004). Information and the cost of capital. The journal of
finance, 59(4), 1553-1583.

                                               106
107
       152.   As explained in the academic literature discussed above, market makers and

trading counterparties attempt to infer the nature or identities of large traders in the

marketplace, and react accordingly—for example, by lowering their bids to purchase stock

when they believe an informed trader may be selling based on information unavailable to

other investors. This is consistent with the leakage theory of information diffusion: some

investors may learn a portion of the relevant truth while other investors may simply react

to informed traders’ selling by lowering their bid prices to purchase stock or simply

declining to purchase altogether. I thus conclude that the Armistice Sales represented

partially corrective information, as their impact diffused/leaked a portion of the relevant

truth into Vaxart’s Common Stock prices on this date. I also conclude that Defendants’

selling activity exerted downward pressure on Vaxart’s stock price within 15 minutes of

market open on June 26, 2020. As a result, concurrent with the Selected-for-OWS Press

Release on June 26, 2020 representing an Inflation Creating Event, the Armistice Sales

represented a Corrective Disclosure Event.

       153.   The intraday inflation was dissipated/diffused/leaked out of Vaxart’s stock

price on June 26, 2020 from 9:40am ET to the close of regular trading at 4:00pm ET. The

intraday inflation on this date thus equals each investor’s trading price minus the but-for

implied stock price $3.25 (calculated as the closing price of $8.04 minus the $4.79 of




                                             108
artificial inflation present at market close). For example, an investor who purchased shares

at the closing price of $8.04 would have buy-inflation equal to $4.79 ($8.04 minus $3.25).

Alternatively, an investor who purchased shares at the intraday high trading price of $14.30

would have buy-inflation equal to $11.05 ($14.30 minus $3.25).

          154.   These price movements are also consistent with the contention that, over

time, with subsequent news reports and the continued absence of meaningful or clear

information about Vaxart’s then-present manufacturing ability and its purported selection

for OWS, a growing subset of investors gradually began to become increasingly skeptical

of the alleged misstatements and/or omissions. This growing skepticism increased negative

pressure on the price of Vaxart Common Stock until the truth was fully revealed, causing

those transacting in Vaxart Common Stock in reliance on the integrity of the market price

to trade at artificially distorted prices.

      B. June 29, 2020: Armistice Sales

          155.   According to Armistice’s Form 4 filing, Defendants sold an additional

9,385,386 Vaxart shares on June 29 at an average sales price of $8.29. 280 As explained in

Section X.A above, academic research establishes that significant stock sales—including

those by informed insiders and blockholders—exert downward pressure on stock prices. I

thus conclude that the Armistice Sales represented partially corrective information, as their

impact diffused/leaked a portion of the relevant truth into Vaxart’s Common Stock prices

on this date.


280
      Armistice Form 4.

                                             109
       156.   Based on my event study, after controlling for market and industry effects,

Vaxart’s daily Common Stock price decreased on June 29, 2020 by -6.2%, or -$0.50 per

share (statistically significant at the 80% level; see Exhibit 3). Thus, by the close of trading

at 4:00pm ET on June 29, 2020, I attribute $0.50 per share of the abnormal dollar decrease

from the close of the prior trading day (June 26, 2020) to the fraud-related information. I

thus estimate that $0.50 of artificial inflation per share was dissipated from Vaxart

Common Stock by the close of trading on June 29, 2020.

       157.   The intraday inflation was dissipated/diffused/leaked out of Vaxart’s stock

price throughout the trading day on June 29, 2020 via the Armistice Sales. The intraday

inflation on this date thus equals each investor’s trading price minus the but-for implied

stock price $3.20 (calculated as the closing price of $7.49 minus the $4.29 of artificial

inflation present at market close). For example, an investor who purchased shares at the

closing price of $7.49 would have buy-inflation equal to $4.29 ($7.49 minus $3.20).

Alternatively, an investor who purchased shares earlier that day at $8.50 would have buy-

inflation equal to $5.30 ($8.50 minus $3.20). The intraday price movements for Vaxart

Common Stock are graphed in Exhibit 6.

       158.   As discussed above, if Defendants are found to have engaged in schemes

including that the Attwill and Selected-for-OWS Press Releases, individually and/or

collectively, gave investors the misleading impression that Vaxart stood at the precipice of

pioneering a successful coronavirus vaccine which (i) could quickly have a “billion or more

doses” manufactured and (ii) which had been “selected” as one of a handful of vaccine

finalists the U.S. Government was focusing on as part of OWS’s goal to have substantial

                                              110
quantities of a safe and effective vaccine available for Americans by January 2021, then

the Armistice Sales dissipated/diffused/leaked a portion of the artificial inflation from

Vaxart’s Common Stock. I carefully evaluated whether there was any other news outside

of this Corrective Disclosure Event that could explain the observed Vaxart Common Stock

price decrease on June 29, 2020 and found no such confounding information. As a result

of the foregoing, and assuming Plaintiffs prove their allegations, I find no economic

evidence of information unrelated to the Complaint’s claims that needs to be disaggregated

from the price decline on this date.

          159.   These price movements are also consistent with the contention that, over

time, with subsequent news reports and the continued absence of meaningful or clear

information about Vaxart’s then-present manufacturing ability and its purported selection

for OWS, a growing subset of investors gradually began to become increasingly skeptical

of the alleged misstatements and/or omissions. This growing skepticism increased negative

pressure on the price of Vaxart Common Stock until the truth was fully revealed, causing

those transacting in Vaxart Common Stock in reliance on the integrity of the market price

to trade at artificially distorted prices.

      C. July 1-6, 2020: Form 4 Disclosing the Armistice Sales

          160.   After the market closed on June 30, 2020, Vaxart filed with the SEC a Form

4 disclosing the Armistice Sales of virtually all of their Vaxart stockholdings on June 26

and 29, 2020. 281 As explained in Section X.A above, academic research establishes that


281
      Armistice Form 4.

                                             111
significant stock sales—including those by informed insiders and blockholders—exert

downward pressure on stock prices. Moreover, academic research demonstrates that insider

sales often precede bad news and/or poor stock price performance. 282 For example, one

study found that when “insiders sell a large number of shares and a large portion of what

they own, they are likely to be motivated by perceived overpricing of their stocks.”283

Academic research also shows that trading volumes and investor attention are lower around

major U.S. holidays. 284 Given this dynamic, it can take longer for information to be fully

reflected in stock prices even in markets that are generally efficient, such as the NYSE and

NASDAQ. 285 Because the Armistice Sales were disclosed around a major U.S. holiday (the

fourth of July)—with stock market trading closed on Friday, July 3rd—I consider the

potential stock price impact from this Corrective Disclosure Event over the period of July

1, 2, and 6, 2020.

            161.   Based on my event study, after controlling for market and industry effects,

Vaxart’s Common Stock price decreased on July 1, 2020 by -10.2%, or -$0.90 per share;

on July 2, 2020 by -8.8%, or -$0.70 per share; and on July 6 by -13.7%, or -$1.01 per share



282
   See, e.g., Karamanou, I., Pownall, G., & Prakash, R. (2021). Asymmetric information
consolidation and price discovery: Inferring bad news from insider sales. Journal of Business
Finance & Accounting, 48(1-2), 230-268; Cohen, L., Malloy, C., & Pomorski, L. (2012).
Decoding inside information. The Journal of Finance, 67(3), 1009-1043; Scott, J., & Xu, P.
(2004). Some insider sales are positive signals. Financial Analysts Journal, 60(3), 44-51.
283
   Scott, J., & Xu, P. (2004). Some insider sales are positive signals. Financial Analysts
Journal, 60(3), 44-51, at p. 48.
284
   Hood, M., & Lesseig, V. (2017). Investor inattention around stock market holidays. Finance
Research Letters, 23, 217-222.
285
      Id.

                                                112
(see Exhibit 3). These declines have associated levels of statistical significance at the

92.8%, 87.7%, and 97.9% levels, respectively. Moreover, the joint abnormal return over

these three consecutive trading days is -29% and is statistically significant at the 99% level.

       162.   As discussed above, if Defendants are found to have engaged in schemes

including that the Attwill and Selected-for-OWS Press Releases, individually and

collectively, gave investors the misleading impression that Vaxart stood at the precipice of

pioneering a successful coronavirus vaccine which (i) could quickly have a “billion or more

doses” manufactured and (ii) which had been “selected” as one of a handful of vaccine

finalists the U.S. Government was focusing on as part of OWS’s goal to have substantial

quantities of a safe and effective vaccine available for Americans by January 2021, then

the disclosure of the Armistice Sales dissipated a portion of the artificial inflation from

Vaxart’s Common Stock. I carefully evaluated whether there was any other news outside

of this Corrective Disclosure Event that could explain the observed Vaxart Common Stock

price decreases on July 1, 2, and 6, 2020 and found no such confounding information. As

a result of the foregoing, and assuming Plaintiffs prove their allegations, I find no economic

evidence of information unrelated to the Complaint’s claims that needs to be disaggregated

from the price decline on these dates.

       163.   As a result, I attribute $0.90, $0.70, and $1.01 per share of the abnormal

dollar decrease to the fraud-related information diffused on July 1, 2, and 6, 2020,

respectively. I thus estimate that $0.90, $0.70, and $1.01 of artificial inflation per share

was dissipated from Vaxart Common Stock on July 1, 2, and 6, 2020, respectively.



                                             113
         164.   These price movements are also consistent with the contention that, over

time, with subsequent news reports and the continued absence of meaningful or clear

information about Vaxart’s then-present manufacturing ability and its purported selection

for OWS, a growing subset of investors gradually began to become increasingly skeptical

of the alleged misstatements and/or omissions. This growing skepticism increased negative

pressure on the price of Vaxart Common Stock until the truth was fully revealed, causing

those transacting in Vaxart Common Stock in reliance on the integrity of the market price

to trade at artificially distorted prices.

      D. July 27, 2020: HHS Tweet and New York Times Article

         165.   On July 25, 2020, the New York Times published an article titled “Corporate

Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine.” 286 The article featured the

HHS Tweet and included the following content:

            On June 26, a small South San Francisco company called Vaxart made a
            surprise announcement: A coronavirus vaccine it was working on had
            been selected by the U.S. government to be part of Operation Warp
            Speed, the flagship federal initiative to quickly develop drugs to combat
            Covid-19.

            Vaxart’s shares soared. Company insiders, who weeks earlier had
            received stock options worth a few million dollars, saw the value of those
            awards increase sixfold. And a hedge fund that partly controlled the
            company walked away with more than $200 million in instant profits…

            Some companies are attracting government scrutiny for potentially using
            their associations with Operation Warp Speed as marketing ploys.



286
   “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York Times,
July 25, 2020. Available at: https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-
profits-vaxart.html.

                                             114
               For example, the headline on Vaxart’s news release declared: “Vaxart’s
               Covid-19 Vaccine Selected for the U.S. Government’s Operation Warp
               Speed.” But the reality is more complex.

               Vaxart’s vaccine candidate was included in a trial on primates that a
               federal agency was organizing in conjunction with Operation Warp
               Speed. But Vaxart is not among the companies selected to receive
               significant financial support from Warp Speed to produce hundreds of
               millions of vaccine doses.

               “The U.S. Department of Health and Human Services has entered into
               funding agreements with certain vaccine manufacturers, and we are
               negotiating with others. Neither is the case with Vaxart,” said Michael R.
               Caputo, the department’s assistant secretary for public affairs. “Vaxart’s
               vaccine candidate was selected to participate in preliminary U.S.
               government studies to determine potential areas for possible Operation
               Warp Speed partnership and support. At this time, those studies are
               ongoing, and no determinations have been made.”

               Some officials at the Department of Health and Human Services have
               grown concerned about whether companies including Vaxart are trying
               to inflate their stock prices by exaggerating their roles in Warp Speed, a
               senior Trump administration official said. The department has relayed
               those concerns to the Securities and Exchange Commission, said the
               official, who spoke on the condition of anonymity. 287

            166.   That same day, the HHS tweeted the following:

               The US Department of Health and Human Services has entered into
               funding agreements with certain vaccine manufacturers and we are
               negotiating with others. Neither is the case with Vaxart.

               Vaxart’s vaccine candidate was selected to participate in preliminary U.S.
               government studies to determine potential areas for possible Operation
               Warp Speed partnership and support. At this time, those studies are
               ongoing, and no determinations have been made. 288




287
      Id.
288
      HHS Tweet.

                                                115
       167.   By the next trading day—Monday, July 27, 2020—Bloomberg published an

article titled “Covid-19 Vaccine Developer Falls After Report of U.S. Scrutiny.” The article

noted that “Vaxart tumbled as much as 19% after the New York Times reported that some

HHS officials are concerned that companies including Vaxart may be trying to inflate their

stock prices by exaggerating their roles in Operation Warp Speed. HHS has relayed those

concerns to the SEC, the Times said, citing an unidentified senior Trump administration

official; the SEC declined to comment to the Times.” 289

       168.   Based on my event study, after controlling for market and industry effects,

Vaxart’s Common Stock price decreased on July 27, 2020 by -13.7%, or -$1.68 per share

(statistically significant at the 95% level; see Exhibit 3). As discussed above, if Defendants

are found to have engaged in schemes including that the Attwill and Selected-for-OWS

Press Releases, individually and collectively, gave investors the misleading impression that

Vaxart stood at the precipice of pioneering a successful coronavirus vaccine which

(i) could quickly have a “billion or more doses” manufactured and (ii) which had been

“selected” as one of a handful of vaccine finalists the U.S. Government was focusing on as

part of OWS’s goal to have substantial quantities of a safe and effective vaccine available

for Americans by January 2021, then the HHS Tweet and subsequent New York Times

article dissipated the final portion of the artificial inflation from Vaxart’s Common Stock.




289
    “Covid-19 Vaccine Developer Falls After Report of U.S. Scrutiny,” Bloomberg, Jul. 27, 2020.
Available at: https://news.bloomberglaw.com/coronavirus/covid-19-vaccine-developer-falls-
after-report-of-u-s-scrutiny.



                                             116
I carefully evaluated whether there was any other news outside of this Corrective

Disclosure Event that could explain the observed Vaxart Common Stock price decrease on

July 27, 2020 and found no such confounding information. As a result of the foregoing,

and assuming Plaintiffs prove their allegations, I find no economic evidence of information

unrelated to the Complaint’s claims that needs to be disaggregated from the price decline

on this date.

       169.     As a result, I attribute $1.68 per share of the abnormal dollar decrease to the

fraud-related information diffused on July 27, 2020. I thus estimate that $1.68 of artificial

inflation per share was dissipated from Vaxart Common Stock on July 27, 2020.

       170.     These price movements are also consistent with the contention that, over

time, with subsequent news reports and the continued absence of meaningful or clear

information about Vaxart’s then-present manufacturing ability and its purported selection

for OWS, a growing subset of investors gradually began to become increasingly skeptical

of the alleged misstatements and/or omissions, and that the HHS Tweet (and related New

York Times article) were the last steps in fully revealing the alleged fraud.

 X.    Artificial Inflation per Share for Vaxart Common Stock

       171.     The analysis in Section IX quantifies the artificial inflation introduced into

the price of Vaxart Common Stock on the Inflation Creating Events. The analysis in

Section X quantifies the artificial inflation dissipated from the price of Vaxart Common

Stock on the Corrective Disclosure Events. This is summarized below in Tables A and B,

respectively:



                                              117
              Table A. Vaxart Common Stock Artificial Inflation per Share
                      Introduced on the Inflation Creating Events
                                                           Artificial Inflation
                      Date
                                                          Per Share Introduced

                  June 25, 2020                                   $2.89

          Cumulative total by 9:40am ET
                                                                  $11.05
                on June 26, 2020




      Table B. Vaxart Common Stock Artificial Inflation per Share Dissipated by the
               end of the Trading Day on the Corrective Disclosure Events

                                                   Artificial Inflation
                       Date                       Per Share Dissipated      % of Total
                    June 26, 2020
                                                         $6.26                56.7%
               (9:40am to 4:00pm ET)
                   June 29, 2020                          $0.50                 4.5%
                    July 1, 2020                          $0.90                 8.1%
                    July 2, 2020                          $0.70                 6.3%
                    July 6, 2020                          $1.01                 9.1%
                   July 27, 2020                          $1.68                15.2%
                       Total                             $11.05               100.0%

       172.   However, these analyses do not establish how inflation evolved over the

Class Period. One standard method commonly relied upon to evaluate the level of artificial

inflation in a stock price is the “constant dollar” method. 290 This method assumes that the

amount of artificial stock inflation dissipated on the Corrective Disclosure Events was

present in the stock price going back to the beginning of the Class Period (adjusted for any

days on which inflation was introduced). Put another way, this means that barring an



290
    See, e.g., Jeff G. Hammel and B. John Casey, 2009, “Sizing Securities Fraud Damages:
‘Constant Percentage’ on Way Out?,” New York Law Journal, available at
https://www.law.com/newyorklawjournal/almID/1202427590818/.

                                            118
intervening event that is related to the fraud (i.e., a Corrective Disclosure Event including

leakage/diffusion, or an Inflation Creating Event), the inflation per share on day t-1 is the

same as the inflation on day t. I note that the constant dollar methodology is used by a wide

variety of experts in matters such as this, and in my experience, is often advocated by

defense experts. 291 It is worth noting that constant dollar inflation does not mean that the

level of artificial inflation is assumed to be constant over the course of the Class Period.

Rather, it means that artificial inflation is assumed to be constant during time periods

between Corrective Disclosure Events. For example, as shown in Table C below, artificial

inflation was constant between July 7 and July 24, 2020.

       173.   Based on my understanding of Plaintiffs’ allegations, coupled with my

review of the documents and information identified in Appendix B, I conclude that

constant dollar inflation is appropriate in this matter. My opinion is based on the fact that

the nature of the schemes, misrepresented information, and omitted information did not

change during the Class Period.

       174.   As a result of the foregoing, I find no economic reason to believe that the

financial impact of the alleged misstatements, omissions, and/or schemes would have been

any different earlier in the Class Period and thus I find no economic reason to deviate from

the standard constant dollar methodology. In my view, the most widely accepted and

reliable proxy for evaluating how the market would have reacted to such a disclosure at the



291
    See, e.g., Jeff G. Hammel & B. John Casey, “Sizing Securities Fraud Damages: ‘Constant
Percentage’ on Way Out?,” New York Law Journal (2009). Available at
https://www.law.com/newyorklawjournal/almID/1202427590818/.

                                             119
beginning of the Class Period is to rely upon the abnormal market price increases on the

alleged false and misleading statements—the Attwill Press Release and the Selected-for-

OWS Press Release—as well as the declines observed upon the later disclosure of such

information. 292

       175.    By applying the constant dollar methodology described above and taking the

analyses of the Inflation Creating Events and the Corrective Disclosure Events into

account, Table C below summarizes how the total artificial inflation per share for Vaxart

Common Stock evolved during the Class Period. 293




292
    See, e.g., David I. Tabak & Frederick C. Dunbar, “Materiality and Magnitude: Event Studies
in the Courtroom,” In Litigation Services Handbook, The Role of the Financial Expert, John Wiley
& Sons, Third Edition, 2001, at p. 3 (“Event studies can also measure the size of a stock price
movement as the basis for a damages calculation. For example, in cases of securities fraud, experts
commonly measure changes in the alleged inflation in a stock price by the movement in that stock
price in the wake of a corrective disclosure, after controlling for market, industry, and other
company-specific influences. This results from the disclosure's removing the inflation, and an
event study measures the change in inflation in the stock at the time of the disclosure. Often, courts
find that this is the best estimate of the inflation per share if the defendant had a duty to disclose
the same information that the corrective disclosure revealed. As a result, an event study is a
common method that serves as the basis for quantifying damages in securities fraud cases.”)
(citations omitted); id. at p. 19 (“[E]vent studies can be useful in quantifying damages in cases
ranging from securities fraud to other commercial litigation requiring the calculation of lost profits.
In some areas, such as securities fraud, stock price reactions are already a standard method for
quantifying damages”).
293
   As explained in Section IX.A, I calculate that by the close of trading on June 26, 2020, Vaxart’s
Common Stock reflected $4.79 of artificial inflation, and the closing price at 4pm ET was $8.04.
This implies a but-for stock price of $3.25 ($8.04 minus $4.79) on June 26, 2020. The stock price
reached an intraday high of $14.30 per share on this date. Therefore, the intraday artificial inflation
on June 26, 2020 (between 8:00am and 4:00pm ET) is the difference between the trading price and
the but-for implied stock price of $3.25. Based on the daily high and low trading prices of $14.30
and $7.89, respectively, this equates to maximum and minimum intraday inflation of $11.05 and
$4.64, respectively. Similarly, I explain in Section IX.B that the intraday artificial inflation on
June 29, 2020 equals the difference between the trading price and the but-for implied stock price



                                                 120
            Table C. Vaxart Common Stock Artificial Inflation per Share During
                                   the Class Period

                     Date Range                      Artificial Inflation Per Share

                    June 25, 2020                               $2.89
                                                      Purchase Price Minus $3.25
           June 26, 2020 (8:00am – 3:59pm)
                                                      (Max: $11.05, Min: $4.64)
           June 26 (4:00pm) - June 28, 2020                     $4.79
                                                      Purchase Price Minus $3.20
           June 29, 2020 (8:00am – 3:59pm)
                                                       (Max: $6.69, Min: $4.12)
          June 29 (4:00pm) – June 30, 2020                      $4.29
                     July 1, 2020                               $3.39
                   July 2 - 5, 2020                             $2.69
                  July 6 - 24, 2020                             $1.68
               July 25, 2020 and after                          $0.00


XI.     Damages

      A. Section 10(b) Damages for Common Stock

        176.   The standard and well-settled formula for assessing damages for each Class

member under Section 10(b) is the “out-of-pocket” method. This method measures

damages as the artificial inflation per share at the time of purchase less the artificial

inflation per share at the time of sale (or the artificial inflation at the time of purchase if the

share was not ultimately sold). If the security was purchased after alleged misstatements

and/or omissions were made, and then sold after the artificial inflation was dissipated, then

damages would be equal to the artificial inflation at the time of purchase minus the artificial

inflation at the time of sale.




of $3.20. Based on the daily high and low trading prices of $9.89 and $7.32, respectively, this
equates to maximum and minimum intraday inflation of $6.69 and $4.12, respectively.



                                               121
       177.   For example, assume that Investor A purchased a share of Vaxart Common

Stock at the end of day on June 25, 2020 and sold it on July 7, 2020. As shown in Table

C, there was $2.89 of artificial inflation in the price of Vaxart Common Stock at the time

of purchase and $1.68 of artificial inflation in the price of Vaxart Common Stock at the

time of sale. Thus, Investor A’s damages on the share of Vaxart Common Stock would be

equal to $1.21 ($2.89 – 1.68).

      Inflation per-share at time of purchase                                    $2.89

 —    Inflation per share remaining at time of sale             —                $1.68

      Per-Share Damages                                                          $1.21


       178.   In addition, the calculation of damages incorporates the application of a

statutory cap on recovery in federal securities cases brought under Section 10b and Rule

10(b)-5 (the 90-day lookback provision of the Private Securities Litigation Reform Act of

1995 codified at 15 U.S.C. §78u–4(e)(1)). The limitation provides that damages calculated

on Vaxart Common Stock purchased during the Class Period and sold during the 90-day

lookback period cannot exceed the difference between the purchase price paid during the

Class Period and the average closing price from date of the last corrective disclosure to the

date of sale. Table D below shows the 90-day lookback price for Vaxart Common Stock

for each day starting on the last Corrective Disclosure Event (i.e., market impact date of

July 27, 2020).

       179.   For example, if Investor A purchased a share of Vaxart Common Stock for

$14.00 and then sold that share on September 10, 2020, during the 90-day lookback period,

                                             122
when the average closing price from July 27, 2020 through September 10, 2020 was $8.07

as shown in Table C, Investor A’s damages could not exceed $5.93 ($14.00 – $8.07) per

share under the 90-day lookback provision. Furthermore, Vaxart Common Stock purchased

during the Class Period and either never sold or sold after the 90-day lookback period

cannot have per share damages that exceed the difference between the purchase price paid

and the average price of Vaxart Common Stock during the 90-day lookback period, which

is $7.49 as shown in the last row in Table D below.




                                          123
                                   Table D.
          Vaxart Common Stock Closing Price and Average Closing Price
                       July 27, 2020 - October 23, 2020

                      Average Closing                                Average Closing
                       Price Between                                  Price Between
           Closing    July 27, 2020 and                    Closing   July 27, 2020 and
  Date      Price       Date Shown                 Date     Price      Date Shown
7/27/20     $11.16          $11.16               9/10/20    $4.78          $8.07
7/28/20     $11.19          $11.18               9/11/20    $5.30          $7.98
7/29/20     $10.02          $10.79               9/14/20    $7.78          $7.98
7/30/20      $9.92          $10.57               9/15/20    $6.50          $7.94
7/31/20      $9.39          $10.34               9/16/20    $7.38          $7.92
 8/3/20      $9.25          $10.16               9/17/20    $7.98          $7.92
 8/4/20      $8.90           $9.98               9/18/20    $8.22          $7.93
 8/5/20      $9.67           $9.94               9/21/20    $8.99          $7.96
 8/6/20      $9.10           $9.84               9/22/20    $8.75          $7.98
 8/7/20      $9.19           $9.78               9/23/20    $7.19          $7.96
8/10/20      $9.40           $9.74               9/24/20    $6.89          $7.93
8/11/20     $10.75           $9.83               9/25/20    $7.40          $7.92
8/12/20      $9.20           $9.78               9/28/20    $7.00          $7.90
8/13/20      $9.09           $9.73               9/29/20    $6.83          $7.88
8/14/20      $9.14           $9.69               9/30/20    $6.65          $7.85
8/17/20     $10.17           $9.72               10/1/20    $6.86          $7.83
8/18/20      $9.51           $9.71               10/2/20    $6.90          $7.81
8/19/20      $9.21           $9.68               10/5/20    $7.01          $7.80
8/20/20      $8.81           $9.63               10/6/20    $6.74          $7.78
8/21/20      $8.22           $9.56               10/7/20    $6.98          $7.76
8/24/20      $7.36           $9.46               10/8/20    $7.22          $7.75
8/25/20      $6.95           $9.34               10/9/20    $7.29          $7.74
8/26/20      $6.71           $9.23              10/12/20    $7.05          $7.73
8/27/20      $6.29           $9.11              10/13/20    $7.67          $7.73
8/28/20      $6.23           $8.99              10/14/20    $6.90          $7.71
8/31/20      $5.93           $8.87              10/15/20    $6.30          $7.69
 9/1/20      $5.24           $8.74              10/16/20    $6.08          $7.66
 9/2/20      $5.52           $8.62              10/19/20    $5.67          $7.63
 9/3/20      $5.20           $8.51              10/20/20    $5.34          $7.59
 9/4/20      $4.93           $8.39              10/21/20    $5.20          $7.55
 9/8/20      $4.82           $8.27              10/22/20    $5.45          $7.52
 9/9/20      $4.95           $8.17              10/23/20    $5.64          $7.49




                                          124
      B. Section 20A Damages for Common Stock

          180.   As discussed in my Efficiency Report, Section 20A assesses losses among

investors who purchased securities contemporaneously with Defendants who sold

securities while in possession of material, nonpublic information. 294 The formula and

statutory limitation on Section 20A damages is provided in the statute:

             Any person who violates any provision of this chapter [15 U.S.C. §§78a
             et seq.] or the rules or regulations thereunder by purchasing or selling a
             security while in possession of material, nonpublic information shall be
             liable in an action in any court of competent jurisdiction to any person
             who, contemporaneously with the purchase or sale of securities that is the
             subject of such violation, has purchased (where such violation is based
             on a sale of securities) or sold (where such violation is based on a
             purchase of securities) securities of the same class. 295

             The total amount of damages imposed under subsection (a) shall not
             exceed the profit gained or loss avoided in the transaction or transactions
             that are the subject of the violation. 296

          181.   Plaintiffs allege that Defendants engaged in a pump-and-dump scheme by

artificially inflating Vaxart’s securities prices and almost immediately selling their shares

into the market while the securities prices and trading volume had been artificially

increased. 297 Thus, calculating Section 20A damages in this matter involves identifying

profits gained by Defendants. 298



294
      See Efficiency Report ¶¶137-145.
295
      15 U.S.C. §78t-1(a).
296
      15 U.S.C. §78t-1(b)(1).
297
      Complaint ¶¶128-210.
298
   I note that when calculating damages separately for separate but potentially overlapping claims
such as 10(b) and 20A, investors claiming damages may be limited to the maximum damages



                                               125
            183.   There are at least two reasonable methodologies to calculate profits gained

under Section 20A: (1) profits gained based on market prices; and (2) profits gained based

on artificial inflation. Below I calculate Section 20A damages under each approach.

            184.   First, profits gained based on market prices for each transaction can be

calculated as the number of shares sold multiplied by the difference between the purchase

price (including warrant purchase and exercise costs) and the sale price, if the sales price

exceeds the purchase price. The majority of the shares underlying the Armistice Sales were

acquired through warrants purchased before the Class Period and then exercised with those

shares sold on June 26 and 29, 2020.




calculation under separate claims on a per-share basis, as opposed to simply adding damages across
different claims.

300
      Id.




                                                126
       185.   Second, profits gained based on artificial inflation for each transaction can

be calculated as the number of shares sold multiplied by the difference between the

artificial inflation in the purchase price and the artificial inflation in the sale price. As

shown above in Table C,




                                            127
       186.   Accordingly, total damages under Section 20A are

                            To the extent damages under Section 20A are linked to artificial

inflation per share, the calculation of artificial inflation would be similar to the calculation

discussed above for Section 10(b).

   C. Adaptation to Alternative Findings

       187.   The damages methodologies I have laid out above for Section 10(b) and

Section 20A are flexible and able to incorporate alternative findings regarding the

quantification, as well as the timing, of artificial inflation and how it evolves over the Class

Period. The methodologies can be modified based on alternative findings that the finder of

fact may determine, including, but not limited to any: (1) confounding information versus

corrective information; (2) how to back-cast inflation over the Class Period; (3) the date of

the first actionable misstatement and/or omission; and (4) the latest date it took the market

to fully understand Vaxart’s true role (or lack thereof) in Operation Warp Speed. Below I

describe additional details concerning each of these potential variations.

       188.   First, irrespective of what the ultimate finder of fact, i.e., the jury, determines,

the appropriate percentage of abnormal return that can be attributed to the release of

corrective versus confounding information, this percentage can easily be inserted into the

standard damages model that I have already described—the out-of-pocket formula. Thus,

regardless of how the jury weighs the evidence, their findings can simply be incorporated

into the damages calculations.

                                              128
       189.    Similarly, if the jury determines that none (or only a portion) of the abnormal

return on an Inflation Creating Event or Corrective Disclosure Event is attributable to

artificial information, then it would be assumed that $0 (or only a portion) of inflation was

introduced or dissipated from Vaxart Common Stock on that date, respectively, which

could also easily be updated in the daily inflation table. 305

       190.    Second, should the jury determine that the true economic inflation evolved

over the Class Period in a different way, my out-of-pocket damages model can still account

for such a scenario and can mechanically calculate damages on a class-wide basis. In a

hypothetical example, assume the jury concludes that on June 25, 2020, inflation was only

half of the value I have calculated. As shown above in Table C, I have estimated $2.89 of

artificial inflation was present in Vaxart Common Stock on this date. If the jury determines

that inflation was only half that amount, then the inflation table presented above can be

adjusted to $1.45 for that initial period (i.e., 50% of $2.89). 306 Damages calculations using

the out-of-pocket method (inflation at the time of purchase minus inflation at the time of

sale) will still result in an appropriate and accurate assessment of damages. This is true



305
   As described in Section VIII.A, I would continue to conservatively limit the amount of artificial
inflation introduced on June 25, 2020 (and June 26, 2020 if necessary) so that the cumulative sum
of artificial inflation introduced would not exceed the aggregate amount of artificial inflation
dissipated on any remaining Corrective Disclosure Events. As described in Section IX.A, the
intraday inflation on June 26, 2020 (if the misrepresentations on this date were upheld) would
continue to be calculated as the difference between an investor’s purchase price and the implied
but-for price (based on the difference in the closing price that day and the amount of artificial
inflation calculated for the Common Stock that day).
306
    As an alternative hypothetical example, should the jury decide that the first actionable
misstatement and/or omission happened at a date later than June 25, 2020, prior to that date, fraud-
related inflation could simply be set to zero.

                                                129
even if the jury were to reach different findings on artificial inflation each day. Those

findings can simply be plugged into the out-of-pocket formula to calculate any Class

Member’s per share damages (based on artificial inflation).

          191.   These hypothetical examples illustrate how artificial inflation need not be

constant during the Class Period for the out-of-pocket damages methodology to be applied

on a class-wide basis.

          192.   Finally, should the jury determine that the market fully understood the true

state of affairs regarding Vaxart’s manufacturing capabilities and its self-proclaimed

selection for Operation Warp Speed before the end of the Class Period (i.e. before the July

25, 2020 HHS Tweet and New York Times article), 307 then the artificial inflation ribbon

would simply exclude the last Corrective Disclosure Event and the back-casting of artificial

inflation would begin with the last Corrective Disclosure Event found by the jury (e.g.,

July 6, 2020). 308

          193.   The examples I have described above clearly demonstrate the flexibility of

the out-of-pocket damages model. If the jury determines that a change to inflation would

be necessary over the Class Period, any such change can easily be incorporated into the

model and damages calculated on a class-wide basis.




307
      See Order Denying Class Certification at 9-10 (Doc. No. 374).
308
    In any scenario, I would continue to conservatively limit the amount of artificial inflation
introduced by the Inflation Creating Events so that this amount would not exceed the amount of
inflation dissipated/leaked via the remaining Corrective Disclosure Events.

                                                130
XII.   Artificial Inflation/Deflation per Share and Damages for Vaxart Options

       A. Artificial Inflation per Share

       194.    As I described in my Efficiency Report, options are derivative securities, a

type of security whose value is dependent on the market price of an underlying security or

asset. 309 In this case, during the Class Period, the pricing for Vaxart Options was dependent

on the market price of Vaxart Common Stock. In fact, for a call option, subtracting the

option strike price (the price at which the option can be executed) from the underlying

security price, is referred to as the option’s “intrinsic value.” 310

       195.    There are two basic types of options: Call options and put options. A call

option gives the holder of the option the right to buy an asset (in this case, Vaxart Common

Stock) by a certain date, called the expiration date, and at a certain price, called the strike

price or exercise price. A put option gives the holder the right to sell an asset (in this case,

Vaxart Common Stock) by an expiration date at the strike price. Options can be either

American or European, with the distinction being that American options can be exercised

at any time up until the expiration date, whereas European options can be exercised only

on the expiration date itself. The price of an option, also referred to as the “premium,”

depends on a number of factors, including how the current stock price compares to the




309
  Efficiency Report ¶120, citing Hull, J. “Options, Futures and Other Derivatives,” Prentice Hall,
Seventh Edition, 2009, pp. 201, 291.
310
  Hull, J. “Options, Futures and Other Derivatives,” Prentice Hall, Seventh Edition, 2009, p. 186.
Note that the “intrinsic value” for a put option is strike price minus underlying price.

                                               131
exercise price, the amount of time until expiration, anticipated dividends, expected

volatility of the underlying stock, and interest rates. 311

        196.    The remainder of this section addresses the computation of artificial inflation

and deflation for Vaxart Call and Put Options, respectively. 312 Like Vaxart Common Stock,

to determine the inflation (deflation) in Vaxart Call (Put) Options, I begin with the change

in price for each option series on the Inflation Creating Events and Corrective Disclosure

Events. 313 I would then multiply the change in price p by a factor x to reflect that some of

the change in price is due to market and industry factors as well as any confounding

information. 314 Factor x is determined by observing from the event study what fraction of

the raw return is accounted for by the fraud-related information, subject to a maximum cap

of 1.0. 315




311
   Hull, J. “Options, Futures and Other Derivatives,” Prentice Hall, Seventh Edition, 2009, pp.
201 – 204.
312
    For Vaxart Put Options, the alleged fraud resulted in artificial deflation. For ease of
exposition, in the remainder of this section, when I discuss artificial inflation being introduced
and dissipated for Vaxart Call Options, it should be understood that I am also referring to
artificial deflation being introduced and dissipated for Vaxart Put Options.
313
    I obtained data for Vaxart Options from OptionMetrics. Vaxart did not have Options
information available prior to July 1, 2020.
314
   If the price change of the Vaxart Call Option is not in the same direction as the abnormal return
associated with Vaxart Common Stock on that day, I do not calculate inflation on that day.
Likewise, if the price change of the Vaxart Put Option is not in the opposite direction of the
abnormal return associated with Vaxart Common Stock, I do not calculate deflation on that day.
315
    Since Vaxart Options trading did not commence until after July 1, 2020, there is no calculation
of artificial inflation and damages on Options prior to this date, and thus factor x is also not relevant
prior to this date.

                                                  132
       197.    For example, on the July 2, 2020 Corrective Disclosure Event, Vaxart

Common Stock fell by 7.87%, but after controlling for market and industry effects, the

abnormal return attributable to the allegedly corrective information was -8.81%. Therefore,

factor x is calculated as 8.81% divided by 7.87%, or 111.89%. Because factor x is above

1.0, I conservatively limit it to 1.0. Thus, if the market price of one of the Vaxart Call

Option series decreased by $1.00 on July 2, 2020, I estimate that $1.00 of inflation was

dissipated from the price of the option that day (the lesser of 111.89% of $1.00 and $1.00).

Table F below shows the calculation of factor x for all relevant dates: 316

        Table F. Calculations of Factor x on the Corrective Disclosure Events
                           and Inflation Creating Events
                                                             Fraud-Related
          Event Type          Market Date    Raw Return                           Factor x
                                                                Return
               [A]                 [B]            [C]              [D]         [E] = [D] / [C]
        Inflation Creating      6/25/2020       96.24%           95.82%           99.56%
       Inflation Creating /
                                6/26/2020       28.43%           30.38%           106.83%
      Corrective Disclosure
      Corrective Disclosure     6/29/2020       -6.84%           -6.22%           90.90%
      Corrective Disclosure     7/1/2020        -9.60%          -10.19%           106.07%
      Corrective Disclosure     7/2/2020        -7.87%           -8.81%           111.89%
      Corrective Disclosure     7/6/2020       -12.62%          -13.73%           108.79%
      Corrective Disclosure     7/27/2020       -9.19%          -13.67%           148.75%


       198.    There were 47 Vaxart Call Option series and 43 Vaxart Put Options series

with reported volume during the Class Period where I calculate that artificial inflation




316
   See Exhibit 3. As noted above, Vaxart Options did not trade prior to July 1, 2020. The only
factor x that falls below 100% was on June 29, prior to the Options trading. Thus, factor x equals
1.0 for all relevant Options calculations in this matter.

                                               133
(deflation) was removed from their prices on at least one of the Corrective Disclosure

Events. 317 Appendix C shows the artificial inflation (deflation) introduced on the Inflation

Creating Events and artificial inflation (deflation) revealed on each of the Corrective

Disclosure Events for all option series analyzed.

       199.    While these values represent the amount of artificial inflation introduced on

the Inflation Creating Events and revealed on each Corrective Disclosure Event, they do

not indicate how much inflation was embedded in the option series at the time of purchase

or sale. The price of an option, and therefore, the embedded inflation contributing to an

option’s price, can change based on a number of factors, even if the inflation in the

underlying stock is constant. These factors include, but are not limited to, the level of the

stock price in relation to the strike price, time to maturity, and volatility. Therefore, I apply




317
   I only report inflation (deflation) values for relevant Vaxart Options; that is, I exclude certain
Vaxart Options series from my analysis and do not include them in this report as they do not
represent securities that are eligible for damages according to data from OptionMetrics.
Specifically, I exclude the following Vaxart Options series from my analysis: 1) options that
expired before the first Corrective Disclosure Event (however, there are no options traded prior to
the first Corrective Disclosure Event); 2) options that do not have data according to OptionMetrics
on or after June 25, 2020; 3) options that do not have data before July 27, 2020, the final Corrective
Disclosure Event market impact date; 4) options with a total reported volume over the Class Period
of zero; 5) call options where I did not calculate any inflation dissipating on any Corrective
Disclosure Event; and 6) put options where I did not calculate any deflation dissipating on any
Corrective Disclosure Event. To be clear, if I calculated inflation (or deflation) on an Inflation
Creating Event but did not calculate inflation (or deflation) on any Correctives Disclosure Events,
I do not include that option series in my analysis. This approach is conservative as option prices
could be impacted by artificial inflation even if they were not held over a Corrective Disclosure
Event – for example, purchasing a call option at an inflated price and holding to expiration with
zero value out-of-the-money.

                                                 134
the well-known and standard Black-Scholes pricing model to infer the inflation at the time

of each purchase and sale. 318

          200.   The Black-Scholes formula provides a way to value an option as a function

of the variables that influence option values: The strike price, time to expiration, risk-free

interest rate, volatility of the underlying security, and the current market price of the

underlying security. As a result, I can use the Black-Scholes formula to determine the price

of a Vaxart Option both with and without assuming artificial inflation was present in the

underlying security, Vaxart Common Stock. By changing the underlying price of the

security in the equation to reflect the removal of the artificial inflation, I can assess how

the value of the option would be impacted over time.

          201.   Specifically, in order to calculate artificial inflation and deflation at the time

of purchase or sale for an option series, I compute both a “but-for” price for the option and

the “observed” price for the option. First, to calculate the “but-for” options price, I apply

the Black-Scholes model using the following inputs: observed strike price of the option, 319

time to expiration in years, 320 the but-for stock price, 321 risk-free rate of interest, 322 and



318
   Hull, J. “Options, Futures and Other Derivatives,” Prentice Hall, Seventh Edition, 2009, pp.
277 – 309.
319
      According to OptionMetrics.
320
   Calculated as the difference between the date of interest and the observed expiration date of the
option.
321
   As measured by Vaxart Common Stock’s observed closing price according to Bloomberg minus
the artificial inflation as shown in Table C herein.
322
    I obtained the 1 month, 3-month, 6-month, 1 year, 2 year, 3 year, and 5 year U.S. Treasury
Constant Maturity Rates from https://fred.stlouisfed.org. I use the rate that is closest in maturity
to the time to expiration of the option.

                                                135
implied volatility. 323 Next, to calculate the “observed” options price, I similarly apply the

Black-Scholes model using all of the same inputs as the previous calculation, except

instead of using the but-for stock price, I use the observed closing stock price. 324

          202.   For call options series, I subtract the “but-for” Black-Scholes option price

from the “observed” Black-Scholes option price to calculate artificial inflation. For

example, consider the Vaxart Call Option series with a strike price of $10.00 and an

expiration date of January 15, 2021. For this option series, on July 1, 2020, I estimate a

“but-for” Black-Scholes option price of $1.34 and an “observed” Black-Scholes option

price of $3.42. Thus, I estimate that this Vaxart Call Option series was inflated (trading

higher than its but-for price) by $2.08 ($3.42 – $1.34) on July 1, 2020.

          203.   For put options series, I invert the calculation; that is, I subtract the

“observed” Black-Scholes option price from the “but-for” Black-Scholes option price to

calculate artificial deflation. For instance, consider the Vaxart Put Option series with a

strike price of $10.00 and an expiration date of January 15, 2021. For this option series, on

July 1, 2020, I estimate a “but-for” Black-Scholes option price of $6.98 and an “observed”

Black-Scholes option price of $5.80. Thus, I estimate that this Vaxart Put Option series

was deflated (trading lower than its but-for price) by $1.08 ($6.98 - $5.80) on July 1, 2020.




323
    According to OptionMetrics. I also considered whether the but-for implied volatility would
differ in this matter. The median implied volatility of Vaxart’s Options did not significantly change
following the Corrective Disclosure Events (the median implied volatility was 2.19 in both July
and August, 2020). Thus, I conclude it is reasonable to use the same implied volatility for both the
“but-for” and “observed” Black-Scholes option calculations.
324
      According to OptionMetrics.

                                                136
        204.   Appendix D lists the resulting inflation and deflation according to the Black-

Scholes analysis for all relevant options series on every day throughout the Class Period

for all options that had a reported price. 325

      B. Damages

        205.   Like for Vaxart Common Stock, for Vaxart Options, economic damages are

calculated using the out-of-pocket method; artificial inflation (deflation for puts) at the time

of purchase minus artificial inflation (deflation for puts) at the time of sale. To obtain

recoverable damages, I also impose the loss causation restriction by limiting an investor’s

recovery to the market price changes (after controlling for market and industry forces) on

the Inflation Creating Events and Corrective Disclosure Events.

        206.   To summarize, option damages are calculated as the minimum of:

        a) inflation/deflation at time of purchase minus inflation/deflation at time of
           sale based on the Black-Scholes model as shown in Appendix D; or

        b) the sum of changes in inflation/deflation on the Corrective Disclosure
           Events minus the sum of changes in inflation/deflation on the Inflation
           Creating Event that occur after the purchase date and on or before the date
           of sale as shown in Appendix C.

        207.   For example, consider the Vaxart Call Option with a strike price of $5 and

an expiration date of January 15, 2021. Assume Investor X purchased these call options on

July 2, 2020, for $9.00. The inflation at the time of purchase based on the Black-Scholes

model was $2.19 per share (see Appendix D). Further assume Investor X sold these call




325
    I consider “relevant options” to be the same options series displayed in Appendix C. The
criteria for inclusion in Appendix C is described above.

                                                 137
options on October 15, 2020, and thus held them through all of the Corrective Disclosure

Events after all inflation had been dissipated. Since inflation after the Class Period is $0,

the reduction in inflation between the purchase date and the sale date is the entirety of the

inflation at the time of purchase ($2.19).

        208.    Appendix C shows that the total inflation revealed in this option series over

the Corrective Disclosure Events was $2.20. Thus, the recoverable damages per share for

Investor X are the lesser of the two metrics ($2.20 and $2.19) or $2.19, before incorporating

the 90-day lookback statutory cap.

        209.    Similar to Vaxart Common Stock as described above, the calculation of

damages for options also incorporates the application of a 90-day lookback statutory cap.

Appendix E shows the 90-day lookback prices for Vaxart options series listed in

Appendix C and Appendix D for each day starting on the last Corrective Disclosure Event

(i.e., July 27, 2020). 326, 327

        210.    Further, Appendix E shows that the average closing price for the same call

option series discussed in the example above was $4.53 on October 15, 2020. As a result,



326
   Appendix E assumes that the price of an option on each day is the midpoint of the bid and ask
values provided by OptionMetrics.
327
    While the PSLRA is not explicit about how to apply the 90-day lookback cap to the case of
artificial deflation, application of the principle embedded in the rule implies that damages for a
written put that is held through the final corrective disclosure should be limited to the average
market price during the 90 days following the final corrective disclosure (or through the date of
sale if sold prior to the end of the 90-day period) minus the price at which the put option was
written. For call options, the 90-day lookback rule can be applied the same way as for common
stock. If a relevant option expires, it should be considered sold at the intrinsic value (stock price
minus exercise price for calls and exercise price minus stock price for puts where any negative
number is set to zero).

                                                138
the purchase price of $9.00 minus the average closing price, $4.53, during the 90-day

lookback period results in $4.47. Thus, Investor X’s recoverable damages per share cannot

exceed $4.47; however, since damages were already calculated above as $2.19, damages

are not limited any further as a result of the 90-day lookback provision. Damages for all

Vaxart Options purchasers during the Class Period can be calculated using the same

method described above. 328

      C. Adaptation to Alternative Findings

         211.   As described in Section XI.D above, the damages methodology I have laid

out for Vaxart Common Stock is flexible and able to incorporate alternative findings

regarding the quantification, as well as the timing, of artificial inflation and how it evolves

over the Class Period. I also described above how the calculation of artificial inflation and

deflation for Vaxart Options depends on the calculation of artificial inflation for Vaxart

Common Stock. As a result of the foregoing, any changes to artificial inflation for Vaxart

Common Stock would consequently impact the calculation of artificial inflation and

deflation for Vaxart Options, and damages for Vaxart Options could still be calculated in

the same manner as described herein. As a result, I conclude that the damages methodology

I have laid out for Vaxart Options is also flexible and able to incorporate alternative

findings regarding the quantification, as well as the timing, of artificial inflation and how

it evolves over the Class Period.




328
    Since Vaxart Options trading did not commence until after July 1, 2020, there is no calculation
of intraday artificial inflation damages for June 26, 2020.

                                               139
       212.   I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



                                                          Respectfully submitted,


                                                          ____________________
                                                          Matthew D. Cain




                                            140
Appendix A

Matthew D. Cain, Ph.D.                                                                     July 2024
E-mail: mdcain@outlook.com
Mobile: 574-485-8065



Education
Ph.D., Finance, August 2007                             Purdue University, West Lafayette, IN
B.S., Finance, May 2001                                 Grove City College, Grove City, PA


Professional and Academic Experience
Senior Fellow, New York University School of Law, 2024-Present

Senior Fellow, Berkeley Center for Law and Business, 2019-2024

Visiting Scholar, Vanderbilt Law School, 2021-2022

Senior Visiting Scholar, Berkeley Law School, University of California, 2019-2021

Visiting Research Fellow, Harvard Law School Program on Corporate Governance, 2018-2019

Advisor to Commissioner Robert J. Jackson, Jr., U.S. Securities and Exchange Commission, 2018

Economic Fellow / Financial Economist, Office of Litigation Economics, Division of Economic and Risk
 Analysis, U.S. Securities and Exchange Commission, 2014-2018

Assistant Professor of Finance, Mendoza College of Business, University of Notre Dame, Notre Dame, IN,
  2008-2014

Visiting Faculty, Krannert School of Management, Purdue University, West Lafayette, IN, 2007-2008

Analyst, Debt Capital Markets, National City Bank, Cleveland, OH, 2001-2003


Publications

Does Voluntary Financial Disclosure Matter? The Case of Fairness Opinions in M&A (with Adam B.
 Badawi and Steven Davidoff Solomon), Journal of Law and Economics 66, 535-555 (2023).

Retail Shareholder Participation in the Proxy Process: Monitoring, Engagement and Voting (with Alon
 Brav and Jonathon Zytnick), Journal of Financial Economics 144, 492-522 (2022).

Does Revlon Matter? An Empirical and Theoretical Study (with Sean J. Griffith, Robert J. Jackson, Jr.,
 and Steven Davidoff Solomon), California Law Review 108, 1683-1731 (2020).




                                                  141
Intermediation in Private Equity: The Role of Placement Agents (with Stephen B. McKeon and Steven
  Davidoff Solomon), Journal of Financial and Quantitative Analysis 55, 1095-1116 (2020).

Mootness Fees (with Jill E. Fisch, Steven Davidoff Solomon, and Randall S. Thomas), Vanderbilt Law
 Review 72, 1777-1816 (2019).

The Myth of Morrison: Securities Fraud Litigation Against Foreign Issuers (with Robert Bartlett, Jill E.
 Fisch, and Steven Davidoff Solomon), The Business Lawyer 74, 967-1013 (2019).

The Shifting Tides of Merger Litigation (with Jill E. Fisch, Steven Davidoff Solomon, and Randall S.
 Thomas), Vanderbilt Law Review 71, 603-640 (2018).

Do Takeover Laws Matter? Evidence from Five Decades of Hostile Takeovers (with Stephen B. McKeon
 and Steven Davidoff Solomon), Journal of Financial Economics 124, 464-485 (2017).

CEO Personal Risk-Taking and Corporate Policies (with Stephen B. McKeon), Journal of Financial and
 Quantitative Analysis 51, 139-164 (2016).

How Corporate Governance Is Made: The Case of the Golden Leash (with Jill E. Fisch, Sean J. Griffith,
 and Steven Davidoff Solomon), University of Pennsylvania Law Review 164, 649-702 (2016).

A Great Game: The Dynamics of State Competition and Litigation (with Steven Davidoff Solomon),
 Iowa Law Review 100, 465-500 (2015).

Broken Promises: Private Equity Bidding Behavior and the Value of Reputation (with Antonio J. Macias
 and Steven Davidoff Solomon), Journal of Corporation Law 40, 565-598 (2015).

Information Production by Investment Banks: Evidence from Fairness Opinions (with David J. Denis),
  Journal of Law and Economics 56, 245-280 (2013).

Delaware’s Competitive Reach (with Steven Davidoff Solomon), Journal of Empirical Legal Studies 9, 92-
 128 (2012).

Form Over Substance? Management Buy-outs and the Value of Corporate Process (with Steven Davidoff
  Solomon), Delaware Journal of Corporate Law 36, 1-54 (2011).

Earnouts: A Study of Financial Contracting in Acquisition Agreements (with David J. Denis and Diane K.
 Denis), Journal of Accounting and Economics 51, 151-170 (2011).


Presentations
    •   All Indiana Conference
    •   American Bar Association, Business Law, Private Equity M&A Subcommittee meeting
    •   American Finance Association, annual meetings
    •   American Law and Economics Association, Stanford Law School
    •   American Law and Economics Association, University of Chicago
    •   Argentum Centre for Private Equity Symposium, Bergen, Norway
    •   Argentum Conference and Symposium on “Private Equity: The Road Ahead,” Stockholm,
        Sweden


                                                   142
   •   Arizona State University College of Law
   •   Berkeley Center for Law and Business
   •   The Brattle Group
   •   Conference on Empirical Legal Studies, Yale Law School
   •   Cornell University, finance class guest lectures
   •   Cornerstone Research
   •   Financial Management Association, annual meeting
   •   George Washington University Law School
   •   Indiana University
   •   Institute for Law and Economics, University of Pennsylvania
   •   Ohio State
   •   Ohio University
   •   Oxera, London
   •   Penn State
   •   Peregrine Economics
   •   Purdue Alumni Conference
   •   Purdue University
   •   U.C. Berkeley M&A Roundtable, New York
   •   U.C. Berkeley School of Law
   •   U.S. Securities and Exchange Commission
   •   University of Arizona
   •   University of Colorado
   •   University of Florida
   •   University of Georgia
   •   University of Kentucky
   •   University of North Carolina at Chapel Hill
   •   University of Notre Dame
   •   University of Oregon
   •   University of Pittsburgh
   •   Vanderbilt University Law School
   •   Virginia Commonwealth University
   •   Virginia Tech
   •   Western Finance Association, annual meeting

Journal Referee: Review of Financial Studies, Journal of Financial and Quantitative Analysis, Journal
of Corporate Finance, Journal of Banking and Finance, European Financial Management, Journal of
Empirical Legal Studies, Financial Management, North American Journal of Economics and Finance,
International Review of Law & Economics, Managerial and Decision Economics, Annals of Finance,
Journal of Economics and Business


Teaching Experience
UC Berkeley School of Law
   LAW 246.31: Economic Expert Witnesses: Depositions and Testimony, Spring 2022-2024


                                                 143
    LAW 251.52: Economics of Corporate and Securities Litigation, Fall: 2020-2023

University of Notre Dame, Mendoza College of Business
   FIN 70400: Corporate Restructuring, Mergers & Acquisitions (MBA Elective), Fall: 2008-2013
   FIN 40410: Mergers and Acquisitions, Fall: 2008-2013

Purdue University, Krannert School of Management
   MGMT 412: Financial Markets and Institutions, Spring: 2006 & 2008
   MGMT 610: Financial Management I (MBA Core), Fall: 2007


Expert Witness Experience
•   Securities and Exchange Commission v. American Renal Associates Holdings, Inc., et al., Case No.
    22-cv-10651-NMG (D. Mass.). Report June 2024.

•   Securities and Exchange Commission v. Kevin A. Van de Grift and Gil Friedman, Case No. 1:23-cv-
    01491 (S.D. N.Y.). Report June 2024.

•   El Paso Firemen & Policemen’s Pension Fund, et al. v. InnovAge Holding Corp., et al., Case No. 21-
    cv-02770-WJM-SKC (D. Colo.). Report May 2024.

•   In re Bed Bath & Beyond Corporate Securities Litigation, Case No. 1:22-cv-02541-TNM (D.D.C.).
    Report February 2024. Deposition April 2024. Rebuttal Report June 2024. Report July 2024.

•   In the Matter of Joshua Abrahams, File No. 3-21214, (SEC Admin. Proc.). Rebuttal Report February
    2024.

•   In re Emergent Biosolutions Inc. Securities Litigation, Case No. 8:21-cv-00955-PWG (D. Md.).
    Report February 2024.

•   In re Upstart Holdings, Inc. Securities Litigation, Case No. 2:22-cv-02935-ALM-EPD (S.D. Ohio.).
    Report January 2024. Deposition April 2024.

•   Jed Lemen, et al. v. Redwire Corporation, et al., Case No. 3:21-cv-01254-TJC-PDB (M.D. Fla.).
    Report January 2024. Deposition March 2024. Rebuttal Report July 2024.

•   In re Exxon Mobil Corp. Securities Litigation, Case No. 3:21-cv-00194-N (N.D. Tex.). Report
    January 2024.

•   In re Grand Canyon Education, Inc. Securities Litigation, Case No. 1:20-cv-00639-MN-CJB (D.
    Del.). Report January 2024.

•   In re Vaxart, Inc. Securities Litigation, Case No. 3:20-cv-05949-VC (N.D. Cal.). Report November
    2023. Deposition January 2024. Rebuttal Report March 2024.

•   William C. Theodore, et al. v. PureCycle Technologies, Inc., et al., Case No. 6:21-cv-809-PGB-GJK
    (M.D. Fla.). Report November 2023. Deposition January 2024. Rebuttal Report February 2024.



                                                 144
•   Robert Lematta et al. v. Casper Sleep, Inc., et al., Case No. 1:20-cv-02744 (E.D. N.Y.). Report
    November 2023.

•   In re Turquoise Hill Resources Ltd. Securities Litigation, Case No. 1:20-cv-8585-LJL (S.D. N.Y.).
    Report October 2023.

•   Jonnie Homyk, et al. v. ChemoCentryx, Inc. and Thomas J. Schall, Case No. 4:21-cv-03343 (N.D.
    Cal.). Report August 2023. Deposition October 2023. Rebuttal Report January 2024.

•   In re Vale S.A. Securities Litigation, Case No. 19-cv-526-RJD-SJB (E.D. N.Y.). Rebuttal Report
    April 2023. Deposition September 2023.

•   In re Romeo Power Inc. Securities Litigation, Case No. 1:21-cv-03362-LGS (S.D. N.Y.). Report
    March 2023. Deposition April 2023.

•   Luis Torres, et al. v. Berry Corporation, et al., Case No. 3:20-cv-3464-S (N.D. Tex.). Report
    February 2023. Rebuttal Report May 2023.

•   In re Lyft, Inc. Securities Litigation, Case No. 4:19-cv-02690-HSG (N.D. Cal.). Report February
    2023.

•   Thomas S. Swanson, et al. v. Interface, Inc., et al., Case No. 1:20-cv-05518-BMC (E.D. N.Y.). Report
    January 2023.

•   Seafarers Pension Plan, derivatively on behalf of The Boeing Company v. Robert A. Bradway, et al.
    and The Boeing Company, Case No. 1:19-cv-08095 (N.D. Ill.). Declaration November 2022.

•   In re: CBL & Associates Properties, Inc. Securities Litigation, Case No. 1:19-cv-00181-JRG-CHS
    (E.D. Tenn.). Report August 2022. Deposition October 2022. Rebuttal Report December 2022.

•   Delaware County Employees Retirement System, et al. v. AdaptHealth Corp. f/k/a DFB Healthcare
    Acquisitions Corp., et al., Case No. 2:21-cv-03382-HB (E.D. Pa.). Report July 2022. Deposition
    February 2023. Rebuttal Report May 2023.

•   In re: QuantumScape Securities Class Action Litigation, Case No. 3:21-cv-00058-WHO (N.D. Cal.).
    Report July 2022. Deposition September 2022. Rebuttal Report November 2022. Report March 2024.

•   Bond v. Clover Health Investments, Corp., et al., Case No. 3:21-cv-00096 (M.D. Tenn.). Report July
    2022. Deposition August 2022.

•   In re: 2U, Inc. Securities Class Action, Case Nos. 19-3455 and TDC-20-10006 (D. Md.). Report
    December 2021.

•   Zachary E. Gerut, v. Biospecifics Technologies Corp. and Endo International PLC, Case No. 01-21-
    0002-2009 (Amer. Arb. Assoc.). Report December 2021. Arbitration March 2022.

•   In re: Under Armour Securities Litigation, Case No. RDB-17-388 (D. Md.). Report November 2021.
    Deposition December 2021. Report April 2023. Rebuttal Report June 2023. Deposition July 2023.




                                                   145
•   Bar Mandalevy, et al. v. BofI Holding, Inc., et al., Case No. 17-cv-00667-GPC-KSC (S.D. Cal).
    Report November 2021.

•   Securities and Exchange Commission v. Anatoly Hurgin, et al., Case No. 1:19-cv-05705 (S.D. N.Y.).
    Report November 2021. Deposition December 2021. Declaration February 2022.

•   In re: Oracle Corporation Derivative Litigation, Case No. 2017-0337-SG (Del. Chancery). Rebuttal
    Report October 2021. Deposition November 2021. Trial July-August 2022.

•   John Alberici, et al. v. Recro Pharma, Inc., et al., Case No. 2:18-cv-02279-MMB (E.D. Pa.). Report
    September 2021. Deposition October 2021. Report January 2022.

•   Securities and Exchange Commission v. Christopher Clark and William Wright, Case No. 1:20-cv-
    01529 (E.D. Va.). Report August 2021. Trial December 2021.

•   Honey Baked Ham Inc. v. Honey Baked Ham Company, LLC and HBH Licensing, LLC, Case No.
    8:19-cv-01528-JVS (DFMx) (C.D. Cal.). Rebuttal Report August 2021.

•   In re: Purdue Pharma L.P., et al., Debtors (Chapter 11), Case No. 19-23649 (RDD) (U.S.
    Bankruptcy Court, S.D. N.Y.). Rebuttal Report July 2021. Confirmation Hearing August 2021.

•   Abu Dhabi Investment Authority v. Mylan N.V. and Mylan Inc., Case No. 1:20-cv-01342 (S.D. N.Y.).
    Report May 2021. Deposition August 2021.

•   International Brotherhood of Electrical Workers Local 98 Pension Fund, et al. v. Deloitte & Touche,
    LLP and Deloitte LLP, Case No. 3:19-cv-3304 (D. Sc.). Report April 2021. Deposition September
    2021. Rebuttal Report March 2024.

•   Securities and Exchange Commission v. James Wallace Nall, III, et al., Case No. 2:19-cv-702-TFM-
    C (S.D. Ala.). Report April 2021. Rebuttal Report June 2021. Deposition June 2021.

•   Mark Stoyas, et al., v. Toshiba Corporation, Case No. 2:15-cv-04194-DDP(JCx) (C.D. Cal.). Report
    February 2021. Deposition May 2021. Rebuttal Report August 2021.

•   Plymouth County Retirement System, et al. v. Patterson Companies, Inc., et al., Case No. 0:18-cv-
    00871-MJD-HB (D. Mnn.). Report January 2021. Deposition March 2021.

•   In re Novo Nordisk Securities Litigation, Case No. 3:17-cv-00209-BRM-LHG (D. Nj.). Rebuttal
    Report December 2020. Deposition February 2021.

•   In re Facebook, Inc. Securities Litigation, Case No. 5:18-cv-01725-EJD (N.D. Cal). Declaration
    October 2020.

•   In re Qualcomm/Broadcom Merger Securities Litigation, Case No. 3:18-cv-01208-CAB-AHG (S.D.
    Cal.). Declaration May 2020.

•   In re Banc of California Securities Litigation, Case No. 8:17-cv-00118-AG-DFM (C.D. Cal.). Report
    April 2019.




                                                  146
•   Tharp v. Acacia Communications, Inc., Case No. 17-cv-11504 (D. Mass.). Declaration November
    2018.

•   Securities and Exchange Commission v. Avent, Case No. 1:16-cv-02459-WMR (N.D. Ga.). Report
    March 2017. Deposition May 2017. Jury Trial August 2019.

•   In the Matter of Lawrence I. Balter d/b/a Oracle Investment Research, File No. 3-17614 (SEC
    Admin. Proc.). Report March 2017.

•   Securities and Exchange Commission v. Huang, Case No. 2:15-cv-00269-MAK (E.D. Pa.). Report
    September 2015. Declaration October 2015. Jury Trial January 2016.

•   Securities and Exchange Commission v. Alyasin, Case No. 4:15-cv-00566 (S.D. Tex.). Declaration
    March 2015.




                                                 147
Appendix B

                                  Documents Considered

  Court Filings, Prior Reports, and Depositions in this Matter:
     •   Biehn Deposition Transcript and Related Exhibits
     •   Corrected Second Amended Consolidated Complaint for Violations of the Federal
         Securities Laws, No. 3:20-cv-05949-VC (Doc. 303)
     •   Dec. 22, 2021 Order Granting in Part and Denying in Part Defendants’ Motion to
         Dismiss (Doc. No. 182)
     •   Expert Report of Jennifer Marietta-Westberg, Ph.D., Jan. 26, 2024
     •   Expert Report of Matthew D. Cain, Ph.D., Mar. 7, 2024
     •   Expert Report of Matthew D. Cain, Ph.D., Dec. 1, 2023
     •   May 25, 2023 Order re: Motion to Dismiss (Doc. No. 293)
     •   Order Denying Motion for Class Certification (Doc. No. 374)
     •   Plaintiffs’ Supplementary Interrogatory Responses (draft)
     •   Smiriglio Deposition Transcript and Related Exhibits
     •   Vaxart 30(b)(6) Depo Transcript


  Other Court Decisions and Documents:
     •   15 U.S.C. §78t-1
     •   Basic v. Levinson, 485 U.S. at 246
     •   Glickenhaus & Co. v. Household International, Inc., 787 F.3d 408, 416 (7th Cir. 2015)
     •   Gruber v. Gilbertson, 628 F. Supp. 3d 472, 484–87 (S.D.N.Y. 2022)
     •   Swack v. Credit Suisse First Boston, 383 F. Supp. 2d 223, 243 (Sept. 21, 2004)
     •   In re Tesla, Inc. Sec. Litig., 2022 WL 7374936, at *7-14 (N.D. Cal. Oct. 13, 2022)


  Academic Literature:
     •   Barry, C. B., & Jennings, R. H. (1992). Information and diversity of analyst
         opinion. Journal of Financial and Quantitative Analysis, 27
     •   Brogaard, J., Hendershott, T., & Riordan, R. (2019). Price discovery without trading:
         Evidence from limit orders. The Journal of Finance, 74
     •   Cohen, L., Malloy, C., & Pomorski, L. (2012). Decoding inside information. The
         Journal of Finance, 67


                                              148
•   Damodaran, A. “Investment Valuation: Tools and Techniques for Determining the
    Value of Any Asset,” John Wiley & Sons, 1996
•   Doukas, J. A., Kim, C., & Pantzalis, C. (2004). Divergent opinions and the
    performance of value stocks. Financial Analysts Journal, 60
•   Easley, D., Hvidkjaer, S., & O'hara, M. (2002). Is information risk a determinant of
    asset returns? The Journal of Finance, 57
•   Easley, D., & O’hara, M. (2004). Information and the cost of capital. The Journal of
    Finance, 59
•   Fama, E. F. (1991). Efficient capital markets: II. Journal of Finance, 46
•   Guillamon-Saorin, E., Osma, B. G., & Jones, M. J. (2012). Opportunistic disclosure in
    press release headlines. Accounting and Business Research, 42
•   Hammel, J. G. & Casey, J. C. (2009). Sizing securities fraud damages: ‘Constant
    Percentage’ on way out?” New York Law Journal
•   Hood, M., & Lesseig, V. (2017). Investor inattention around stock market
    holidays. Finance Research Letters, 23
•   Huang, X., Nekrasov, A., & Teoh, S. H. (2018). Headline salience, managerial
    opportunism, and over-and underreactions to earnings. Accounting Review, 93
•   Hull, J. “Options, Futures and Other Derivatives,” Prentice Hall, Seventh Edition, 2009
•   Kaniel, R., & Liu, H. (2006). So what orders do informed traders use? The Journal of
    Business, 79
•   Karamanou, I., Pownall, G., & Prakash, R. (2021). Asymmetric information
    consolidation and price discovery: Inferring bad news from insider sales. Journal of
    Business Finance & Accounting, 48
•   Koller, T., Goedhart, S., & D. Wessels. “Measuring and Managing the Value of
    Companies,” John Wiley & Sons, Sixth Edition, 2015
•   MacKinlay, A. C. (1997). Event studies in economics and finance. Journal of
    Economic Literature, 13
•   Mishkin, F. S., & S. G. Eakins, Financial Markets and Institutions, Seventh Edition,
    Pearson Education. 2012
•   Mustokoff, M. L. & Mazzeo, M. E. (2017). Loss causation on trial in rule 10b-5
    litigation a decade after Dura, Rutgers Law Review, 70
•   Ng, R., & Tan, Y. W. (2022). Media attention toward COVID-19 across 18 countries:
    The influence of cultural values and pandemic severity, PLoS One 17
•   Scott, J., & Xu, P. (2004). Some insider sales are positive signals. Financial Analysts
    Journal, 60
•   Tabak, D. I. & Dunbar, F. C. “Materiality and Magnitude: Event Studies in the
    Courtroom,” In Litigation Services Handbook, The Role of the Financial Expert, John


                                         149
       Wiley & Sons, Third Edition, 2001


SEC Filings:
   •   Vaxart, Inc., Armistice Capital, LLC, Armistice Capital Master Fund Ltd., Steven
       Boyd, SEC Form 4, Jun. 30, 2020.
   •   Vaxart, Inc., SEC Forms 8-K, 10-K, and 10-Q


Bates Documents:
   •   ARM-HIMMELBERG_0006313
   •   ARM-HIMMELBERG_0006659
   •   ARM-HIMMELBERG_0023745
   •   ARM-HIMMELBERG_0028037
   •   ARM-HIMMELBERG_0032772
   •   ARM-HIMMELBERG_0032993
   •   HHS0000879
   •   HHS0000883
   •   LIFESCI-PROD-0004108
   •   LIFESCI-PROD-0004111
   •   LIFESCI-PROD-0004121
   •   LIFESCI-PROD-0004129
   •   LIFESCI-PROD-0004134
   •   LIFESCI-PROD-0004135
   •   LIFESCI-PROD-0004138
   •   LIFESCI-PROD-0004140
   •   LIFESCI-PROD-0006408
   •   VXRTDEF-CA-0000059280
   •   VXRTDEF-CA-0000059304
   •   VXRTDEF-CA-0000059328
   •   VXRTDEF-CA-0000059330
   •   VXRTDEF-CA-0000059332
   •   VXRTDEF-CA-0000059336
   •   VXRTDEF-CA-0000063133

                                           150
   •   VXRTDEF-CA-0000200505


Analyst Reports:
   •   “ABBV-US, ACPH-BE, AMRN-US, BIO-US, BSTC-US... StreetAccount Sector
       Summary - Healthcare Post-Market,” StreetAccount, Jun. 30, 2020
   •   “BIOINVEST BREAKING NEWS - Special Update -- NEW RECOMMENDATION:
       Vaxart (VXRT} - VXRT’s Oral Vaccine for COVID-19 Poised to Enter Human
       Testing,” BioInvest, Jul. 7, 2020
   •   “COVID Vaccine Candidate Delivers Booster,” Morgan Stanley, Jul. 1, 2020
   •   “COVID Watch: 8 Important Takeaways From Vaccine Company Meetings,”
       Evercore ISI, May 21, 2020
   •   “COVID Watch: Importance of Mucosal Immunity - VXRT Webinar Highlights,”
       Evercore ISI, May 4, 2020
   •   “Inovio Pharmaceuticals (INO): Neutral,” Piper Sandler, Jun. 30, 2020
   •   “One-of-Its-Kind Oral Vaccine Maker Steadily Scaling Up to Meet Global Demand--
       Initiating at Buy, $22 PT,” B. Riley, Jul. 12, 2020


Vaxart Press Releases:
   •   “Norovirus Gastroenteritis Costs an Estimated $10.6 Billion Each Year in the United
       States”, Vaxart, Inc., Jul. 16, 2020
   •   “Vaxart Announces Additional Positive Pre-Clinical Data for its Oral COVID-19
       Vaccine Program,” Vaxart, Inc., Apr. 30, 2020
   •   “Vaxart Announces Changes to its Board of Directors,” Vaxart, Inc., Oct. 28, 2019
   •   “Vaxart Announces Corporate Update for First Quarter 2020,” Vaxart, Inc., Apr. 28,
       2020
   •   “Vaxart Announces Fourth Quarter and Full Year 2019 Financial Results and Provides
       Corporate Update,” Vaxart, Inc., Mar. 19, 2020
   •   “Vaxart Announces Initiation of Coronavirus Vaccine Program,” Vaxart, Inc., Jan. 31,
       2020
   •   “Vaxart Announces it Entered into an Agreement with Emergent BioSolutions for the
       Development and Manufacturing of Oral Coronavirus (COVID-19) Vaccine
       Candidate,” Mar. 18, 2020
   •   “Vaxart Announces Positive Pre-Clinical Data for its Oral COVID-19 Vaccine
       Program,” Vaxart, Inc., Apr. 21, 2020
   •   “Vaxart, Inc. Set to Join Russell 30000® Index,” Vaxart, Inc., June 24, 2020
   •   “Vaxart, Inc. Signs Memorandum of Understanding with Attwill Medical Solutions

                                           151
         Sterilflow, LP,” Vaxart, Inc., Jun. 25, 2020
   •     “Vaxart Provides Update on its Oral COVID-19 Vaccine Program,” Vaxart, Inc., Mar.
         31, 2020
   •     “Vaxart’s COVID-19 Vaccine Selected for the U.S. Government’s Operation Warp
         Speed,” Vaxart, Inc., Jun. 26, 2020


Media:
   •     “46 Stocks Moving in Thursday’s Mid-Day Session,” Jun. 25, 2020, Benzinga.com.
   •     “A little-known biotech working on a COVID-19 vaccine has surged 304% in 2 days
         — and it just said it was picked for the US government’s Operation Warp Speed
         program,” Business Insider, Jun. 26, 2020.
   •     “A top healthcare dealmaker offers a stern warning to investors drawn to sky-high
         stocks in biotech fueled by coronavirus news,” Business Insider, Jul. 20, 2020.
   •     “Biopharma update on the novel coronavirus: 26 Jun 2020,” BioSpace, Jun. 26, 2020.
   •     “BRIEF-Vaxart Signs Memorandum of Understanding with Attwill Medical Solutions
         Sterilflow,” Reuters News, Jun. 25, 2020.
   •     “Corporate Insiders Pocket $1 Billion in Rush for Coronavirus Vaccine,” New York
         Times, July 25, 2020.
   •     “Covid-19 pandemic: the need for second-generation vaccines,” Pharmaceutical
         Technology,” July 15, 2020.
   •     “Covid-19 Vaccine Developer Falls After Report of U.S. Scrutiny,” Bloomberg, Jul.
         27, 2020.
   •     “COVID-19 Vaccine Developers Perk Up on IMV Rally,” Seeking Alpha, Jul. 14,
         2020.
   •     “Cramer Shares His Thoughts On Sirius XM, Nokia And More,” Benzinga, Jul. 1,
         2020.
   •     “Emergent BioSolutions and Vaxart partner on oral coronavirus vaccine,”
         Pharmaceutical Technology, Mar. 19, 2020.
   •     “Everything You Need to Know About Operation Warp Speed's Coronavirus Vaccine
         Accelerator,” Motley Fool, July 22, 2020.
   •     “Exclusive: US Plans Massive Covid-19 Vaccine Testing Effort to Meet Year-end
         Deadline,” Reuters, May 23, 2020.
   •     “Fauci Says U.S. Coronavirus Deaths May Be ‘More Like 60,000’; Antibody Tests On
         Way,” NPR, Apr. 9, 2020.
   •     “‘Fresh look’: New CEO targets speed, savvy, stock in Peninsula biotech’s race for
         Covid vaccine,” San Francisco Business Times, June 18, 2020.
   •     “In the race for a coronavirus vaccine, can Operation Warp Speed avoid politics?,”

                                              152
    USA Today, May 24, 2020.
•   “Inovio’s 860% Year-to-Date Rally Takes a Breather After the Release of Phase I Data
    for Company’s COVID-19 Vaccine Candidate,” Business Insider, Jun. 30, 2020.
•   “Is It Too Late to Buy Vaxart Stock?,” Nasdaq.com, Jun 30, 2020.
•   “Moderna Shares Jump As Much As 16% After Company Says Its Coronavirus
    Vaccine Trial Produced ‘Robust’ Immune Response,” CNBC, Jul. 14, 2020.
•   “Moderna Soars After $483 Million Covid-19 Agreement With U.S.,” Bloomberg,
    Apr. 16, 2020.
•   “Nike, JPMorgan fall; Gap, CoreLogic rise,” The Associated Press, Jun. 26, 2020.
•   “Novavax to receive $1.6B from Operation Warp Speed for the development of Covid-
    19 vaccine”, Pharmaceutical Technology, July 10, 2020.
•   “Novavax Wins $1.6B in Warp Speed Funding, Plans First 100M Doses of COVID-19
    Vaccine,” Genetic Engineering and Biotechnology News, Jul. 7, 2020.
•   “Stock Alert: Vaxart Gains 50%,” RTT News, Jun. 25, 2020.
•   “Stock Alert: Vaxart Hits New 52-week High As COVID-19 Vaccine Selected For
    OWS,” RTT News, Jun. 26, 2020.
•   “Trump Administration Selects Five Coronavirus Vaccine Candidates as Finalists,”
    New York Times, Jun. 3, 2020.
•   “Trump’s ‘Operation Warp Speed’ Aims to Rush Coronavirus Vaccine,” Bloomberg,
    April 29, 2020.
•   “Trump Seeks Push to Speed Vaccine, Despite Safety Concerns,” New York Times,
    Apr. 29, 2020.
•   “Unveiling ‘Warp Speed,’ the White House’s America-First Push for a Coronavirus
    Vaccine,” Science, May 12, 2020
•   “U.S. to Invest $1.2 Billion to Secure Potential Coronavirus Vaccine From
    AstraZeneca, Oxford University,” Wall Street Journal, May 21, 2020.
•   “Vaxart +70% after Covid-19 'Warp Speed' designation for its vaccine,” Seeking
    Alpha, Jun 26, 2020.
•   “Vaxart announces pre-clinical data for oral COVID-19 vaccine,”
    Theflyonthewall.com, Apr. 21, 2020.
•   “Vaxart: Emergent to manufacture Vaxart’s experimental COVID-19 vaccine,”
    MarketWatch, Mar. 18, 2020.
•   “Vaxart Explodes 96%- And Rallies After-Hours- On Covid-19 Deal,” TipRanks, Jun.
    25, 2020.
•   “*Vaxart Inc. (VXRT) Paused due to volatility,” Dow Jones Newswires, June 26,
    2020, at 9:34am ET and 10:11am ET.
•   “Vaxart joins coronavirus bandwagon with vaccine plan; shares up 42% premarket,”

                                        153
    Seeking Alpha, Jan. 31, 2020.
•   “Vaxart Oral COVID-19 Vaccine Joins Trump’s “Warp Speed,” Ramps Up
    Manufacturing Capacity,” Genetic Engineering and Biotechnology News, June 29,
    2020.
•   “Vaxart says potential COVID-19 vaccine picked for ‘Operation Warp Speed,’”
    Reuters, Jun. 26, 2020.
•   “Vaxart Shares Jump 25% After Partnership with Attwill Medical,” Dow Jones
    Institutional News, Jun. 25, 2020.
•   “Vaxart shares skyrocket on news its COVID-19 vaccine candidate to be part of
    Operation Warp Speed,” MarketWatch, Jun. 26, 2020.
•   “Vaxart signs MOU with Attwill Medical Solutions Steriflow,” Jun. 25, 2020,
    Theflyonthewall.com.
•   “Vaxart up 15% premarket on encouraging data on oral COVID-19 vaccine
    candidates,” Seeking Alpha, Apr. 30, 2020.
•   “Vaxart up 64% premarket on coronavirus vaccine deal,” Seeking Alpha, Mar. 18,
    2020.
•   “Vaxart Up on Pre-Clinical Data on Coronavirus Vaccine Candidates,” Yahoo!
    Finance / Zacks Equity Research, Apr. 22, 2020.
•   “Vaxart (VXRT) to Make Vaccines to Check Coronavirus, Stock Up,” Yahoo!
    finance, Feb. 3, 2020.
•   “Vaxart (VXRT) to Report Q1 Earnings: What’s in the Cards?,” Yahoo! Finance /
    Zacks Equity Research , Apr. 29, 2020.
•   “Vaxart’s COVID-19 vaccine selected for U.S. Government’s Operation Warp
    Speed,” Theflyonthewall.com, Jun. 26, 2020.
•   “Vaxart’s Oral Coronavirus Vaccine Candidate Gets Chosen by OWS,” Yahoo!
    Finance/ Zacks Equity Research, Jun. 26, 2020.
•   “Vaxart’s Stock Rockets on Heavy Volume After Initiating Coronavirus Vaccine
    Development Program,” MarketWatch, Jan. 31, 2020.
•   “Vaxart’s Technology Could be a COVID-19 Game Changer,” SeekingAlpha, July 6,
    2020.
•   “VXRT Stock Price Jumps on COVID-19 Operation Warp Speed Announcement”,
    Investors Alley Corp, July 15, 2020.
•   “What to Expect from Vaxart and Its Quest to Develop COVID-19 Candidate,”
    Seeking Alpha, Apr. 23, 2020.
•   “White House picks five coronavirus vaccine candidates for ‘Operation Warp Speed’
    initiative,’” Fox Business, Jun. 3, 2020.
•   “Why Moderna, Vaxart, Inovio, and BioNTech Stocks Dropped Today,” The Motley
    Fool, Jul. 24, 2020.

                                       154
   •     “Why Vaxart, Inovio, and Sorrento Therapeutics Stocks Soared Thursday,” Motley
         Fool, Jun. 26, 2020.
   •     “Why Vaxart Stock Is Skyrocketing Today,” Motley Fool, July 13, 2020.
   •     “You’d Rather Get a Coronavirus Vaccine Through Your Nose,” New York Times,
         Jul. 14, 2020.


Data Sources:
   •     Bloomberg
   •     Factiva
   •     National Institutes of Health, Coronavirus Studies in Nonhuman Primate Models
   •     OptionMetrics
   •     SEC filings on EDGAR
   •     Tick Data
   •     U.S. Treasury Constant Maturity Rates: https://fred.stlouisfed.org


Other:
   •     “Americans Immersed in COVID-19 News; Most Think Media Are Doing Fairly Well
         Covering It,” Pew Research Center, Mar. 18, 2020.
   •     Armistice Capital, “Our Firm.”
   •     “AstraZeneca advances response to global COVID-19 challenge as it receives first
         commitments for Oxford’s potential new vaccine,” AstraZeneca, May 21, 2020.
   •     Center for Disease Control Museum COVID-19 Timeline.
   •     Congressional Research Service, “Operation Warp Speed Contracts for COVID-19
         Vaccines and Ancillary Vaccination Materials,” March 1, 2021.
   •     Final Transcript, H.C. Wainwright Virtual Fireside Chat Series, June 25, 2020.
   •     HHS, “Fact Sheet: Explaining Operation Warp Speed,” Jun. 16, 2020
   •     HHS Office of Public Affairs (@SpoxHHS), Twitter post, Jul. 25, 2020. Available at:
         https://twitter.com/SpoxHHS/status/1286965074003976193.
   •     “INOVIO Announces Positive Interim Phase 1 Data for INO-4800 Vaccine for
         COVID-19,” Inovio Pharmaceuticals, Inc., Jun. 30, 2020.
   •     “INOVIO’s COVID-19 DNA Vaccine INO-4800 Provides Protection with Memory
         Immune Responses In Non-Human Primates Challenged with SARS-CoV-2 Virus,”
         Inovio Pharmaceuticals, Inc., Jun. 30, 2020.
   •     “Johnson & Johnson Announces a Lead Vaccine Candidate for COVID-19; Landmark
         New Partnership with U.S. Department of Health & Human Services; and

                                              155
    Commitment to Supply One Billion Vaccines Worldwide for Emergency Pandemic
    Use,” Johnson & Johnson, Mar. 30, 2020.
•   “Operation Warp Speed: Accelerated COVID-19 Vaccine Development Status and
    Efforts to Address Manufacturing Challenges,” Feb. 5, 2021.
•   “Pfizer and BioNTech Announce an Agreement with U.S. Government for up to 600
    Million Doses of mRNA-based Vaccine Candidate Against SARS-CoV-2,” Pfizer,
    July 22, 2020.
•   Remarks by President Trump on Vaccine Development, May 15, 2020.
•   Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
    Disease (COVID-19) Outbreak”, White House, Mar. 13, 2020.
•   “Sanofi and GSK selected for Operation Warp Speed to supply United States
    government with 100 million doses of COVID-19 vaccine,” Sanofi/GSK, July 31,
    2020.
•   “Trump Administration Announces Framework and Leadership for ‘Operation Warp
    Speed,” U.S. Department of Defense, May 15, 2020.
•   All other documents cited throughout this report and my prior reports in this matter




                                         156
Appendix C
                                               Vaxart Options
        Artificial Inflation and Deflation Per Share Introduced and Dissipated on Each Event Date
     Expiration Strike Price   7/2/2020   7/6/2020     7/27/2020   7/2/2020    7/6/2020    7/27/2020
     7/17/2020      $5.00        $0.00      $1.55        $0.00       $0.08       $0.05       $0.00
     7/17/2020      $7.50        $0.25      $0.70        $0.00       $0.23       $0.58       $0.00
     7/17/2020     $10.00        $0.20      $0.30        $0.00       $0.70       $0.15       $0.00
     7/17/2020     $12.50        $0.18      $0.18        $0.00       $0.58       $0.80       $0.00
     7/17/2020     $15.00        $1.80      $0.08        $0.00       $0.20       $1.00       $0.00
     7/17/2020     $17.50        $1.95      $0.08        $0.00       $0.00       $1.35       $0.00
     8/21/2020      $2.50        $0.00      $0.00        $1.10       $0.00       $0.00       $0.00
     8/21/2020      $5.00        $0.00      $1.88        $0.95       $0.38       $0.20       $0.10
     8/21/2020      $7.50        $0.90      $0.85        $0.75       $0.00       $1.25       $0.35
     8/21/2020     $10.00        $0.15      $0.50        $0.48       $0.00       $0.43       $0.48
     8/21/2020     $12.50        $1.08      $0.53        $0.35       $0.00       $0.45       $0.73
     8/21/2020     $15.00        $0.00      $0.30        $0.10       $0.20       $0.40       $0.85
     8/21/2020     $17.50        $0.95      $0.68        $0.10       $0.30       $0.00       $0.95
     8/21/2020     $20.00        $0.00      $0.00        $0.08       $0.00       $0.00       $1.05
     8/21/2020     $22.50        $0.00      $0.00        $0.00       $0.00       $0.00       $1.00
    8/21/2020      $25.00        $0.00      $0.00        $0.00       $0.00       $0.00       $1.05
    8/21/2020      $30.00        $0.00      $0.00        $0.00       $0.00       $0.00       $1.00
    9/18/2020       $2.50        $0.00      $0.00        $1.10       $0.00       $0.00       $0.00
    9/18/2020       $5.00        $0.00      $0.00        $0.90       $0.00       $0.00       $0.13
    9/18/2020       $7.50        $0.00      $0.00        $0.65       $0.00       $0.00       $0.28
    9/18/2020      $10.00        $0.00      $0.00        $0.50       $0.00       $0.00       $0.40
    9/18/2020      $12.50        $0.00      $0.00        $0.50       $0.00       $0.00       $0.60
    9/18/2020      $15.00       $0.00      $0.00         $0.18       $0.00       $0.00       $0.60
    9/18/2020      $17.50       $0.00      $0.00         $0.23      $0.00       $0.00        $0.75
    9/18/2020      $20.00       $0.00      $0.00         $0.23      $0.00       $0.00        $0.75
    9/18/2020      $22.50       $0.00      $0.00         $0.15      $0.00       $0.00        $0.80
    9/18/2020      $25.00       $0.00      $0.00         $0.05      $0.00       $0.00        $0.00
    9/18/2020      $30.00       $0.00      $0.00         $0.10      $0.00       $0.00        $0.75
    10/16/2020      $2.50       $0.00      $0.00         $1.00      $0.00       $0.00        $0.08
    10/16/2020      $5.00       $0.00      $1.10         $0.80      $0.00       $0.63        $0.15
    10/16/2020      $7.50       $0.30      $0.73         $0.85      $0.00       $0.55        $0.35
    10/16/2020     $10.00       $0.35      $0.65         $0.60      $0.28       $0.20        $0.45
    10/16/2020     $12.50       $0.25      $0.18         $0.45      $0.15       $0.55        $0.55
    10/16/2020     $15.00       $0.65      $0.00         $0.40      $0.35       $0.25        $0.65
    10/16/2020     $17.50       $0.50      $0.50         $0.23      $0.65       $0.40        $0.60
    10/16/2020     $20.00       $0.00      $0.00         $0.15      $0.00       $0.00        $0.60
    10/16/2020     $22.50       $0.00      $0.00         $0.13      $0.00       $0.00        $0.00
    10/16/2020     $25.00       $0.00      $0.00         $0.13      $0.00       $0.00        $0.65
    10/16/2020     $30.00       $0.00      $0.00         $0.20      $0.00       $0.00        $0.00
    1/15/2021       $2.50       $0.00      $0.00         $1.00      $0.00       $0.00        $0.00
    1/15/2021       $5.00       $0.60      $0.75         $0.85      $0.35       $0.00        $0.15
    1/15/2021       $7.50       $0.28      $0.50         $0.80      $0.43       $0.00        $0.20
    1/15/2021      $10.00       $0.00      $0.53         $0.80      $0.60       $0.00        $0.30
    1/15/2021      $12.50       $0.00      $0.73         $0.70      $0.05       $0.30        $0.00
    1/15/2021      $15.00       $0.00      $0.00         $0.95      $0.05       $0.60        $0.35
    1/15/2021      $17.50       $0.00      $0.55         $0.60      $0.45       $0.10        $0.35
    1/15/2021      $20.00       $0.00      $0.00         $0.40      $0.00       $0.00        $0.45
    1/15/2021      $22.50       $0.00      $0.00         $0.45      $0.00       $0.00        $0.00
    1/15/2021      $25.00       $0.00      $0.00         $0.35      $0.00       $0.00        $0.40
     1/15/2021     $30.00        $0.00      $0.00        $0.35       $0.00       $0.00       $0.35




                                                     157
Appendix D




             158
        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                     Call Option     Put Option                                                           Call Option     Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                      Inflation       Deflation                                                            Inflation       Deflation
             7/17/2020      $5.00        7/1/2020       $2.52           $0.87                     7/17/2020      $12.50       7/10/2020      $0.19           $1.50
             7/17/2020      $5.00        7/2/2020       $2.52           $0.75                     7/17/2020      $12.50       7/13/2020      $0.19           $1.50
             7/17/2020      $5.00        7/6/2020       $0.00           $0.54                     7/17/2020      $12.50       7/14/2020      $0.00           $0.00
             7/17/2020      $5.00        7/7/2020       $0.00           $0.19                     7/17/2020      $12.50       7/15/2020      $1.16           $0.50
             7/17/2020      $5.00        7/8/2020       $1.46           $0.21                     7/17/2020      $12.50       7/16/2020      $1.47           $0.22
             7/17/2020      $5.00        7/9/2020       $1.45           $0.21                     7/17/2020      $12.50       7/17/2020      $1.47           $0.22
             7/17/2020      $5.00        7/10/2020      $1.47           $0.19                     7/17/2020      $15.00        7/1/2020      $0.00           $2.90
             7/17/2020      $5.00        7/13/2020      $1.47           $0.19                     7/17/2020      $15.00        7/2/2020      $0.22           $2.58
             7/17/2020      $5.00        7/14/2020      $0.00           $0.00                     7/17/2020      $15.00        7/6/2020      $0.22           $2.58
             7/17/2020      $5.00        7/15/2020      $0.00           $0.00                     7/17/2020      $15.00        7/7/2020      $0.00           $0.00
             7/17/2020      $5.00        7/16/2020      $0.00           $0.00                     7/17/2020      $15.00        7/8/2020      $0.00           $0.00
             7/17/2020      $5.00        7/17/2020      $0.00           $0.00                     7/17/2020      $15.00        7/9/2020      $0.00           $0.00
             7/17/2020      $7.50        7/1/2020       $1.53           $1.91                     7/17/2020      $15.00       7/10/2020      $0.10           $0.00
             7/17/2020      $7.50        7/2/2020       $1.19           $1.62                     7/17/2020      $15.00       7/13/2020      $0.10           $0.00
             7/17/2020      $7.50        7/6/2020       $0.58           $1.06                     7/17/2020      $15.00       7/14/2020      $0.00           $0.00
             7/17/2020      $7.50        7/7/2020       $0.58           $1.06                     7/17/2020      $15.00       7/15/2020      $0.60           $1.07
             7/17/2020      $7.50        7/8/2020       $0.91           $0.76                     7/17/2020      $15.00       7/16/2020      $0.81           $0.87
             7/17/2020      $7.50        7/9/2020       $0.91           $0.78                     7/17/2020      $15.00       7/17/2020      $0.81           $0.87
             7/17/2020      $7.50        7/10/2020      $0.84           $0.86                     7/17/2020      $17.50        7/1/2020      $0.00           $0.00
             7/17/2020      $7.50        7/13/2020      $0.84           $0.86                     7/17/2020      $17.50        7/2/2020      $0.18           $0.00
             7/17/2020      $7.50        7/14/2020      $0.00           $0.00                     7/17/2020      $17.50        7/6/2020      $0.18           $0.00
             7/17/2020      $7.50        7/15/2020      $0.00           $0.00                     7/17/2020      $17.50        7/7/2020      $0.00           $0.00
             7/17/2020      $7.50        7/16/2020      $0.00           $0.00                     7/17/2020      $17.50        7/8/2020      $0.00           $0.00
             7/17/2020      $7.50        7/17/2020      $0.00           $0.00                     7/17/2020      $17.50        7/9/2020      $0.00           $0.00
             7/17/2020      $10.00        7/1/2020      $0.80           $2.35                     7/17/2020      $17.50       7/10/2020      $0.00           $1.65
             7/17/2020      $10.00        7/2/2020      $0.59           $2.35                     7/17/2020      $17.50       7/13/2020      $0.00           $1.65
             7/17/2020      $10.00        7/6/2020      $0.29           $0.00                     7/17/2020      $17.50       7/14/2020      $0.00           $0.00
             7/17/2020      $10.00        7/7/2020      $0.29           $0.00                     7/17/2020      $17.50       7/15/2020      $0.00           $0.00
             7/17/2020      $10.00        7/8/2020      $0.52           $1.18                     7/17/2020      $17.50       7/16/2020      $0.26           $1.52
             7/17/2020      $10.00        7/9/2020      $0.45           $1.28                     7/17/2020      $17.50       7/17/2020      $0.26           $1.52
             7/17/2020      $10.00       7/10/2020      $0.33           $1.36                     8/21/2020      $2.50        7/7/2020       $0.00           $0.00
             7/17/2020      $10.00       7/13/2020      $0.33           $1.36                     8/21/2020      $2.50        7/8/2020       $1.59           $0.00
             7/17/2020      $10.00       7/14/2020      $0.00           $0.00                     8/21/2020      $2.50        7/9/2020       $1.61           $0.00
             7/17/2020      $10.00       7/15/2020      $1.63           $0.00                     8/21/2020      $2.50        7/10/2020      $1.59           $0.00
             7/17/2020      $10.00       7/16/2020      $1.63           $0.00                     8/21/2020      $2.50        7/13/2020      $1.59           $0.00
             7/17/2020      $10.00       7/17/2020      $0.00           $0.00                     8/21/2020      $2.50        7/14/2020      $0.00           $0.00
             7/17/2020      $12.50        7/1/2020      $0.51           $2.90                     8/21/2020      $2.50        7/15/2020      $0.00           $0.00
             7/17/2020      $12.50        7/2/2020      $0.33           $2.28                     8/21/2020      $2.50        7/16/2020      $0.00           $0.00
             7/17/2020      $12.50        7/6/2020      $0.16           $2.28                     8/21/2020      $2.50        7/17/2020      $0.00           $0.00
             7/17/2020      $12.50        7/7/2020      $0.16           $0.00                     8/21/2020      $2.50        7/20/2020      $1.67           $0.00
             7/17/2020      $12.50        7/8/2020      $0.00           $0.00                     8/21/2020      $2.50        7/21/2020      $1.67           $0.00
             7/17/2020      $12.50        7/9/2020      $0.25           $1.46                     8/21/2020      $2.50        7/22/2020      $1.67           $0.00


Appendix D                                  Page 1                                   Appendix D                                  Page 2




        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                     Call Option     Put Option                                                           Call Option     Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                      Inflation       Deflation                                                            Inflation       Deflation
             8/21/2020      $2.50        7/23/2020      $1.67           $0.00                     8/21/2020      $10.00       7/10/2020      $0.86           $0.79
             8/21/2020      $2.50        7/24/2020      $1.67           $0.00                     8/21/2020      $10.00       7/13/2020      $1.22           $0.46
             8/21/2020      $5.00        7/1/2020       $0.00           $0.87                     8/21/2020      $10.00       7/14/2020      $1.41           $0.27
             8/21/2020      $5.00        7/2/2020       $0.00           $0.70                     8/21/2020      $10.00       7/15/2020      $1.32           $0.36
             8/21/2020      $5.00        7/6/2020       $0.00           $0.48                     8/21/2020      $10.00       7/16/2020      $1.37           $0.31
             8/21/2020      $5.00        7/7/2020       $1.40           $0.28                     8/21/2020      $10.00       7/17/2020      $1.38           $0.30
             8/21/2020      $5.00        7/8/2020       $1.36           $0.32                     8/21/2020      $10.00       7/20/2020      $1.37           $0.31
             8/21/2020      $5.00        7/9/2020       $1.36           $0.32                     8/21/2020      $10.00       7/21/2020      $1.39           $0.31
             8/21/2020      $5.00        7/10/2020      $1.34           $0.34                     8/21/2020      $10.00       7/22/2020      $1.35           $0.34
             8/21/2020      $5.00        7/13/2020      $1.53           $0.14                     8/21/2020      $10.00       7/23/2020      $1.31           $0.38
             8/21/2020      $5.00        7/14/2020      $1.63           $0.07                     8/21/2020      $10.00       7/24/2020      $1.17           $0.51
             8/21/2020      $5.00        7/15/2020      $1.63           $0.09                     8/21/2020      $12.50       7/1/2020       $0.00           $1.82
             8/21/2020      $5.00        7/16/2020      $1.62           $0.07                     8/21/2020      $12.50       7/2/2020       $1.05           $1.63
             8/21/2020      $5.00        7/17/2020      $1.62           $0.05                     8/21/2020      $12.50       7/6/2020       $0.57           $1.09
             8/21/2020      $5.00        7/20/2020      $1.67           $0.05                     8/21/2020      $12.50       7/7/2020       $0.88           $1.09
             8/21/2020      $5.00        7/21/2020      $1.67           $0.04                     8/21/2020      $12.50       7/8/2020       $0.80           $0.87
             8/21/2020      $5.00        7/22/2020      $1.66           $0.05                     8/21/2020      $12.50       7/9/2020       $0.77           $0.89
             8/21/2020      $5.00        7/23/2020      $1.66           $0.04                     8/21/2020      $12.50       7/10/2020      $0.74           $0.92
             8/21/2020      $5.00        7/24/2020      $1.66           $0.06                     8/21/2020      $12.50       7/13/2020      $1.09           $0.60
             8/21/2020      $7.50        7/1/2020       $0.00           $1.51                     8/21/2020      $12.50       7/14/2020      $1.29           $0.39
             8/21/2020      $7.50        7/2/2020       $1.61           $1.35                     8/21/2020      $12.50       7/15/2020      $1.17           $0.52
             8/21/2020      $7.50        7/6/2020       $0.90           $0.69                     8/21/2020      $12.50       7/16/2020      $1.21           $0.46
             8/21/2020      $7.50        7/7/2020       $1.21           $0.49                     8/21/2020      $12.50       7/17/2020      $1.22           $0.46
             8/21/2020      $7.50        7/8/2020       $1.12           $0.57                     8/21/2020      $12.50       7/20/2020      $1.18           $0.50
             8/21/2020      $7.50        7/9/2020       $1.13           $0.57                     8/21/2020      $12.50       7/21/2020      $1.17           $0.51
             8/21/2020      $7.50        7/10/2020      $1.08           $0.62                     8/21/2020      $12.50       7/22/2020      $1.12           $0.55
             8/21/2020      $7.50        7/13/2020      $1.37           $0.31                     8/21/2020      $12.50       7/23/2020      $1.06           $0.62
             8/21/2020      $7.50        7/14/2020      $1.53           $0.16                     8/21/2020      $12.50       7/24/2020      $0.91           $0.77
             8/21/2020      $7.50        7/15/2020      $1.47           $0.21                     8/21/2020      $15.00       7/1/2020       $0.83           $2.11
             8/21/2020      $7.50        7/16/2020      $1.52           $0.16                     8/21/2020      $15.00       7/2/2020       $0.81           $1.78
             8/21/2020      $7.50        7/17/2020      $1.55           $0.16                     8/21/2020      $15.00       7/6/2020       $0.47           $1.22
             8/21/2020      $7.50        7/20/2020      $1.53           $0.14                     8/21/2020      $15.00       7/7/2020       $0.78           $1.22
             8/21/2020      $7.50        7/21/2020      $1.56           $0.14                     8/21/2020      $15.00       7/8/2020       $0.67           $0.97
             8/21/2020      $7.50        7/22/2020      $1.53           $0.16                     8/21/2020      $15.00       7/9/2020       $0.67           $0.98
             8/21/2020      $7.50        7/23/2020      $1.51           $0.17                     8/21/2020      $15.00       7/10/2020      $0.58           $1.03
             8/21/2020      $7.50        7/24/2020      $1.46           $0.24                     8/21/2020      $15.00       7/13/2020      $0.97           $1.03
             8/21/2020      $10.00        7/1/2020      $1.56           $1.68                     8/21/2020      $15.00       7/14/2020      $1.17           $0.50
             8/21/2020      $10.00        7/2/2020      $1.27           $1.54                     8/21/2020      $15.00       7/15/2020      $1.03           $0.65
             8/21/2020      $10.00        7/6/2020      $0.74           $1.03                     8/21/2020      $15.00       7/16/2020      $1.07           $0.61
             8/21/2020      $10.00        7/7/2020      $1.04           $0.67                     8/21/2020      $15.00       7/17/2020      $1.06           $0.62
             8/21/2020      $10.00        7/8/2020      $0.96           $0.76                     8/21/2020      $15.00       7/20/2020      $0.98           $0.69
             8/21/2020      $10.00        7/9/2020      $0.93           $0.76                     8/21/2020      $15.00       7/21/2020      $0.96           $0.71


Appendix D                                  Page 3                                   Appendix D                                  Page 4
        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                     Call Option     Put Option                                                           Call Option     Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                      Inflation       Deflation                                                            Inflation       Deflation
             8/21/2020      $15.00       7/22/2020      $0.91           $0.76                     8/21/2020      $25.00       7/20/2020      $0.00           $1.17
             8/21/2020      $15.00       7/23/2020      $0.83           $0.83                     8/21/2020      $25.00       7/21/2020      $0.00           $1.22
             8/21/2020      $15.00       7/24/2020      $0.66           $0.98                     8/21/2020      $25.00       7/22/2020      $0.00           $1.27
             8/21/2020      $17.50       7/1/2020       $0.00           $0.00                     8/21/2020      $25.00       7/23/2020      $0.00           $1.33
             8/21/2020      $17.50       7/2/2020       $0.86           $0.00                     8/21/2020      $25.00       7/24/2020      $0.00           $1.41
             8/21/2020      $17.50       7/6/2020       $0.37           $1.34                     8/21/2020      $30.00       7/15/2020      $0.00           $1.18
             8/21/2020      $17.50       7/7/2020       $0.37           $1.34                     8/21/2020      $30.00       7/16/2020      $0.00           $1.19
             8/21/2020      $17.50       7/8/2020       $0.61           $1.06                     8/21/2020      $30.00       7/17/2020      $0.00           $1.16
             8/21/2020      $17.50       7/9/2020       $0.56           $1.06                     8/21/2020      $30.00       7/20/2020      $0.00           $1.29
             8/21/2020      $17.50       7/10/2020      $0.53           $1.12                     8/21/2020      $30.00       7/21/2020      $0.00           $1.37
             8/21/2020      $17.50       7/13/2020      $0.53           $1.12                     8/21/2020      $30.00       7/22/2020      $0.00           $1.40
             8/21/2020      $17.50       7/14/2020      $1.07           $0.60                     8/21/2020      $30.00       7/23/2020      $0.00           $1.43
             8/21/2020      $17.50       7/15/2020      $0.90           $0.77                     8/21/2020      $30.00       7/24/2020      $0.00           $1.50
             8/21/2020      $17.50       7/16/2020      $0.94           $0.73                     9/18/2020      $2.50        7/16/2020      $1.65           $0.00
             8/21/2020      $17.50       7/17/2020      $0.92           $0.76                     9/18/2020      $2.50        7/17/2020      $1.65           $0.00
             8/21/2020      $17.50       7/20/2020      $0.82           $0.84                     9/18/2020      $2.50        7/20/2020      $1.65           $0.00
             8/21/2020      $17.50       7/21/2020      $0.77           $0.87                     9/18/2020      $2.50        7/21/2020      $1.66           $0.00
             8/21/2020      $17.50       7/22/2020      $0.72           $0.93                     9/18/2020      $2.50        7/22/2020      $1.67           $0.00
             8/21/2020      $17.50       7/23/2020      $0.63           $1.02                     9/18/2020      $2.50        7/23/2020      $1.66           $0.00
             8/21/2020      $17.50       7/24/2020      $0.50           $1.15                     9/18/2020      $2.50        7/24/2020      $1.66           $0.00
             8/21/2020      $20.00       7/14/2020      $0.96           $0.69                     9/18/2020      $5.00        7/16/2020      $1.59           $0.10
             8/21/2020      $20.00       7/15/2020      $0.80           $0.88                     9/18/2020      $5.00        7/17/2020      $1.62           $0.07
             8/21/2020      $20.00       7/16/2020      $0.82           $0.85                     9/18/2020      $5.00        7/20/2020      $1.61           $0.06
             8/21/2020      $20.00       7/17/2020      $0.78           $0.87                     9/18/2020      $5.00        7/21/2020      $1.62           $0.09
             8/21/2020      $20.00       7/20/2020      $0.67           $0.97                     9/18/2020      $5.00        7/22/2020      $1.60           $0.09
             8/21/2020      $20.00       7/21/2020      $0.64           $1.02                     9/18/2020      $5.00        7/23/2020      $1.60           $0.10
             8/21/2020      $20.00       7/22/2020      $0.56           $1.08                     9/18/2020      $5.00        7/24/2020      $1.57           $0.13
             8/21/2020      $20.00       7/23/2020      $0.48           $1.13                     9/18/2020      $7.50        7/16/2020      $1.48           $0.20
             8/21/2020      $20.00       7/24/2020      $0.38           $1.29                     9/18/2020      $7.50        7/17/2020      $1.49           $0.19
             8/21/2020      $22.50       7/14/2020      $0.00           $0.77                     9/18/2020      $7.50        7/20/2020      $1.49           $0.19
             8/21/2020      $22.50       7/15/2020      $0.00           $0.97                     9/18/2020      $7.50        7/21/2020      $1.49           $0.20
             8/21/2020      $22.50       7/16/2020      $0.00           $0.94                     9/18/2020      $7.50        7/22/2020      $1.48           $0.21
             8/21/2020      $22.50       7/17/2020      $0.00           $0.96                     9/18/2020      $7.50        7/23/2020      $1.46           $0.23
             8/21/2020      $22.50       7/20/2020      $0.00           $1.09                     9/18/2020      $7.50        7/24/2020      $1.39           $0.30
             8/21/2020      $22.50       7/21/2020      $0.00           $1.13                     9/18/2020      $10.00       7/16/2020      $1.36           $0.32
             8/21/2020      $22.50       7/22/2020      $0.00           $1.19                     9/18/2020      $10.00       7/17/2020      $1.37           $0.31
             8/21/2020      $22.50       7/23/2020      $0.00           $1.26                     9/18/2020      $10.00       7/20/2020      $1.35           $0.33
             8/21/2020      $22.50       7/24/2020      $0.00           $1.35                     9/18/2020      $10.00       7/21/2020      $1.35           $0.34
             8/21/2020      $25.00       7/14/2020      $0.00           $0.83                     9/18/2020      $10.00       7/22/2020      $1.32           $0.36
             8/21/2020      $25.00       7/15/2020      $0.00           $1.04                     9/18/2020      $10.00       7/23/2020      $1.29           $0.39
             8/21/2020      $25.00       7/16/2020      $0.00           $1.04                     9/18/2020      $10.00       7/24/2020      $1.19           $0.48
             8/21/2020      $25.00       7/17/2020      $0.00           $1.03                     9/18/2020      $12.50       7/16/2020      $1.25           $0.43


Appendix D                                  Page 5                                   Appendix D                                  Page 6




        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                     Call Option     Put Option                                                           Call Option     Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                      Inflation       Deflation                                                            Inflation       Deflation
             9/18/2020      $12.50       7/17/2020      $1.24           $0.43                 9/18/2020          $30.00       7/17/2020      $0.65           $1.00
             9/18/2020      $12.50       7/20/2020      $1.22           $0.47                 9/18/2020          $30.00       7/20/2020      $0.57           $1.05
             9/18/2020      $12.50       7/21/2020      $1.20           $0.47                 9/18/2020          $30.00       7/21/2020      $0.53           $1.10
             9/18/2020      $12.50       7/22/2020      $1.17           $0.51                 9/18/2020          $30.00       7/22/2020      $0.50           $1.14
             9/18/2020      $12.50       7/23/2020      $1.13           $0.55                 9/18/2020          $30.00       7/23/2020      $0.42           $1.18
             9/18/2020      $12.50       7/24/2020      $1.03           $0.65                 9/18/2020          $30.00       7/24/2020      $0.37           $1.24
             9/18/2020      $15.00       7/16/2020      $1.13           $0.53                 10/16/2020          $2.50       7/7/2020       $1.57           $0.00
             9/18/2020      $15.00       7/17/2020      $1.11           $0.55                 10/16/2020          $2.50       7/8/2020       $1.57           $0.12
             9/18/2020      $15.00       7/20/2020      $1.07           $0.59                 10/16/2020          $2.50       7/9/2020       $1.56           $0.11
             9/18/2020      $15.00       7/21/2020      $1.06           $0.60                 10/16/2020          $2.50       7/10/2020      $1.57           $0.12
             9/18/2020      $15.00       7/22/2020      $1.03           $0.64                 10/16/2020          $2.50       7/13/2020      $1.62           $0.06
             9/18/2020      $15.00       7/23/2020      $0.97           $0.68                 10/16/2020          $2.50       7/14/2020      $1.62           $0.04
             9/18/2020      $15.00       7/24/2020      $0.86           $0.79                 10/16/2020          $2.50       7/15/2020      $1.65           $0.04
             9/18/2020      $17.50       7/16/2020      $1.04           $0.63                 10/16/2020          $2.50       7/16/2020      $1.65           $0.03
             9/18/2020      $17.50       7/17/2020      $1.02           $0.64                 10/16/2020          $2.50       7/17/2020      $1.65           $0.03
             9/18/2020      $17.50       7/20/2020      $0.97           $0.69                 10/16/2020          $2.50       7/20/2020      $1.66           $0.03
             9/18/2020      $17.50       7/21/2020      $0.94           $0.72                 10/16/2020          $2.50       7/21/2020      $1.66           $0.03
             9/18/2020      $17.50       7/22/2020      $0.90           $0.76                 10/16/2020          $2.50       7/22/2020      $1.67           $0.03
             9/18/2020      $17.50       7/23/2020      $0.85           $0.80                 10/16/2020          $2.50       7/23/2020      $1.67           $0.04
             9/18/2020      $17.50       7/24/2020      $0.74           $0.90                 10/16/2020          $2.50       7/24/2020      $1.67           $0.04
             9/18/2020      $20.00       7/16/2020      $0.95           $0.72                 10/16/2020          $5.00       7/1/2020       $2.72           $0.00
             9/18/2020      $20.00       7/17/2020      $0.94           $0.73                 10/16/2020          $5.00       7/2/2020       $2.72           $0.66
             9/18/2020      $20.00       7/20/2020      $0.85           $0.77                 10/16/2020          $5.00       7/6/2020       $1.35           $0.40
             9/18/2020      $20.00       7/21/2020      $0.83           $0.81                 10/16/2020          $5.00       7/7/2020       $1.43           $0.26
             9/18/2020      $20.00       7/22/2020      $0.80           $0.85                 10/16/2020          $5.00       7/8/2020       $1.39           $0.29
             9/18/2020      $20.00       7/23/2020      $0.74           $0.91                 10/16/2020          $5.00       7/9/2020       $1.39           $0.29
             9/18/2020      $20.00       7/24/2020      $0.64           $1.00                 10/16/2020          $5.00       7/10/2020      $1.38           $0.31
             9/18/2020      $22.50       7/16/2020      $0.87           $0.80                 10/16/2020          $5.00       7/13/2020      $1.51           $0.17
             9/18/2020      $22.50       7/17/2020      $0.85           $0.81                 10/16/2020          $5.00       7/14/2020      $1.59           $0.10
             9/18/2020      $22.50       7/20/2020      $0.77           $0.85                 10/16/2020          $5.00       7/15/2020      $1.56           $0.12
             9/18/2020      $22.50       7/21/2020      $0.75           $0.90                 10/16/2020          $5.00       7/16/2020      $1.57           $0.11
             9/18/2020      $22.50       7/22/2020      $0.70           $0.93                 10/16/2020          $5.00       7/17/2020      $1.59           $0.10
             9/18/2020      $22.50       7/23/2020      $0.65           $0.99                 10/16/2020          $5.00       7/20/2020      $1.59           $0.10
             9/18/2020      $22.50       7/24/2020      $0.54           $1.08                 10/16/2020          $5.00       7/21/2020      $1.59           $0.11
             9/18/2020      $25.00       7/16/2020      $0.79           $0.00                 10/16/2020          $5.00       7/22/2020      $1.58           $0.12
             9/18/2020      $25.00       7/17/2020      $0.78           $0.00                 10/16/2020          $5.00       7/23/2020      $1.58           $0.12
             9/18/2020      $25.00       7/20/2020      $0.70           $0.00                 10/16/2020          $5.00       7/24/2020      $1.54           $0.15
             9/18/2020      $25.00       7/21/2020      $0.66           $0.00                 10/16/2020          $7.50       7/1/2020       $2.27           $0.98
             9/18/2020      $25.00       7/22/2020      $0.61           $0.00                 10/16/2020          $7.50       7/2/2020       $1.81           $0.91
             9/18/2020      $25.00       7/23/2020      $0.58           $0.00                 10/16/2020          $7.50       7/6/2020       $1.09           $0.55
             9/18/2020      $25.00       7/24/2020      $0.46           $0.00                 10/16/2020          $7.50       7/7/2020       $1.25           $0.39
             9/18/2020      $30.00       7/16/2020      $0.67           $0.98                 10/16/2020          $7.50       7/8/2020       $1.25           $0.50


Appendix D                                  Page 7                                   Appendix D                                  Page 8
        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                      Call Option    Put Option                                                            Call Option    Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                       Inflation      Deflation                                                             Inflation      Deflation
         10/16/2020         $7.50        7/9/2020        $1.25          $0.43                 10/16/2020         $12.50       7/21/2020       $1.23          $0.43
         10/16/2020         $7.50        7/10/2020       $1.24          $0.45                 10/16/2020         $12.50       7/22/2020       $1.21          $0.46
         10/16/2020         $7.50        7/13/2020       $1.39          $0.27                 10/16/2020         $12.50       7/23/2020       $1.17          $0.49
         10/16/2020         $7.50        7/14/2020       $1.50          $0.18                 10/16/2020         $12.50       7/24/2020       $1.09          $0.57
         10/16/2020         $7.50        7/15/2020       $1.45          $0.23                 10/16/2020         $15.00       7/1/2020        $1.69          $1.89
         10/16/2020         $7.50        7/16/2020       $1.48          $0.20                 10/16/2020         $15.00       7/2/2020        $1.19          $1.52
         10/16/2020         $7.50        7/17/2020       $1.48          $0.20                 10/16/2020         $15.00       7/6/2020        $1.19          $1.06
         10/16/2020         $7.50        7/20/2020       $1.47          $0.21                 10/16/2020         $15.00       7/7/2020        $1.08          $0.72
         10/16/2020         $7.50        7/21/2020       $1.47          $0.21                 10/16/2020         $15.00       7/8/2020        $0.95          $0.69
         10/16/2020         $7.50        7/22/2020       $1.45          $0.23                 10/16/2020         $15.00       7/9/2020        $0.97          $0.69
         10/16/2020         $7.50        7/23/2020       $1.44          $0.25                 10/16/2020         $15.00       7/10/2020       $0.95          $0.69
         10/16/2020         $7.50        7/24/2020       $1.38          $0.30                 10/16/2020         $15.00       7/13/2020       $1.13          $0.53
         10/16/2020         $10.00        7/1/2020       $2.01          $1.52                 10/16/2020         $15.00       7/14/2020       $1.24          $0.41
         10/16/2020         $10.00        7/2/2020       $1.58          $1.23                 10/16/2020         $15.00       7/15/2020       $1.17          $0.52
         10/16/2020         $10.00        7/6/2020       $0.94          $0.85                 10/16/2020         $15.00       7/16/2020       $1.18          $0.48
         10/16/2020         $10.00        7/7/2020       $1.14          $0.61                 10/16/2020         $15.00       7/17/2020       $1.18          $0.50
         10/16/2020         $10.00        7/8/2020       $1.14          $0.53                 10/16/2020         $15.00       7/20/2020       $1.14          $0.53
         10/16/2020         $10.00        7/9/2020       $1.17          $0.53                 10/16/2020         $15.00       7/21/2020       $1.13          $0.53
         10/16/2020         $10.00       7/10/2020       $1.12          $0.54                 10/16/2020         $15.00       7/22/2020       $1.10          $0.56
         10/16/2020         $10.00       7/13/2020       $1.30          $0.38                 10/16/2020         $15.00       7/23/2020       $1.07          $0.60
         10/16/2020         $10.00       7/14/2020       $1.41          $0.26                 10/16/2020         $15.00       7/24/2020       $0.97          $0.68
         10/16/2020         $10.00       7/15/2020       $1.34          $0.33                 10/16/2020         $17.50       7/1/2020        $0.00          $2.01
         10/16/2020         $10.00       7/16/2020       $1.37          $0.31                 10/16/2020         $17.50       7/2/2020        $1.15          $1.50
         10/16/2020         $10.00       7/17/2020       $1.37          $0.31                 10/16/2020         $17.50       7/6/2020        $0.66          $0.99
         10/16/2020         $10.00       7/20/2020       $1.35          $0.32                 10/16/2020         $17.50       7/7/2020        $0.88          $0.95
         10/16/2020         $10.00       7/21/2020       $1.35          $0.33                 10/16/2020         $17.50       7/8/2020        $0.91          $0.78
         10/16/2020         $10.00       7/22/2020       $1.33          $0.35                 10/16/2020         $17.50       7/9/2020        $0.89          $0.74
         10/16/2020         $10.00       7/23/2020       $1.30          $0.37                 10/16/2020         $17.50       7/10/2020       $0.90          $0.75
         10/16/2020         $10.00       7/24/2020       $1.23          $0.44                 10/16/2020         $17.50       7/13/2020       $1.07          $0.60
         10/16/2020         $12.50        7/1/2020       $1.69          $1.78                 10/16/2020         $17.50       7/14/2020       $1.17          $0.48
         10/16/2020         $12.50        7/2/2020       $1.34          $1.50                 10/16/2020         $17.50       7/15/2020       $1.08          $0.58
         10/16/2020         $12.50        7/6/2020       $0.89          $0.96                 10/16/2020         $17.50       7/16/2020       $1.11          $0.56
         10/16/2020         $12.50        7/7/2020       $1.06          $0.64                 10/16/2020         $17.50       7/17/2020       $1.09          $0.59
         10/16/2020         $12.50        7/8/2020       $1.07          $0.64                 10/16/2020         $17.50       7/20/2020       $1.06          $0.60
         10/16/2020         $12.50        7/9/2020       $1.05          $0.61                 10/16/2020         $17.50       7/21/2020       $1.04          $0.62
         10/16/2020         $12.50       7/10/2020       $1.03          $0.63                 10/16/2020         $17.50       7/22/2020       $1.01          $0.65
         10/16/2020         $12.50       7/13/2020       $1.22          $0.46                 10/16/2020         $17.50       7/23/2020       $0.96          $0.68
         10/16/2020         $12.50       7/14/2020       $1.32          $0.33                 10/16/2020         $17.50       7/24/2020       $0.86          $0.77
         10/16/2020         $12.50       7/15/2020       $1.25          $0.43                 10/16/2020         $20.00       7/14/2020       $1.12          $0.54
         10/16/2020         $12.50       7/16/2020       $1.27          $0.39                 10/16/2020         $20.00       7/15/2020       $1.02          $0.65
         10/16/2020         $12.50       7/17/2020       $1.27          $0.40                 10/16/2020         $20.00       7/16/2020       $1.02          $0.64
         10/16/2020         $12.50       7/20/2020       $1.23          $0.43                 10/16/2020         $20.00       7/17/2020       $1.00          $0.65


Appendix D                                  Page 9                                   Appendix D                                  Page 10




        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                      Call Option    Put Option                                                            Call Option    Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                       Inflation      Deflation                                                             Inflation      Deflation
         10/16/2020         $20.00       7/20/2020       $0.98          $0.68                     1/15/2021      $2.50        7/22/2020       $1.63          $0.00
         10/16/2020         $20.00       7/21/2020       $0.95          $0.70                     1/15/2021      $2.50        7/23/2020       $1.63          $0.00
         10/16/2020         $20.00       7/22/2020       $0.92          $0.72                     1/15/2021      $2.50        7/24/2020       $1.62          $0.00
         10/16/2020         $20.00       7/23/2020       $0.89          $0.77                     1/15/2021      $5.00        7/1/2020        $2.80          $0.65
         10/16/2020         $20.00       7/24/2020       $0.77          $0.85                     1/15/2021      $5.00        7/2/2020        $2.19          $0.50
         10/16/2020         $22.50       7/14/2020       $1.05          $0.00                     1/15/2021      $5.00        7/6/2020        $1.36          $0.37
         10/16/2020         $22.50       7/15/2020       $0.93          $0.00                     1/15/2021      $5.00        7/7/2020        $1.45          $0.23
         10/16/2020         $22.50       7/16/2020       $0.96          $0.00                     1/15/2021      $5.00        7/8/2020        $1.44          $0.26
         10/16/2020         $22.50       7/17/2020       $0.93          $0.00                     1/15/2021      $5.00        7/9/2020        $1.45          $0.25
         10/16/2020         $22.50       7/20/2020       $0.89          $0.00                     1/15/2021      $5.00        7/10/2020       $1.43          $0.26
         10/16/2020         $22.50       7/21/2020       $0.88          $0.00                     1/15/2021      $5.00        7/13/2020       $1.53          $0.16
         10/16/2020         $22.50       7/22/2020       $0.83          $0.00                     1/15/2021      $5.00        7/14/2020       $1.58          $0.10
         10/16/2020         $22.50       7/23/2020       $0.81          $0.00                     1/15/2021      $5.00        7/15/2020       $1.55          $0.13
         10/16/2020         $22.50       7/24/2020       $0.70          $0.00                     1/15/2021      $5.00        7/16/2020       $1.56          $0.12
         10/16/2020         $25.00       7/14/2020       $0.99          $0.64                     1/15/2021      $5.00        7/17/2020       $1.56          $0.12
         10/16/2020         $25.00       7/15/2020       $0.89          $0.78                     1/15/2021      $5.00        7/20/2020       $1.56          $0.12
         10/16/2020         $25.00       7/16/2020       $0.90          $0.76                     1/15/2021      $5.00        7/21/2020       $1.56          $0.12
         10/16/2020         $25.00       7/17/2020       $0.87          $0.78                     1/15/2021      $5.00        7/22/2020       $1.55          $0.13
         10/16/2020         $25.00       7/20/2020       $0.82          $0.83                     1/15/2021      $5.00        7/23/2020       $1.54          $0.14
         10/16/2020         $25.00       7/21/2020       $0.82          $0.84                     1/15/2021      $5.00        7/24/2020       $1.51          $0.16
         10/16/2020         $25.00       7/22/2020       $0.77          $0.87                     1/15/2021      $7.50        7/1/2020        $2.44          $0.96
         10/16/2020         $25.00       7/23/2020       $0.74          $0.91                     1/15/2021      $7.50        7/2/2020        $1.96          $0.72
         10/16/2020         $25.00       7/24/2020       $0.64          $0.97                     1/15/2021      $7.50        7/6/2020        $1.23          $0.58
         10/16/2020         $30.00       7/15/2020       $0.78          $0.00                     1/15/2021      $7.50        7/7/2020        $1.35          $0.36
         10/16/2020         $30.00       7/16/2020       $0.79          $0.00                     1/15/2021      $7.50        7/8/2020        $1.32          $0.35
         10/16/2020         $30.00       7/17/2020       $0.75          $0.00                     1/15/2021      $7.50        7/9/2020        $1.31          $0.34
         10/16/2020         $30.00       7/20/2020       $0.72          $0.00                     1/15/2021      $7.50        7/10/2020       $1.33          $0.36
         10/16/2020         $30.00       7/21/2020       $0.70          $0.00                     1/15/2021      $7.50        7/13/2020       $1.45          $0.23
         10/16/2020         $30.00       7/22/2020       $0.66          $0.00                     1/15/2021      $7.50        7/14/2020       $1.50          $0.16
         10/16/2020         $30.00       7/23/2020       $0.64          $0.00                     1/15/2021      $7.50        7/15/2020       $1.47          $0.21
         10/16/2020         $30.00       7/24/2020       $0.55          $0.00                     1/15/2021      $7.50        7/16/2020       $1.48          $0.19
         1/15/2021          $2.50        7/7/2020        $1.58          $0.00                     1/15/2021      $7.50        7/17/2020       $1.48          $0.18
         1/15/2021          $2.50        7/8/2020        $1.56          $0.00                     1/15/2021      $7.50        7/20/2020       $1.48          $0.20
         1/15/2021          $2.50        7/9/2020        $1.57          $0.00                     1/15/2021      $7.50        7/21/2020       $1.48          $0.20
         1/15/2021          $2.50        7/10/2020       $1.56          $0.00                     1/15/2021      $7.50        7/22/2020       $1.46          $0.21
         1/15/2021          $2.50        7/13/2020       $1.61          $0.00                     1/15/2021      $7.50        7/23/2020       $1.45          $0.22
         1/15/2021          $2.50        7/14/2020       $1.67          $0.00                     1/15/2021      $7.50        7/24/2020       $1.42          $0.25
         1/15/2021          $2.50        7/15/2020       $1.63          $0.00                     1/15/2021      $10.00        7/1/2020       $2.08          $1.18
         1/15/2021          $2.50        7/16/2020       $1.63          $0.00                     1/15/2021      $10.00        7/2/2020       $1.83          $0.85
         1/15/2021          $2.50        7/17/2020       $1.64          $0.00                     1/15/2021      $10.00        7/6/2020       $1.15          $0.61
         1/15/2021          $2.50        7/20/2020       $1.63          $0.00                     1/15/2021      $10.00        7/7/2020       $1.27          $0.44
         1/15/2021          $2.50        7/21/2020       $1.64          $0.00                     1/15/2021      $10.00        7/8/2020       $1.23          $0.43


Appendix D                                  Page 11                                  Appendix D                                  Page 12
        Vaxart Options: Artificial Inflation and Deflation During the Class Period           Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                      Call Option    Put Option                                                            Call Option    Put Option
             Expiration   Strike Price     Date                                                   Expiration   Strike Price     Date
                                                       Inflation      Deflation                                                             Inflation      Deflation
             1/15/2021      $10.00       7/9/2020        $1.28          $0.40                     1/15/2021      $15.00       7/21/2020       $1.27          $0.39
             1/15/2021      $10.00       7/10/2020       $1.24          $0.43                     1/15/2021      $15.00       7/22/2020       $1.25          $0.41
             1/15/2021      $10.00       7/13/2020       $1.37          $0.29                     1/15/2021      $15.00       7/23/2020       $1.24          $0.42
             1/15/2021      $10.00       7/14/2020       $1.44          $0.22                     1/15/2021      $15.00       7/24/2020       $1.20          $0.46
             1/15/2021      $10.00       7/15/2020       $1.40          $0.28                     1/15/2021      $17.50       7/1/2020        $1.65          $1.62
             1/15/2021      $10.00       7/16/2020       $1.41          $0.26                     1/15/2021      $17.50       7/2/2020        $1.51          $1.25
             1/15/2021      $10.00       7/17/2020       $1.42          $0.25                     1/15/2021      $17.50       7/6/2020        $0.92          $0.89
             1/15/2021      $10.00       7/20/2020       $1.40          $0.26                     1/15/2021      $17.50       7/7/2020        $1.10          $0.55
             1/15/2021      $10.00       7/21/2020       $1.40          $0.26                     1/15/2021      $17.50       7/8/2020        $1.10          $0.57
             1/15/2021      $10.00       7/22/2020       $1.39          $0.28                     1/15/2021      $17.50       7/9/2020        $1.10          $0.58
             1/15/2021      $10.00       7/23/2020       $1.37          $0.30                     1/15/2021      $17.50       7/10/2020       $1.05          $0.58
             1/15/2021      $10.00       7/24/2020       $1.33          $0.34                     1/15/2021      $17.50       7/13/2020       $1.21          $0.44
             1/15/2021      $12.50       7/1/2020        $1.82          $1.28                     1/15/2021      $17.50       7/14/2020       $1.29          $0.37
             1/15/2021      $12.50       7/2/2020        $1.74          $1.09                     1/15/2021      $17.50       7/15/2020       $1.22          $0.44
             1/15/2021      $12.50       7/6/2020        $1.04          $0.72                     1/15/2021      $17.50       7/16/2020       $1.24          $0.43
             1/15/2021      $12.50       7/7/2020        $1.25          $0.55                     1/15/2021      $17.50       7/17/2020       $1.25          $0.43
             1/15/2021      $12.50       7/8/2020        $1.20          $0.51                     1/15/2021      $17.50       7/20/2020       $1.23          $0.46
             1/15/2021      $12.50       7/9/2020        $1.19          $0.48                     1/15/2021      $17.50       7/21/2020       $1.21          $0.44
             1/15/2021      $12.50       7/10/2020       $1.19          $0.49                     1/15/2021      $17.50       7/22/2020       $1.20          $0.46
             1/15/2021      $12.50       7/13/2020       $1.34          $0.35                     1/15/2021      $17.50       7/23/2020       $1.19          $0.49
             1/15/2021      $12.50       7/14/2020       $1.38          $0.27                     1/15/2021      $17.50       7/24/2020       $1.12          $0.52
             1/15/2021      $12.50       7/15/2020       $1.33          $0.36                     1/15/2021      $20.00       7/14/2020       $1.22          $0.41
             1/15/2021      $12.50       7/16/2020       $1.34          $0.32                     1/15/2021      $20.00       7/15/2020       $1.17          $0.49
             1/15/2021      $12.50       7/17/2020       $1.34          $0.32                     1/15/2021      $20.00       7/16/2020       $1.19          $0.48
             1/15/2021      $12.50       7/20/2020       $1.35          $0.32                     1/15/2021      $20.00       7/17/2020       $1.19          $0.48
             1/15/2021      $12.50       7/21/2020       $1.33          $0.33                     1/15/2021      $20.00       7/20/2020       $1.19          $0.48
             1/15/2021      $12.50       7/22/2020       $1.32          $0.35                     1/15/2021      $20.00       7/21/2020       $1.16          $0.49
             1/15/2021      $12.50       7/23/2020       $1.30          $0.36                     1/15/2021      $20.00       7/22/2020       $1.14          $0.51
             1/15/2021      $12.50       7/24/2020       $1.26          $0.39                     1/15/2021      $20.00       7/23/2020       $1.13          $0.53
             1/15/2021      $15.00       7/1/2020        $1.72          $1.48                     1/15/2021      $20.00       7/24/2020       $1.05          $0.58
             1/15/2021      $15.00       7/2/2020        $1.55          $1.27                     1/15/2021      $22.50       7/14/2020       $1.18          $0.00
             1/15/2021      $15.00       7/6/2020        $1.11          $0.77                     1/15/2021      $22.50       7/15/2020       $1.12          $0.00
             1/15/2021      $15.00       7/7/2020        $1.13          $0.57                     1/15/2021      $22.50       7/16/2020       $1.13          $0.00
             1/15/2021      $15.00       7/8/2020        $1.11          $0.53                     1/15/2021      $22.50       7/17/2020       $1.13          $0.00
             1/15/2021      $15.00       7/9/2020        $1.17          $0.53                     1/15/2021      $22.50       7/20/2020       $1.12          $0.00
             1/15/2021      $15.00       7/10/2020       $1.12          $0.54                     1/15/2021      $22.50       7/21/2020       $1.12          $0.00
             1/15/2021      $15.00       7/13/2020       $1.25          $0.40                     1/15/2021      $22.50       7/22/2020       $1.09          $0.00
             1/15/2021      $15.00       7/14/2020       $1.33          $0.32                     1/15/2021      $22.50       7/23/2020       $1.07          $0.00
             1/15/2021      $15.00       7/15/2020       $1.27          $0.39                     1/15/2021      $22.50       7/24/2020       $1.01          $0.00
             1/15/2021      $15.00       7/16/2020       $1.29          $0.37                     1/15/2021      $25.00       7/14/2020       $1.14          $0.48
             1/15/2021      $15.00       7/17/2020       $1.29          $0.38                     1/15/2021      $25.00       7/15/2020       $1.08          $0.57
             1/15/2021      $15.00       7/20/2020       $1.28          $0.38                     1/15/2021      $25.00       7/16/2020       $1.10          $0.57


Appendix D                                  Page 13                                  Appendix D                                  Page 14




        Vaxart Options: Artificial Inflation and Deflation During the Class Period

                                                      Call Option    Put Option
             Expiration   Strike Price     Date
                                                       Inflation      Deflation
             1/15/2021      $25.00       7/17/2020       $1.07          $0.57
             1/15/2021      $25.00       7/20/2020       $1.10          $0.57
             1/15/2021      $25.00       7/21/2020       $1.08          $0.57
             1/15/2021      $25.00       7/22/2020       $1.04          $0.59
             1/15/2021      $25.00       7/23/2020       $1.03          $0.62
             1/15/2021      $25.00       7/24/2020       $0.96          $0.66
             1/15/2021      $30.00       7/15/2020       $1.00          $0.66
             1/15/2021      $30.00       7/16/2020       $0.98          $0.65
             1/15/2021      $30.00       7/17/2020       $1.02          $0.65
             1/15/2021      $30.00       7/20/2020       $1.01          $0.65
             1/15/2021      $30.00       7/21/2020       $0.99          $0.64
             1/15/2021      $30.00       7/22/2020       $0.96          $0.66
             1/15/2021      $30.00       7/23/2020       $0.93          $0.69
             1/15/2021      $30.00       7/24/2020       $0.87          $0.73




Appendix D                                  Page 15
Appendix E




             159
                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             8/21/2020        $2.50      7/27/2020      $8.70         $0.03                  8/21/2020        $7.50      7/31/2020      $3.61         $0.80
             8/21/2020        $2.50      7/28/2020      $8.73         $0.03                  8/21/2020        $7.50       8/3/2020      $3.43         $0.80
             8/21/2020        $2.50      7/29/2020      $8.32         $0.03                  8/21/2020        $7.50       8/4/2020      $3.27         $0.81
             8/21/2020        $2.50      7/30/2020      $8.09         $0.03                  8/21/2020        $7.50       8/5/2020      $3.22         $0.79
             8/21/2020        $2.50      7/31/2020      $7.85         $0.03                  8/21/2020        $7.50       8/6/2020      $3.12         $0.78
             8/21/2020        $2.50       8/3/2020      $7.67         $0.03                  8/21/2020        $7.50       8/7/2020      $3.06         $0.76
             8/21/2020        $2.50       8/4/2020      $7.50         $0.03                  8/21/2020        $7.50      8/10/2020      $3.00         $0.73
             8/21/2020        $2.50       8/5/2020      $7.46         $0.03                  8/21/2020        $7.50      8/11/2020      $3.05         $0.70
             8/21/2020        $2.50       8/6/2020      $7.37         $0.03                  8/21/2020        $7.50      8/12/2020      $2.99         $0.69
             8/21/2020        $2.50       8/7/2020      $7.31         $0.03                  8/21/2020        $7.50      8/13/2020      $2.92         $0.67
             8/21/2020        $2.50      8/10/2020      $7.27         $0.03                  8/21/2020        $7.50      8/14/2020      $2.85         $0.64
             8/21/2020        $2.50      8/11/2020      $7.35         $0.03                  8/21/2020        $7.50      8/17/2020      $2.84         $0.61
             8/21/2020        $2.50      8/12/2020      $7.30         $0.03                  8/21/2020        $7.50      8/18/2020      $2.80         $0.58
             8/21/2020        $2.50      8/13/2020      $7.25         $0.03                  8/21/2020        $7.50      8/19/2020      $2.74         $0.54
             8/21/2020        $2.50      8/14/2020      $7.21         $0.03                  8/21/2020        $7.50      8/20/2020      $2.66         $0.52
             8/21/2020        $2.50      8/17/2020      $7.24         $0.03                  8/21/2020        $7.50      8/21/2020      $2.57         $0.49
             8/21/2020        $2.50      8/18/2020      $7.23         $0.03                  8/21/2020       $10.00      7/27/2020      $3.13         $1.90
             8/21/2020        $2.50      8/19/2020      $7.19         $0.03                  8/21/2020       $10.00      7/28/2020      $3.06         $1.81
             8/21/2020        $2.50      8/20/2020      $7.15         $0.03                  8/21/2020       $10.00      7/29/2020      $2.76         $1.93
             8/21/2020        $2.50      8/21/2020      $7.08         $0.03                  8/21/2020       $10.00      7/30/2020      $2.58         $1.98
             8/21/2020        $5.00      7/27/2020      $6.35         $0.18                  8/21/2020       $10.00      7/31/2020      $2.41         $2.03
             8/21/2020        $5.00      7/28/2020      $6.35         $0.16                  8/21/2020       $10.00       8/3/2020      $2.25         $2.05
             8/21/2020        $5.00      7/29/2020      $5.98         $0.18                  8/21/2020       $10.00       8/4/2020      $2.11         $2.09
             8/21/2020        $5.00      7/30/2020      $5.78         $0.18                  8/21/2020       $10.00       8/5/2020      $2.05         $2.08
             8/21/2020        $5.00      7/31/2020      $5.55         $0.18                  8/21/2020       $10.00       8/6/2020      $1.96         $2.08
             8/21/2020        $5.00       8/3/2020      $5.34         $0.18                  8/21/2020       $10.00       8/7/2020      $1.89         $2.07
             8/21/2020        $5.00       8/4/2020      $5.15         $0.18                  8/21/2020       $10.00      8/10/2020      $1.83         $2.03
             8/21/2020        $5.00       8/5/2020      $5.10         $0.16                  8/21/2020       $10.00      8/11/2020      $1.85         $1.98
             8/21/2020        $5.00       8/6/2020      $4.99         $0.15                  8/21/2020       $10.00      8/12/2020      $1.79         $1.97
             8/21/2020        $5.00       8/7/2020      $4.93         $0.15                  8/21/2020       $10.00      8/13/2020      $1.72         $1.96
             8/21/2020        $5.00      8/10/2020      $4.89         $0.13                  8/21/2020       $10.00      8/14/2020      $1.65         $1.93
             8/21/2020        $5.00      8/11/2020      $4.97         $0.13                  8/21/2020       $10.00      8/17/2020      $1.60         $1.85
             8/21/2020        $5.00      8/12/2020      $4.91         $0.12                  8/21/2020       $10.00      8/18/2020      $1.53         $1.80
             8/21/2020        $5.00      8/13/2020      $4.85         $0.12                  8/21/2020       $10.00      8/19/2020      $1.45         $1.75
             8/21/2020        $5.00      8/14/2020      $4.80         $0.11                  8/21/2020       $10.00      8/20/2020      $1.38         $1.73
             8/21/2020        $5.00      8/17/2020      $4.83         $0.10                  8/21/2020       $10.00      8/21/2020      $1.31         $1.73
             8/21/2020        $5.00      8/18/2020      $4.80         $0.10                  8/21/2020       $12.50      7/27/2020      $2.15         $3.45
             8/21/2020        $5.00      8/19/2020      $4.77         $0.10                  8/21/2020       $12.50      7/28/2020      $2.06         $3.35
             8/21/2020        $5.00      8/20/2020      $4.72         $0.09                  8/21/2020       $12.50      7/29/2020      $1.85         $3.53
             8/21/2020        $5.00      8/21/2020      $4.64         $0.09                  8/21/2020       $12.50      7/30/2020      $1.72         $3.60
             8/21/2020        $7.50      7/27/2020      $4.40         $0.80                  8/21/2020       $12.50      7/31/2020      $1.60         $3.71
             8/21/2020        $7.50      7/28/2020      $4.40         $0.74                  8/21/2020       $12.50       8/3/2020      $1.47         $3.78
             8/21/2020        $7.50      7/29/2020      $4.05         $0.78                  8/21/2020       $12.50       8/4/2020      $1.37         $3.85
             8/21/2020        $7.50      7/30/2020      $3.84         $0.79                  8/21/2020       $12.50       8/5/2020      $1.32         $3.83


Appendix E                               Page 1                                 Appendix E                               Page 2




                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             8/21/2020       $12.50       8/6/2020      $1.25         $3.86                  8/21/2020       $17.50      8/12/2020      $0.48         $8.21
             8/21/2020       $12.50       8/7/2020      $1.19         $3.87                  8/21/2020       $17.50      8/13/2020      $0.45         $8.24
             8/21/2020       $12.50      8/10/2020      $1.13         $3.85                  8/21/2020       $17.50      8/14/2020      $0.43         $8.25
             8/21/2020       $12.50      8/11/2020      $1.14         $3.77                  8/21/2020       $17.50      8/17/2020      $0.40         $8.19
             8/21/2020       $12.50      8/12/2020      $1.10         $3.78                  8/21/2020       $17.50      8/18/2020      $0.38         $8.18
             8/21/2020       $12.50      8/13/2020      $1.05         $3.78                  8/21/2020       $17.50      8/19/2020      $0.36         $8.19
             8/21/2020       $12.50      8/14/2020      $1.00         $3.78                  8/21/2020       $17.50      8/20/2020      $0.34         $8.22
             8/21/2020       $12.50      8/17/2020      $0.94         $3.70                  8/21/2020       $17.50      8/21/2020      $0.33         $8.27
             8/21/2020       $12.50      8/18/2020      $0.89         $3.67                  8/21/2020       $20.00      7/27/2020      $0.78         $9.65
             8/21/2020       $12.50      8/19/2020      $0.84         $3.65                  8/21/2020       $20.00      7/28/2020      $0.73         $9.60
             8/21/2020       $12.50      8/20/2020      $0.80         $3.66                  8/21/2020       $20.00      7/29/2020      $0.63         $9.88
             8/21/2020       $12.50      8/21/2020      $0.76         $3.68                  8/21/2020       $20.00      7/30/2020      $0.58        $10.04
             8/21/2020       $15.00      7/27/2020      $1.53         $5.35                  8/21/2020       $20.00      7/31/2020      $0.54        $10.21
             8/21/2020       $15.00      7/28/2020      $1.46         $5.28                  8/21/2020       $20.00       8/3/2020      $0.49        $10.34
             8/21/2020       $15.00      7/29/2020      $1.29         $5.50                  8/21/2020       $20.00       8/4/2020      $0.45        $10.49
             8/21/2020       $15.00      7/30/2020      $1.19         $5.60                  8/21/2020       $20.00       8/5/2020      $0.43        $10.51
             8/21/2020       $15.00      7/31/2020      $1.09         $5.74                  8/21/2020       $20.00       8/6/2020      $0.41        $10.57
             8/21/2020       $15.00       8/3/2020      $1.00         $5.83                  8/21/2020       $20.00       8/7/2020      $0.39        $10.61
             8/21/2020       $15.00       8/4/2020      $0.92         $5.93                  8/21/2020       $20.00      8/10/2020      $0.36        $10.61
             8/21/2020       $15.00       8/5/2020      $0.88         $5.93                  8/21/2020       $20.00      8/11/2020      $0.36        $10.54
             8/21/2020       $15.00       8/6/2020      $0.83         $5.97                  8/21/2020       $20.00      8/12/2020      $0.34        $10.57
             8/21/2020       $15.00       8/7/2020      $0.78         $5.98                  8/21/2020       $20.00      8/13/2020      $0.33        $10.60
             8/21/2020       $15.00      8/10/2020      $0.74         $5.97                  8/21/2020       $20.00      8/14/2020      $0.31        $10.62
             8/21/2020       $15.00      8/11/2020      $0.73         $5.89                  8/21/2020       $20.00      8/17/2020      $0.29        $10.57
             8/21/2020       $15.00      8/12/2020      $0.70         $5.91                  8/21/2020       $20.00      8/18/2020      $0.28        $10.56
             8/21/2020       $15.00      8/13/2020      $0.66         $5.94                  8/21/2020       $20.00      8/19/2020      $0.26        $10.58
             8/21/2020       $15.00      8/14/2020      $0.63         $5.94                  8/21/2020       $20.00      8/20/2020      $0.25        $10.61
             8/21/2020       $15.00      8/17/2020      $0.59         $5.88                  8/21/2020       $20.00      8/21/2020      $0.24        $10.67
             8/21/2020       $15.00      8/18/2020      $0.56         $5.86                  8/21/2020       $22.50      7/27/2020      $0.65        $11.95
             8/21/2020       $15.00      8/19/2020      $0.53         $5.86                  8/21/2020       $22.50      7/28/2020      $0.55        $11.90
             8/21/2020       $15.00      8/20/2020      $0.50         $5.88                  8/21/2020       $22.50      7/29/2020      $0.48        $12.22
             8/21/2020       $15.00      8/21/2020      $0.48         $5.92                  8/21/2020       $22.50      7/30/2020      $0.44        $12.39
             8/21/2020       $17.50      7/27/2020      $1.08         $7.45                  8/21/2020       $22.50      7/31/2020      $0.40        $12.58
             8/21/2020       $17.50      7/28/2020      $1.03         $7.40                  8/21/2020       $22.50       8/3/2020      $0.37        $12.73
             8/21/2020       $17.50      7/29/2020      $0.89         $7.65                  8/21/2020       $22.50       8/4/2020      $0.34        $12.89
             8/21/2020       $17.50      7/30/2020      $0.81         $7.78                  8/21/2020       $22.50       8/5/2020      $0.32        $12.91
             8/21/2020       $17.50      7/31/2020      $0.74         $7.92                  8/21/2020       $22.50       8/6/2020      $0.30        $12.98
             8/21/2020       $17.50       8/3/2020      $0.67         $8.04                  8/21/2020       $22.50       8/7/2020      $0.29        $13.02
             8/21/2020       $17.50       8/4/2020      $0.62         $8.16                  8/21/2020       $22.50      8/10/2020      $0.27        $13.03
             8/21/2020       $17.50       8/5/2020      $0.59         $8.17                  8/21/2020       $22.50      8/11/2020      $0.26        $12.94
             8/21/2020       $17.50       8/6/2020      $0.55         $8.23                  8/21/2020       $22.50      8/12/2020      $0.25        $12.98
             8/21/2020       $17.50       8/7/2020      $0.53         $8.26                  8/21/2020       $22.50      8/13/2020      $0.24        $13.01
             8/21/2020       $17.50      8/10/2020      $0.50         $8.26                  8/21/2020       $22.50      8/14/2020      $0.23        $13.03
             8/21/2020       $17.50      8/11/2020      $0.50         $8.18                  8/21/2020       $22.50      8/17/2020      $0.21        $12.99


Appendix E                               Page 3                                 Appendix E                               Page 4
                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             8/21/2020       $22.50      8/18/2020      $0.20        $12.99                  9/18/2020        $2.50      7/27/2020      $8.65         $0.08
             8/21/2020       $22.50      8/19/2020      $0.19        $13.01                  9/18/2020        $2.50      7/28/2020      $8.70         $0.08
             8/21/2020       $22.50      8/20/2020      $0.18        $13.04                  9/18/2020        $2.50      7/29/2020      $8.32         $0.07
             8/21/2020       $22.50      8/21/2020      $0.18        $13.10                  9/18/2020        $2.50      7/30/2020      $8.10         $0.07
             8/21/2020       $25.00      7/27/2020      $0.48        $14.35                  9/18/2020        $2.50      7/31/2020      $7.86         $0.07
             8/21/2020       $25.00      7/28/2020      $0.43        $14.33                  9/18/2020        $2.50       8/3/2020      $7.68         $0.07
             8/21/2020       $25.00      7/29/2020      $0.38        $14.63                  9/18/2020        $2.50       8/4/2020      $7.50         $0.07
             8/21/2020       $25.00      7/30/2020      $0.36        $14.81                  9/18/2020        $2.50       8/5/2020      $7.46         $0.07
             8/21/2020       $25.00      7/31/2020      $0.33        $15.01                  9/18/2020        $2.50       8/6/2020      $7.37         $0.07
             8/21/2020       $25.00       8/3/2020      $0.30        $15.17                  9/18/2020        $2.50       8/7/2020      $7.30         $0.07
             8/21/2020       $25.00       8/4/2020      $0.27        $15.32                  9/18/2020        $2.50      8/10/2020      $7.26         $0.07
             8/21/2020       $25.00       8/5/2020      $0.26        $15.34                  9/18/2020        $2.50      8/11/2020      $7.35         $0.07
             8/21/2020       $25.00       8/6/2020      $0.25        $15.42                  9/18/2020        $2.50      8/12/2020      $7.31         $0.07
             8/21/2020       $25.00       8/7/2020      $0.24        $15.47                  9/18/2020        $2.50      8/13/2020      $7.26         $0.07
             8/21/2020       $25.00      8/10/2020      $0.22        $15.48                  9/18/2020        $2.50      8/14/2020      $7.22         $0.07
             8/21/2020       $25.00      8/11/2020      $0.22        $15.40                  9/18/2020        $2.50      8/17/2020      $7.25         $0.07
             8/21/2020       $25.00      8/12/2020      $0.21        $15.43                  9/18/2020        $2.50      8/18/2020      $7.24         $0.06
             8/21/2020       $25.00      8/13/2020      $0.19        $15.47                  9/18/2020        $2.50      8/19/2020      $7.21         $0.06
             8/21/2020       $25.00      8/14/2020      $0.18        $15.50                  9/18/2020        $2.50      8/20/2020      $7.16         $0.06
             8/21/2020       $25.00      8/17/2020      $0.18        $15.46                  9/18/2020        $2.50      8/21/2020      $7.09         $0.06
             8/21/2020       $25.00      8/18/2020      $0.17        $15.46                  9/18/2020        $2.50      8/24/2020      $6.98         $0.06
             8/21/2020       $25.00      8/19/2020      $0.16        $15.48                  9/18/2020        $2.50      8/25/2020      $6.87         $0.06
             8/21/2020       $25.00      8/20/2020      $0.15        $15.52                  9/18/2020        $2.50      8/26/2020      $6.75         $0.06
             8/21/2020       $25.00      8/21/2020      $0.15        $15.58                  9/18/2020        $2.50      8/27/2020      $6.63         $0.06
             8/21/2020       $30.00      7/27/2020      $0.30        $19.10                  9/18/2020        $2.50      8/28/2020      $6.52         $0.06
             8/21/2020       $30.00      7/28/2020      $0.26        $19.08                  9/18/2020        $2.50      8/31/2020      $6.40         $0.06
             8/21/2020       $30.00      7/29/2020      $0.23        $19.45                  9/18/2020        $2.50       9/1/2020      $6.27         $0.05
             8/21/2020       $30.00      7/30/2020      $0.22        $19.65                  9/18/2020        $2.50       9/2/2020      $6.15         $0.05
             8/21/2020       $30.00      7/31/2020      $0.20        $19.87                  9/18/2020        $2.50       9/3/2020      $6.03         $0.05
             8/21/2020       $30.00       8/3/2020      $0.18        $20.04                  9/18/2020        $2.50       9/4/2020      $5.91         $0.06
             8/21/2020       $30.00       8/4/2020      $0.17        $20.21                  9/18/2020        $2.50       9/8/2020      $5.80         $0.05
             8/21/2020       $30.00       8/5/2020      $0.17        $20.24                  9/18/2020        $2.50       9/9/2020      $5.69         $0.05
             8/21/2020       $30.00       8/6/2020      $0.16        $20.32                  9/18/2020        $2.50      9/10/2020      $5.59         $0.05
             8/21/2020       $30.00       8/7/2020      $0.15        $20.37                  9/18/2020        $2.50      9/11/2020      $5.51         $0.05
             8/21/2020       $30.00      8/10/2020      $0.14        $20.40                  9/18/2020        $2.50      9/14/2020      $5.51         $0.05
             8/21/2020       $30.00      8/11/2020      $0.14        $20.30                  9/18/2020        $2.50      9/15/2020      $5.46         $0.05
             8/21/2020       $30.00      8/12/2020      $0.13        $20.34                  9/18/2020        $2.50      9/16/2020      $5.45         $0.05
             8/21/2020       $30.00      8/13/2020      $0.13        $20.39                  9/18/2020        $2.50      9/17/2020      $5.45         $0.05
             8/21/2020       $30.00      8/14/2020      $0.12        $20.42                  9/18/2020        $2.50      9/18/2020      $5.46         $0.05
             8/21/2020       $30.00      8/17/2020      $0.11        $20.38                  9/18/2020        $5.00      7/27/2020      $6.65         $0.53
             8/21/2020       $30.00      8/18/2020      $0.11        $20.39                  9/18/2020        $5.00      7/28/2020      $6.68         $0.51
             8/21/2020       $30.00      8/19/2020      $0.10        $20.41                  9/18/2020        $5.00      7/29/2020      $6.30         $0.55
             8/21/2020       $30.00      8/20/2020      $0.10        $20.45                  9/18/2020        $5.00      7/30/2020      $6.09         $0.56
             8/21/2020       $30.00      8/21/2020      $0.10        $20.52                  9/18/2020        $5.00      7/31/2020      $5.86         $0.56


Appendix E                               Page 5                                 Appendix E                               Page 6




                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             9/18/2020        $5.00       8/3/2020      $5.68         $0.55                  9/18/2020        $7.50      8/10/2020      $3.83         $1.59
             9/18/2020        $5.00       8/4/2020      $5.50         $0.56                  9/18/2020        $7.50      8/11/2020      $3.88         $1.57
             9/18/2020        $5.00       8/5/2020      $5.45         $0.55                  9/18/2020        $7.50      8/12/2020      $3.83         $1.57
             9/18/2020        $5.00       8/6/2020      $5.35         $0.55                  9/18/2020        $7.50      8/13/2020      $3.78         $1.57
             9/18/2020        $5.00       8/7/2020      $5.28         $0.54                  9/18/2020        $7.50      8/14/2020      $3.73         $1.56
             9/18/2020        $5.00      8/10/2020      $5.24         $0.53                  9/18/2020        $7.50      8/17/2020      $3.73         $1.53
             9/18/2020        $5.00      8/11/2020      $5.31         $0.52                  9/18/2020        $7.50      8/18/2020      $3.70         $1.50
             9/18/2020        $5.00      8/12/2020      $5.27         $0.52                  9/18/2020        $7.50      8/19/2020      $3.65         $1.48
             9/18/2020        $5.00      8/13/2020      $5.21         $0.51                  9/18/2020        $7.50      8/20/2020      $3.59         $1.46
             9/18/2020        $5.00      8/14/2020      $5.17         $0.50                  9/18/2020        $7.50      8/21/2020      $3.51         $1.45
             9/18/2020        $5.00      8/17/2020      $5.18         $0.49                  9/18/2020        $7.50      8/24/2020      $3.41         $1.45
             9/18/2020        $5.00      8/18/2020      $5.16         $0.48                  9/18/2020        $7.50      8/25/2020      $3.31         $1.46
             9/18/2020        $5.00      8/19/2020      $5.12         $0.46                  9/18/2020        $7.50      8/26/2020      $3.21         $1.48
             9/18/2020        $5.00      8/20/2020      $5.06         $0.45                  9/18/2020        $7.50      8/27/2020      $3.11         $1.50
             9/18/2020        $5.00      8/21/2020      $4.98         $0.45                  9/18/2020        $7.50      8/28/2020      $3.01         $1.52
             9/18/2020        $5.00      8/24/2020      $4.88         $0.44                  9/18/2020        $7.50      8/31/2020      $2.92         $1.54
             9/18/2020        $5.00      8/25/2020      $4.76         $0.44                  9/18/2020        $7.50       9/1/2020      $2.83         $1.58
             9/18/2020        $5.00      8/26/2020      $4.64         $0.44                  9/18/2020        $7.50       9/2/2020      $2.74         $1.61
             9/18/2020        $5.00      8/27/2020      $4.53         $0.44                  9/18/2020        $7.50       9/3/2020      $2.66         $1.64
             9/18/2020        $5.00      8/28/2020      $4.41         $0.44                  9/18/2020        $7.50       9/4/2020      $2.58         $1.68
             9/18/2020        $5.00      8/31/2020      $4.30         $0.45                  9/18/2020        $7.50       9/8/2020      $2.50         $1.72
             9/18/2020        $5.00       9/1/2020      $4.18         $0.46                  9/18/2020        $7.50       9/9/2020      $2.43         $1.75
             9/18/2020        $5.00       9/2/2020      $4.08         $0.47                  9/18/2020        $7.50      9/10/2020      $2.36         $1.79
             9/18/2020        $5.00       9/3/2020      $3.97         $0.47                  9/18/2020        $7.50      9/11/2020      $2.29         $1.80
             9/18/2020        $5.00       9/4/2020      $3.86         $0.48                  9/18/2020        $7.50      9/14/2020      $2.26         $1.78
             9/18/2020        $5.00       9/8/2020      $3.76         $0.50                  9/18/2020        $7.50      9/15/2020      $2.20         $1.76
             9/18/2020        $5.00       9/9/2020      $3.66         $0.50                  9/18/2020        $7.50      9/16/2020      $2.15         $1.73
             9/18/2020        $5.00      9/10/2020      $3.57         $0.51                  9/18/2020        $7.50      9/17/2020      $2.11         $1.69
             9/18/2020        $5.00      9/11/2020      $3.48         $0.51                  9/18/2020        $7.50      9/18/2020      $2.08         $1.65
             9/18/2020        $5.00      9/14/2020      $3.47         $0.50                  9/18/2020       $10.00      7/27/2020      $4.00         $2.88
             9/18/2020        $5.00      9/15/2020      $3.41         $0.48                  9/18/2020       $10.00      7/28/2020      $3.95         $2.79
             9/18/2020        $5.00      9/16/2020      $3.38         $0.47                  9/18/2020       $10.00      7/29/2020      $3.68         $2.88
             9/18/2020        $5.00      9/17/2020      $3.37         $0.46                  9/18/2020       $10.00      7/30/2020      $3.54         $2.96
             9/18/2020        $5.00      9/18/2020      $3.37         $0.45                  9/18/2020       $10.00      7/31/2020      $3.37         $3.01
             9/18/2020        $7.50      7/27/2020      $5.15         $1.43                  9/18/2020       $10.00       8/3/2020      $3.21         $3.04
             9/18/2020        $7.50      7/28/2020      $5.15         $1.43                  9/18/2020       $10.00       8/4/2020      $3.08         $3.09
             9/18/2020        $7.50      7/29/2020      $4.82         $1.50                  9/18/2020       $10.00       8/5/2020      $3.03         $3.09
             9/18/2020        $7.50      7/30/2020      $4.60         $1.53                  9/18/2020       $10.00       8/6/2020      $2.95         $3.10
             9/18/2020        $7.50      7/31/2020      $4.39         $1.57                  9/18/2020       $10.00       8/7/2020      $2.90         $3.11
             9/18/2020        $7.50       8/3/2020      $4.24         $1.57                  9/18/2020       $10.00      8/10/2020      $2.85         $3.10
             9/18/2020        $7.50       8/4/2020      $4.07         $1.61                  9/18/2020       $10.00      8/11/2020      $2.89         $3.05
             9/18/2020        $7.50       8/5/2020      $4.04         $1.61                  9/18/2020       $10.00      8/12/2020      $2.85         $3.06
             9/18/2020        $7.50       8/6/2020      $3.94         $1.61                  9/18/2020       $10.00      8/13/2020      $2.80         $3.06
             9/18/2020        $7.50       8/7/2020      $3.88         $1.61                  9/18/2020       $10.00      8/14/2020      $2.76         $3.06


Appendix E                               Page 7                                 Appendix E                               Page 8
                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             9/18/2020       $10.00      8/17/2020      $2.74         $3.01                  9/18/2020       $12.50      8/24/2020      $1.78         $4.85
             9/18/2020       $10.00      8/18/2020      $2.70         $2.98                  9/18/2020       $12.50      8/25/2020      $1.72         $4.89
             9/18/2020       $10.00      8/19/2020      $2.65         $2.96                  9/18/2020       $12.50      8/26/2020      $1.65         $4.94
             9/18/2020       $10.00      8/20/2020      $2.59         $2.94                  9/18/2020       $12.50      8/27/2020      $1.59         $5.00
             9/18/2020       $10.00      8/21/2020      $2.52         $2.94                  9/18/2020       $12.50      8/28/2020      $1.54         $5.06
             9/18/2020       $10.00      8/24/2020      $2.44         $2.96                  9/18/2020       $12.50      8/31/2020      $1.48         $5.12
             9/18/2020       $10.00      8/25/2020      $2.35         $2.99                  9/18/2020       $12.50       9/1/2020      $1.43         $5.20
             9/18/2020       $10.00      8/26/2020      $2.27         $3.03                  9/18/2020       $12.50       9/2/2020      $1.39         $5.27
             9/18/2020       $10.00      8/27/2020      $2.19         $3.07                  9/18/2020       $12.50       9/3/2020      $1.34         $5.34
             9/18/2020       $10.00      8/28/2020      $2.12         $3.11                  9/18/2020       $12.50       9/4/2020      $1.30         $5.41
             9/18/2020       $10.00      8/31/2020      $2.04         $3.16                  9/18/2020       $12.50       9/8/2020      $1.26         $5.49
             9/18/2020       $10.00       9/1/2020      $1.98         $3.22                  9/18/2020       $12.50       9/9/2020      $1.22         $5.55
             9/18/2020       $10.00       9/2/2020      $1.91         $3.28                  9/18/2020       $12.50      9/10/2020      $1.18         $5.62
             9/18/2020       $10.00       9/3/2020      $1.85         $3.33                  9/18/2020       $12.50      9/11/2020      $1.15         $5.67
             9/18/2020       $10.00       9/4/2020      $1.80         $3.39                  9/18/2020       $12.50      9/14/2020      $1.12         $5.65
             9/18/2020       $10.00       9/8/2020      $1.74         $3.45                  9/18/2020       $12.50      9/15/2020      $1.09         $5.66
             9/18/2020       $10.00       9/9/2020      $1.69         $3.50                  9/18/2020       $12.50      9/16/2020      $1.06         $5.64
             9/18/2020       $10.00      9/10/2020      $1.64         $3.55                  9/18/2020       $12.50      9/17/2020      $1.03         $5.62
             9/18/2020       $10.00      9/11/2020      $1.59         $3.59                  9/18/2020       $12.50      9/18/2020      $1.01         $5.58
             9/18/2020       $10.00      9/14/2020      $1.56         $3.56                  9/18/2020       $15.00      7/27/2020      $2.68         $6.40
             9/18/2020       $10.00      9/15/2020      $1.52         $3.56                  9/18/2020       $15.00      7/28/2020      $2.60         $6.48
             9/18/2020       $10.00      9/16/2020      $1.48         $3.54                  9/18/2020       $15.00      7/29/2020      $2.36         $6.62
             9/18/2020       $10.00      9/17/2020      $1.44         $3.50                  9/18/2020       $15.00      7/30/2020      $2.21         $6.71
             9/18/2020       $10.00      9/18/2020      $1.40         $3.46                  9/18/2020       $15.00      7/31/2020      $2.07         $6.82
             9/18/2020       $12.50      7/27/2020      $3.20         $4.55                  9/18/2020       $15.00       8/3/2020      $1.95         $6.88
             9/18/2020       $12.50      7/28/2020      $3.14         $4.50                  9/18/2020       $15.00       8/4/2020      $1.86         $6.95
             9/18/2020       $12.50      7/29/2020      $2.88         $4.63                  9/18/2020       $15.00       8/5/2020      $1.82         $6.95
             9/18/2020       $12.50      7/30/2020      $2.73         $4.70                  9/18/2020       $15.00       8/6/2020      $1.76         $6.98
             9/18/2020       $12.50      7/31/2020      $2.59         $4.79                  9/18/2020       $15.00       8/7/2020      $1.72         $6.99
             9/18/2020       $12.50       8/3/2020      $2.47         $4.85                  9/18/2020       $15.00      8/10/2020      $1.68         $6.97
             9/18/2020       $12.50       8/4/2020      $2.35         $4.91                  9/18/2020       $15.00      8/11/2020      $1.70         $6.92
             9/18/2020       $12.50       8/5/2020      $2.31         $4.92                  9/18/2020       $15.00      8/12/2020      $1.67         $6.94
             9/18/2020       $12.50       8/6/2020      $2.24         $4.94                  9/18/2020       $15.00      8/13/2020      $1.64         $6.95
             9/18/2020       $12.50       8/7/2020      $2.20         $4.94                  9/18/2020       $15.00      8/14/2020      $1.60         $6.96
             9/18/2020       $12.50      8/10/2020      $2.15         $4.93                  9/18/2020       $15.00      8/17/2020      $1.57         $6.90
             9/18/2020       $12.50      8/11/2020      $2.20         $4.88                  9/18/2020       $15.00      8/18/2020      $1.53         $6.88
             9/18/2020       $12.50      8/12/2020      $2.16         $4.90                  9/18/2020       $15.00      8/19/2020      $1.49         $6.86
             9/18/2020       $12.50      8/13/2020      $2.12         $4.91                  9/18/2020       $15.00      8/20/2020      $1.44         $6.86
             9/18/2020       $12.50      8/14/2020      $2.08         $4.91                  9/18/2020       $15.00      8/21/2020      $1.39         $6.87
             9/18/2020       $12.50      8/17/2020      $2.06         $4.86                  9/18/2020       $15.00      8/24/2020      $1.34         $6.92
             9/18/2020       $12.50      8/18/2020      $2.01         $4.83                  9/18/2020       $15.00      8/25/2020      $1.29         $6.98
             9/18/2020       $12.50      8/19/2020      $1.97         $4.81                  9/18/2020       $15.00      8/26/2020      $1.24         $7.04
             9/18/2020       $12.50      8/20/2020      $1.91         $4.80                  9/18/2020       $15.00      8/27/2020      $1.19         $7.12
             9/18/2020       $12.50      8/21/2020      $1.85         $4.81                  9/18/2020       $15.00      8/28/2020      $1.15         $7.19


Appendix E                               Page 9                                 Appendix E                               Page 10




                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date     Call Option   Put Option
             9/18/2020       $15.00      8/31/2020      $1.11         $7.26                  9/18/2020       $17.50       9/8/2020      $0.76         $9.99
             9/18/2020       $15.00       9/1/2020      $1.07         $7.36                  9/18/2020       $17.50       9/9/2020      $0.74        $10.07
             9/18/2020       $15.00       9/2/2020      $1.03         $7.43                  9/18/2020       $17.50      9/10/2020      $0.71        $10.15
             9/18/2020       $15.00       9/3/2020      $1.00         $7.52                  9/18/2020       $17.50      9/11/2020      $0.69        $10.21
             9/18/2020       $15.00       9/4/2020      $0.97         $7.60                  9/18/2020       $17.50      9/14/2020      $0.68        $10.20
             9/18/2020       $15.00       9/8/2020      $0.94         $7.68                  9/18/2020       $17.50      9/15/2020      $0.66        $10.22
             9/18/2020       $15.00       9/9/2020      $0.91         $7.76                  9/18/2020       $17.50      9/16/2020      $0.64        $10.22
             9/18/2020       $15.00      9/10/2020      $0.89         $7.83                  9/18/2020       $17.50      9/17/2020      $0.62        $10.21
             9/18/2020       $15.00      9/11/2020      $0.86         $7.89                  9/18/2020       $17.50      9/18/2020      $0.61        $10.18
             9/18/2020       $15.00      9/14/2020      $0.84         $7.87                  9/18/2020       $20.00      7/27/2020      $1.75        $10.65
             9/18/2020       $15.00      9/15/2020      $0.82         $7.89                  9/18/2020       $20.00      7/28/2020      $1.73        $10.63
             9/18/2020       $15.00      9/16/2020      $0.79         $7.88                  9/18/2020       $20.00      7/29/2020      $1.58        $10.87
             9/18/2020       $15.00      9/17/2020      $0.77         $7.86                  9/18/2020       $20.00      7/30/2020      $1.47        $10.99
             9/18/2020       $15.00      9/18/2020      $0.75         $7.84                  9/18/2020       $20.00      7/31/2020      $1.39        $11.12
             9/18/2020       $17.50      7/27/2020      $2.13         $8.55                  9/18/2020       $20.00       8/3/2020      $1.29        $11.23
             9/18/2020       $17.50      7/28/2020      $2.06         $8.48                  9/18/2020       $20.00       8/4/2020      $1.21        $11.33
             9/18/2020       $17.50      7/29/2020      $1.88         $8.70                  9/18/2020       $20.00       8/5/2020      $1.18        $11.33
             9/18/2020       $17.50      7/30/2020      $1.77         $8.81                  9/18/2020       $20.00       8/6/2020      $1.13        $11.38
             9/18/2020       $17.50      7/31/2020      $1.65         $8.93                  9/18/2020       $20.00       8/7/2020      $1.10        $11.40
             9/18/2020       $17.50       8/3/2020      $1.56         $9.02                  9/18/2020       $20.00      8/10/2020      $1.07        $11.40
             9/18/2020       $17.50       8/4/2020      $1.47         $9.11                  9/18/2020       $20.00      8/11/2020      $1.08        $11.33
             9/18/2020       $17.50       8/5/2020      $1.44         $9.09                  9/18/2020       $20.00      8/12/2020      $1.06        $11.36
             9/18/2020       $17.50       8/6/2020      $1.39         $9.13                  9/18/2020       $20.00      8/13/2020      $1.04        $11.38
             9/18/2020       $17.50       8/7/2020      $1.36         $9.16                  9/18/2020       $20.00      8/14/2020      $1.01        $11.39
             9/18/2020       $17.50      8/10/2020      $1.32         $9.15                  9/18/2020       $20.00      8/17/2020      $0.99        $11.33
             9/18/2020       $17.50      8/11/2020      $1.33         $9.09                  9/18/2020       $20.00      8/18/2020      $0.96        $11.32
             9/18/2020       $17.50      8/12/2020      $1.30         $9.12                  9/18/2020       $20.00      8/19/2020      $0.93        $11.31
             9/18/2020       $17.50      8/13/2020      $1.28         $9.13                  9/18/2020       $20.00      8/20/2020      $0.90        $11.32
             9/18/2020       $17.50      8/14/2020      $1.25         $9.14                  9/18/2020       $20.00      8/21/2020      $0.87        $11.35
             9/18/2020       $17.50      8/17/2020      $1.23         $9.09                  9/18/2020       $20.00      8/24/2020      $0.84        $11.42
             9/18/2020       $17.50      8/18/2020      $1.19         $9.07                  9/18/2020       $20.00      8/25/2020      $0.80        $11.50
             9/18/2020       $17.50      8/19/2020      $1.16         $9.06                  9/18/2020       $20.00      8/26/2020      $0.77        $11.58
             9/18/2020       $17.50      8/20/2020      $1.12         $9.06                  9/18/2020       $20.00      8/27/2020      $0.75        $11.67
             9/18/2020       $17.50      8/21/2020      $1.08         $9.09                  9/18/2020       $20.00      8/28/2020      $0.72        $11.75
             9/18/2020       $17.50      8/24/2020      $1.04         $9.15                  9/18/2020       $20.00      8/31/2020      $0.70        $11.84
             9/18/2020       $17.50      8/25/2020      $1.00         $9.21                  9/18/2020       $20.00       9/1/2020      $0.68        $11.95
             9/18/2020       $17.50      8/26/2020      $0.96         $9.29                  9/18/2020       $20.00       9/2/2020      $0.66        $12.04
             9/18/2020       $17.50      8/27/2020      $0.92         $9.37                  9/18/2020       $20.00       9/3/2020      $0.64        $12.13
             9/18/2020       $17.50      8/28/2020      $0.89         $9.45                  9/18/2020       $20.00       9/4/2020      $0.62        $12.23
             9/18/2020       $17.50      8/31/2020      $0.86         $9.53                  9/18/2020       $20.00       9/8/2020      $0.60        $12.33
             9/18/2020       $17.50       9/1/2020      $0.84         $9.64                  9/18/2020       $20.00       9/9/2020      $0.58        $12.41
             9/18/2020       $17.50       9/2/2020      $0.82         $9.72                  9/18/2020       $20.00      9/10/2020      $0.57        $12.50
             9/18/2020       $17.50       9/3/2020      $0.81         $9.81                  9/18/2020       $20.00      9/11/2020      $0.55        $12.56
             9/18/2020       $17.50       9/4/2020      $0.78         $9.90                  9/18/2020       $20.00      9/14/2020      $0.54        $12.56


Appendix E                               Page 11                                Appendix E                               Page 12
                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             9/18/2020       $20.00      9/15/2020      $0.52        $12.58                  9/18/2020       $25.00      7/28/2020       $1.23        $15.18
             9/18/2020       $20.00      9/16/2020      $0.51        $12.58                  9/18/2020       $25.00      7/29/2020       $1.12        $15.43
             9/18/2020       $20.00      9/17/2020      $0.50        $12.57                  9/18/2020       $25.00      7/30/2020       $1.06        $15.56
             9/18/2020       $20.00      9/18/2020      $0.49        $12.55                  9/18/2020       $25.00      7/31/2020       $0.97        $15.72
             9/18/2020       $22.50      7/27/2020      $1.45        $12.90                  9/18/2020       $25.00       8/3/2020       $0.92        $15.84
             9/18/2020       $22.50      7/28/2020      $1.46        $12.85                  9/18/2020       $25.00       8/4/2020       $0.85        $15.96
             9/18/2020       $22.50      7/29/2020      $1.33        $13.12                  9/18/2020       $25.00       8/5/2020       $0.82        $15.98
             9/18/2020       $22.50      7/30/2020      $1.21        $13.25                  9/18/2020       $25.00       8/6/2020       $0.78        $16.03
             9/18/2020       $22.50      7/31/2020      $1.13        $13.40                  9/18/2020       $25.00       8/7/2020       $0.74        $16.05
             9/18/2020       $22.50       8/3/2020      $1.06        $13.51                  9/18/2020       $25.00      8/10/2020       $0.71        $16.06
             9/18/2020       $22.50       8/4/2020      $0.99        $13.61                  9/18/2020       $25.00      8/11/2020       $0.73        $15.98
             9/18/2020       $22.50       8/5/2020      $0.96        $13.62                  9/18/2020       $25.00      8/12/2020       $0.71        $16.02
             9/18/2020       $22.50       8/6/2020      $0.91        $13.67                  9/18/2020       $25.00      8/13/2020       $0.70        $16.04
             9/18/2020       $22.50       8/7/2020      $0.88        $13.69                  9/18/2020       $25.00      8/14/2020       $0.68        $16.06
             9/18/2020       $22.50      8/10/2020      $0.86        $13.69                  9/18/2020       $25.00      8/17/2020       $0.66        $16.01
             9/18/2020       $22.50      8/11/2020      $0.87        $13.62                  9/18/2020       $25.00      8/18/2020       $0.64        $16.00
             9/18/2020       $22.50      8/12/2020      $0.85        $13.65                  9/18/2020       $25.00      8/19/2020       $0.61        $16.01
             9/18/2020       $22.50      8/13/2020      $0.84        $13.68                  9/18/2020       $25.00      8/20/2020       $0.59        $16.02
             9/18/2020       $22.50      8/14/2020      $0.82        $13.69                  9/18/2020       $25.00      8/21/2020       $0.57        $16.07
             9/18/2020       $22.50      8/17/2020      $0.80        $13.65                  9/18/2020       $25.00      8/24/2020       $0.54        $16.14
             9/18/2020       $22.50      8/18/2020      $0.77        $13.63                  9/18/2020       $25.00      8/25/2020       $0.52        $16.23
             9/18/2020       $22.50      8/19/2020      $0.74        $13.63                  9/18/2020       $25.00      8/26/2020       $0.50        $16.33
             9/18/2020       $22.50      8/20/2020      $0.71        $13.65                  9/18/2020       $25.00      8/27/2020       $0.48        $16.43
             9/18/2020       $22.50      8/21/2020      $0.69        $13.69                  9/18/2020       $25.00      8/28/2020       $0.47        $16.52
             9/18/2020       $22.50      8/24/2020      $0.66        $13.76                  9/18/2020       $25.00      8/31/2020       $0.45        $16.62
             9/18/2020       $22.50      8/25/2020      $0.64        $13.85                  9/18/2020       $25.00       9/1/2020       $0.44        $16.74
             9/18/2020       $22.50      8/26/2020      $0.61        $13.93                  9/18/2020       $25.00       9/2/2020       $0.44        $16.84
             9/18/2020       $22.50      8/27/2020      $0.59        $14.03                  9/18/2020       $25.00       9/3/2020       $0.42        $16.94
             9/18/2020       $22.50      8/28/2020      $0.57        $14.12                  9/18/2020       $25.00       9/4/2020       $0.41        $17.04
             9/18/2020       $22.50      8/31/2020      $0.55        $14.21                  9/18/2020       $25.00       9/8/2020       $0.40        $17.15
             9/18/2020       $22.50       9/1/2020      $0.54        $14.32                  9/18/2020       $25.00       9/9/2020       $0.39        $17.24
             9/18/2020       $22.50       9/2/2020      $0.52        $14.42                  9/18/2020       $25.00      9/10/2020       $0.38        $17.33
             9/18/2020       $22.50       9/3/2020      $0.51        $14.52                  9/18/2020       $25.00      9/11/2020       $0.37        $17.40
             9/18/2020       $22.50       9/4/2020      $0.49        $14.62                  9/18/2020       $25.00      9/14/2020       $0.36        $17.39
             9/18/2020       $22.50       9/8/2020      $0.48        $14.72                  9/18/2020       $25.00      9/15/2020       $0.35        $17.43
             9/18/2020       $22.50       9/9/2020      $0.46        $14.81                  9/18/2020       $25.00      9/16/2020       $0.34        $17.43
             9/18/2020       $22.50      9/10/2020      $0.45        $14.90                  9/18/2020       $25.00      9/17/2020       $0.34        $17.42
             9/18/2020       $22.50      9/11/2020      $0.44        $14.97                  9/18/2020       $25.00      9/18/2020       $0.33        $17.41
             9/18/2020       $22.50      9/14/2020      $0.42        $14.96                  9/18/2020       $30.00      7/27/2020       $0.95        $19.80
             9/18/2020       $22.50      9/15/2020      $0.41        $14.99                  9/18/2020       $30.00      7/28/2020       $0.91        $19.80
             9/18/2020       $22.50      9/16/2020      $0.40        $14.99                  9/18/2020       $30.00      7/29/2020       $0.81        $20.12
             9/18/2020       $22.50      9/17/2020      $0.40        $14.98                  9/18/2020       $30.00      7/30/2020       $0.76        $20.28
             9/18/2020       $22.50      9/18/2020      $0.39        $14.97                  9/18/2020       $30.00      7/31/2020       $0.70        $20.45
             9/18/2020       $25.00      7/27/2020      $1.25        $15.20                  9/18/2020       $30.00       8/3/2020       $0.65        $20.58


Appendix E                               Page 13                                Appendix E                               Page 14




                          Vaxart Options Average Closing Price                                            Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
              9/18/2020      $30.00       8/4/2020      $0.60        $20.71                  10/16/2020       $2.50       8/11/2020      $7.47         $0.19
              9/18/2020      $30.00       8/5/2020      $0.58        $20.73                  10/16/2020       $2.50       8/12/2020      $7.42         $0.19
              9/18/2020      $30.00       8/6/2020      $0.55        $20.79                  10/16/2020       $2.50       8/13/2020      $7.37         $0.19
              9/18/2020      $30.00       8/7/2020      $0.54        $20.82                  10/16/2020       $2.50       8/14/2020      $7.33         $0.18
              9/18/2020      $30.00      8/10/2020      $0.52        $20.83                  10/16/2020       $2.50       8/17/2020      $7.36         $0.18
              9/18/2020      $30.00      8/11/2020      $0.53        $20.74                  10/16/2020       $2.50       8/18/2020      $7.34         $0.18
              9/18/2020      $30.00      8/12/2020      $0.51        $20.78                  10/16/2020       $2.50       8/19/2020      $7.31         $0.17
              9/18/2020      $30.00      8/13/2020      $0.50        $20.81                  10/16/2020       $2.50       8/20/2020      $7.27         $0.17
              9/18/2020      $30.00      8/14/2020      $0.48        $20.83                  10/16/2020       $2.50       8/21/2020      $7.19         $0.16
              9/18/2020      $30.00      8/17/2020      $0.47        $20.79                  10/16/2020       $2.50       8/24/2020      $7.09         $0.16
              9/18/2020      $30.00      8/18/2020      $0.45        $20.79                  10/16/2020       $2.50       8/25/2020      $6.97         $0.16
              9/18/2020      $30.00      8/19/2020      $0.43        $20.79                  10/16/2020       $2.50       8/26/2020      $6.86         $0.16
              9/18/2020      $30.00      8/20/2020      $0.42        $20.82                  10/16/2020       $2.50       8/27/2020      $6.74         $0.16
              9/18/2020      $30.00      8/21/2020      $0.40        $20.87                  10/16/2020       $2.50       8/28/2020      $6.63         $0.16
              9/18/2020      $30.00      8/24/2020      $0.39        $20.95                  10/16/2020       $2.50       8/31/2020      $6.51         $0.16
              9/18/2020      $30.00      8/25/2020      $0.37        $21.05                  10/16/2020       $2.50        9/1/2020      $6.38         $0.16
              9/18/2020      $30.00      8/26/2020      $0.36        $21.15                  10/16/2020       $2.50        9/2/2020      $6.27         $0.17
              9/18/2020      $30.00      8/27/2020      $0.35        $21.25                  10/16/2020       $2.50        9/3/2020      $6.16         $0.17
              9/18/2020      $30.00      8/28/2020      $0.33        $21.35                  10/16/2020       $2.50        9/4/2020      $6.04         $0.17
              9/18/2020      $30.00      8/31/2020      $0.32        $21.46                  10/16/2020       $2.50        9/8/2020      $5.93         $0.17
              9/18/2020      $30.00       9/1/2020      $0.31        $21.58                  10/16/2020       $2.50        9/9/2020      $5.83         $0.17
              9/18/2020      $30.00       9/2/2020      $0.30        $21.69                  10/16/2020       $2.50       9/10/2020      $5.73         $0.17
              9/18/2020      $30.00       9/3/2020      $0.29        $21.79                  10/16/2020       $2.50       9/11/2020      $5.64         $0.17
              9/18/2020      $30.00       9/4/2020      $0.29        $21.90                  10/16/2020       $2.50       9/14/2020      $5.64         $0.17
              9/18/2020      $30.00       9/8/2020      $0.28        $22.01                  10/16/2020       $2.50       9/15/2020      $5.59         $0.17
              9/18/2020      $30.00       9/9/2020      $0.27        $22.10                  10/16/2020       $2.50       9/16/2020      $5.58         $0.16
              9/18/2020      $30.00      9/10/2020      $0.27        $22.20                  10/16/2020       $2.50       9/17/2020      $5.57         $0.16
              9/18/2020      $30.00      9/11/2020      $0.26        $22.28                  10/16/2020       $2.50       9/18/2020      $5.58         $0.16
              9/18/2020      $30.00      9/14/2020      $0.25        $22.27                  10/16/2020       $2.50       9/21/2020      $5.60         $0.15
              9/18/2020      $30.00      9/15/2020      $0.25        $22.31                  10/16/2020       $2.50       9/22/2020      $5.62         $0.15
              9/18/2020      $30.00      9/16/2020      $0.24        $22.32                  10/16/2020       $2.50       9/23/2020      $5.59         $0.15
              9/18/2020      $30.00      9/17/2020      $0.23        $22.31                  10/16/2020       $2.50       9/24/2020      $5.56         $0.15
              9/18/2020      $30.00      9/18/2020      $0.23        $22.30                  10/16/2020       $2.50       9/25/2020      $5.55         $0.14
             10/16/2020       $2.50      7/27/2020      $8.80         $0.23                  10/16/2020       $2.50       9/28/2020      $5.53         $0.14
             10/16/2020       $2.50      7/28/2020      $8.80         $0.19                  10/16/2020       $2.50       9/29/2020      $5.50         $0.14
             10/16/2020       $2.50      7/29/2020      $8.43         $0.18                  10/16/2020       $2.50       9/30/2020      $5.47         $0.14
             10/16/2020       $2.50      7/30/2020      $8.21         $0.19                  10/16/2020       $2.50       10/1/2020      $5.45         $0.13
             10/16/2020       $2.50      7/31/2020      $7.98         $0.19                  10/16/2020       $2.50       10/2/2020      $5.43         $0.13
             10/16/2020       $2.50       8/3/2020      $7.78         $0.19                  10/16/2020       $2.50       10/5/2020      $5.41         $0.13
             10/16/2020       $2.50       8/4/2020      $7.61         $0.19                  10/16/2020       $2.50       10/6/2020      $5.39         $0.13
             10/16/2020       $2.50       8/5/2020      $7.57         $0.19                  10/16/2020       $2.50       10/7/2020      $5.37         $0.12
             10/16/2020       $2.50       8/6/2020      $7.48         $0.19                  10/16/2020       $2.50       10/8/2020      $5.36         $0.12
             10/16/2020       $2.50       8/7/2020      $7.42         $0.19                  10/16/2020       $2.50       10/9/2020      $5.35         $0.12
             10/16/2020       $2.50      8/10/2020      $7.38         $0.19                  10/16/2020       $2.50      10/12/2020      $5.33         $0.12


Appendix E                               Page 15                                Appendix E                               Page 16
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             10/16/2020       $2.50      10/13/2020      $5.33         $0.12                  10/16/2020       $5.00       9/22/2020      $3.93         $0.97
             10/16/2020       $2.50      10/14/2020      $5.31         $0.12                  10/16/2020       $5.00       9/23/2020      $3.90         $0.96
             10/16/2020       $2.50      10/15/2020      $5.29         $0.11                  10/16/2020       $5.00       9/24/2020      $3.86         $0.95
             10/16/2020       $2.50      10/16/2020      $5.26         $0.11                  10/16/2020       $5.00       9/25/2020      $3.83         $0.93
             10/16/2020       $5.00       7/27/2020      $7.00         $0.88                  10/16/2020       $5.00       9/28/2020      $3.80         $0.92
             10/16/2020       $5.00       7/28/2020      $6.98         $0.86                  10/16/2020       $5.00       9/29/2020      $3.76         $0.91
             10/16/2020       $5.00       7/29/2020      $6.60         $0.88                  10/16/2020       $5.00       9/30/2020      $3.72         $0.89
             10/16/2020       $5.00       7/30/2020      $6.39         $0.89                  10/16/2020       $5.00       10/1/2020      $3.69         $0.88
             10/16/2020       $5.00       7/31/2020      $6.17         $0.91                  10/16/2020       $5.00       10/2/2020      $3.66         $0.87
             10/16/2020       $5.00        8/3/2020      $6.01         $0.93                  10/16/2020       $5.00       10/5/2020      $3.62         $0.85
             10/16/2020       $5.00        8/4/2020      $5.86         $0.94                  10/16/2020       $5.00       10/6/2020      $3.59         $0.83
             10/16/2020       $5.00        8/5/2020      $5.82         $0.93                  10/16/2020       $5.00       10/7/2020      $3.56         $0.82
             10/16/2020       $5.00        8/6/2020      $5.73         $0.94                  10/16/2020       $5.00       10/8/2020      $3.53         $0.81
             10/16/2020       $5.00        8/7/2020      $5.68         $0.94                  10/16/2020       $5.00       10/9/2020      $3.51         $0.79
             10/16/2020       $5.00       8/10/2020      $5.65         $0.94                  10/16/2020       $5.00      10/12/2020      $3.48         $0.78
             10/16/2020       $5.00       8/11/2020      $5.72         $0.93                  10/16/2020       $5.00      10/13/2020      $3.47         $0.76
             10/16/2020       $5.00       8/12/2020      $5.67         $0.93                  10/16/2020       $5.00      10/14/2020      $3.44         $0.75
             10/16/2020       $5.00       8/13/2020      $5.62         $0.93                  10/16/2020       $5.00      10/15/2020      $3.40         $0.74
             10/16/2020       $5.00       8/14/2020      $5.58         $0.94                  10/16/2020       $5.00      10/16/2020      $3.37         $0.73
             10/16/2020       $5.00       8/17/2020      $5.60         $0.92                  10/16/2020       $7.50       7/27/2020      $5.70         $2.18
             10/16/2020       $5.00       8/18/2020      $5.57         $0.91                  10/16/2020       $7.50       7/28/2020      $5.65         $2.08
             10/16/2020       $5.00       8/19/2020      $5.54         $0.91                  10/16/2020       $7.50       7/29/2020      $5.35         $2.15
             10/16/2020       $5.00       8/20/2020      $5.48         $0.90                  10/16/2020       $7.50       7/30/2020      $5.18         $2.18
             10/16/2020       $5.00       8/21/2020      $5.41         $0.90                  10/16/2020       $7.50       7/31/2020      $4.98         $2.19
             10/16/2020       $5.00       8/24/2020      $5.31         $0.90                  10/16/2020       $7.50        8/3/2020      $4.81         $2.21
             10/16/2020       $5.00       8/25/2020      $5.20         $0.90                  10/16/2020       $7.50        8/4/2020      $4.65         $2.24
             10/16/2020       $5.00       8/26/2020      $5.10         $0.91                  10/16/2020       $7.50        8/5/2020      $4.63         $2.23
             10/16/2020       $5.00       8/27/2020      $4.99         $0.92                  10/16/2020       $7.50        8/6/2020      $4.56         $2.25
             10/16/2020       $5.00       8/28/2020      $4.89         $0.93                  10/16/2020       $7.50        8/7/2020      $4.50         $2.25
             10/16/2020       $5.00       8/31/2020      $4.78         $0.95                  10/16/2020       $7.50       8/10/2020      $4.46         $2.25
             10/16/2020       $5.00        9/1/2020      $4.67         $0.97                  10/16/2020       $7.50       8/11/2020      $4.53         $2.23
             10/16/2020       $5.00        9/2/2020      $4.57         $0.98                  10/16/2020       $7.50       8/12/2020      $4.48         $2.23
             10/16/2020       $5.00        9/3/2020      $4.47         $1.00                  10/16/2020       $7.50       8/13/2020      $4.44         $2.23
             10/16/2020       $5.00        9/4/2020      $4.37         $1.01                  10/16/2020       $7.50       8/14/2020      $4.40         $2.23
             10/16/2020       $5.00        9/8/2020      $4.28         $1.03                  10/16/2020       $7.50       8/17/2020      $4.40         $2.21
             10/16/2020       $5.00        9/9/2020      $4.19         $1.04                  10/16/2020       $7.50       8/18/2020      $4.37         $2.19
             10/16/2020       $5.00       9/10/2020      $4.10         $1.05                  10/16/2020       $7.50       8/19/2020      $4.34         $2.18
             10/16/2020       $5.00       9/11/2020      $4.03         $1.06                  10/16/2020       $7.50       8/20/2020      $4.29         $2.17
             10/16/2020       $5.00       9/14/2020      $4.01         $1.05                  10/16/2020       $7.50       8/21/2020      $4.22         $2.17
             10/16/2020       $5.00       9/15/2020      $3.96         $1.04                  10/16/2020       $7.50       8/24/2020      $4.13         $2.18
             10/16/2020       $5.00       9/16/2020      $3.93         $1.03                  10/16/2020       $7.50       8/25/2020      $4.04         $2.20
             10/16/2020       $5.00       9/17/2020      $3.92         $1.02                  10/16/2020       $7.50       8/26/2020      $3.94         $2.22
             10/16/2020       $5.00       9/18/2020      $3.91         $1.00                  10/16/2020       $7.50       8/27/2020      $3.85         $2.24
             10/16/2020       $5.00       9/21/2020      $3.92         $0.99                  10/16/2020       $7.50       8/28/2020      $3.76         $2.27


Appendix E                               Page 17                                 Appendix E                               Page 18




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             10/16/2020       $7.50       8/31/2020      $3.67         $2.29                  10/16/2020      $10.00      8/10/2020       $3.58         $3.89
             10/16/2020       $7.50        9/1/2020      $3.57         $2.33                  10/16/2020      $10.00      8/11/2020       $3.65         $3.86
             10/16/2020       $7.50        9/2/2020      $3.49         $2.36                  10/16/2020      $10.00      8/12/2020       $3.62         $3.88
             10/16/2020       $7.50        9/3/2020      $3.40         $2.39                  10/16/2020      $10.00      8/13/2020       $3.58         $3.88
             10/16/2020       $7.50        9/4/2020      $3.32         $2.43                  10/16/2020      $10.00      8/14/2020       $3.54         $3.88
             10/16/2020       $7.50        9/8/2020      $3.24         $2.46                  10/16/2020      $10.00      8/17/2020       $3.55         $3.85
             10/16/2020       $7.50        9/9/2020      $3.16         $2.49                  10/16/2020      $10.00      8/18/2020       $3.52         $3.83
             10/16/2020       $7.50       9/10/2020      $3.09         $2.52                  10/16/2020      $10.00      8/19/2020       $3.48         $3.82
             10/16/2020       $7.50       9/11/2020      $3.03         $2.54                  10/16/2020      $10.00      8/20/2020       $3.43         $3.81
             10/16/2020       $7.50       9/14/2020      $3.01         $2.52                  10/16/2020      $10.00      8/21/2020       $3.37         $3.82
             10/16/2020       $7.50       9/15/2020      $2.96         $2.52                  10/16/2020      $10.00      8/24/2020       $3.29         $3.84
             10/16/2020       $7.50       9/16/2020      $2.93         $2.50                  10/16/2020      $10.00      8/25/2020       $3.20         $3.87
             10/16/2020       $7.50       9/17/2020      $2.91         $2.48                  10/16/2020      $10.00      8/26/2020       $3.12         $3.90
             10/16/2020       $7.50       9/18/2020      $2.89         $2.46                  10/16/2020      $10.00      8/27/2020       $3.04         $3.94
             10/16/2020       $7.50       9/21/2020      $2.89         $2.43                  10/16/2020      $10.00      8/28/2020       $2.96         $3.97
             10/16/2020       $7.50       9/22/2020      $2.88         $2.40                  10/16/2020      $10.00      8/31/2020       $2.88         $4.01
             10/16/2020       $7.50       9/23/2020      $2.84         $2.39                  10/16/2020      $10.00       9/1/2020       $2.81         $4.07
             10/16/2020       $7.50       9/24/2020      $2.80         $2.38                  10/16/2020      $10.00       9/2/2020       $2.73         $4.11
             10/16/2020       $7.50       9/25/2020      $2.77         $2.35                  10/16/2020      $10.00       9/3/2020       $2.66         $4.15
             10/16/2020       $7.50       9/28/2020      $2.73         $2.34                  10/16/2020      $10.00       9/4/2020       $2.59         $4.20
             10/16/2020       $7.50       9/29/2020      $2.69         $2.32                  10/16/2020      $10.00       9/8/2020       $2.52         $4.25
             10/16/2020       $7.50       9/30/2020      $2.65         $2.30                  10/16/2020      $10.00       9/9/2020       $2.46         $4.29
             10/16/2020       $7.50       10/1/2020      $2.61         $2.28                  10/16/2020      $10.00      9/10/2020       $2.40         $4.33
             10/16/2020       $7.50       10/2/2020      $2.57         $2.26                  10/16/2020      $10.00      9/11/2020       $2.34         $4.36
             10/16/2020       $7.50       10/5/2020      $2.52         $2.24                  10/16/2020      $10.00      9/14/2020       $2.32         $4.34
             10/16/2020       $7.50       10/6/2020      $2.48         $2.22                  10/16/2020      $10.00      9/15/2020       $2.27         $4.34
             10/16/2020       $7.50       10/7/2020      $2.44         $2.19                  10/16/2020      $10.00      9/16/2020       $2.24         $4.33
             10/16/2020       $7.50       10/8/2020      $2.40         $2.17                  10/16/2020      $10.00      9/17/2020       $2.22         $4.31
             10/16/2020       $7.50       10/9/2020      $2.37         $2.14                  10/16/2020      $10.00      9/18/2020       $2.20         $4.28
             10/16/2020       $7.50      10/12/2020      $2.33         $2.11                  10/16/2020      $10.00      9/21/2020       $2.19         $4.24
             10/16/2020       $7.50      10/13/2020      $2.29         $2.08                  10/16/2020      $10.00      9/22/2020       $2.17         $4.21
             10/16/2020       $7.50      10/14/2020      $2.26         $2.06                  10/16/2020      $10.00      9/23/2020       $2.14         $4.19
             10/16/2020       $7.50      10/15/2020      $2.22         $2.04                  10/16/2020      $10.00      9/24/2020       $2.10         $4.18
             10/16/2020       $7.50      10/16/2020      $2.18         $2.03                  10/16/2020      $10.00      9/25/2020       $2.07         $4.16
             10/16/2020      $10.00      7/27/2020       $4.70         $3.65                  10/16/2020      $10.00      9/28/2020       $2.03         $4.15
             10/16/2020      $10.00      7/28/2020       $4.68         $3.63                  10/16/2020      $10.00      9/29/2020       $2.00         $4.14
             10/16/2020      $10.00      7/29/2020       $4.38         $3.70                  10/16/2020      $10.00      9/30/2020       $1.96         $4.12
             10/16/2020      $10.00      7/30/2020       $4.20         $3.75                  10/16/2020      $10.00      10/1/2020       $1.92         $4.11
             10/16/2020      $10.00      7/31/2020       $4.01         $3.79                  10/16/2020      $10.00      10/2/2020       $1.89         $4.09
             10/16/2020      $10.00       8/3/2020       $3.88         $3.83                  10/16/2020      $10.00      10/5/2020       $1.85         $4.07
             10/16/2020      $10.00       8/4/2020       $3.77         $3.86                  10/16/2020      $10.00      10/6/2020       $1.82         $4.06
             10/16/2020      $10.00       8/5/2020       $3.73         $3.86                  10/16/2020      $10.00      10/7/2020       $1.78         $4.04
             10/16/2020      $10.00       8/6/2020       $3.67         $3.88                  10/16/2020      $10.00      10/8/2020       $1.75         $4.02
             10/16/2020      $10.00       8/7/2020       $3.62         $3.89                  10/16/2020      $10.00      10/9/2020       $1.72         $3.99


Appendix E                               Page 19                                 Appendix E                               Page 20
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             10/16/2020      $10.00      10/12/2020      $1.69         $3.98                  10/16/2020      $12.50       9/21/2020      $1.71         $6.29
             10/16/2020      $10.00      10/13/2020      $1.66         $3.95                  10/16/2020      $12.50       9/22/2020      $1.69         $6.25
             10/16/2020      $10.00      10/14/2020      $1.63         $3.93                  10/16/2020      $12.50       9/23/2020      $1.66         $6.24
             10/16/2020      $10.00      10/15/2020      $1.60         $3.93                  10/16/2020      $12.50       9/24/2020      $1.63         $6.23
             10/16/2020      $10.00      10/16/2020      $1.58         $3.93                  10/16/2020      $12.50       9/25/2020      $1.60         $6.21
             10/16/2020      $12.50       7/27/2020      $4.00         $5.40                  10/16/2020      $12.50       9/28/2020      $1.57         $6.20
             10/16/2020      $12.50       7/28/2020      $4.03         $5.38                  10/16/2020      $12.50       9/29/2020      $1.54         $6.20
             10/16/2020      $12.50       7/29/2020      $3.75         $5.52                  10/16/2020      $12.50       9/30/2020      $1.51         $6.19
             10/16/2020      $12.50       7/30/2020      $3.60         $5.59                  10/16/2020      $12.50       10/1/2020      $1.48         $6.18
             10/16/2020      $12.50       7/31/2020      $3.44         $5.66                  10/16/2020      $12.50       10/2/2020      $1.45         $6.17
             10/16/2020      $12.50        8/3/2020      $3.30         $5.71                  10/16/2020      $12.50       10/5/2020      $1.42         $6.16
             10/16/2020      $12.50        8/4/2020      $3.17         $5.76                  10/16/2020      $12.50       10/6/2020      $1.40         $6.15
             10/16/2020      $12.50        8/5/2020      $3.13         $5.76                  10/16/2020      $12.50       10/7/2020      $1.37         $6.14
             10/16/2020      $12.50        8/6/2020      $3.05         $5.78                  10/16/2020      $12.50       10/8/2020      $1.34         $6.12
             10/16/2020      $12.50        8/7/2020      $2.99         $5.80                  10/16/2020      $12.50       10/9/2020      $1.32         $6.11
             10/16/2020      $12.50       8/10/2020      $2.95         $5.80                  10/16/2020      $12.50      10/12/2020      $1.30         $6.10
             10/16/2020      $12.50       8/11/2020      $3.00         $5.76                  10/16/2020      $12.50      10/13/2020      $1.27         $6.08
             10/16/2020      $12.50       8/12/2020      $2.97         $5.77                  10/16/2020      $12.50      10/14/2020      $1.25         $6.07
             10/16/2020      $12.50       8/13/2020      $2.94         $5.77                  10/16/2020      $12.50      10/15/2020      $1.23         $6.07
             10/16/2020      $12.50       8/14/2020      $2.90         $5.77                  10/16/2020      $12.50      10/16/2020      $1.21         $6.08
             10/16/2020      $12.50       8/17/2020      $2.89         $5.73                  10/16/2020      $15.00       7/27/2020      $3.40         $7.40
             10/16/2020      $12.50       8/18/2020      $2.86         $5.72                  10/16/2020      $15.00       7/28/2020      $3.35         $7.38
             10/16/2020      $12.50       8/19/2020      $2.83         $5.71                  10/16/2020      $15.00       7/29/2020      $3.14         $7.52
             10/16/2020      $12.50       8/20/2020      $2.78         $5.71                  10/16/2020      $15.00       7/30/2020      $2.98         $7.59
             10/16/2020      $12.50       8/21/2020      $2.72         $5.72                  10/16/2020      $15.00       7/31/2020      $2.84         $7.68
             10/16/2020      $12.50       8/24/2020      $2.65         $5.75                  10/16/2020      $15.00        8/3/2020      $2.74         $7.73
             10/16/2020      $12.50       8/25/2020      $2.58         $5.78                  10/16/2020      $15.00        8/4/2020      $2.64         $7.79
             10/16/2020      $12.50       8/26/2020      $2.50         $5.82                  10/16/2020      $15.00        8/5/2020      $2.61         $7.78
             10/16/2020      $12.50       8/27/2020      $2.43         $5.87                  10/16/2020      $15.00        8/6/2020      $2.54         $7.81
             10/16/2020      $12.50       8/28/2020      $2.37         $5.92                  10/16/2020      $15.00        8/7/2020      $2.51         $7.82
             10/16/2020      $12.50       8/31/2020      $2.30         $5.97                  10/16/2020      $15.00       8/10/2020      $2.48         $7.82
             10/16/2020      $12.50        9/1/2020      $2.23         $6.04                  10/16/2020      $15.00       8/11/2020      $2.53         $7.78
             10/16/2020      $12.50        9/2/2020      $2.17         $6.09                  10/16/2020      $15.00       8/12/2020      $2.50         $7.79
             10/16/2020      $12.50        9/3/2020      $2.12         $6.15                  10/16/2020      $15.00       8/13/2020      $2.46         $7.80
             10/16/2020      $12.50        9/4/2020      $2.06         $6.21                  10/16/2020      $15.00       8/14/2020      $2.43         $7.81
             10/16/2020      $12.50        9/8/2020      $2.00         $6.27                  10/16/2020      $15.00       8/17/2020      $2.41         $7.76
             10/16/2020      $12.50        9/9/2020      $1.95         $6.32                  10/16/2020      $15.00       8/18/2020      $2.38         $7.74
             10/16/2020      $12.50       9/10/2020      $1.90         $6.37                  10/16/2020      $15.00       8/19/2020      $2.35         $7.73
             10/16/2020      $12.50       9/11/2020      $1.86         $6.40                  10/16/2020      $15.00       8/20/2020      $2.31         $7.74
             10/16/2020      $12.50       9/14/2020      $1.83         $6.38                  10/16/2020      $15.00       8/21/2020      $2.25         $7.76
             10/16/2020      $12.50       9/15/2020      $1.79         $6.39                  10/16/2020      $15.00       8/24/2020      $2.19         $7.80
             10/16/2020      $12.50       9/16/2020      $1.77         $6.37                  10/16/2020      $15.00       8/25/2020      $2.13         $7.85
             10/16/2020      $12.50       9/17/2020      $1.74         $6.35                  10/16/2020      $15.00       8/26/2020      $2.06         $7.89
             10/16/2020      $12.50       9/18/2020      $1.72         $6.33                  10/16/2020      $15.00       8/27/2020      $2.00         $7.95


Appendix E                               Page 21                                 Appendix E                               Page 22




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             10/16/2020      $15.00       8/28/2020      $1.94         $8.01                  10/16/2020      $17.50       8/7/2020       $2.11         $9.94
             10/16/2020      $15.00       8/31/2020      $1.89         $8.06                  10/16/2020      $17.50      8/10/2020       $2.08         $9.95
             10/16/2020      $15.00        9/1/2020      $1.83         $8.14                  10/16/2020      $17.50      8/11/2020       $2.12         $9.90
             10/16/2020      $15.00        9/2/2020      $1.78         $8.20                  10/16/2020      $17.50      8/12/2020       $2.09         $9.91
             10/16/2020      $15.00        9/3/2020      $1.74         $8.27                  10/16/2020      $17.50      8/13/2020       $2.06         $9.93
             10/16/2020      $15.00        9/4/2020      $1.69         $8.33                  10/16/2020      $17.50      8/14/2020       $2.04         $9.93
             10/16/2020      $15.00        9/8/2020      $1.64         $8.40                  10/16/2020      $17.50      8/17/2020       $2.03         $9.89
             10/16/2020      $15.00        9/9/2020      $1.60         $8.46                  10/16/2020      $17.50      8/18/2020       $2.00         $9.87
             10/16/2020      $15.00       9/10/2020      $1.56         $8.52                  10/16/2020      $17.50      8/19/2020       $1.97         $9.87
             10/16/2020      $15.00       9/11/2020      $1.52         $8.56                  10/16/2020      $17.50      8/20/2020       $1.94         $9.87
             10/16/2020      $15.00       9/14/2020      $1.50         $8.54                  10/16/2020      $17.50      8/21/2020       $1.89         $9.90
             10/16/2020      $15.00       9/15/2020      $1.47         $8.55                  10/16/2020      $17.50      8/24/2020       $1.83         $9.94
             10/16/2020      $15.00       9/16/2020      $1.44         $8.54                  10/16/2020      $17.50      8/25/2020       $1.78         $9.99
             10/16/2020      $15.00       9/17/2020      $1.42         $8.52                  10/16/2020      $17.50      8/26/2020       $1.73        $10.05
             10/16/2020      $15.00       9/18/2020      $1.40         $8.49                  10/16/2020      $17.50      8/27/2020       $1.67        $10.11
             10/16/2020      $15.00       9/21/2020      $1.38         $8.45                  10/16/2020      $17.50      8/28/2020       $1.62        $10.18
             10/16/2020      $15.00       9/22/2020      $1.36         $8.41                  10/16/2020      $17.50      8/31/2020       $1.58        $10.24
             10/16/2020      $15.00       9/23/2020      $1.34         $8.41                  10/16/2020      $17.50       9/1/2020       $1.53        $10.33
             10/16/2020      $15.00       9/24/2020      $1.31         $8.41                  10/16/2020      $17.50       9/2/2020       $1.49        $10.39
             10/16/2020      $15.00       9/25/2020      $1.29         $8.39                  10/16/2020      $17.50       9/3/2020       $1.44        $10.47
             10/16/2020      $15.00       9/28/2020      $1.26         $8.39                  10/16/2020      $17.50       9/4/2020       $1.40        $10.54
             10/16/2020      $15.00       9/29/2020      $1.23         $8.39                  10/16/2020      $17.50       9/8/2020       $1.37        $10.62
             10/16/2020      $15.00       9/30/2020      $1.21         $8.39                  10/16/2020      $17.50       9/9/2020       $1.33        $10.69
             10/16/2020      $15.00       10/1/2020      $1.19         $8.38                  10/16/2020      $17.50      9/10/2020       $1.29        $10.75
             10/16/2020      $15.00       10/2/2020      $1.16         $8.38                  10/16/2020      $17.50      9/11/2020       $1.26        $10.80
             10/16/2020      $15.00       10/5/2020      $1.14         $8.37                  10/16/2020      $17.50      9/14/2020       $1.24        $10.79
             10/16/2020      $15.00       10/6/2020      $1.12         $8.37                  10/16/2020      $17.50      9/15/2020       $1.22        $10.80
             10/16/2020      $15.00       10/7/2020      $1.10         $8.37                  10/16/2020      $17.50      9/16/2020       $1.19        $10.79
             10/16/2020      $15.00       10/8/2020      $1.08         $8.35                  10/16/2020      $17.50      9/17/2020       $1.17        $10.77
             10/16/2020      $15.00       10/9/2020      $1.06         $8.34                  10/16/2020      $17.50      9/18/2020       $1.15        $10.75
             10/16/2020      $15.00      10/12/2020      $1.04         $8.34                  10/16/2020      $17.50      9/21/2020       $1.14        $10.71
             10/16/2020      $15.00      10/13/2020      $1.02         $8.32                  10/16/2020      $17.50      9/22/2020       $1.12        $10.67
             10/16/2020      $15.00      10/14/2020      $1.00         $8.32                  10/16/2020      $17.50      9/23/2020       $1.09        $10.67
             10/16/2020      $15.00      10/15/2020      $0.99         $8.32                  10/16/2020      $17.50      9/24/2020       $1.07        $10.67
             10/16/2020      $15.00      10/16/2020      $0.97         $8.33                  10/16/2020      $17.50      9/25/2020       $1.05        $10.66
             10/16/2020      $17.50       7/27/2020      $2.95         $9.35                  10/16/2020      $17.50      9/28/2020       $1.03        $10.66
             10/16/2020      $17.50       7/28/2020      $2.88         $9.35                  10/16/2020      $17.50      9/29/2020       $1.01        $10.66
             10/16/2020      $17.50       7/29/2020      $2.66         $9.55                  10/16/2020      $17.50      9/30/2020       $0.99        $10.66
             10/16/2020      $17.50       7/30/2020      $2.54         $9.63                  10/16/2020      $17.50      10/1/2020       $0.97        $10.66
             10/16/2020      $17.50       7/31/2020      $2.41         $9.74                  10/16/2020      $17.50      10/2/2020       $0.95        $10.66
             10/16/2020      $17.50        8/3/2020      $2.32         $9.81                  10/16/2020      $17.50      10/5/2020       $0.93        $10.66
             10/16/2020      $17.50        8/4/2020      $2.24         $9.88                  10/16/2020      $17.50      10/6/2020       $0.91        $10.66
             10/16/2020      $17.50        8/5/2020      $2.19         $9.89                  10/16/2020      $17.50      10/7/2020       $0.90        $10.66
             10/16/2020      $17.50        8/6/2020      $2.14         $9.93                  10/16/2020      $17.50      10/8/2020       $0.88        $10.65


Appendix E                               Page 23                                 Appendix E                               Page 24
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             10/16/2020      $17.50       10/9/2020      $0.86        $10.64                  10/16/2020      $20.00       9/18/2020      $0.97        $13.07
             10/16/2020      $17.50      10/12/2020      $0.85        $10.64                  10/16/2020      $20.00       9/21/2020      $0.96        $13.03
             10/16/2020      $17.50      10/13/2020      $0.83        $10.63                  10/16/2020      $20.00       9/22/2020      $0.94        $13.00
             10/16/2020      $17.50      10/14/2020      $0.82        $10.63                  10/16/2020      $20.00       9/23/2020      $0.92        $12.99
             10/16/2020      $17.50      10/15/2020      $0.81        $10.64                  10/16/2020      $20.00       9/24/2020      $0.90        $13.00
             10/16/2020      $17.50      10/16/2020      $0.79        $10.65                  10/16/2020      $20.00       9/25/2020      $0.88        $12.99
             10/16/2020      $20.00       7/27/2020      $2.63        $11.50                  10/16/2020      $20.00       9/28/2020      $0.87        $13.00
             10/16/2020      $20.00       7/28/2020      $2.56        $11.50                  10/16/2020      $20.00       9/29/2020      $0.85        $13.00
             10/16/2020      $20.00       7/29/2020      $2.39        $11.70                  10/16/2020      $20.00       9/30/2020      $0.83        $13.01
             10/16/2020      $20.00       7/30/2020      $2.27        $11.80                  10/16/2020      $20.00       10/1/2020      $0.81        $13.01
             10/16/2020      $20.00       7/31/2020      $2.14        $11.91                  10/16/2020      $20.00       10/2/2020      $0.80        $13.01
             10/16/2020      $20.00        8/3/2020      $2.05        $12.00                  10/16/2020      $20.00       10/5/2020      $0.78        $13.01
             10/16/2020      $20.00        8/4/2020      $1.96        $12.09                  10/16/2020      $20.00       10/6/2020      $0.77        $13.02
             10/16/2020      $20.00        8/5/2020      $1.93        $12.10                  10/16/2020      $20.00       10/7/2020      $0.75        $13.02
             10/16/2020      $20.00        8/6/2020      $1.88        $12.14                  10/16/2020      $20.00       10/8/2020      $0.74        $13.02
             10/16/2020      $20.00        8/7/2020      $1.85        $12.17                  10/16/2020      $20.00       10/9/2020      $0.73        $13.01
             10/16/2020      $20.00       8/10/2020      $1.83        $12.17                  10/16/2020      $20.00      10/12/2020      $0.71        $13.01
             10/16/2020      $20.00       8/11/2020      $1.86        $12.11                  10/16/2020      $20.00      10/13/2020      $0.70        $13.00
             10/16/2020      $20.00       8/12/2020      $1.83        $12.13                  10/16/2020      $20.00      10/14/2020      $0.69        $13.00
             10/16/2020      $20.00       8/13/2020      $1.81        $12.14                  10/16/2020      $20.00      10/15/2020      $0.68        $13.01
             10/16/2020      $20.00       8/14/2020      $1.78        $12.15                  10/16/2020      $20.00      10/16/2020      $0.67        $13.03
             10/16/2020      $20.00       8/17/2020      $1.77        $12.11                  10/16/2020      $22.50       7/27/2020      $2.33        $13.70
             10/16/2020      $20.00       8/18/2020      $1.74        $12.09                  10/16/2020      $22.50       7/28/2020      $2.23        $13.70
             10/16/2020      $20.00       8/19/2020      $1.71        $12.09                  10/16/2020      $22.50       7/29/2020      $2.07        $13.92
             10/16/2020      $20.00       8/20/2020      $1.68        $12.10                  10/16/2020      $22.50       7/30/2020      $1.94        $14.04
             10/16/2020      $20.00       8/21/2020      $1.63        $12.13                  10/16/2020      $22.50       7/31/2020      $1.83        $14.17
             10/16/2020      $20.00       8/24/2020      $1.58        $12.18                  10/16/2020      $22.50        8/3/2020      $1.75        $14.25
             10/16/2020      $20.00       8/25/2020      $1.53        $12.24                  10/16/2020      $22.50        8/4/2020      $1.66        $14.35
             10/16/2020      $20.00       8/26/2020      $1.48        $12.30                  10/16/2020      $22.50        8/5/2020      $1.63        $14.36
             10/16/2020      $20.00       8/27/2020      $1.43        $12.38                  10/16/2020      $22.50        8/6/2020      $1.58        $14.40
             10/16/2020      $20.00       8/28/2020      $1.39        $12.45                  10/16/2020      $22.50        8/7/2020      $1.55        $14.42
             10/16/2020      $20.00       8/31/2020      $1.35        $12.52                  10/16/2020      $22.50       8/10/2020      $1.53        $14.42
             10/16/2020      $20.00        9/1/2020      $1.31        $12.61                  10/16/2020      $22.50       8/11/2020      $1.57        $14.36
             10/16/2020      $20.00        9/2/2020      $1.27        $12.68                  10/16/2020      $22.50       8/12/2020      $1.54        $14.38
             10/16/2020      $20.00        9/3/2020      $1.23        $12.76                  10/16/2020      $22.50       8/13/2020      $1.51        $14.40
             10/16/2020      $20.00        9/4/2020      $1.20        $12.84                  10/16/2020      $22.50       8/14/2020      $1.49        $14.41
             10/16/2020      $20.00        9/8/2020      $1.17        $12.92                  10/16/2020      $22.50       8/17/2020      $1.48        $14.36
             10/16/2020      $20.00        9/9/2020      $1.13        $12.99                  10/16/2020      $22.50       8/18/2020      $1.46        $14.35
             10/16/2020      $20.00       9/10/2020      $1.10        $13.06                  10/16/2020      $22.50       8/19/2020      $1.43        $14.35
             10/16/2020      $20.00       9/11/2020      $1.08        $13.12                  10/16/2020      $22.50       8/20/2020      $1.40        $14.36
             10/16/2020      $20.00       9/14/2020      $1.06        $13.10                  10/16/2020      $22.50       8/21/2020      $1.37        $14.39
             10/16/2020      $20.00       9/15/2020      $1.03        $13.12                  10/16/2020      $22.50       8/24/2020      $1.32        $14.45
             10/16/2020      $20.00       9/16/2020      $1.01        $13.12                  10/16/2020      $22.50       8/25/2020      $1.28        $14.52
             10/16/2020      $20.00       9/17/2020      $0.99        $13.10                  10/16/2020      $22.50       8/26/2020      $1.24        $14.58


Appendix E                               Page 25                                 Appendix E                               Page 26




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             10/16/2020      $22.50       8/27/2020      $1.20        $14.66                  10/16/2020      $25.00       8/6/2020       $1.41        $16.72
             10/16/2020      $22.50       8/28/2020      $1.16        $14.74                  10/16/2020      $25.00       8/7/2020       $1.38        $16.74
             10/16/2020      $22.50       8/31/2020      $1.13        $14.82                  10/16/2020      $25.00      8/10/2020       $1.36        $16.74
             10/16/2020      $22.50        9/1/2020      $1.09        $14.91                  10/16/2020      $25.00      8/11/2020       $1.39        $16.68
             10/16/2020      $22.50        9/2/2020      $1.06        $14.99                  10/16/2020      $25.00      8/12/2020       $1.37        $16.70
             10/16/2020      $22.50        9/3/2020      $1.03        $15.07                  10/16/2020      $25.00      8/13/2020       $1.34        $16.72
             10/16/2020      $22.50        9/4/2020      $1.00        $15.16                  10/16/2020      $25.00      8/14/2020       $1.32        $16.73
             10/16/2020      $22.50        9/8/2020      $0.98        $15.24                  10/16/2020      $25.00      8/17/2020       $1.31        $16.69
             10/16/2020      $22.50        9/9/2020      $0.95        $15.32                  10/16/2020      $25.00      8/18/2020       $1.29        $16.68
             10/16/2020      $22.50       9/10/2020      $0.93        $15.39                  10/16/2020      $25.00      8/19/2020       $1.26        $16.68
             10/16/2020      $22.50       9/11/2020      $0.91        $15.45                  10/16/2020      $25.00      8/20/2020       $1.24        $16.69
             10/16/2020      $22.50       9/14/2020      $0.89        $15.44                  10/16/2020      $25.00      8/21/2020       $1.20        $16.73
             10/16/2020      $22.50       9/15/2020      $0.87        $15.46                  10/16/2020      $25.00      8/24/2020       $1.16        $16.79
             10/16/2020      $22.50       9/16/2020      $0.85        $15.46                  10/16/2020      $25.00      8/25/2020       $1.13        $16.86
             10/16/2020      $22.50       9/17/2020      $0.83        $15.44                  10/16/2020      $25.00      8/26/2020       $1.09        $16.93
             10/16/2020      $22.50       9/18/2020      $0.82        $15.42                  10/16/2020      $25.00      8/27/2020       $1.05        $17.01
             10/16/2020      $22.50       9/21/2020      $0.80        $15.38                  10/16/2020      $25.00      8/28/2020       $1.02        $17.09
             10/16/2020      $22.50       9/22/2020      $0.79        $15.35                  10/16/2020      $25.00      8/31/2020       $0.99        $17.17
             10/16/2020      $22.50       9/23/2020      $0.77        $15.35                  10/16/2020      $25.00       9/1/2020       $0.96        $17.27
             10/16/2020      $22.50       9/24/2020      $0.76        $15.36                  10/16/2020      $25.00       9/2/2020       $0.93        $17.36
             10/16/2020      $22.50       9/25/2020      $0.74        $15.36                  10/16/2020      $25.00       9/3/2020       $0.91        $17.44
             10/16/2020      $22.50       9/28/2020      $0.73        $15.36                  10/16/2020      $25.00       9/4/2020       $0.88        $17.54
             10/16/2020      $22.50       9/29/2020      $0.71        $15.37                  10/16/2020      $25.00       9/8/2020       $0.86        $17.63
             10/16/2020      $22.50       9/30/2020      $0.71        $15.38                  10/16/2020      $25.00       9/9/2020       $0.84        $17.70
             10/16/2020      $22.50       10/1/2020      $0.70        $15.38                  10/16/2020      $25.00      9/10/2020       $0.82        $17.78
             10/16/2020      $22.50       10/2/2020      $0.70        $15.39                  10/16/2020      $25.00      9/11/2020       $0.80        $17.84
             10/16/2020      $22.50       10/5/2020      $0.68        $15.39                  10/16/2020      $25.00      9/14/2020       $0.78        $17.83
             10/16/2020      $22.50       10/6/2020      $0.68        $15.40                  10/16/2020      $25.00      9/15/2020       $0.76        $17.85
             10/16/2020      $22.50       10/7/2020      $0.67        $15.40                  10/16/2020      $25.00      9/16/2020       $0.75        $17.85
             10/16/2020      $22.50       10/8/2020      $0.66        $15.40                  10/16/2020      $25.00      9/17/2020       $0.73        $17.84
             10/16/2020      $22.50       10/9/2020      $0.65        $15.40                  10/16/2020      $25.00      9/18/2020       $0.72        $17.82
             10/16/2020      $22.50      10/12/2020      $0.64        $15.40                  10/16/2020      $25.00      9/21/2020       $0.71        $17.78
             10/16/2020      $22.50      10/13/2020      $0.63        $15.39                  10/16/2020      $25.00      9/22/2020       $0.69        $17.75
             10/16/2020      $22.50      10/14/2020      $0.62        $15.39                  10/16/2020      $25.00      9/23/2020       $0.68        $17.75
             10/16/2020      $22.50      10/15/2020      $0.61        $15.41                  10/16/2020      $25.00      9/24/2020       $0.67        $17.76
             10/16/2020      $22.50      10/16/2020      $0.60        $15.42                  10/16/2020      $25.00      9/25/2020       $0.65        $17.76
             10/16/2020      $25.00       7/27/2020      $2.08        $16.00                  10/16/2020      $25.00      9/28/2020       $0.64        $17.76
             10/16/2020      $25.00       7/28/2020      $1.96        $15.95                  10/16/2020      $25.00      9/29/2020       $0.63        $17.78
             10/16/2020      $25.00       7/29/2020      $1.83        $16.18                  10/16/2020      $25.00      9/30/2020       $0.61        $17.79
             10/16/2020      $25.00       7/30/2020      $1.76        $16.31                  10/16/2020      $25.00      10/1/2020       $0.60        $17.79
             10/16/2020      $25.00       7/31/2020      $1.65        $16.45                  10/16/2020      $25.00      10/2/2020       $0.59        $17.80
             10/16/2020      $25.00        8/3/2020      $1.57        $16.55                  10/16/2020      $25.00      10/5/2020       $0.58        $17.81
             10/16/2020      $25.00        8/4/2020      $1.49        $16.66                  10/16/2020      $25.00      10/6/2020       $0.57        $17.82
             10/16/2020      $25.00        8/5/2020      $1.45        $16.67                  10/16/2020      $25.00      10/7/2020       $0.56        $17.82


Appendix E                               Page 27                                 Appendix E                               Page 28
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             10/16/2020      $25.00       10/8/2020      $0.55        $17.82                  10/16/2020      $30.00       9/17/2020      $0.56        $22.67
             10/16/2020      $25.00       10/9/2020      $0.54        $17.82                  10/16/2020      $30.00       9/18/2020      $0.55        $22.65
             10/16/2020      $25.00      10/12/2020      $0.53        $17.82                  10/16/2020      $30.00       9/21/2020      $0.54        $22.61
             10/16/2020      $25.00      10/13/2020      $0.52        $17.81                  10/16/2020      $30.00       9/22/2020      $0.53        $22.58
             10/16/2020      $25.00      10/14/2020      $0.52        $17.82                  10/16/2020      $30.00       9/23/2020      $0.52        $22.59
             10/16/2020      $25.00      10/15/2020      $0.51        $17.84                  10/16/2020      $30.00       9/24/2020      $0.51        $22.60
             10/16/2020      $25.00      10/16/2020      $0.50        $17.84                  10/16/2020      $30.00       9/25/2020      $0.50        $22.60
             10/16/2020      $30.00       7/27/2020      $1.68        $20.60                  10/16/2020      $30.00       9/28/2020      $0.49        $22.61
             10/16/2020      $30.00       7/28/2020      $1.65        $20.60                  10/16/2020      $30.00       9/29/2020      $0.48        $22.63
             10/16/2020      $30.00       7/29/2020      $1.49        $20.83                  10/16/2020      $30.00       9/30/2020      $0.47        $22.64
             10/16/2020      $30.00       7/30/2020      $1.41        $20.98                  10/16/2020      $30.00       10/1/2020      $0.46        $22.65
             10/16/2020      $30.00       7/31/2020      $1.35        $21.12                  10/16/2020      $30.00       10/2/2020      $0.45        $22.66
             10/16/2020      $30.00        8/3/2020      $1.28        $21.23                  10/16/2020      $30.00       10/5/2020      $0.44        $22.67
             10/16/2020      $30.00        8/4/2020      $1.20        $21.34                  10/16/2020      $30.00       10/6/2020      $0.43        $22.68
             10/16/2020      $30.00        8/5/2020      $1.17        $21.36                  10/16/2020      $30.00       10/7/2020      $0.43        $22.69
             10/16/2020      $30.00        8/6/2020      $1.13        $21.41                  10/16/2020      $30.00       10/8/2020      $0.42        $22.69
             10/16/2020      $30.00        8/7/2020      $1.10        $21.44                  10/16/2020      $30.00       10/9/2020      $0.41        $22.69
             10/16/2020      $30.00       8/10/2020      $1.08        $21.45                  10/16/2020      $30.00      10/12/2020      $0.40        $22.70
             10/16/2020      $30.00       8/11/2020      $1.10        $21.38                  10/16/2020      $30.00      10/13/2020      $0.40        $22.69
             10/16/2020      $30.00       8/12/2020      $1.09        $21.41                  10/16/2020      $30.00      10/14/2020      $0.39        $22.70
             10/16/2020      $30.00       8/13/2020      $1.07        $21.43                  10/16/2020      $30.00      10/15/2020      $0.38        $22.72
             10/16/2020      $30.00       8/14/2020      $1.05        $21.44                  10/16/2020      $30.00      10/16/2020      $0.38        $22.74
             10/16/2020      $30.00       8/17/2020      $1.03        $21.39                   1/15/2021       $2.50       7/27/2020      $9.15         $0.48
             10/16/2020      $30.00       8/18/2020      $1.01        $21.38                   1/15/2021       $2.50       7/28/2020      $9.18         $0.50
             10/16/2020      $30.00       8/19/2020      $0.99        $21.39                   1/15/2021       $2.50       7/29/2020      $8.82         $0.54
             10/16/2020      $30.00       8/20/2020      $0.97        $21.41                   1/15/2021       $2.50       7/30/2020      $8.60         $0.55
             10/16/2020      $30.00       8/21/2020      $0.94        $21.45                   1/15/2021       $2.50       7/31/2020      $8.38         $0.56
             10/16/2020      $30.00       8/24/2020      $0.91        $21.52                   1/15/2021       $2.50        8/3/2020      $8.18         $0.56
             10/16/2020      $30.00       8/25/2020      $0.88        $21.60                   1/15/2021       $2.50        8/4/2020      $7.99         $0.55
             10/16/2020      $30.00       8/26/2020      $0.84        $21.68                   1/15/2021       $2.50        8/5/2020      $7.97         $0.56
             10/16/2020      $30.00       8/27/2020      $0.82        $21.77                   1/15/2021       $2.50        8/6/2020      $7.88         $0.55
             10/16/2020      $30.00       8/28/2020      $0.79        $21.85                   1/15/2021       $2.50        8/7/2020      $7.81         $0.56
             10/16/2020      $30.00       8/31/2020      $0.77        $21.94                   1/15/2021       $2.50       8/10/2020      $7.77         $0.55
             10/16/2020      $30.00        9/1/2020      $0.75        $22.05                   1/15/2021       $2.50       8/11/2020      $7.86         $0.55
             10/16/2020      $30.00        9/2/2020      $0.73        $22.14                   1/15/2021       $2.50       8/12/2020      $7.82         $0.54
             10/16/2020      $30.00        9/3/2020      $0.70        $22.23                   1/15/2021       $2.50       8/13/2020      $7.76         $0.54
             10/16/2020      $30.00        9/4/2020      $0.69        $22.33                   1/15/2021       $2.50       8/14/2020      $7.72         $0.54
             10/16/2020      $30.00        9/8/2020      $0.67        $22.43                   1/15/2021       $2.50       8/17/2020      $7.74         $0.54
             10/16/2020      $30.00        9/9/2020      $0.65        $22.51                   1/15/2021       $2.50       8/18/2020      $7.72         $0.54
             10/16/2020      $30.00       9/10/2020      $0.63        $22.59                   1/15/2021       $2.50       8/19/2020      $7.70         $0.53
             10/16/2020      $30.00       9/11/2020      $0.62        $22.66                   1/15/2021       $2.50       8/20/2020      $7.66         $0.53
             10/16/2020      $30.00       9/14/2020      $0.60        $22.65                   1/15/2021       $2.50       8/21/2020      $7.59         $0.54
             10/16/2020      $30.00       9/15/2020      $0.59        $22.68                   1/15/2021       $2.50       8/24/2020      $7.48         $0.54
             10/16/2020      $30.00       9/16/2020      $0.58        $22.68                   1/15/2021       $2.50       8/25/2020      $7.37         $0.54


Appendix E                               Page 29                                 Appendix E                               Page 30




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             1/15/2021        $2.50       8/26/2020      $7.26         $0.54                  1/15/2021        $5.00      7/29/2020       $7.47         $1.86
             1/15/2021        $2.50       8/27/2020      $7.14         $0.54                  1/15/2021        $5.00      7/30/2020       $7.28         $1.85
             1/15/2021        $2.50       8/28/2020      $7.02         $0.54                  1/15/2021        $5.00      7/31/2020       $7.08         $1.85
             1/15/2021        $2.50       8/31/2020      $6.91         $0.54                  1/15/2021        $5.00       8/3/2020       $6.93         $1.88
             1/15/2021        $2.50        9/1/2020      $6.78         $0.55                  1/15/2021        $5.00       8/4/2020       $6.76         $1.92
             1/15/2021        $2.50        9/2/2020      $6.67         $0.56                  1/15/2021        $5.00       8/5/2020       $6.73         $1.92
             1/15/2021        $2.50        9/3/2020      $6.56         $0.56                  1/15/2021        $5.00       8/6/2020       $6.64         $1.92
             1/15/2021        $2.50        9/4/2020      $6.45         $0.56                  1/15/2021        $5.00       8/7/2020       $6.61         $1.92
             1/15/2021        $2.50        9/8/2020      $6.34         $0.57                  1/15/2021        $5.00      8/10/2020       $6.57         $1.92
             1/15/2021        $2.50        9/9/2020      $6.24         $0.58                  1/15/2021        $5.00      8/11/2020       $6.64         $1.91
             1/15/2021        $2.50       9/10/2020      $6.15         $0.58                  1/15/2021        $5.00      8/12/2020       $6.60         $1.91
             1/15/2021        $2.50       9/11/2020      $6.07         $0.58                  1/15/2021        $5.00      8/13/2020       $6.57         $1.91
             1/15/2021        $2.50       9/14/2020      $6.07         $0.58                  1/15/2021        $5.00      8/14/2020       $6.54         $1.92
             1/15/2021        $2.50       9/15/2020      $6.02         $0.58                  1/15/2021        $5.00      8/17/2020       $6.55         $1.90
             1/15/2021        $2.50       9/16/2020      $6.00         $0.58                  1/15/2021        $5.00      8/18/2020       $6.53         $1.89
             1/15/2021        $2.50       9/17/2020      $6.00         $0.58                  1/15/2021        $5.00      8/19/2020       $6.50         $1.88
             1/15/2021        $2.50       9/18/2020      $6.01         $0.57                  1/15/2021        $5.00      8/20/2020       $6.46         $1.89
             1/15/2021        $2.50       9/21/2020      $6.03         $0.57                  1/15/2021        $5.00      8/21/2020       $6.39         $1.88
             1/15/2021        $2.50       9/22/2020      $6.04         $0.57                  1/15/2021        $5.00      8/24/2020       $6.29         $1.89
             1/15/2021        $2.50       9/23/2020      $6.01         $0.56                  1/15/2021        $5.00      8/25/2020       $6.19         $1.90
             1/15/2021        $2.50       9/24/2020      $5.99         $0.56                  1/15/2021        $5.00      8/26/2020       $6.08         $1.91
             1/15/2021        $2.50       9/25/2020      $5.97         $0.56                  1/15/2021        $5.00      8/27/2020       $5.98         $1.92
             1/15/2021        $2.50       9/28/2020      $5.95         $0.56                  1/15/2021        $5.00      8/28/2020       $5.87         $1.93
             1/15/2021        $2.50       9/29/2020      $5.92         $0.56                  1/15/2021        $5.00      8/31/2020       $5.77         $1.94
             1/15/2021        $2.50       9/30/2020      $5.89         $0.55                  1/15/2021        $5.00       9/1/2020       $5.65         $1.95
             1/15/2021        $2.50       10/1/2020      $5.87         $0.55                  1/15/2021        $5.00       9/2/2020       $5.55         $1.97
             1/15/2021        $2.50       10/2/2020      $5.84         $0.55                  1/15/2021        $5.00       9/3/2020       $5.45         $1.98
             1/15/2021        $2.50       10/5/2020      $5.82         $0.55                  1/15/2021        $5.00       9/4/2020       $5.34         $1.99
             1/15/2021        $2.50       10/6/2020      $5.80         $0.54                  1/15/2021        $5.00       9/8/2020       $5.25         $2.00
             1/15/2021        $2.50       10/7/2020      $5.78         $0.54                  1/15/2021        $5.00       9/9/2020       $5.16         $2.02
             1/15/2021        $2.50       10/8/2020      $5.76         $0.54                  1/15/2021        $5.00      9/10/2020       $5.08         $2.03
             1/15/2021        $2.50       10/9/2020      $5.75         $0.53                  1/15/2021        $5.00      9/11/2020       $5.00         $2.03
             1/15/2021        $2.50      10/12/2020      $5.73         $0.53                  1/15/2021        $5.00      9/14/2020       $4.99         $2.03
             1/15/2021        $2.50      10/13/2020      $5.73         $0.52                  1/15/2021        $5.00      9/15/2020       $4.95         $2.03
             1/15/2021        $2.50      10/14/2020      $5.71         $0.52                  1/15/2021        $5.00      9/16/2020       $4.93         $2.03
             1/15/2021        $2.50      10/15/2020      $5.68         $0.52                  1/15/2021        $5.00      9/17/2020       $4.92         $2.02
             1/15/2021        $2.50      10/16/2020      $5.65         $0.52                  1/15/2021        $5.00      9/18/2020       $4.92         $2.01
             1/15/2021        $2.50      10/19/2020      $5.62         $0.51                  1/15/2021        $5.00      9/21/2020       $4.94         $2.00
             1/15/2021        $2.50      10/20/2020      $5.58         $0.51                  1/15/2021        $5.00      9/22/2020       $4.94         $1.99
             1/15/2021        $2.50      10/21/2020      $5.54         $0.51                  1/15/2021        $5.00      9/23/2020       $4.91         $1.98
             1/15/2021        $2.50      10/22/2020      $5.50         $0.51                  1/15/2021        $5.00      9/24/2020       $4.88         $1.98
             1/15/2021        $2.50      10/23/2020      $5.47         $0.51                  1/15/2021        $5.00      9/25/2020       $4.86         $1.98
             1/15/2021        $5.00       7/27/2020      $7.90         $1.88                  1/15/2021        $5.00      9/28/2020       $4.83         $1.98
             1/15/2021        $5.00       7/28/2020      $7.88         $1.85                  1/15/2021        $5.00      9/29/2020       $4.81         $1.98


Appendix E                               Page 31                                 Appendix E                               Page 32
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021        $5.00       9/30/2020      $4.78         $1.97                  1/15/2021        $7.50        9/1/2020      $4.95         $3.72
             1/15/2021        $5.00       10/1/2020      $4.75         $1.97                  1/15/2021        $7.50        9/2/2020      $4.86         $3.74
             1/15/2021        $5.00       10/2/2020      $4.72         $1.97                  1/15/2021        $7.50        9/3/2020      $4.76         $3.75
             1/15/2021        $5.00       10/5/2020      $4.70         $1.96                  1/15/2021        $7.50        9/4/2020      $4.66         $3.77
             1/15/2021        $5.00       10/6/2020      $4.67         $1.96                  1/15/2021        $7.50        9/8/2020      $4.58         $3.80
             1/15/2021        $5.00       10/7/2020      $4.65         $1.95                  1/15/2021        $7.50        9/9/2020      $4.49         $3.82
             1/15/2021        $5.00       10/8/2020      $4.63         $1.94                  1/15/2021        $7.50       9/10/2020      $4.41         $3.84
             1/15/2021        $5.00       10/9/2020      $4.61         $1.93                  1/15/2021        $7.50       9/11/2020      $4.34         $3.85
             1/15/2021        $5.00      10/12/2020      $4.59         $1.92                  1/15/2021        $7.50       9/14/2020      $4.33         $3.84
             1/15/2021        $5.00      10/13/2020      $4.58         $1.91                  1/15/2021        $7.50       9/15/2020      $4.29         $3.84
             1/15/2021        $5.00      10/14/2020      $4.56         $1.91                  1/15/2021        $7.50       9/16/2020      $4.27         $3.84
             1/15/2021        $5.00      10/15/2020      $4.53         $1.90                  1/15/2021        $7.50       9/17/2020      $4.26         $3.82
             1/15/2021        $5.00      10/16/2020      $4.50         $1.90                  1/15/2021        $7.50       9/18/2020      $4.25         $3.81
             1/15/2021        $5.00      10/19/2020      $4.46         $1.89                  1/15/2021        $7.50       9/21/2020      $4.26         $3.80
             1/15/2021        $5.00      10/20/2020      $4.42         $1.89                  1/15/2021        $7.50       9/22/2020      $4.25         $3.78
             1/15/2021        $5.00      10/21/2020      $4.38         $1.89                  1/15/2021        $7.50       9/23/2020      $4.23         $3.78
             1/15/2021        $5.00      10/22/2020      $4.34         $1.88                  1/15/2021        $7.50       9/24/2020      $4.19         $3.77
             1/15/2021        $5.00      10/23/2020      $4.31         $1.88                  1/15/2021        $7.50       9/25/2020      $4.17         $3.77
             1/15/2021        $7.50       7/27/2020      $7.00         $3.45                  1/15/2021        $7.50       9/28/2020      $4.14         $3.76
             1/15/2021        $7.50       7/28/2020      $7.03         $3.45                  1/15/2021        $7.50       9/29/2020      $4.11         $3.75
             1/15/2021        $7.50       7/29/2020      $6.68         $3.50                  1/15/2021        $7.50       9/30/2020      $4.08         $3.75
             1/15/2021        $7.50       7/30/2020      $6.55         $3.54                  1/15/2021        $7.50       10/1/2020      $4.05         $3.75
             1/15/2021        $7.50       7/31/2020      $6.37         $3.58                  1/15/2021        $7.50       10/2/2020      $4.02         $3.74
             1/15/2021        $7.50        8/3/2020      $6.23         $3.60                  1/15/2021        $7.50       10/5/2020      $3.99         $3.73
             1/15/2021        $7.50        8/4/2020      $6.09         $3.63                  1/15/2021        $7.50       10/6/2020      $3.96         $3.73
             1/15/2021        $7.50        8/5/2020      $6.04         $3.64                  1/15/2021        $7.50       10/7/2020      $3.94         $3.72
             1/15/2021        $7.50        8/6/2020      $5.95         $3.66                  1/15/2021        $7.50       10/8/2020      $3.92         $3.71
             1/15/2021        $7.50        8/7/2020      $5.91         $3.65                  1/15/2021        $7.50       10/9/2020      $3.89         $3.69
             1/15/2021        $7.50       8/10/2020      $5.86         $3.65                  1/15/2021        $7.50      10/12/2020      $3.87         $3.69
             1/15/2021        $7.50       8/11/2020      $5.94         $3.63                  1/15/2021        $7.50      10/13/2020      $3.86         $3.67
             1/15/2021        $7.50       8/12/2020      $5.89         $3.64                  1/15/2021        $7.50      10/14/2020      $3.83         $3.66
             1/15/2021        $7.50       8/13/2020      $5.86         $3.65                  1/15/2021        $7.50      10/15/2020      $3.80         $3.66
             1/15/2021        $7.50       8/14/2020      $5.82         $3.65                  1/15/2021        $7.50      10/16/2020      $3.77         $3.65
             1/15/2021        $7.50       8/17/2020      $5.82         $3.64                  1/15/2021        $7.50      10/19/2020      $3.73         $3.65
             1/15/2021        $7.50       8/18/2020      $5.80         $3.62                  1/15/2021        $7.50      10/20/2020      $3.70         $3.65
             1/15/2021        $7.50       8/19/2020      $5.76         $3.61                  1/15/2021        $7.50      10/21/2020      $3.66         $3.65
             1/15/2021        $7.50       8/20/2020      $5.72         $3.61                  1/15/2021        $7.50      10/22/2020      $3.62         $3.65
             1/15/2021        $7.50       8/21/2020      $5.65         $3.62                  1/15/2021        $7.50      10/23/2020      $3.58         $3.64
             1/15/2021        $7.50       8/24/2020      $5.55         $3.62                  1/15/2021       $10.00      7/27/2020       $6.25         $5.25
             1/15/2021        $7.50       8/25/2020      $5.45         $3.63                  1/15/2021       $10.00      7/28/2020       $6.25         $5.25
             1/15/2021        $7.50       8/26/2020      $5.35         $3.65                  1/15/2021       $10.00      7/29/2020       $5.88         $5.33
             1/15/2021        $7.50       8/27/2020      $5.25         $3.66                  1/15/2021       $10.00      7/30/2020       $5.73         $5.38
             1/15/2021        $7.50       8/28/2020      $5.15         $3.68                  1/15/2021       $10.00      7/31/2020       $5.59         $5.40
             1/15/2021        $7.50       8/31/2020      $5.06         $3.69                  1/15/2021       $10.00       8/3/2020       $5.43         $5.43


Appendix E                               Page 33                                 Appendix E                               Page 34




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price      Date      Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021       $10.00       8/4/2020       $5.31         $5.47                  1/15/2021       $10.00       10/6/2020      $3.41         $5.67
             1/15/2021       $10.00       8/5/2020       $5.29         $5.47                  1/15/2021       $10.00       10/7/2020      $3.38         $5.66
             1/15/2021       $10.00       8/6/2020       $5.22         $5.49                  1/15/2021       $10.00       10/8/2020      $3.36         $5.65
             1/15/2021       $10.00       8/7/2020       $5.19         $5.51                  1/15/2021       $10.00       10/9/2020      $3.34         $5.64
             1/15/2021       $10.00      8/10/2020       $5.16         $5.51                  1/15/2021       $10.00      10/12/2020      $3.32         $5.63
             1/15/2021       $10.00      8/11/2020       $5.23         $5.50                  1/15/2021       $10.00      10/13/2020      $3.30         $5.61
             1/15/2021       $10.00      8/12/2020       $5.19         $5.50                  1/15/2021       $10.00      10/14/2020      $3.28         $5.60
             1/15/2021       $10.00      8/13/2020       $5.15         $5.50                  1/15/2021       $10.00      10/15/2020      $3.25         $5.60
             1/15/2021       $10.00      8/14/2020       $5.12         $5.51                  1/15/2021       $10.00      10/16/2020      $3.21         $5.60
             1/15/2021       $10.00      8/17/2020       $5.13         $5.49                  1/15/2021       $10.00      10/19/2020      $3.18         $5.60
             1/15/2021       $10.00      8/18/2020       $5.10         $5.48                  1/15/2021       $10.00      10/20/2020      $3.15         $5.60
             1/15/2021       $10.00      8/19/2020       $5.07         $5.48                  1/15/2021       $10.00      10/21/2020      $3.11         $5.61
             1/15/2021       $10.00      8/20/2020       $5.03         $5.47                  1/15/2021       $10.00      10/22/2020      $3.08         $5.61
             1/15/2021       $10.00      8/21/2020       $4.97         $5.47                  1/15/2021       $10.00      10/23/2020      $3.04         $5.61
             1/15/2021       $10.00      8/24/2020       $4.88         $5.49                  1/15/2021       $12.50       7/27/2020      $5.85         $7.20
             1/15/2021       $10.00      8/25/2020       $4.79         $5.51                  1/15/2021       $12.50       7/28/2020      $5.78         $7.20
             1/15/2021       $10.00      8/26/2020       $4.70         $5.53                  1/15/2021       $12.50       7/29/2020      $5.45         $7.32
             1/15/2021       $10.00      8/27/2020       $4.61         $5.55                  1/15/2021       $12.50       7/30/2020      $5.34         $7.38
             1/15/2021       $10.00      8/28/2020       $4.52         $5.57                  1/15/2021       $12.50       7/31/2020      $5.17         $7.41
             1/15/2021       $10.00      8/31/2020       $4.43         $5.59                  1/15/2021       $12.50        8/3/2020      $5.00         $7.46
             1/15/2021       $10.00       9/1/2020       $4.33         $5.62                  1/15/2021       $12.50        8/4/2020      $4.88         $7.51
             1/15/2021       $10.00       9/2/2020       $4.25         $5.65                  1/15/2021       $12.50        8/5/2020      $4.86         $7.53
             1/15/2021       $10.00       9/3/2020       $4.16         $5.68                  1/15/2021       $12.50        8/6/2020      $4.78         $7.55
             1/15/2021       $10.00       9/4/2020       $4.08         $5.71                  1/15/2021       $12.50        8/7/2020      $4.74         $7.57
             1/15/2021       $10.00       9/8/2020       $4.00         $5.73                  1/15/2021       $12.50       8/10/2020      $4.71         $7.57
             1/15/2021       $10.00       9/9/2020       $3.92         $5.76                  1/15/2021       $12.50       8/11/2020      $4.78         $7.54
             1/15/2021       $10.00      9/10/2020       $3.85         $5.78                  1/15/2021       $12.50       8/12/2020      $4.74         $7.55
             1/15/2021       $10.00      9/11/2020       $3.78         $5.80                  1/15/2021       $12.50       8/13/2020      $4.71         $7.56
             1/15/2021       $10.00      9/14/2020       $3.77         $5.79                  1/15/2021       $12.50       8/14/2020      $4.68         $7.56
             1/15/2021       $10.00      9/15/2020       $3.73         $5.79                  1/15/2021       $12.50       8/17/2020      $4.68         $7.53
             1/15/2021       $10.00      9/16/2020       $3.71         $5.78                  1/15/2021       $12.50       8/18/2020      $4.66         $7.52
             1/15/2021       $10.00      9/17/2020       $3.70         $5.77                  1/15/2021       $12.50       8/19/2020      $4.63         $7.52
             1/15/2021       $10.00      9/18/2020       $3.69         $5.76                  1/15/2021       $12.50       8/20/2020      $4.58         $7.52
             1/15/2021       $10.00      9/21/2020       $3.70         $5.74                  1/15/2021       $12.50       8/21/2020      $4.52         $7.52
             1/15/2021       $10.00      9/22/2020       $3.69         $5.72                  1/15/2021       $12.50       8/24/2020      $4.43         $7.54
             1/15/2021       $10.00      9/23/2020       $3.67         $5.72                  1/15/2021       $12.50       8/25/2020      $4.34         $7.56
             1/15/2021       $10.00      9/24/2020       $3.64         $5.72                  1/15/2021       $12.50       8/26/2020      $4.25         $7.59
             1/15/2021       $10.00      9/25/2020       $3.61         $5.71                  1/15/2021       $12.50       8/27/2020      $4.16         $7.61
             1/15/2021       $10.00      9/28/2020       $3.58         $5.70                  1/15/2021       $12.50       8/28/2020      $4.08         $7.64
             1/15/2021       $10.00      9/29/2020       $3.55         $5.70                  1/15/2021       $12.50       8/31/2020      $3.99         $7.67
             1/15/2021       $10.00      9/30/2020       $3.52         $5.69                  1/15/2021       $12.50        9/1/2020      $3.90         $7.72
             1/15/2021       $10.00      10/1/2020       $3.49         $5.69                  1/15/2021       $12.50        9/2/2020      $3.82         $7.74
             1/15/2021       $10.00      10/2/2020       $3.47         $5.68                  1/15/2021       $12.50        9/3/2020      $3.74         $7.78
             1/15/2021       $10.00      10/5/2020       $3.44         $5.67                  1/15/2021       $12.50        9/4/2020      $3.66         $7.81


Appendix E                               Page 35                                 Appendix E                               Page 36
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price      Date      Call Option   Put Option
             1/15/2021       $12.50        9/8/2020      $3.59         $7.85                  1/15/2021       $15.00      8/10/2020       $4.28         $9.65
             1/15/2021       $12.50        9/9/2020      $3.52         $7.88                  1/15/2021       $15.00      8/11/2020       $4.35         $9.63
             1/15/2021       $12.50       9/10/2020      $3.45         $7.91                  1/15/2021       $15.00      8/12/2020       $4.32         $9.64
             1/15/2021       $12.50       9/11/2020      $3.39         $7.93                  1/15/2021       $15.00      8/13/2020       $4.28         $9.64
             1/15/2021       $12.50       9/14/2020      $3.38         $7.92                  1/15/2021       $15.00      8/14/2020       $4.25         $9.65
             1/15/2021       $12.50       9/15/2020      $3.34         $7.92                  1/15/2021       $15.00      8/17/2020       $4.24         $9.62
             1/15/2021       $12.50       9/16/2020      $3.32         $7.91                  1/15/2021       $15.00      8/18/2020       $4.22         $9.61
             1/15/2021       $12.50       9/17/2020      $3.31         $7.90                  1/15/2021       $15.00      8/19/2020       $4.18         $9.60
             1/15/2021       $12.50       9/18/2020      $3.29         $7.88                  1/15/2021       $15.00      8/20/2020       $4.14         $9.59
             1/15/2021       $12.50       9/21/2020      $3.29         $7.86                  1/15/2021       $15.00      8/21/2020       $4.09         $9.60
             1/15/2021       $12.50       9/22/2020      $3.29         $7.84                  1/15/2021       $15.00      8/24/2020       $4.00         $9.62
             1/15/2021       $12.50       9/23/2020      $3.26         $7.83                  1/15/2021       $15.00      8/25/2020       $3.92         $9.65
             1/15/2021       $12.50       9/24/2020      $3.23         $7.83                  1/15/2021       $15.00      8/26/2020       $3.84         $9.68
             1/15/2021       $12.50       9/25/2020      $3.21         $7.82                  1/15/2021       $15.00      8/27/2020       $3.76         $9.72
             1/15/2021       $12.50       9/28/2020      $3.18         $7.82                  1/15/2021       $15.00      8/28/2020       $3.68         $9.75
             1/15/2021       $12.50       9/29/2020      $3.15         $7.82                  1/15/2021       $15.00      8/31/2020       $3.60         $9.78
             1/15/2021       $12.50       9/30/2020      $3.12         $7.81                  1/15/2021       $15.00       9/1/2020       $3.52         $9.83
             1/15/2021       $12.50       10/1/2020      $3.09         $7.81                  1/15/2021       $15.00       9/2/2020       $3.44         $9.86
             1/15/2021       $12.50       10/2/2020      $3.07         $7.80                  1/15/2021       $15.00       9/3/2020       $3.37         $9.91
             1/15/2021       $12.50       10/5/2020      $3.04         $7.80                  1/15/2021       $15.00       9/4/2020       $3.30         $9.95
             1/15/2021       $12.50       10/6/2020      $3.01         $7.79                  1/15/2021       $15.00       9/8/2020       $3.23         $9.99
             1/15/2021       $12.50       10/7/2020      $2.98         $7.79                  1/15/2021       $15.00       9/9/2020       $3.16        $10.03
             1/15/2021       $12.50       10/8/2020      $2.96         $7.77                  1/15/2021       $15.00      9/10/2020       $3.10        $10.06
             1/15/2021       $12.50       10/9/2020      $2.94         $7.76                  1/15/2021       $15.00      9/11/2020       $3.04        $10.09
             1/15/2021       $12.50      10/12/2020      $2.92         $7.75                  1/15/2021       $15.00      9/14/2020       $3.02        $10.08
             1/15/2021       $12.50      10/13/2020      $2.90         $7.73                  1/15/2021       $15.00      9/15/2020       $2.99        $10.08
             1/15/2021       $12.50      10/14/2020      $2.87         $7.73                  1/15/2021       $15.00      9/16/2020       $2.97        $10.07
             1/15/2021       $12.50      10/15/2020      $2.84         $7.73                  1/15/2021       $15.00      9/17/2020       $2.96        $10.06
             1/15/2021       $12.50      10/16/2020      $2.82         $7.72                  1/15/2021       $15.00      9/18/2020       $2.95        $10.04
             1/15/2021       $12.50      10/19/2020      $2.78         $7.73                  1/15/2021       $15.00      9/21/2020       $2.95        $10.02
             1/15/2021       $12.50      10/20/2020      $2.75         $7.73                  1/15/2021       $15.00      9/22/2020       $2.94         $9.99
             1/15/2021       $12.50      10/21/2020      $2.72         $7.74                  1/15/2021       $15.00      9/23/2020       $2.91         $9.99
             1/15/2021       $12.50      10/22/2020      $2.68         $7.74                  1/15/2021       $15.00      9/24/2020       $2.88         $9.99
             1/15/2021       $12.50      10/23/2020      $2.65         $7.75                  1/15/2021       $15.00      9/25/2020       $2.86         $9.98
             1/15/2021       $15.00       7/27/2020      $5.25         $9.40                  1/15/2021       $15.00      9/28/2020       $2.84         $9.97
             1/15/2021       $15.00       7/28/2020      $5.25         $9.35                  1/15/2021       $15.00      9/29/2020       $2.81         $9.97
             1/15/2021       $15.00       7/29/2020      $4.95         $9.43                  1/15/2021       $15.00      9/30/2020       $2.78         $9.97
             1/15/2021       $15.00       7/30/2020      $4.80         $9.49                  1/15/2021       $15.00      10/1/2020       $2.75         $9.97
             1/15/2021       $15.00       7/31/2020      $4.66         $9.54                  1/15/2021       $15.00      10/2/2020       $2.72         $9.96
             1/15/2021       $15.00        8/3/2020      $4.52         $9.58                  1/15/2021       $15.00      10/5/2020       $2.70         $9.96
             1/15/2021       $15.00        8/4/2020      $4.41         $9.63                  1/15/2021       $15.00      10/6/2020       $2.67         $9.95
             1/15/2021       $15.00        8/5/2020      $4.40         $9.62                  1/15/2021       $15.00      10/7/2020       $2.65         $9.94
             1/15/2021       $15.00        8/6/2020      $4.34         $9.64                  1/15/2021       $15.00      10/8/2020       $2.63         $9.93
             1/15/2021       $15.00        8/7/2020      $4.31         $9.65                  1/15/2021       $15.00      10/9/2020       $2.60         $9.92


Appendix E                               Page 37                                 Appendix E                               Page 38




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021       $15.00      10/12/2020      $2.58         $9.91                  1/15/2021       $17.50       9/14/2020      $2.71        $12.32
             1/15/2021       $15.00      10/13/2020      $2.56         $9.90                  1/15/2021       $17.50       9/15/2020      $2.68        $12.32
             1/15/2021       $15.00      10/14/2020      $2.54         $9.89                  1/15/2021       $17.50       9/16/2020      $2.65        $12.31
             1/15/2021       $15.00      10/15/2020      $2.51         $9.88                  1/15/2021       $17.50       9/17/2020      $2.64        $12.30
             1/15/2021       $15.00      10/16/2020      $2.48         $9.89                  1/15/2021       $17.50       9/18/2020      $2.63        $12.28
             1/15/2021       $15.00      10/19/2020      $2.45         $9.89                  1/15/2021       $17.50       9/21/2020      $2.63        $12.25
             1/15/2021       $15.00      10/20/2020      $2.42         $9.89                  1/15/2021       $17.50       9/22/2020      $2.62        $12.23
             1/15/2021       $15.00      10/21/2020      $2.40         $9.90                  1/15/2021       $17.50       9/23/2020      $2.60        $12.23
             1/15/2021       $15.00      10/22/2020      $2.37         $9.91                  1/15/2021       $17.50       9/24/2020      $2.57        $12.22
             1/15/2021       $15.00      10/23/2020      $2.34         $9.91                  1/15/2021       $17.50       9/25/2020      $2.55        $12.21
             1/15/2021       $17.50       7/27/2020      $4.95        $11.45                  1/15/2021       $17.50       9/28/2020      $2.52        $12.21
             1/15/2021       $17.50       7/28/2020      $4.88        $11.43                  1/15/2021       $17.50       9/29/2020      $2.49        $12.20
             1/15/2021       $17.50       7/29/2020      $4.60        $11.53                  1/15/2021       $17.50       9/30/2020      $2.47        $12.20
             1/15/2021       $17.50       7/30/2020      $4.44        $11.60                  1/15/2021       $17.50       10/1/2020      $2.44        $12.20
             1/15/2021       $17.50       7/31/2020      $4.27        $11.67                  1/15/2021       $17.50       10/2/2020      $2.41        $12.20
             1/15/2021       $17.50        8/3/2020      $4.13        $11.73                  1/15/2021       $17.50       10/5/2020      $2.39        $12.19
             1/15/2021       $17.50        8/4/2020      $4.00        $11.78                  1/15/2021       $17.50       10/6/2020      $2.37        $12.18
             1/15/2021       $17.50        8/5/2020      $3.97        $11.79                  1/15/2021       $17.50       10/7/2020      $2.34        $12.18
             1/15/2021       $17.50        8/6/2020      $3.91        $11.81                  1/15/2021       $17.50       10/8/2020      $2.32        $12.17
             1/15/2021       $17.50        8/7/2020      $3.87        $11.81                  1/15/2021       $17.50       10/9/2020      $2.30        $12.16
             1/15/2021       $17.50       8/10/2020      $3.85        $11.81                  1/15/2021       $17.50      10/12/2020      $2.28        $12.15
             1/15/2021       $17.50       8/11/2020      $3.91        $11.80                  1/15/2021       $17.50      10/13/2020      $2.26        $12.13
             1/15/2021       $17.50       8/12/2020      $3.89        $11.82                  1/15/2021       $17.50      10/14/2020      $2.24        $12.13
             1/15/2021       $17.50       8/13/2020      $3.86        $11.83                  1/15/2021       $17.50      10/15/2020      $2.21        $12.13
             1/15/2021       $17.50       8/14/2020      $3.83        $11.83                  1/15/2021       $17.50      10/16/2020      $2.19        $12.13
             1/15/2021       $17.50       8/17/2020      $3.83        $11.80                  1/15/2021       $17.50      10/19/2020      $2.16        $12.14
             1/15/2021       $17.50       8/18/2020      $3.82        $11.79                  1/15/2021       $17.50      10/20/2020      $2.13        $12.14
             1/15/2021       $17.50       8/19/2020      $3.79        $11.79                  1/15/2021       $17.50      10/21/2020      $2.11        $12.15
             1/15/2021       $17.50       8/20/2020      $3.75        $11.79                  1/15/2021       $17.50      10/22/2020      $2.08        $12.16
             1/15/2021       $17.50       8/21/2020      $3.70        $11.80                  1/15/2021       $17.50      10/23/2020      $2.06        $12.17
             1/15/2021       $17.50       8/24/2020      $3.62        $11.82                  1/15/2021       $20.00       7/27/2020      $4.65        $13.60
             1/15/2021       $17.50       8/25/2020      $3.55        $11.85                  1/15/2021       $20.00       7/28/2020      $4.55        $13.60
             1/15/2021       $17.50       8/26/2020      $3.47        $11.88                  1/15/2021       $20.00       7/29/2020      $4.32        $13.68
             1/15/2021       $17.50       8/27/2020      $3.39        $11.92                  1/15/2021       $20.00       7/30/2020      $4.14        $13.76
             1/15/2021       $17.50       8/28/2020      $3.32        $11.96                  1/15/2021       $20.00       7/31/2020      $3.98        $13.84
             1/15/2021       $17.50       8/31/2020      $3.25        $12.00                  1/15/2021       $20.00        8/3/2020      $3.88        $13.90
             1/15/2021       $17.50        9/1/2020      $3.17        $12.06                  1/15/2021       $20.00        8/4/2020      $3.76        $13.96
             1/15/2021       $17.50        9/2/2020      $3.10        $12.10                  1/15/2021       $20.00        8/5/2020      $3.74        $13.98
             1/15/2021       $17.50        9/3/2020      $3.03        $12.14                  1/15/2021       $20.00        8/6/2020      $3.69        $14.01
             1/15/2021       $17.50        9/4/2020      $2.96        $12.18                  1/15/2021       $20.00        8/7/2020      $3.66        $14.02
             1/15/2021       $17.50        9/8/2020      $2.90        $12.22                  1/15/2021       $20.00       8/10/2020      $3.64        $14.02
             1/15/2021       $17.50        9/9/2020      $2.84        $12.26                  1/15/2021       $20.00       8/11/2020      $3.70        $13.99
             1/15/2021       $17.50       9/10/2020      $2.78        $12.30                  1/15/2021       $20.00       8/12/2020      $3.68        $14.01
             1/15/2021       $17.50       9/11/2020      $2.73        $12.33                  1/15/2021       $20.00       8/13/2020      $3.65        $14.01


Appendix E                               Page 39                                 Appendix E                               Page 40
                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021       $20.00       8/14/2020      $3.61        $14.02                  1/15/2021       $20.00      10/16/2020      $2.00        $14.38
             1/15/2021       $20.00       8/17/2020      $3.61        $13.98                  1/15/2021       $20.00      10/19/2020      $1.97        $14.39
             1/15/2021       $20.00       8/18/2020      $3.59        $13.97                  1/15/2021       $20.00      10/20/2020      $1.95        $14.40
             1/15/2021       $20.00       8/19/2020      $3.56        $13.96                  1/15/2021       $20.00      10/21/2020      $1.92        $14.41
             1/15/2021       $20.00       8/20/2020      $3.52        $13.96                  1/15/2021       $20.00      10/22/2020      $1.90        $14.42
             1/15/2021       $20.00       8/21/2020      $3.46        $13.98                  1/15/2021       $20.00      10/23/2020      $1.88        $14.42
             1/15/2021       $20.00       8/24/2020      $3.39        $14.00                  1/15/2021       $22.50       7/27/2020      $4.35        $15.85
             1/15/2021       $20.00       8/25/2020      $3.31        $14.04                  1/15/2021       $22.50       7/28/2020      $4.25        $15.88
             1/15/2021       $20.00       8/26/2020      $3.23        $14.08                  1/15/2021       $22.50       7/29/2020      $4.03        $15.98
             1/15/2021       $20.00       8/27/2020      $3.15        $14.11                  1/15/2021       $22.50       7/30/2020      $3.87        $16.01
             1/15/2021       $20.00       8/28/2020      $3.09        $14.16                  1/15/2021       $22.50       7/31/2020      $3.72        $16.09
             1/15/2021       $20.00       8/31/2020      $3.02        $14.20                  1/15/2021       $22.50        8/3/2020      $3.58        $16.15
             1/15/2021       $20.00        9/1/2020      $2.94        $14.26                  1/15/2021       $22.50        8/4/2020      $3.46        $16.21
             1/15/2021       $20.00        9/2/2020      $2.88        $14.31                  1/15/2021       $22.50        8/5/2020      $3.44        $16.23
             1/15/2021       $20.00        9/3/2020      $2.81        $14.36                  1/15/2021       $22.50        8/6/2020      $3.39        $16.26
             1/15/2021       $20.00        9/4/2020      $2.75        $14.41                  1/15/2021       $22.50        8/7/2020      $3.35        $16.28
             1/15/2021       $20.00        9/8/2020      $2.70        $14.46                  1/15/2021       $22.50       8/10/2020      $3.33        $16.28
             1/15/2021       $20.00        9/9/2020      $2.64        $14.51                  1/15/2021       $22.50       8/11/2020      $3.39        $16.24
             1/15/2021       $20.00       9/10/2020      $2.58        $14.55                  1/15/2021       $22.50       8/12/2020      $3.35        $16.25
             1/15/2021       $20.00       9/11/2020      $2.54        $14.58                  1/15/2021       $22.50       8/13/2020      $3.32        $16.26
             1/15/2021       $20.00       9/14/2020      $2.52        $14.57                  1/15/2021       $22.50       8/14/2020      $3.30        $16.27
             1/15/2021       $20.00       9/15/2020      $2.48        $14.58                  1/15/2021       $22.50       8/17/2020      $3.31        $16.23
             1/15/2021       $20.00       9/16/2020      $2.46        $14.57                  1/15/2021       $22.50       8/18/2020      $3.29        $16.22
             1/15/2021       $20.00       9/17/2020      $2.45        $14.55                  1/15/2021       $22.50       8/19/2020      $3.27        $16.23
             1/15/2021       $20.00       9/18/2020      $2.44        $14.54                  1/15/2021       $22.50       8/20/2020      $3.23        $16.22
             1/15/2021       $20.00       9/21/2020      $2.43        $14.51                  1/15/2021       $22.50       8/21/2020      $3.17        $16.24
             1/15/2021       $20.00       9/22/2020      $2.42        $14.48                  1/15/2021       $22.50       8/24/2020      $3.10        $16.27
             1/15/2021       $20.00       9/23/2020      $2.40        $14.48                  1/15/2021       $22.50       8/25/2020      $3.03        $16.30
             1/15/2021       $20.00       9/24/2020      $2.37        $14.48                  1/15/2021       $22.50       8/26/2020      $2.96        $16.34
             1/15/2021       $20.00       9/25/2020      $2.35        $14.47                  1/15/2021       $22.50       8/27/2020      $2.89        $16.38
             1/15/2021       $20.00       9/28/2020      $2.32        $14.46                  1/15/2021       $22.50       8/28/2020      $2.83        $16.43
             1/15/2021       $20.00       9/29/2020      $2.30        $14.46                  1/15/2021       $22.50       8/31/2020      $2.76        $16.48
             1/15/2021       $20.00       9/30/2020      $2.27        $14.46                  1/15/2021       $22.50        9/1/2020      $2.69        $16.54
             1/15/2021       $20.00       10/1/2020      $2.24        $14.45                  1/15/2021       $22.50        9/2/2020      $2.63        $16.59
             1/15/2021       $20.00       10/2/2020      $2.22        $14.45                  1/15/2021       $22.50        9/3/2020      $2.57        $16.64
             1/15/2021       $20.00       10/5/2020      $2.19        $14.44                  1/15/2021       $22.50        9/4/2020      $2.51        $16.70
             1/15/2021       $20.00       10/6/2020      $2.17        $14.44                  1/15/2021       $22.50        9/8/2020      $2.46        $16.76
             1/15/2021       $20.00       10/7/2020      $2.15        $14.43                  1/15/2021       $22.50        9/9/2020      $2.40        $16.80
             1/15/2021       $20.00       10/8/2020      $2.13        $14.42                  1/15/2021       $22.50       9/10/2020      $2.34        $16.85
             1/15/2021       $20.00       10/9/2020      $2.11        $14.41                  1/15/2021       $22.50       9/11/2020      $2.30        $16.88
             1/15/2021       $20.00      10/12/2020      $2.09        $14.40                  1/15/2021       $22.50       9/14/2020      $2.28        $16.87
             1/15/2021       $20.00      10/13/2020      $2.07        $14.39                  1/15/2021       $22.50       9/15/2020      $2.25        $16.88
             1/15/2021       $20.00      10/14/2020      $2.05        $14.38                  1/15/2021       $22.50       9/16/2020      $2.23        $16.88
             1/15/2021       $20.00      10/15/2020      $2.02        $14.38                  1/15/2021       $22.50       9/17/2020      $2.22        $16.86


Appendix E                               Page 41                                 Appendix E                               Page 42




                          Vaxart Options Average Closing Price                                             Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020                                                 July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option                Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021       $22.50       9/18/2020      $2.20        $16.84                  1/15/2021       $25.00       8/20/2020      $3.01        $18.51
             1/15/2021       $22.50       9/21/2020      $2.20        $16.81                  1/15/2021       $25.00       8/21/2020      $2.96        $18.53
             1/15/2021       $22.50       9/22/2020      $2.19        $16.79                  1/15/2021       $25.00       8/24/2020      $2.90        $18.56
             1/15/2021       $22.50       9/23/2020      $2.17        $16.79                  1/15/2021       $25.00       8/25/2020      $2.84        $18.60
             1/15/2021       $22.50       9/24/2020      $2.15        $16.79                  1/15/2021       $25.00       8/26/2020      $2.77        $18.63
             1/15/2021       $22.50       9/25/2020      $2.12        $16.78                  1/15/2021       $25.00       8/27/2020      $2.70        $18.68
             1/15/2021       $22.50       9/28/2020      $2.10        $16.78                  1/15/2021       $25.00       8/28/2020      $2.64        $18.72
             1/15/2021       $22.50       9/29/2020      $2.07        $16.77                  1/15/2021       $25.00       8/31/2020      $2.58        $18.77
             1/15/2021       $22.50       9/30/2020      $2.05        $16.77                  1/15/2021       $25.00        9/1/2020      $2.52        $18.84
             1/15/2021       $22.50       10/1/2020      $2.02        $16.77                  1/15/2021       $25.00        9/2/2020      $2.46        $18.90
             1/15/2021       $22.50       10/2/2020      $2.00        $16.76                  1/15/2021       $25.00        9/3/2020      $2.41        $18.96
             1/15/2021       $22.50       10/5/2020      $1.98        $16.76                  1/15/2021       $25.00        9/4/2020      $2.35        $19.01
             1/15/2021       $22.50       10/6/2020      $1.95        $16.75                  1/15/2021       $25.00        9/8/2020      $2.30        $19.07
             1/15/2021       $22.50       10/7/2020      $1.93        $16.75                  1/15/2021       $25.00        9/9/2020      $2.25        $19.12
             1/15/2021       $22.50       10/8/2020      $1.91        $16.74                  1/15/2021       $25.00       9/10/2020      $2.20        $19.17
             1/15/2021       $22.50       10/9/2020      $1.89        $16.73                  1/15/2021       $25.00       9/11/2020      $2.16        $19.21
             1/15/2021       $22.50      10/12/2020      $1.88        $16.72                  1/15/2021       $25.00       9/14/2020      $2.14        $19.19
             1/15/2021       $22.50      10/13/2020      $1.86        $16.71                  1/15/2021       $25.00       9/15/2020      $2.12        $19.20
             1/15/2021       $22.50      10/14/2020      $1.84        $16.70                  1/15/2021       $25.00       9/16/2020      $2.10        $19.20
             1/15/2021       $22.50      10/15/2020      $1.82        $16.70                  1/15/2021       $25.00       9/17/2020      $2.08        $19.19
             1/15/2021       $22.50      10/16/2020      $1.79        $16.71                  1/15/2021       $25.00       9/18/2020      $2.07        $19.17
             1/15/2021       $22.50      10/19/2020      $1.77        $16.72                  1/15/2021       $25.00       9/21/2020      $2.07        $19.14
             1/15/2021       $22.50      10/20/2020      $1.74        $16.73                  1/15/2021       $25.00       9/22/2020      $2.06        $19.11
             1/15/2021       $22.50      10/21/2020      $1.72        $16.74                  1/15/2021       $25.00       9/23/2020      $2.04        $19.10
             1/15/2021       $22.50      10/22/2020      $1.70        $16.75                  1/15/2021       $25.00       9/24/2020      $2.01        $19.10
             1/15/2021       $22.50      10/23/2020      $1.68        $16.76                  1/15/2021       $25.00       9/25/2020      $1.99        $19.09
             1/15/2021       $25.00       7/27/2020      $4.10        $18.10                  1/15/2021       $25.00       9/28/2020      $1.97        $19.09
             1/15/2021       $25.00       7/28/2020      $4.00        $18.15                  1/15/2021       $25.00       9/29/2020      $1.94        $19.09
             1/15/2021       $25.00       7/29/2020      $3.72        $18.25                  1/15/2021       $25.00       9/30/2020      $1.92        $19.09
             1/15/2021       $25.00       7/30/2020      $3.58        $18.30                  1/15/2021       $25.00       10/1/2020      $1.90        $19.09
             1/15/2021       $25.00       7/31/2020      $3.45        $18.38                  1/15/2021       $25.00       10/2/2020      $1.88        $19.09
             1/15/2021       $25.00        8/3/2020      $3.33        $18.45                  1/15/2021       $25.00       10/5/2020      $1.86        $19.08
             1/15/2021       $25.00        8/4/2020      $3.23        $18.51                  1/15/2021       $25.00       10/6/2020      $1.83        $19.08
             1/15/2021       $25.00        8/5/2020      $3.22        $18.52                  1/15/2021       $25.00       10/7/2020      $1.81        $19.08
             1/15/2021       $25.00        8/6/2020      $3.17        $18.56                  1/15/2021       $25.00       10/8/2020      $1.79        $19.07
             1/15/2021       $25.00        8/7/2020      $3.13        $18.56                  1/15/2021       $25.00       10/9/2020      $1.78        $19.06
             1/15/2021       $25.00       8/10/2020      $3.12        $18.56                  1/15/2021       $25.00      10/12/2020      $1.76        $19.05
             1/15/2021       $25.00       8/11/2020      $3.17        $18.51                  1/15/2021       $25.00      10/13/2020      $1.74        $19.04
             1/15/2021       $25.00       8/12/2020      $3.15        $18.53                  1/15/2021       $25.00      10/14/2020      $1.72        $19.04
             1/15/2021       $25.00       8/13/2020      $3.13        $18.54                  1/15/2021       $25.00      10/15/2020      $1.70        $19.04
             1/15/2021       $25.00       8/14/2020      $3.10        $18.55                  1/15/2021       $25.00      10/16/2020      $1.68        $19.04
             1/15/2021       $25.00       8/17/2020      $3.09        $18.51                  1/15/2021       $25.00      10/19/2020      $1.65        $19.05
             1/15/2021       $25.00       8/18/2020      $3.07        $18.50                  1/15/2021       $25.00      10/20/2020      $1.63        $19.07
             1/15/2021       $25.00       8/19/2020      $3.05        $18.50                  1/15/2021       $25.00      10/21/2020      $1.61        $19.09


Appendix E                               Page 43                                 Appendix E                               Page 44
                          Vaxart Options Average Closing Price
                             July 27, 2020 - October 23, 2020
             Expiration   Strike Price       Date     Call Option   Put Option
             1/15/2021       $25.00      10/22/2020      $1.59        $19.10
             1/15/2021       $25.00      10/23/2020      $1.57        $19.11
             1/15/2021       $30.00       7/27/2020      $3.60        $22.60
             1/15/2021       $30.00       7/28/2020      $3.48        $22.68
             1/15/2021       $30.00       7/29/2020      $3.28        $22.80
             1/15/2021       $30.00       7/30/2020      $3.15        $22.86
             1/15/2021       $30.00       7/31/2020      $3.03        $22.95
             1/15/2021       $30.00        8/3/2020      $2.93        $23.01
                                                                                                           Vaxart Options Average Closing Price
             1/15/2021       $30.00        8/4/2020      $2.84        $23.07
             1/15/2021       $30.00        8/5/2020      $2.82        $23.09                                  July 27, 2020 - October 23, 2020
             1/15/2021       $30.00        8/6/2020      $2.79        $23.13                  Expiration   Strike Price      Date      Call Option   Put Option
             1/15/2021       $30.00        8/7/2020      $2.76        $23.15                  1/15/2021       $30.00       9/24/2020      $1.74        $23.84
             1/15/2021       $30.00       8/10/2020      $2.73        $23.14                  1/15/2021       $30.00       9/25/2020      $1.72        $23.83
             1/15/2021       $30.00       8/11/2020      $2.79        $23.10                  1/15/2021       $30.00       9/28/2020      $1.70        $23.83
             1/15/2021       $30.00       8/12/2020      $2.78        $23.12                  1/15/2021       $30.00       9/29/2020      $1.67        $23.83
             1/15/2021       $30.00       8/13/2020      $2.76        $23.15                  1/15/2021       $30.00       9/30/2020      $1.65        $23.84
             1/15/2021       $30.00       8/14/2020      $2.74        $23.16                  1/15/2021       $30.00       10/1/2020      $1.63        $23.84
             1/15/2021       $30.00       8/17/2020      $2.73        $23.13                  1/15/2021       $30.00       10/2/2020      $1.61        $23.84
             1/15/2021       $30.00       8/18/2020      $2.72        $23.13                  1/15/2021       $30.00       10/5/2020      $1.59        $23.84
             1/15/2021       $30.00       8/19/2020      $2.68        $23.13                  1/15/2021       $30.00       10/6/2020      $1.57        $23.84
             1/15/2021       $30.00       8/20/2020      $2.64        $23.14                  1/15/2021       $30.00       10/7/2020      $1.55        $23.83
             1/15/2021       $30.00       8/21/2020      $2.60        $23.16                  1/15/2021       $30.00       10/8/2020      $1.54        $23.83
             1/15/2021       $30.00       8/24/2020      $2.54        $23.20                  1/15/2021       $30.00       10/9/2020      $1.52        $23.82
             1/15/2021       $30.00       8/25/2020      $2.49        $23.25                  1/15/2021       $30.00      10/12/2020      $1.50        $23.81
             1/15/2021       $30.00       8/26/2020      $2.43        $23.30                  1/15/2021       $30.00      10/13/2020      $1.49        $23.80
             1/15/2021       $30.00       8/27/2020      $2.37        $23.35                  1/15/2021       $30.00      10/14/2020      $1.47        $23.79
             1/15/2021       $30.00       8/28/2020      $2.31        $23.41                  1/15/2021       $30.00      10/15/2020      $1.45        $23.80
             1/15/2021       $30.00       8/31/2020      $2.25        $23.46                  1/15/2021       $30.00      10/16/2020      $1.43        $23.81
             1/15/2021       $30.00        9/1/2020      $2.20        $23.52                  1/15/2021       $30.00      10/19/2020      $1.41        $23.82
             1/15/2021       $30.00        9/2/2020      $2.15        $23.58                  1/15/2021       $30.00      10/20/2020      $1.39        $23.84
             1/15/2021       $30.00        9/3/2020      $2.10        $23.64                  1/15/2021       $30.00      10/21/2020      $1.38        $23.85
             1/15/2021       $30.00        9/4/2020      $2.05        $23.71                  1/15/2021       $30.00      10/22/2020      $1.36        $23.87
             1/15/2021       $30.00        9/8/2020      $2.00        $23.78                  1/15/2021       $30.00      10/23/2020      $1.34        $23.88
             1/15/2021       $30.00        9/9/2020      $1.96        $23.83
             1/15/2021       $30.00       9/10/2020      $1.91        $23.88
             1/15/2021       $30.00       9/11/2020      $1.87        $23.93
             1/15/2021       $30.00       9/14/2020      $1.86        $23.92
             1/15/2021       $30.00       9/15/2020      $1.83        $23.93
             1/15/2021       $30.00       9/16/2020      $1.81        $23.93
             1/15/2021       $30.00       9/17/2020      $1.80        $23.92
             1/15/2021       $30.00       9/18/2020      $1.79        $23.90
             1/15/2021       $30.00       9/21/2020      $1.79        $23.87
             1/15/2021       $30.00       9/22/2020      $1.78        $23.84
             1/15/2021       $30.00       9/23/2020      $1.76        $23.84


Appendix E                               Page 45                                 Appendix E                               Page 46
Exhibit 1

                                   Coefficients from Rolling Event Study Regressions
             3.00



             2.00



             1.00



               -



            (1.00)



            (2.00)



            (3.00)




                                           Industry Coefficient     Market Coefficient

            Data sources: Bloomberg, SEC filings, Factiva, Complaint.

                                                              160
Exhibit 2

                     Root Mean Squared Error (RMSE) from Rolling Event Study Regressions
            8.0%


            7.0%


            6.0%


            5.0%


            4.0%


            3.0%


            2.0%


            1.0%


            0.0%




             Data sources: Bloomberg, SEC filings, Factiva, Complaint.

                                                          161
Exhibit 3

                         Event Study Results, June 25, 2020 – July 27, 2020
                                                          Abnormal
                      Market       Raw      Abnormal
                                                           Return       t-Statistic   p-Value
                    Impact Date   Return    Return (%)
                                                          ($/share)
             [1]     6/25/2020    96.2%          95.8%      $3.06         20.09        0.000
             [2]     6/26/2020    28.4%          30.4%      $1.90          6.53        0.000
             [3]     6/29/2020    -6.8%          -6.2%      -$0.50        -1.34        0.191
             [4]     6/30/2020    18.2%          17.4%       $1.30         3.67        0.001
             [5]     7/1/2020     -9.6%          -10.2%     -$0.90        -1.86        0.072
             [6]     7/2/2020     -7.9%          -8.8%      -$0.70        -1.59        0.123
             [7]     7/6/2020     -12.6%         -13.7%     -$1.01        -2.44        0.021
             [8]     7/7/2020      37.7%          37.2%      $2.40         6.50        0.000
             [9]     7/8/2020     -8.1%          -9.0%      -$0.80        -1.55        0.132
             [10]    7/9/2020      0.5%           0.9%       $0.08         0.16        0.876
             [11]    7/10/2020    -2.6%          -1.7%      -$0.14        -0.29        0.775
             [12]    7/13/2020    51.9%          55.3%      $4.41          9.75        0.000
             [13]    7/14/2020    40.0%          38.6%      $4.68          6.78        0.000
             [14]    7/15/2020    -14.6%         -16.4%     -$2.79        -2.99        0.006
             [15]    7/16/2020     7.9%           9.8%       $1.41         1.74        0.094
             [16]    7/17/2020     0.8%          -2.3%      -$0.36        -0.42        0.679
             [17]    7/20/2020    -3.6%          -4.7%      -$0.75        -0.87        0.391
             [18]    7/21/2020    -0.5%          3.8%       $0.58          0.70        0.492
             [19]    7/22/2020    -3.9%          -3.2%      -$0.48        -0.58        0.568
             [20]    7/23/2020     -4.7%         -2.3%      -$0.33        -0.41        0.682
             [21]    7/24/2020    -11.3%         -7.6%      -$1.06        -1.43        0.165
             [22]    7/27/2020    -9.2%          -13.7%     -$1.68        -2.47        0.021
            Data sources: Bloomberg, SEC filings, Factiva, Complaint.




                                           162
Exhibit 4
            Vaxart Event Study Results and Summary of Information Environment, June 25 – July 6, 2020

                    Sun           Mon             Tue            Wed               Thu                Fri            Sat

                                                                                      Jun 25             Jun 26       Jun 27
                                                                               Attwill Press      Selected-for-
                                                                                 Release           OWS Press
                                                                                                    Release;
                                                                                                 Armistice Sales

                    Adjusted   Stock Price    Change:                            +$3.06             Intraday;
                                                                                                  +$1.90 EOD

                      Jun 28        Jun 29          Jun 30             Jul 1             Jul 2               Jul 3     Jul 4
                               Armistice        Positive       Armistice       Continued         Market closed
                                 Sales          VXRT          Form 4 filed     Reaction to        for July 4
                                                Articles     after hours on    Armistice           Holiday
                                                                June 30         Form 4

                                 -$0.50          +$1.30         -$0.90            -$0.70               n/a

                       Jul 5          Jul 6
                               Continued
                               Reaction to
                               Armistice
                                Form 4

                                 -$1.01

                 Sources: Section IV.C; Exhibit 3.




                                                                  163
Exhibit 5

                                         VXRT Intraday Trading: June 26, 2020
                    $14                                                                              30,000,000

                                                        $12.89 - Max of
                    $13                               Armistice Sales Prices
                                                                                                     25,000,000

                    $12
                                         $11.49: Opening Price on June 26, 2020
                                                                                                     20,000,000
                    $11
                                                                           $8.04: Closing Price on




                                                                                                                  Volume
                                                                               June 26, 2020
            Price




                    $10                                                                              15,000,000


                    $9            $6.26: Closing Price on
                                      June 25, 2020                                                  10,000,000

                    $8

                                                                                                     5,000,000
                    $7


                    $6                                                                               -




                                                             Volume     Price

            Data sources: Tick Data, Bloomberg, SEC filings, Factiva, Complaint. Note: prices represent volume-
            weighted average trading prices over five-minute intervals (and include an intraday high of $14.30 at
            9:40am ET).

                                                            164
Exhibit 6

                                         VXRT Intraday Trading: June 29, 2020
                    $14                                                                           30,000,000


                    $13
                                                                                                  25,000,000

                    $12

                                                                                                  20,000,000
                    $11     $9.87: Opening Price on June 29, 2020




                                                                                                               Volume
            Price




                    $10                                                 $7.49: Closing Price on   15,000,000
                                                                            June 29, 2020
                    $9
                                                                                                  10,000,000

                    $8
                                 $8.04: Closing Price on
                                     June 26, 2020                                                5,000,000
                    $7


                    $6                                                                            -




                                                            Volume   Price

            Data sources: Tick Data, Bloomberg, SEC filings, Factiva, Complaint. Note: prices represent volume-
            weighted average trading prices over five-minute intervals.


                                                           165
